Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                                   UST-14A
Wells Fargo                                                                                                                                                                          Case Number:                                   Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr:                                  August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                           BAI
             As-Of-                                                                                                             Opening        Closing        Running      Type                                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal     Ledger Bal    Code      Tran Desc                         Ref No       Bank Ref       Credit Amt Debit Amt
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10152955.02      169   MISCELLANEOUS ACH CREDIT                   0   IA000012061627    32314.46          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      9876290.34      169   MISCELLANEOUS ACH CREDIT                   0   IA000012618468    88590.62          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10088036.24      169   MISCELLANEOUS ACH CREDIT                   0   IA000012752666    32864.75          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      9628204.44      169   MISCELLANEOUS ACH CREDIT                   0   IA000014141668  298461.08           0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10220286.77      169   MISCELLANEOUS ACH CREDIT                   0   IA000016724877     7745.62          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10180327.62      169   MISCELLANEOUS ACH CREDIT                   0   IA000016792623     27372.6          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10229024.23      169   MISCELLANEOUS ACH CREDIT                   0   IA000027088186     4045.43          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10055171.49      169   MISCELLANEOUS ACH CREDIT                   0   IA000027088206    33748.35          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      10224978.8      169   MISCELLANEOUS ACH CREDIT                   0   IA000027088285     4692.03          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10212541.15      169   MISCELLANEOUS ACH CREDIT                   0   IA000027092605    11394.37          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10201146.78      169   MISCELLANEOUS ACH CREDIT                   0   IA000042670393    20819.16          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      9787699.72      169   MISCELLANEOUS ACH CREDIT                   0   IA000286392344  159495.28           0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10021423.14      169   MISCELLANEOUS ACH CREDIT                   0   IA000286392345    59662.98          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10461468.49      115   LOCKBOX DEPOSIT                       201257   IA007382868752  232444.26           0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10681705.48      115   LOCKBOX DEPOSIT                       201257   IA007382868755  220236.99           0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10682650.68      115   LOCKBOX DEPOSIT                        72371   IA007482290256        945.2         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0          322.89     254   POSTING ERROR CORRECTION CREDIT     10353999   IA009930723272           15         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0             100     254   POSTING ERROR CORRECTION CREDIT     10061125   IA009930726760         100          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0          578.25     254   POSTING ERROR CORRECTION CREDIT     10061131   IA009930726762      478.25          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0         1007.75     254   POSTING ERROR CORRECTION CREDIT     10061143   IA009930726764        429.5         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0         1040.65     254   POSTING ERROR CORRECTION CREDIT     10061144   IA009930726766         32.9         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0         1806.63     254   POSTING ERROR CORRECTION CREDIT     10061167   IA009930726768      765.98          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0        58083.77     254   POSTING ERROR CORRECTION CREDIT   5100003896   IA009930726770    56277.14          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0            22.5     254   POSTING ERROR CORRECTION CREDIT     10353850   IA009930726844         22.5         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0            62.5     254   POSTING ERROR CORRECTION CREDIT     10354248   IA009930726846           40         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0          112.03     254   POSTING ERROR CORRECTION CREDIT     10354260   IA009930726848        49.53         0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0          307.89     254   POSTING ERROR CORRECTION CREDIT     10354331   IA009930726850      195.86          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10740734.45      277   ZBA CREDIT TRANSFER                        0   IA082300000008    58083.77          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0               0     575   INDIVIDUAL ZBA DEBIT                       0   IA082300000009            0 58083.77
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10741057.34      277   ZBA CREDIT TRANSFER                        0   IA082300000052      322.89          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0               0     575   INDIVIDUAL ZBA DEBIT                       0   IA082300000053            0   322.89
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     10120640.56      169   MISCELLANEOUS ACH CREDIT                   0   IA100202087194    32604.32          0
 20190823    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      9961760.16      169   MISCELLANEOUS ACH CREDIT                   0   IA137523683764    85469.82          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12158813.23      169   MISCELLANEOUS ACH CREDIT                   0   IA000011768796    52317.12          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12006658.98      169   MISCELLANEOUS ACH CREDIT                   0   IA000011853594  258354.17           0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     11748304.81      169   MISCELLANEOUS ACH CREDIT                   0   IA000013717363  336312.97           0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      12266806.6      169   MISCELLANEOUS ACH CREDIT                   0   IA000013960139      9307.8          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12106496.11      169   MISCELLANEOUS ACH CREDIT                   0   IA000017910449    99837.13          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      12244268.8      169   MISCELLANEOUS ACH CREDIT                   0   IA000018298694    19238.24          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12203551.19      169   MISCELLANEOUS ACH CREDIT                   0   IA000019381537    44737.96          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12273943.36      169   MISCELLANEOUS ACH CREDIT                   0   IA000025133701     7136.76          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12279655.47      169   MISCELLANEOUS ACH CREDIT                   0   IA000025137106          150         0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33      12257498.8      169   MISCELLANEOUS ACH CREDIT                   0   IA000286437251       13230          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -156394.35     475   CHECK PAID                          20027845   IA000381606849            0   326.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -153309.42     475   CHECK PAID                          20026599   IA000381607054            0     358.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -165675.84     475   CHECK PAID                          20028361   IA000381607500            0   139.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -166864.06     475   CHECK PAID                          20027239   IA000381607501            0      32.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -103838.38     475   CHECK PAID                          20027637   IA000381607745            0   542.71
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -162723.62     475   CHECK PAID                          20027610   IA000381641644            0   248.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -161971.35     475   CHECK PAID                          20027802   IA000381641958            0   254.97
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -166791.6     475   CHECK PAID                          20028703   IA000381641959            0     40.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -320021.04     475   CHECK PAID                          20027723   IA000381885756            0   476.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -265359.51     475   CHECK PAID                          20027577   IA000381885758            0   564.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -344193.5     475   CHECK PAID                          20027603   IA000381888469            0     436.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -387733.03     475   CHECK PAID                          20027884   IA000381888471            0   241.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     11411991.84      301   COMMERCIAL DEPOSIT                         2   IA000383583716    79083.44          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -359758.37     475   CHECK PAID                          20028381   IA000470671560            0   400.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -275738.71     475   CHECK PAID                          20028115   IA000470725560            0   539.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -232543.34     475   CHECK PAID                          20027836   IA000577903558            0   632.42
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -239434.15     475   CHECK PAID                          20027600   IA000577950419            0   622.06




                                                                                     Case 19-62584-pcm11                              Doc 283                    Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                              UST-14A
Wells Fargo                                                                                                                                                                  Case Number:                      Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                          Report Mo/Yr:                     August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                   BAI
             As-Of-                                                                                                             Opening    Closing    Running      Type                           Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal Ledger Bal Ledger Bal    Code      Tran Desc            Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -269769.41       475   CHECK PAID             20027599   IA000577950567           0    546.48
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -265920.25       475   CHECK PAID             20027602   IA000577950689           0    560.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -339764.69       475   CHECK PAID             20027380   IA000620412486           0    447.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -380086.12       475   CHECK PAID             20028610   IA000620412497           0    311.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -351919.12       475   CHECK PAID             20028473   IA000620413221           0    420.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -325646.89       475   CHECK PAID             20024354   IA000620413222           0    466.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -318591.83       475   CHECK PAID             20028630   IA000620413223           0    476.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -267025.34       475   CHECK PAID             20027753   IA000620413224           0    551.79
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -246174.14       475   CHECK PAID             20028472   IA000620413225           0    602.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -295736.93       475   CHECK PAID             20028571   IA000620416718           0    514.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -219253.13       475   CHECK PAID             20028180   IA000620416719           0    710.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -379775.08       475   CHECK PAID             20027907   IA000620416723           0      311.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -382186.05       475   CHECK PAID             20027708   IA000620416769           0    292.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0    -387250.8     475   CHECK PAID             20027524   IA000620417317           0    243.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36 4949729.33 11332908.4       301   COMMERCIAL DEPOSIT            0   IA001288941141  591851.06           0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -172701.77       475   CHECK PAID             20027940   IA001581378549           0      614.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -180966.51       475   CHECK PAID             20025750   IA001581378550           0    442.86
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -184476.07       475   CHECK PAID             20026834   IA001581378551           0    319.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -185150.08       475   CHECK PAID             20022630   IA001581378552           0      80.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -392091.49       475   CHECK PAID             20027993   IA001583416101           0    178.89
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -291602.29       475   CHECK PAID             20028092   IA001583416148           0    518.03
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -348514.58       475   CHECK PAID             20028042   IA001583416180           0    428.42
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -392257.95       475   CHECK PAID             20028120   IA001584195377           0    166.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -354014.54       475   CHECK PAID             20028117   IA001584195379           0    418.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -257934.36       475   CHECK PAID             20024835   IA001584195409           0    577.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -259086.99       475   CHECK PAID             20025950   IA001584195410           0    575.12
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -348086.16       475   CHECK PAID             20027042   IA001584195411           0    429.48
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -258511.87       475   CHECK PAID             20028154   IA001584195412           0    577.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -364514.05       475   CHECK PAID             20028060   IA001585042162           0    390.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -292120.24       475   CHECK PAID             20028279   IA001585198750           0    517.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -358551.85       475   CHECK PAID             20027479   IA001585198765           0    406.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0    -343757.1     475   CHECK PAID             20024159   IA001585198771           0    436.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -390562.84       475   CHECK PAID             20028615   IA001585198773           0    200.57
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -260804.25       475   CHECK PAID             20028352   IA001585295194           0    572.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -206301.47       475   CHECK PAID             20028308   IA001585295196           0    943.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0    -170162.7     475   CHECK PAID             20027945   IA001585732330           0    715.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -171463.96       475   CHECK PAID             20028296   IA001585732332           0    623.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -172087.57       475   CHECK PAID             20028248   IA001585732334           0    623.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -352339.51       475   CHECK PAID             20028587   IA001585732351           0    420.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -179632.74       475   CHECK PAID             20028531   IA001585732367           0      461.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -242525.01       475   CHECK PAID             20028098   IA001585732392           0    613.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -348942.98       475   CHECK PAID             20027919   IA001585771637           0      428.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -264229.04       475   CHECK PAID             20027824   IA001586504364           0    567.48
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -254467.47       475   CHECK PAID             20027818   IA001586504369           0    579.55
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -212743.99       475   CHECK PAID             20027795   IA001586504372           0    753.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -297275.12       475   CHECK PAID             20027596   IA001586504377           0    512.22
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -213483.72       475   CHECK PAID             20027582   IA001586504384           0    739.73
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -246775.92       475   CHECK PAID             20027763   IA001586504387           0    601.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -284809.35       475   CHECK PAID             20027601   IA001586504390           0    528.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -305375.23       475   CHECK PAID             20027762   IA001586504393           0    503.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -298296.97       475   CHECK PAID             20027751   IA001586504430           0    510.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -308877.76       475   CHECK PAID             20025587   IA001586504436           0    498.11
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -229983.07       475   CHECK PAID             20027633   IA001586504459           0    648.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -177143.34       475   CHECK PAID             20025816   IA001587195918           0    531.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -173299.69       475   CHECK PAID             20026899   IA001587195919           0    597.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -174454.85       475   CHECK PAID             20028232   IA001587754937           0    564.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0    -209628.5     475   CHECK PAID             20028025   IA001587754944           0    817.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -392590.28       475   CHECK PAID             20024924   IA001587754947           0    165.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -356094.47       475   CHECK PAID             20023824   IA001587754948           0    413.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                0          0 -345499.49       475   CHECK PAID             20025724   IA001587754961           0    434.88




                                                                                     Case 19-62584-pcm11                             Doc 283               Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -310368.09     475   CHECK PAID        20026807   IA001587754962           0      494.5
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -272497.88     475   CHECK PAID        20027910   IA001587754963           0    544.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -317637.87     475   CHECK PAID        20028384   IA001588008570           0    477.82
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -250378.83     475   CHECK PAID        20027844   IA001588374930           0    598.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -320494.6     475   CHECK PAID        20027573   IA001588374933           0    473.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -185069.57     475   CHECK PAID        20027828   IA001588374951           0    277.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -273581.44     475   CHECK PAID        20027810   IA001588374956           0    540.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -169447.49     475   CHECK PAID        20027656   IA001588374965           0   1002.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394803.25     475   CHECK PAID        20028260   IA001588854751           0      96.07
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -183827.09     475   CHECK PAID        20027465   IA002247560260           0    358.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -355266.29     475   CHECK PAID        20023759   IA002247560262           0    416.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -244360.47     475   CHECK PAID        20024851   IA002247560263           0    610.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -253308.32     475   CHECK PAID        20027060   IA002247560264           0    580.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -245571.76     475   CHECK PAID        20025966   IA002247560265           0    602.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -168445.25     475   CHECK PAID        20028691   IA002247560341           0   1541.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -392424.4     475   CHECK PAID        20028121   IA002489026511           0    166.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -377891.34     475   CHECK PAID        20027908   IA002489026611           0    317.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -269222.93     475   CHECK PAID        20028404   IA002489026612           0    547.85
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -83071.09     475   CHECK PAID       200003114   IA003189406927           0   1517.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -391729.73     475   CHECK PAID        20022734   IA003681365059           0    184.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -274660.52     475   CHECK PAID        20025922   IA003681365060           0    539.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -241911.39     475   CHECK PAID        20023713   IA003681365061           0    617.03
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -248580.24     475   CHECK PAID        20027014   IA003681365062           0    601.42
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -226723.46     475   CHECK PAID        20024806   IA003681365063           0    654.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -170840.35     475   CHECK PAID        20023717   IA003681365065           0    677.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -333905.82     475   CHECK PAID        20028535   IA003989235573           0    454.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -243749.94     475   CHECK PAID        20028513   IA003989235593           0      611.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -176612.3     475   CHECK PAID        20027823   IA003989235621           0    534.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -176077.42     475   CHECK PAID        20028378   IA003989235669           0    539.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -174997     475   CHECK PAID        20027269   IA003989235699           0    542.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -173890.07     475   CHECK PAID        20028396   IA003989235701           0    590.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -183468.78     475   CHECK PAID        20027399   IA004180433961           0    380.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -184792.18     475   CHECK PAID        20026295   IA004180433962           0    316.11
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -183088.4     475   CHECK PAID        20025195   IA004180433963           0        414
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -182674.4     475   CHECK PAID        20028536   IA004180433964           0    418.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -178178.45     475   CHECK PAID        20027851   IA004187730234           0    516.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -238812.09     475   CHECK PAID        20027875   IA004187730241           0    622.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -179171.54     475   CHECK PAID        20026689   IA004187730260           0      480.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -177662.21     475   CHECK PAID        20027790   IA004187730263           0    518.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -303359.17     475   CHECK PAID        20027843   IA004187730276           0    504.58
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -180079.46     475   CHECK PAID        20026516   IA004187730295           0    446.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181407.95     475   CHECK PAID        20027614   IA004187730302           0    441.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -252727.79     475   CHECK PAID        20027712   IA004187730314           0    583.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -178690.94     475   CHECK PAID        20028017   IA004388958730           0    512.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -380393.58     475   CHECK PAID        20028101   IA004785131676           0    307.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -341994.68     475   CHECK PAID        20028650   IA004884864490           0    444.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -372269.86     475   CHECK PAID        20026409   IA004884864491           0    348.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -337520.01     475   CHECK PAID        20025311   IA004884864492           0    450.13
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -355680.49     475   CHECK PAID        20027514   IA004884864493           0      414.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -180523.65     475   CHECK PAID        20024195   IA004884864498           0    444.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -184156.7     475   CHECK PAID        20028532   IA005940395054           0    329.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181836.57     475   CHECK PAID        20028511   IA005940395061           0    428.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -295222.66     475   CHECK PAID        20027609   IA006389347200           0    516.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -323780.26     475   CHECK PAID        20023610   IA006389469458           0    467.55
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -294706.4     475   CHECK PAID        20024697   IA006389470072           0    516.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -358956.75     475   CHECK PAID        20025813   IA006389470488           0      404.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -317160.05     475   CHECK PAID        20026896   IA006389470926           0      478.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -298805.07     475   CHECK PAID        20028001   IA006389473158           0      508.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -234427.94     475   CHECK PAID        20027612   IA006389517642           0      627.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -174366.51     475   CHECK PAID        10061163   IA007382000423           0    260.77




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                    UST-14A
Wells Fargo                                                                                                                                                                          Case Number:                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr:                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                           BAI
             As-Of-                                                                                                             Opening        Closing        Running      Type                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal     Ledger Bal    Code      Tran Desc         Ref No        Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12385266.91      115   LOCKBOX DEPOSIT        201257   IA007382057112    45936.79          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36     4949729.33     12339330.12      115   LOCKBOX DEPOSIT         72371   IA007482380428    59674.65          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -182256.16     475   CHECK PAID          20028413    IA007543327871           0    419.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -175538.33     475   CHECK PAID          20027281    IA007543327872           0    541.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -390762.84     475   CHECK PAID             402046   IA007682426671           0        200
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -393229.46     475   CHECK PAID             402047   IA007682426672           0    153.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0       -35599.17     475   CHECK PAID         200003067    IA008112250162           0   1771.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -113216.34     475   CHECK PAID          20028574    IA008112292612           0      506.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -165804.17     475   CHECK PAID        3003303699    IA008112299132           0    128.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0         -126025     475   CHECK PAID          20028040    IA008112299137           0    474.73
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0        -51328.2     475   CHECK PAID          20028696    IA008112325842           0   1048.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -166162.43     475   CHECK PAID          20028546    IA008112326200           0    106.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -147624.18     475   CHECK PAID          20028492    IA008112359609           0      388.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -42861.44     475   CHECK PAID          20024236    IA008112359870           0   3394.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -127441.1     475   CHECK PAID          20026963    IA008112363326           0    468.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -111184.74     475   CHECK PAID          20027057    IA008112363329           0      510.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0        -77867.3     475   CHECK PAID         200003105    IA008112372666           0      857.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -323312.71     475   CHECK PAID          20028569    IA008112379364           0    467.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -363731.49     475   CHECK PAID          20027902    IA008112394184           0    392.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -338419.41     475   CHECK PAID          20027622    IA008112420935           0    449.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -367575.73     475   CHECK PAID          20027616    IA008112420936           0    375.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -374326.78     475   CHECK PAID          20027658    IA008112420957           0    338.73
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -341550.49     475   CHECK PAID          20028538    IA008112420958           0    444.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -306378.8     475   CHECK PAID          20028607    IA008112420959           0    501.67
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -256779.34     475   CHECK PAID          20024819    IA008112420960           0    577.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -257356.85     475   CHECK PAID          20028141    IA008112420961           0    577.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -276277.48     475   CHECK PAID          20027027    IA008112420962           0    538.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -262519.68     475   CHECK PAID          20025935    IA008112420963           0    571.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -332996.56     475   CHECK PAID          20028591    IA008112420991           0    454.91
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -287959.21     475   CHECK PAID          20028234    IA008112420992           0    522.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -341105.62     475   CHECK PAID          20028663    IA008112421011           0    446.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -337069.88     475   CHECK PAID          20028542    IA008112421018           0    450.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -227377.18     475   CHECK PAID          20027850    IA008112421031           0    653.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -393660.65     475   CHECK PAID          10354253    IA008112439905           0    130.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -360158.85     475   CHECK PAID          20027244    IA008112485951           0    400.48
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -292637.81     475   CHECK PAID          20028368    IA008112485952           0    517.57
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -364123.31     475   CHECK PAID          20023934    IA008112491157           0    391.82
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -273040.5     475   CHECK PAID          10354235    IA008112542834           0    542.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -342882.05     475   CHECK PAID          20028589    IA008112547779           0    443.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -390960.82     475   CHECK PAID          20028478    IA008112547780           0    197.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -267576.34     475   CHECK PAID          20028529    IA008112547781           0       551
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -374996.73     475   CHECK PAID          20026251    IA008112547782           0    333.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -381303.62     475   CHECK PAID          20027355    IA008112547783           0    302.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -346364.58     475   CHECK PAID          20028493    IA008112547784           0    431.73
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -222723.27     475   CHECK PAID          20028520    IA008112547785           0    684.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -308379.65     475   CHECK PAID          20028521    IA008112547786           0    499.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -384419.29     475   CHECK PAID          20027383    IA008112547787           0    272.34
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -321438.82     475   CHECK PAID          20028198    IA008112549415           0    470.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -316681.95     475   CHECK PAID          20028428    IA008112549416           0    479.52
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -313795.39     475   CHECK PAID          20028642    IA008112549443           0    486.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -393530.47     475   CHECK PAID          20028201    IA008112549444           0    148.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0       -224743.4     475   CHECK PAID          20028486    IA008112549569           0    668.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -392917.18     475   CHECK PAID          20028031    IA008112565178           0    163.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -334359.89     475   CHECK PAID          20028638    IA008112569937           0    454.07
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0              0      -174982.57     475   CHECK PAID          10060319    IA008112576383           0       100
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -359357.59     475   CHECK PAID          20026972    IA008112584867           0    400.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -360558.69     475   CHECK PAID          20028317    IA008112585041           0    399.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -312334.17     475   CHECK PAID          20027678    IA008112588616           0    489.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -278954.84     475   CHECK PAID          20028442    IA008112590155           0    533.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0              0      -353177.55     475   CHECK PAID          20028035    IA008112590278           0    419.01




                                                                                     Case 19-62584-pcm11                              Doc 283                    Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -285864.29     475   CHECK PAID        20028116   IA008112590333           0    527.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -275199.66     475   CHECK PAID        20028187   IA008112590440           0    539.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -281621.86     475   CHECK PAID        20028068   IA008112590444           0    533.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -224074.94     475   CHECK PAID        20028146   IA008123269244           0    669.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -231910.92     475   CHECK PAID        20027032   IA008123269245           0    639.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -226068.51     475   CHECK PAID        20025940   IA008123269246           0    661.58
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -237563.69     475   CHECK PAID        20024824   IA008123270090           0    626.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -368684.98     475   CHECK PAID        20027457   IA008137754201           0    367.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -361753.27     475   CHECK PAID        20028594   IA008137754202           0      397.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -381001.56     475   CHECK PAID        20026352   IA008137754203           0    302.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362150.66     475   CHECK PAID        20025252   IA008137754204           0    397.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -299820.67     475   CHECK PAID        20027754   IA008137754273           0    507.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -380699.28     475   CHECK PAID        20027671   IA008137754275           0      305.7
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -208811.05     475   CHECK PAID        20027926   IA008137754326           0    822.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -271953.35     475   CHECK PAID        20028083   IA008137754327           0    545.91
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -360958.12     475   CHECK PAID        20027924   IA008137754426           0    399.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -346796.05     475   CHECK PAID        20027893   IA008137754542           0    431.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -289523.34     475   CHECK PAID        20027651   IA008146029793           0    521.07
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -280021.81     475   CHECK PAID        20026870   IA008146029839           0    533.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -260231.84     475   CHECK PAID        20027974   IA008146029840           0    572.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -369418.33     475   CHECK PAID        20027701   IA008146029855           0        366
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -113722.39     475   CHECK PAID        20028516   IA008212837706           0    506.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -40873.08     475   CHECK PAID       200003123   IA008212903554           0   1751.42
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -33827.36     475   CHECK PAID       200003030   IA008212907110           0   1777.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -47817.91     475   CHECK PAID       200003201   IA008212907113           0   1701.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -75051.14     475   CHECK PAID       200003174   IA008212907114           0   1082.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -77009.4     475   CHECK PAID       200003111   IA008212907115           0    956.12
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -37366.03     475   CHECK PAID       200002632   IA008212907120           0   1766.86
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -51180.65     475   CHECK PAID       200002859   IA008212907121           0   1681.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -67202.98     475   CHECK PAID       200003121   IA008212907125           0   1193.22
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -70670.41     475   CHECK PAID       200003129   IA008212907127           0   1135.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -63373.78     475   CHECK PAID       200003171   IA008212907131           0   1399.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -8125.42     475   CHECK PAID       200003203   IA008212907132           0   2509.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -10348.07     475   CHECK PAID       200003058   IA008212907133           0   2222.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -3091.79     475   CHECK PAID       200003096   IA008212907135           0   3091.79
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -72883.44     475   CHECK PAID       200003158   IA008212907136           0   1094.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -69534.47     475   CHECK PAID       200003176   IA008212907497           0   1162.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -52363.25     475   CHECK PAID        20027691   IA008212926583           0   1035.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -160932.63     475   CHECK PAID        20028544   IA008212928867           0    261.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -136923.92     475   CHECK PAID        20028578   IA008212928868           0    431.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -149552.34     475   CHECK PAID        20028514   IA008212928869           0    384.02
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -86238.6     475   CHECK PAID        20028655   IA008212928870           0    599.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -74334.7     475   CHECK PAID        20028562   IA008212928871           0    671.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -57980.41     475   CHECK PAID        20028292   IA008212928873           0      877.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -85038.32     475   CHECK PAID        20027854   IA008212928874           0    600.82
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -153666.14     475   CHECK PAID        20028559   IA008212928875           0    356.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142005.37     475   CHECK PAID        20028489   IA008212928876           0    412.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -135181.72     475   CHECK PAID        20028597   IA008212932991           0    443.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -284281.09     475   CHECK PAID        20028393   IA008212957422           0    528.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394599.98     475   CHECK PAID        20027799   IA008212959537           0    108.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -371920.88     475   CHECK PAID        20026358   IA008212960384           0    348.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -391912.6     475   CHECK PAID        20027463   IA008212960385           0    182.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -383318.73     475   CHECK PAID        20028600   IA008212960386           0    280.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -344629.43     475   CHECK PAID        20024143   IA008212960387           0    435.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -342438.86     475   CHECK PAID        20025258   IA008212960388           0    444.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -374663.38     475   CHECK PAID        20020118   IA008212960389           0      336.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -373305.73     475   CHECK PAID        20021118   IA008212960390           0    342.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -378521.15     475   CHECK PAID        20020587   IA008212960391           0    314.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -372617.37     475   CHECK PAID        20021621   IA008212960392           0    347.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -373988.05     475   CHECK PAID        20022158   IA008212960393           0    340.83




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -376938.44     475   CHECK PAID        20023027   IA008212960394           0    319.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -395175.68     475   CHECK PAID        20028621   IA008213002578           0      62.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -393381.6     475   CHECK PAID        20027553   IA008213002580           0    152.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -218542.19     475   CHECK PAID        20027588   IA008213002808           0    714.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -279488.35     475   CHECK PAID        20028199   IA008213002828           0    533.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -98600.99     475   CHECK PAID       200003137   IA008213002961           0   2340.79
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -324713.82     475   CHECK PAID        20028563   IA008213003294           0    466.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -329344.16     475   CHECK PAID        20027707   IA008213004315           0    458.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -331631.02     475   CHECK PAID        20027769   IA008213004316           0      455.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -261376.09     475   CHECK PAID        20027806   IA008213004317           0    571.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -214948.36     475   CHECK PAID        20027771   IA008213004340           0    728.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -290044.17     475   CHECK PAID        20027770   IA008213004341           0    520.83
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -135848.43     475   CHECK PAID       200003116   IA008213005209           0   1606.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -83836.24     475   CHECK PAID        20027834   IA008237977820           0    601.79
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -148397.38     475   CHECK PAID        20027800   IA008237977886           0    386.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -121220.53     475   CHECK PAID        20027739   IA008237977887           0    495.71
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -150701.2     475   CHECK PAID        20027918   IA008237977988           0    382.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -161193.95     475   CHECK PAID        20027445   IA008237978037           0    261.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164061.42     475   CHECK PAID        20026340   IA008237978038           0    199.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163861.78     475   CHECK PAID        20028581   IA008237978039           0    199.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -124598.06     475   CHECK PAID        20028634   IA008237978043           0    477.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -169636.87     475   CHECK PAID       200003093   IA008277625735           0    887.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -155937.34     475   CHECK PAID       200003170   IA008277625736           0    1280.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -103185.29     475   CHECK PAID       200003088   IA008277625897           0   2259.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -163055.79     475   CHECK PAID       200003124   IA008277625899           0   1128.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -157172.43     475   CHECK PAID       200003153   IA008277625900           0   1235.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -164086.57     475   CHECK PAID       200003057   IA008277625901           0   1030.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -140542.93     475   CHECK PAID       200003133   IA008277625903           0   1523.83
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -166943.26     475   CHECK PAID       200003066   IA008277625904           0      911.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -100926.1     475   CHECK PAID       200003119   IA008277625905           0   2325.11
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -96260.2     475   CHECK PAID       200003221   IA008277625907           0   2366.71
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -89017.42     475   CHECK PAID       200003134   IA008277625909           0   2842.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -173663.39     475   CHECK PAID       200003154   IA008277625910           0    525.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -172574.73     475   CHECK PAID       200003199   IA008277625937           0    638.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -146343.85     475   CHECK PAID       200003149   IA008277626020           0   1441.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -107503.8     475   CHECK PAID       200003142   IA008277626021           0   2119.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -109567.79     475   CHECK PAID       200003092   IA008277626024           0   2063.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -161927.3     475   CHECK PAID       200003192   IA008277626027           0   1150.86
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -160776.44     475   CHECK PAID       200003082   IA008277626028           0   1177.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -158393.39     475   CHECK PAID       200003143   IA008277626029           0   1220.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -79221.07     475   CHECK PAID        10061157   IA008313284965           0    586.17
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -13085.56     475   CHECK PAID      5100147660   IA008313312770           0 13085.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146456.16     475   CHECK PAID        20028590   IA008313314287           0    397.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142417.44     475   CHECK PAID        20028431   IA008313316519           0    412.07
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -52841.2     475   CHECK PAID       200003205   IA008313316940           0   1660.55
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146058.84     475   CHECK PAID        20024291   IA008313317104           0    397.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -145661.09     475   CHECK PAID        20025412   IA008313317105           0    397.85
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -159831.41     475   CHECK PAID        20026507   IA008313317106           0    295.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -156719.87     475   CHECK PAID        20027604   IA008313317107           0    325.52
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166889.06     475   CHECK PAID        10354002   IA008313317245           0         25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -76326.32     475   CHECK PAID        20023708   IA008313317246           0    655.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -70948.91     475   CHECK PAID        20024801   IA008313317247           0    693.03
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -97783.55     475   CHECK PAID        20025917   IA008313317248           0    560.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164255.76     475   CHECK PAID        20022730   IA008313317249           0    194.34
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -76973.26     475   CHECK PAID        20027009   IA008313317250           0    646.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -71636.69     475   CHECK PAID        20028123   IA008313317251           0    687.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166751.33     475   CHECK PAID        20019210   IA008313317252           0      62.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -14601.42     475   CHECK PAID       200003100   IA008313317364           0   2098.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -12503.03     475   CHECK PAID       200003065   IA008313317670           0   2154.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -144862.75     475   CHECK PAID        20027683   IA008313317691           0    400.75




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0        -5615.67     475   CHECK PAID       200003183    IA008313317722           0   2523.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -24751.08     475   CHECK PAID       200003196    IA008313317925           0   1913.12
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -107040.04     475   CHECK PAID        20027889    IA008313318516           0    528.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -16679.17     475   CHECK PAID       200003087    IA008313318851           0   2077.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -81553.11     475   CHECK PAID       200002932    IA008313318852           0    237.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -57646.39     475   CHECK PAID       200003120    IA008313318853           0    1534.5
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -117742.88     475   CHECK PAID        20028226    IA008313318881           0    499.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -42623.31     475   CHECK PAID       200003059    IA008313319042           0   1750.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -22837.96     475   CHECK PAID       200003118    IA008313319044           0   2008.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -28440.38     475   CHECK PAID       200003070    IA008313319046           0   1827.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -79804.54     475   CHECK PAID       200003098    IA008313319048           0    583.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -81316.03     475   CHECK PAID       200002969    IA008313319049           0    318.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -106511.11     475   CHECK PAID        20027897    IA008313319094           0    531.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -76053.28     475   CHECK PAID       200003113    IA008313319096           0   1002.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0        -80997.8     475   CHECK PAID       200003189    IA008313319097           0    366.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -26613.06     475   CHECK PAID       200003165    IA008313319098           0   1861.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -60566.32     475   CHECK PAID       200003180    IA008313319100           0   1428.52
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -97223.41     475   CHECK PAID        20027195    IA008313357664           0    560.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -116242.57     475   CHECK PAID        20026895    IA008313357688           0    503.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -98341.63     475   CHECK PAID        20028217    IA008313359274           0    558.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -63655.81     475   CHECK PAID        20028555    IA008313359390           0    757.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -202215.91     475   CHECK PAID        20028564    IA008313404239           0   1179.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -171239.78     475   CHECK PAID           401477   IA008313412296           0    796.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -395360.41     475   CHECK PAID           402028   IA008313501531           0      28.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -391158.77     475   CHECK PAID           402038   IA008313501532           0    197.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -216396.1     475   CHECK PAID        20027876    IA008313501534           0    720.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -370866.27     475   CHECK PAID        20027785    IA008313501559           0    358.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -222038.92     475   CHECK PAID        20027732    IA008313501789           0    689.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -316202.43     475   CHECK PAID        20026485    IA008313501793           0    479.89
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -233800.34     475   CHECK PAID        20027581    IA008313501794           0    627.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -286389.99     475   CHECK PAID        20028406    IA008313508076           0      525.7
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -204387.89     475   CHECK PAID        20027725    IA008313508190           0   1062.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                   0                0        -2909.42     475   CHECK PAID       200000212    IA008313510747           0  1366.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -124306.67     475   CHECK PAID       200003107    IA008313541259           0   1762.68
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -105384.76     475   CHECK PAID       200003135    IA008313541260           0   2199.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -86175.38     475   CHECK PAID       200003169    IA008313541261           0   3104.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -122543.99     475   CHECK PAID       200003195    IA008313541263           0    1784.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -174617.21     475   CHECK PAID       200002847    IA008313541264           0      250.7
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -147784.36     475   CHECK PAID       200003042    IA008313541265           0   1440.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -159599.19     475   CHECK PAID       200002327    IA008313541266           0    1205.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -173138.11     475   CHECK PAID       200003089    IA008313541404           0    563.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -174105.74     475   CHECK PAID           401478   IA008313541405           0    442.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -174882.57     475   CHECK PAID        10061058    IA008313541411           0        100
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -383598.95     475   CHECK PAID        20028419    IA008313544850           0    280.22
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -256201.83     475   CHECK PAID        20027900    IA008313547353           0      577.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -235055.54     475   CHECK PAID        20027901    IA008313547354           0      627.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -315722.54     475   CHECK PAID        20028554    IA008313547356           0    479.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -336619.49     475   CHECK PAID        20028553    IA008313547357           0    450.52
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -303863.47     475   CHECK PAID        20028584    IA008313547358           0      504.3
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -375973.67     475   CHECK PAID        20028537    IA008313547360           0    324.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -203325.75     475   CHECK PAID        20028667    IA008313555476           0   1109.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -117133.63     475   CHECK PAID       200003191    IA008374936009           0   1869.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -166259.93     475   CHECK PAID           402043   IA008417670761           0       97.5
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0        -84437.5     475   CHECK PAID        20024676    IA008417670940           0    601.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -147235.78     475   CHECK PAID        20027117    IA008417676155           0    388.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -122195.56     475   CHECK PAID        20027107    IA008417676195           0    484.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -132063.95     475   CHECK PAID        20024903    IA008417676196           0    454.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -143239.92     475   CHECK PAID        20023807    IA008417676197           0    410.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -140344.13     475   CHECK PAID        20026011    IA008417676198           0    423.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -49042.31     475   CHECK PAID        20027296    IA008417676226           0   1262.52




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -46493.08     475   CHECK PAID        20026194   IA008417676227           0   1381.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -64412.8     475   CHECK PAID        20024800   IA008417676232           0    756.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -69550.75     475   CHECK PAID        20027008   IA008417676233           0    712.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65168.49     475   CHECK PAID        20023707   IA008417676234           0    755.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -85639.09     475   CHECK PAID        20022729   IA008417676235           0    600.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -89214.87     475   CHECK PAID        20020881   IA008417676236           0    592.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -103295.67     475   CHECK PAID        20021949   IA008417676237           0    543.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -118739.08     475   CHECK PAID        20021405   IA008417676238           0    497.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -86836.74     475   CHECK PAID        20020379   IA008417676239           0    598.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -70255.88     475   CHECK PAID        20025916   IA008417676240           0    705.13
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -165389.22     475   CHECK PAID      3003303684   IA008417676251           0    148.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -121710.82     475   CHECK PAID        20025407   IA008417676259           0    490.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -137785.44     475   CHECK PAID        20024286   IA008417676260           0    430.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164936.52     475   CHECK PAID        20023181   IA008417676261           0    154.83
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142829.16     475   CHECK PAID        20026502   IA008417676262           0    411.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -104376.62     475   CHECK PAID        20027779   IA008417743863           0    538.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -100012.02     475   CHECK PAID        20027789   IA008417743867           0      556.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -151460.49     475   CHECK PAID        20027869   IA008417745267           0    379.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -104913.42     475   CHECK PAID        20027634   IA008417745269           0      536.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -127909.35     475   CHECK PAID        20027276   IA008417748198           0    468.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -55303.28     475   CHECK PAID        20028222   IA008417748203           0    966.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -96662.82     475   CHECK PAID        20027989   IA008417748239           0    562.01
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -83234.45     475   CHECK PAID        20027988   IA008417748240           0      609.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -93840.33     475   CHECK PAID        20028623   IA008417748241           0    570.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -151835.69     475   CHECK PAID        20028523   IA008417748242           0      375.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -80771.92     475   CHECK PAID        20028034   IA008417748283           0    622.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -95538.62     475   CHECK PAID        20026774   IA008417748892           0    562.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166056.12     475   CHECK PAID        20027615   IA008417748921           0    124.13
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -92126.31     475   CHECK PAID        20027873   IA008417748922           0    572.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -73662.92     475   CHECK PAID        20027855   IA008417748923           0    672.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -109649.89     475   CHECK PAID        20027883   IA008417748924           0    516.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -160671.01     475   CHECK PAID        20027664   IA008417748925           0    272.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -60541.49     475   CHECK PAID        20027898   IA008417748926           0    839.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62897.83     475   CHECK PAID        20027576   IA008417749021           0      781.7
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -156067.66     475   CHECK PAID        20027672   IA008417749023           0    332.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -129303.44     475   CHECK PAID        20027591   IA008417749024           0    463.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -22910.56     475   CHECK PAID        10354282   IA008417749194           0      9825
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -30247.74     475   CHECK PAID       200003140   IA008417780249           0   1807.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -39121.66     475   CHECK PAID       200003097   IA008417781875           0   1755.63
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -159235.31     475   CHECK PAID        20026570   IA008417800313           0    303.12
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164622.78     475   CHECK PAID        20026776   IA008417800480           0    178.01
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367200.49     475   CHECK PAID        20028008   IA008417871745           0    375.85
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -264795.19     475   CHECK PAID        20028102   IA008417873481           0    566.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -327964.91     475   CHECK PAID        20028162   IA008417873694           0    463.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -358145.16     475   CHECK PAID        20028626   IA008417874105           0    407.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -371220.61     475   CHECK PAID        20027574   IA008417874431           0    354.34
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -306879.36     475   CHECK PAID        20028306   IA008417883664           0    500.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -270861.53     475   CHECK PAID        20027934   IA008417900411           0    545.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -219962.17     475   CHECK PAID        20027821   IA008417905050           0    709.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -388427.53     475   CHECK PAID        20022002   IA008417905051           0    227.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -304367.71     475   CHECK PAID        20023887   IA008417905052           0    504.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -313308.77     475   CHECK PAID        20027192   IA008417905053           0    487.13
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -339316.71     475   CHECK PAID        20026093   IA008417905054           0    448.34
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -366059.9     475   CHECK PAID        20020426   IA008417905055           0    384.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362547.86     475   CHECK PAID        20020944   IA008417905056           0      397.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -364903.56     475   CHECK PAID        20022833   IA008417905057           0    389.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -373647.22     475   CHECK PAID        20021460   IA008417905058           0    341.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -271407.44     475   CHECK PAID        20028309   IA008417905059           0    545.91
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -274121.19     475   CHECK PAID        20024992   IA008417905060           0    539.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -309873.59     475   CHECK PAID        20025601   IA008417918025           0    497.86




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -357329.5     475   CHECK PAID        20027791   IA008417918026           0    410.14
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -228683.94     475   CHECK PAID        20027999   IA008417921966           0    653.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -314762.63     475   CHECK PAID        20028462   IA008417965855           0      483.5
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -389739.21     475   CHECK PAID        20028334   IA008417965857           0    212.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -307379.53     475   CHECK PAID        20028339   IA008417965858           0    500.17
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -322845.12     475   CHECK PAID        20028558   IA008417965861           0      467.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -392753.99     475   CHECK PAID        20028390   IA008417965864           0    163.71
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -236937.32     475   CHECK PAID        20028509   IA008417965865           0    626.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -356507.27     475   CHECK PAID        20028203   IA008417965881           0      412.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -370507.81     475   CHECK PAID        20028632   IA008417965984           0    359.89
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -354432.62     475   CHECK PAID        20028443   IA008417981272           0    418.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -268125.9     475   CHECK PAID        20027801   IA008417983829           0    549.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -266473.55     475   CHECK PAID        20027668   IA008417983830           0      553.3
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -278421.08     475   CHECK PAID        20027927   IA008418003248           0    533.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -251557.41     475   CHECK PAID        20028033   IA008418003251           0    587.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -311844.41     475   CHECK PAID        20027787   IA008418003255           0    490.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -249780.55     475   CHECK PAID        20028009   IA008418003294           0    599.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -263661.56     475   CHECK PAID        20026903   IA008418003295           0    570.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -247377.37     475   CHECK PAID        20025820   IA008418003296           0    601.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -247978.82     475   CHECK PAID        20024704   IA008418003297           0    601.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -263091.13     475   CHECK PAID        20023618   IA008418003298           0    571.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394969.51     475   CHECK PAID        20022677   IA008418003299           0      82.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -375323.31     475   CHECK PAID        20028053   IA008418003307           0    326.58
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -268675.08     475   CHECK PAID        20027686   IA008418003308           0    549.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -327501.82     475   CHECK PAID        20027685   IA008418003309           0      463.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -297786.48     475   CHECK PAID        20028438   IA008418003311           0    511.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -340212.59     475   CHECK PAID        20028570   IA008418003317           0      447.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -259659.43     475   CHECK PAID        20027127   IA008418003318           0    572.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -225406.93     475   CHECK PAID        20024923   IA008418003319           0    663.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -301844.34     475   CHECK PAID        20028238   IA008418003320           0    505.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -282154.48     475   CHECK PAID        20028103   IA008418003325           0    532.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -288481.19     475   CHECK PAID        20028315   IA008418003327           0    521.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -391545.38     475   CHECK PAID        20027814   IA008418003372           0    189.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -332541.65     475   CHECK PAID        20028007   IA008418003376           0    455.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -336168.97     475   CHECK PAID        20028349   IA008418003392           0    451.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -276814.54     475   CHECK PAID        20028437   IA008418003395           0    537.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -350224.74     475   CHECK PAID        20024485   IA008418003405           0    426.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -349798.02     475   CHECK PAID        20025608   IA008418003406           0    426.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -351498.13     475   CHECK PAID        20023395   IA008418003407           0    423.22
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -291084.26     475   CHECK PAID        20028220   IA008418003411           0    519.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -390157.61     475   CHECK PAID        20028324   IA008418003412           0    205.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -252144.47     475   CHECK PAID        20028151   IA008418003417           0    587.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -347656.68     475   CHECK PAID        20027038   IA008418003418           0    429.85
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -366824.64     475   CHECK PAID        20025946   IA008418003419           0    380.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -211215.94     475   CHECK PAID        20027951   IA008418003420           0    791.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -343320.41     475   CHECK PAID        20026117   IA008418003421           0    438.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -283752.31     475   CHECK PAID        20028336   IA008418003422           0    532.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -314279.13     475   CHECK PAID        20027216   IA008418003423           0    483.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -302349.73     475   CHECK PAID        20027930   IA008418003425           0    505.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -238190     475   CHECK PAID        20027954   IA008418003429           0    626.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -270315.61     475   CHECK PAID        20027959   IA008418003430           0      546.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -244969.01     475   CHECK PAID        20028649   IA008418003443           0    608.54
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -304871.67     475   CHECK PAID        20026909   IA008418003450           0    503.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -277887.31     475   CHECK PAID        20025824   IA008418003451           0    535.97
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -230627.28     475   CHECK PAID        20028052   IA008418003463           0    644.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -340659.35     475   CHECK PAID        20028300   IA008418003474           0    446.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -387491.97     475   CHECK PAID        20028465   IA008418003483           0    241.17
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -231271.49     475   CHECK PAID        20027868   IA008418003502           0    644.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -361355.87     475   CHECK PAID        20027676   IA008418004004           0    397.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163444.86     475   CHECK PAID        20027746   IA008513141045           0    235.32




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -73968.45     475   CHECK PAID       200003150    IA008513146400           0   1085.01
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166831.86     475   CHECK PAID        20027546    IA008513149308           0      40.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -101113.68     475   CHECK PAID        20026077    IA008513150210           0    550.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -110674.64     475   CHECK PAID        20027176    IA008513150211           0    510.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -165240.27     475   CHECK PAID        20025197    IA008513150212           0    150.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -165536.22     475   CHECK PAID           402030   IA008513171911           0        147
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -133405.53     475   CHECK PAID        20028250    IA008513176144           0    445.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -71789.29     475   CHECK PAID       200003214    IA008513197379           0   1118.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -32049.74     475   CHECK PAID        10061138    IA008513197826           0       1802
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -144056.73     475   CHECK PAID        20027895    IA008513205502           0      406.3
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -34865.66     475   CHECK PAID      5100147661    IA008513212531           0    4895.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -88622.83     475   CHECK PAID        20028568    IA008513233524           0    592.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -129767     475   CHECK PAID        20024927    IA008513233537           0    463.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -105979.97     475   CHECK PAID        20027781    IA008513233545           0    532.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -87434.35     475   CHECK PAID        20027227    IA008513233552           0    597.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -75670.39     475   CHECK PAID        20028208    IA008513233562           0    665.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158932.19     475   CHECK PAID        20027778    IA008513233563           0    309.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -152951.32     475   CHECK PAID        20028628    IA008513233564           0      369.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -161455.23     475   CHECK PAID        20028500    IA008513233569           0    261.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -57103.21     475   CHECK PAID        20028499    IA008513233570           0    886.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -128375.7     475   CHECK PAID        20028604    IA008513233571           0    466.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -58856.05     475   CHECK PAID        20028596    IA008513233572           0    875.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -152210.04     475   CHECK PAID        20028611    IA008513233578           0    374.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -150318.75     475   CHECK PAID        20028573    IA008513233580           0    382.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -160398.96     475   CHECK PAID        20027350    IA008513233581           0    281.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -154021.41     475   CHECK PAID        20028488    IA008513233582           0    355.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -161716.38     475   CHECK PAID        20026246    IA008513233583           0    261.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -117243.44     475   CHECK PAID        20025271    IA008513233584           0    500.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -157361.37     475   CHECK PAID        20023040    IA008513233585           0      319.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -144462     475   CHECK PAID        20026596    IA008513233586           0    405.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -105447.52     475   CHECK PAID        20027564    IA008513233592           0      534.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -115739.06     475   CHECK PAID        20027711    IA008513233614           0    503.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -141593.19     475   CHECK PAID        20028560    IA008513233620           0    415.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163662.12     475   CHECK PAID        20027409    IA008513233621           0    217.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -154374.64     475   CHECK PAID        20026356    IA008513233626           0    353.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -136492.04     475   CHECK PAID        20027461    IA008513233627           0    434.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -130228.96     475   CHECK PAID        20028598    IA008513233628           0    461.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146847.37     475   CHECK PAID        20028579    IA008513233630           0    391.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -371571.89     475   CHECK PAID        20028561    IA008513268460           0    351.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -319068.47     475   CHECK PAID        20028636    IA008513308681           0    476.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -369783.57     475   CHECK PAID        20028510    IA008513315581           0    365.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -312821.64     475   CHECK PAID        20028013    IA008513316062           0    487.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -324247.06     475   CHECK PAID        20028170    IA008513321209           0      466.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -111473.13     475   CHECK PAID       200003188    IA008513323985           0   1905.34
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -296762.9     475   CHECK PAID        20028099    IA008513324099           0    512.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -384689.27     475   CHECK PAID        20026805    IA008513325815           0    269.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -294189.56     475   CHECK PAID        20028340    IA008513325830           0    516.84
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -347226.83     475   CHECK PAID        20027952    IA008513325831           0    430.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365290.46     475   CHECK PAID             8064   IA008513325908           0      386.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -381893.44     475   CHECK PAID        20028326    IA008513327155           0    294.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -331175.42     475   CHECK PAID        20027625    IA008513327156           0    455.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -166031.36     475   CHECK PAID       200003212    IA008513327166           0      967.5
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -280555.18     475   CHECK PAID        20028417    IA008513347635           0    533.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -395413.49     475   CHECK PAID        10353997    IA008513362506           0         25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -325180.48     475   CHECK PAID        20027562    IA008513364739           0    466.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -345064.61     475   CHECK PAID        20026073    IA008513389868           0    435.18
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -354849.64     475   CHECK PAID        20022817    IA008513389869           0    417.02
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -290564.8     475   CHECK PAID        20023868    IA008513389870           0    520.63
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -338868.37     475   CHECK PAID        20028479    IA008513389877           0    448.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -286913.58     475   CHECK PAID        20027563    IA008513401886           0    523.59




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -349371.28     475   CHECK PAID        20028599    IA008513409165           0      428.3
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -335717.91     475   CHECK PAID        20028658    IA008513444721           0    452.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -283219.7     475   CHECK PAID        20027645    IA008513446083           0    532.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -287436.98     475   CHECK PAID        20028242    IA008513459070           0      523.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -149223.34     475   CHECK PAID       200003157    IA008513492651           0   1438.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -132632.25     475   CHECK PAID       200003186    IA008513509210           0    1627.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -321908.33     475   CHECK PAID        20026658    IA008513541117           0    469.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -309375.73     475   CHECK PAID        20027757    IA008513541118           0    497.97
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -384146.95     475   CHECK PAID        20027849    IA008513541154           0    273.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -214220.05     475   CHECK PAID        20027856    IA008513541157           0    736.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -387971.03     475   CHECK PAID        20019405    IA008513541160           0        238
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -389092.42     475   CHECK PAID        20022178    IA008513541161           0    219.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -379463.68     475   CHECK PAID        20024162    IA008513541162           0    314.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -389311.34     475   CHECK PAID        20026377    IA008513541163           0    218.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -389526.29     475   CHECK PAID        20018963    IA008513541164           0    214.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -378835.34     475   CHECK PAID        20028618    IA008513541165           0    314.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -379149.53     475   CHECK PAID        20025277    IA008513541166           0    314.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -390362.27     475   CHECK PAID      3003303686    IA008513541167           0    204.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -207148.92     475   CHECK PAID           401923   IA008513541168           0    847.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -393784.6     475   CHECK PAID           401671   IA008513541169           0    123.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -393908.55     475   CHECK PAID           401590   IA008513541170           0    123.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -386255.09     475   CHECK PAID        20027630    IA008513541181           0    254.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -395237.33     475   CHECK PAID      3003303692    IA008513547050           0      61.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -67406.5     475   CHECK PAID        20026715    IA008524370813           0    742.42
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -88030.6     475   CHECK PAID        10354219    IA008524470641           0    596.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -29970.56     475   CHECK PAID        10353977    IA008524475269           0      7060
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -171936.14     475   CHECK PAID           401476   IA008536858095           0    696.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -143458.86     475   CHECK PAID       200003050    IA008536858103           0   1449.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -118967.29     475   CHECK PAID       200003079    IA008536858108           0   1833.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -387006.82     475   CHECK PAID        20028680    IA008547017475           0    246.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -125550.27     475   CHECK PAID           402040   IA008612251690           0        476
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -135620.78     475   CHECK PAID        20028490    IA008612264120           0    439.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -155062.44     475   CHECK PAID        20027794    IA008612324132           0    338.73
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -115235.5     475   CHECK PAID        20027593    IA008612324133           0    503.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -138641.82     475   CHECK PAID        20027592    IA008612324134           0    428.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -80225.2     475   CHECK PAID        10061153    IA008612325564           0    420.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -79523.06     475   CHECK PAID        20028460    IA008612327772           0       627
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -162225.64     475   CHECK PAID        20028213    IA008612329035           0    254.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -140761.05     475   CHECK PAID        20028482    IA008612338455           0    416.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -134738.51     475   CHECK PAID        20027837    IA008612341468           0    443.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166353.87     475   CHECK PAID        20027882    IA008612341526           0      93.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -114227.78     475   CHECK PAID        20027971    IA008612342548           0    505.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -61974.31     475   CHECK PAID       200003156    IA008612349936           0   1407.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -68371.63     475   CHECK PAID       200003099    IA008612349937           0   1168.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166447.81     475   CHECK PAID        20027722    IA008612352621           0      93.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -81393.97     475   CHECK PAID        20027631    IA008612355410           0    622.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -90394.7     475   CHECK PAID        20026537    IA008612355411           0    589.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -326574.62     475   CHECK PAID        20027585    IA008612396292           0    463.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -320967.98     475   CHECK PAID        20028048    IA008612396665           0    473.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -307879.69     475   CHECK PAID        20028176    IA008612397576           0    500.16
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -243138.34     475   CHECK PAID        20028297    IA008612397865           0    613.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -315242.6     475   CHECK PAID        20027947    IA008612421329           0    479.97
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -332086.4     475   CHECK PAID        20027561    IA008612432324           0    455.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -393075.53     475   CHECK PAID        20028407    IA008612495570           0    158.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -235683.13     475   CHECK PAID        20028230    IA008612523840           0    627.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -388200.34     475   CHECK PAID        20027578    IA008612531559           0    229.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -386509.41     475   CHECK PAID        20026690    IA008612531561           0    254.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -326110.85     475   CHECK PAID        20027928    IA008612535499           0    463.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -300327.96     475   CHECK PAID        20027571    IA008612535533           0    507.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -236310.37     475   CHECK PAID        20028288    IA008612536958           0    627.24




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -282687.09     475   CHECK PAID        20027932   IA008612539987           0    532.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -351074.91     475   CHECK PAID        20028177   IA008612539997           0    424.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -296250.26     475   CHECK PAID        20028168   IA008612547069           0    513.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -395439.59     475   CHECK PAID        10354198   IA008612547070           0         10
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -120759.39     475   CHECK PAID       200003148   IA008612555070           0    1792.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -211990.18     475   CHECK PAID        10353649   IA008612555394           0    774.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -337970.1     475   CHECK PAID        20027733   IA008612561440           0    450.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -281088.53     475   CHECK PAID        20028104   IA008612573923           0    533.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -113372.41     475   CHECK PAID       200003216   IA008612574014           0   1899.28
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -127682.4     475   CHECK PAID       200003075   IA008612574015           0   1674.11
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -221349.17     475   CHECK PAID        20024282   IA008612574072           0    691.24
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -223405.5     475   CHECK PAID        20026499   IA008612574073           0    682.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -394707.18     475   CHECK PAID        20027888   IA008612574074           0      107.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -319544.76     475   CHECK PAID        20027566   IA008612574075           0    476.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -255046.63     475   CHECK PAID        20028067   IA008612574875           0    579.16
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -139019.1     475   CHECK PAID       200003163   IA008612575040           0   1574.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -115264.45     475   CHECK PAID       200003104   IA008612575041           0   1892.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -174782.57     475   CHECK PAID       200003095   IA008612576122           0    165.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -153369.79     475   CHECK PAID       200003147   IA008612576123           0   1333.03
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -129347.44     475   CHECK PAID       200003222   IA008612576124           0   1665.04
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -170443.72     475   CHECK PAID       200003184   IA008612576125           0    806.85
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -345932.85     475   CHECK PAID        20028370   IA008612576656           0    433.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -134241.97     475   CHECK PAID       200003175   IA008612576726           0   1609.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -150633.15     475   CHECK PAID       200003223   IA008612576727           0   1409.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -91494.33     475   CHECK PAID       200003102   IA008612579270           0   2476.91
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -93893.49     475   CHECK PAID       200003172   IA008612580075           0   2399.16
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -388651.84     475   CHECK PAID        20028111   IA008612580121           0    224.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -395045.33     475   CHECK PAID        20028246   IA008612580391           0      75.82
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -168749.03     475   CHECK PAID       200003151   IA008612580659           0    898.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -394491.24     475   CHECK PAID        20024925   IA008612580833           0    110.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -369052.33     475   CHECK PAID        20023825   IA008612580834           0    367.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -305877.13     475   CHECK PAID        20028295   IA008612581524           0      501.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -328885.17     475   CHECK PAID        20027304   IA008612581525           0    459.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -328425.22     475   CHECK PAID        20025101   IA008612581526           0    460.31
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -293672.72     475   CHECK PAID        20028441   IA008612581527           0    517.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -386760.56     475   CHECK PAID        20027134   IA008612581578           0    251.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -368317.59     475   CHECK PAID        20027880   IA008612582440           0    369.54
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -376297.2     475   CHECK PAID        20025734   IA008612583163           0    323.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -167850.05     475   CHECK PAID       200003055   IA008612583249           0    906.79
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -131004.85     475   CHECK PAID       200003063   IA008612583259           0   1657.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -142009.35     475   CHECK PAID       200003106   IA008612583264           0   1466.42
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -144901.87     475   CHECK PAID       200003068   IA008612598502           0   1443.01
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -152036.76     475   CHECK PAID       200003069   IA008612598503           0   1403.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -126008.29     475   CHECK PAID       200003136   IA008612598504           0   1701.62
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0      -154657.24     475   CHECK PAID       200003230   IA008612598735           0   1287.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                   0                0        -3238.52     475   CHECK PAID       200000196   IA008612600028           0      48.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                   0                0        -3190.19     475   CHECK PAID       200000206   IA008612600029           0    280.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -366443.68     475   CHECK PAID        20028397   IA008612600757           0    383.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -378206.31     475   CHECK PAID        20027920   IA008612600760           0    314.97
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -229334.82     475   CHECK PAID        20028166   IA008612600771           0    650.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -385483.55     475   CHECK PAID        20027879   IA008612600778           0    262.63
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -253887.92     475   CHECK PAID        20028147   IA008612600780           0      579.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -210424.25     475   CHECK PAID        20028188   IA008612600781           0    795.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -389952.02     475   CHECK PAID        20028484   IA008612600784           0    212.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -215676.02     475   CHECK PAID        20028609   IA008612600785           0    727.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -377574.07     475   CHECK PAID        20028265   IA008612600791           0      317.3
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -228030.79     475   CHECK PAID        20027720   IA008612600797           0    653.61
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -356919.36     475   CHECK PAID        20027822   IA008612600813           0    412.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -310862.25     475   CHECK PAID        20027734   IA008612600814           0    494.16
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0         -383873     475   CHECK PAID        20027655   IA008612600815           0    274.05




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                               Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                       Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                                BAI
             As-Of-                                                                                                             Opening          Closing          Running       Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal     Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -381599.09      475   CHECK PAID        20027584   IA008612600816           0    295.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -376619.26      475   CHECK PAID        20027831   IA008612600817           0    322.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -353596.25      475   CHECK PAID        20027738   IA008612600818           0      418.7
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -375649.23      475   CHECK PAID        20027632   IA008612600819           0    325.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -395331.47      475   CHECK PAID        20027646   IA008612600820           0      46.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -394032.01      475   CHECK PAID        20027788   IA008612600821           0    123.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -334813.36      475   CHECK PAID        20027839   IA008612600822           0    453.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -350650.14      475   CHECK PAID        20027613   IA008612600823           0      425.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -372963.36      475   CHECK PAID        20027623   IA008612600824           0    345.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -207988.12      475   CHECK PAID        20027718   IA008612600825           0      839.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -293155.28      475   CHECK PAID        20027798   IA008612600826           0    517.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -382754.13      475   CHECK PAID        20027878   IA008612600827           0    283.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -362944.07      475   CHECK PAID        20027899   IA008612600828           0    396.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -395447.64      475   CHECK PAID        20028701   IA008612600830           0       8.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -395429.59      475   CHECK PAID        20028699   IA008612600831           0       16.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -50279.27      475   CHECK PAID        20028693   IA008625686546           0   1236.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -162475.23      475   CHECK PAID        20026629   IA008636251935           0    249.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -118241.82      475   CHECK PAID        20025538   IA008636251936           0    498.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -132960.16      475   CHECK PAID        20024414   IA008636251937           0      448.1
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -132512.06      475   CHECK PAID        20023319   IA008636251938           0    448.11
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -148783.47      475   CHECK PAID        20022435   IA008636251939           0    386.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -165089.55      475   CHECK PAID        20021800   IA008636251940           0    153.03
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -166688.37      475   CHECK PAID        20019884   IA008636251941           0      75.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -201035.95      475   CHECK PAID      5100147667   IA008636417258           0 15885.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -78896.06      475   CHECK PAID        20028549   IA008713458138           0    634.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -80630.85      475   CHECK PAID       200003078   IA008713482029           0    405.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -122680.21      475   CHECK PAID        20027866   IA008713484121           0    484.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0        -59137.8      475   CHECK PAID       200003215   IA008713490787           0   1491.41
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -56111.89      475   CHECK PAID       200003076   IA008713490794           0   1634.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0        -78634.9      475   CHECK PAID       200003155   IA008713490795           0      767.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -66009.76      475   CHECK PAID       200003231   IA008713490801           0   1297.54
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -64712.22      475   CHECK PAID       200003108   IA008713490803           0   1338.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -18756.53      475   CHECK PAID       200003226   IA008713490804           0   2077.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0       -49499.36      475   CHECK PAID       200003064   IA008713490812           0   1681.45
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                     0                0        -46116.5      475   CHECK PAID       200003080   IA008713490813           0   1743.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                   0                0        -1543.28      475   CHECK PAID       200000211   IA008713492382           0    734.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                   0                0          -808.82     475   CHECK PAID       200000215   IA008713492383           0    808.82
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -164444.77      475   CHECK PAID        20026263   IA008713508772           0    189.01
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0         -155735      475   CHECK PAID        20027367   IA008713508773           0    336.12
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -148010.95      475   CHECK PAID        20025163   IA008713508774           0    386.77
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -136057.51      475   CHECK PAID        20028548   IA008713508782           0    436.73
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -134295.26      475   CHECK PAID        20027187   IA008713509596           0    444.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -155398.88      475   CHECK PAID        20024988   IA008713509597           0    336.44
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -149936.06      475   CHECK PAID        20023883   IA008713509598           0    383.72
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -159535.9      475   CHECK PAID        20026088   IA008713509599           0    300.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -166613.31      475   CHECK PAID        20022830   IA008713509600           0       75.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -145263.24      475   CHECK PAID        20027141   IA008713509695           0    400.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -154723.71      475   CHECK PAID        20026044   IA008713509696           0    349.07
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0        -56216.8      475   CHECK PAID        20027605   IA008713509709           0    913.52
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -139496.12      475   CHECK PAID        20027896   IA008713509710           0    426.74
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -92698.37      475   CHECK PAID        20027740   IA008713509714           0    572.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -112709.54      475   CHECK PAID        20026029   IA008713509716           0    507.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0         -151081      475   CHECK PAID        20028259   IA008713509722           0      379.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -165931.99      475   CHECK PAID        20028325   IA008713509723           0    127.82
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -119235.63      475   CHECK PAID        20028174   IA008713509724           0    496.55
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -119732.18      475   CHECK PAID        20028076   IA008713509725           0    496.55
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -110164.35      475   CHECK PAID        20028090   IA008713509727           0    514.46
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0      -116743.38      475   CHECK PAID        20028169   IA008713509730           0    500.81
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -72990.63      475   CHECK PAID        20027953   IA008713509733           0    675.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                     0                0       -80149.86      475   CHECK PAID        20026847   IA008713509734           0      626.8




                                                                                     Case 19-62584-pcm11                              Doc 283                         Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -72315.44     475   CHECK PAID        20027012   IA008713509743           0    678.75
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -75004.96     475   CHECK PAID        20028126   IA008713509744           0    670.26
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62116.13     475   CHECK PAID        20025762   IA008713509746           0    782.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65920.18     475   CHECK PAID        20026846   IA008713509747           0    751.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -61333.18     475   CHECK PAID        20024644   IA008713509748           0    791.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -141177.58     475   CHECK PAID        20027943   IA008713509758           0    416.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -123641.95     475   CHECK PAID        20028543   IA008713509766           0    478.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -107567.73     475   CHECK PAID        20028477   IA008713509782           0    527.69
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -385743.09     475   CHECK PAID        20026775   IA008713531776           0    259.54
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -391355.73     475   CHECK PAID        20027877   IA008713532288           0    196.96
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -383037.8     475   CHECK PAID        20028481   IA008713536680           0    283.67
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -385220.92     475   CHECK PAID        20027439   IA008713537185           0    264.65
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -370147.92     475   CHECK PAID        20026334   IA008713537186           0    364.35
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -250969.92     475   CHECK PAID        20028575   IA008713537187           0    591.09
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -330261.11     475   CHECK PAID        20028525   IA008713537191           0    458.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -329802.64     475   CHECK PAID        20028526   IA008713537192           0    458.48
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -217113.1     475   CHECK PAID        20028552   IA008713537374           0        717
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -357737.97     475   CHECK PAID        20028503   IA008713537375           0    408.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -205358.02     475   CHECK PAID        20026993   IA008713537378           0    970.13
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -335265.83     475   CHECK PAID        20028359   IA008713537382           0    452.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -384956.27     475   CHECK PAID        20027441   IA008713537384           0        267
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -377256.77     475   CHECK PAID        20023673   IA008713537505           0    318.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -382470.44     475   CHECK PAID        20022713   IA008713537506           0    284.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -289002.27     475   CHECK PAID        20028463   IA008713579709           0    521.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -165063.86     475   CHECK PAID       200003198   IA008713589695           0    977.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -277351.34     475   CHECK PAID        20027758   IA008713611308           0      536.8
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -302854.59     475   CHECK PAID        20027557   IA008713635498           0    504.86
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -395112.81     475   CHECK PAID        20027527   IA008713635684           0      67.48
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -388873.37     475   CHECK PAID        20028504   IA008713641483           0    221.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -333451.44     475   CHECK PAID        20024295   IA008713641740           0    454.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394266.92     475   CHECK PAID        20025345   IA008713641741           0    115.05
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -322377.22     475   CHECK PAID        20023190   IA008713641742           0    468.89
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -255624.23     475   CHECK PAID        20027761   IA008713642190           0      577.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -330719.49     475   CHECK PAID        20027661   IA008713642320           0    458.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -249181.16     475   CHECK PAID        20028020   IA008713647790           0    600.92
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -261947.92     475   CHECK PAID        20028142   IA008713649322           0    571.83
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -301338.95     475   CHECK PAID        20028286   IA008713715255           0      505.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -240056.21     475   CHECK PAID        20028287   IA008713715455           0    622.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0      -137444.49     475   CHECK PAID       200003182   IA008713724568           0   1596.06
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -363338.85     475   CHECK PAID        20028274   IA008713729626           0    394.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -386000.73     475   CHECK PAID        20027985   IA008713729979           0    257.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -138213.76     475   CHECK PAID        20027835   IA008733482563           0    428.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -120228.71     475   CHECK PAID        20027842   IA008733482564           0    496.53
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -157679.7     475   CHECK PAID        20026576   IA008733482774           0    318.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -102751.92     475   CHECK PAID        20027674   IA008733482775           0    545.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -111693.28     475   CHECK PAID        20027660   IA008733482942           0    508.54
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -108091.32     475   CHECK PAID        20027666   IA008733482946           0    523.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -114731.94     475   CHECK PAID        20025023   IA008733483007           0    504.16
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -318114.87     475   CHECK PAID        20027140   IA008733569778           0        477
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -285336.86     475   CHECK PAID        20028010   IA008733570313           0    527.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -217827.74     475   CHECK PAID        20027841   IA008744187734           0    714.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -240676.99     475   CHECK PAID        20028651   IA008744358935           0    620.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -395284.82     475   CHECK PAID        20027717   IA008744374252           0      47.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -311354.04     475   CHECK PAID        20027813   IA008744374253           0    491.79
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -44372.97     475   CHECK PAID       200003122   IA008819020143           0   1749.66
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -54477.56     475   CHECK PAID       200003179   IA008819021787           0   1636.36
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -123163.7     475   CHECK PAID        20028483   IA008819025862           0    483.49
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -98898.63     475   CHECK PAID        20028430   IA008819025863           0       557
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -94408.84     475   CHECK PAID        20024993   IA008819025900           0    568.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -109133.64     475   CHECK PAID        20027193   IA008819025901           0    520.13




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -93270.27     475   CHECK PAID        20026094   IA008819025902           0      571.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -130689.34     475   CHECK PAID        20023888   IA008819025903           0    460.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -66664.08     475   CHECK PAID        20027808   IA008819064025           0      743.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163209.54     475   CHECK PAID        20027743   IA008819064625           0    238.76
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -99455.62     475   CHECK PAID        20028267   IA008819065487           0    556.99
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -96100.81     475   CHECK PAID        20028635   IA008819065637           0    562.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -102206.59     475   CHECK PAID        20028268   IA008819065655           0    545.91
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -131149.24     475   CHECK PAID        20028455   IA008819065753           0      459.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -131609.14     475   CHECK PAID        20028454   IA008819065754           0      459.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -20829.72     475   CHECK PAID       200003130   IA008819066251           0   2073.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -101660.68     475   CHECK PAID        20028022   IA008819066275           0        547
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -126499.29     475   CHECK PAID        20028329   IA008819066442           0    474.29
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68837.99     475   CHECK PAID        20027848   IA008819066915           0    714.47
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -157041.57     475   CHECK PAID        20028528   IA008819078491           0      321.7
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68123.52     475   CHECK PAID        20028550   IA008819078888           0    717.02
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -139920.32     475   CHECK PAID        20028592   IA008819078889           0      424.2
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -137354.7     475   CHECK PAID        20028191   IA008819078890           0    430.78
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -160117.31     475   CHECK PAID        20027358   IA008819079753           0      285.9
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -157995.64     475   CHECK PAID        20028496   IA008819079754           0    315.94
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158311.57     475   CHECK PAID        20025154   IA008819079755           0    315.93
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -133850.9     475   CHECK PAID        20028235   IA008819080933           0    445.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -54336.53     475   CHECK PAID        20028474   IA008819082094           0    975.33
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -59702.28     475   CHECK PAID        20027597   IA008819084140           0    846.23
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82010.84     475   CHECK PAID        20027689   IA008819084141           0    616.87
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -94975.81     475   CHECK PAID        20027654   IA008819084142           0    566.97
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -47779.79     475   CHECK PAID        20027662   IA008819084143           0   1286.71
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -124120.08     475   CHECK PAID        20027688   IA008819084145           0    478.13
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -139069.38     475   CHECK PAID        20027727   IA008819084408           0    427.56
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -299313.02     475   CHECK PAID        20028043   IA008819084475           0    507.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -53361.2     475   CHECK PAID        20027669   IA008819084681           0    997.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -126972.67     475   CHECK PAID        20028284   IA008819084800           0    473.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166537.41     475   CHECK PAID        20028276   IA008819084808           0       89.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -77618.69     475   CHECK PAID        20026969   IA008819084814           0    645.43
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -162970.78     475   CHECK PAID        20022714   IA008819084815           0    247.16
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -91554.25     475   CHECK PAID        20025881   IA008819084816           0    578.95
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -89805.25     475   CHECK PAID        20028272   IA008819084832           0    590.38
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -100563.42     475   CHECK PAID        20027155   IA008819084833           0      551.4
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82625.05     475   CHECK PAID        20027156   IA008819084834           0    614.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166904.06     475   CHECK PAID        10354194   IA008819084835           0         15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -108613.51     475   CHECK PAID        20027933   IA008819084836           0    522.19
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -241294.36     475   CHECK PAID        20026878   IA008819084858           0    617.37
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -120724.82     475   CHECK PAID        20028045   IA008819084894           0    496.11
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -90975.3     475   CHECK PAID        20028269   IA008819084917           0      580.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -152582.12     475   CHECK PAID        20027961   IA008819084919           0    372.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -112201.55     475   CHECK PAID        20028445   IA008819084921           0    508.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -128839.85     475   CHECK PAID        20028629   IA008819084929           0    464.15
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -125074.27     475   CHECK PAID        20027744   IA008819084953           0    476.21
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -143650.43     475   CHECK PAID        20027745   IA008819084959           0    410.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164781.69     475   CHECK PAID        20027659   IA008819084960           0    158.91
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -78261.57     475   CHECK PAID        20028041   IA008819084966           0    642.88
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158622.55     475   CHECK PAID        20027792   IA008819085001           0    310.98
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -149168.32     475   CHECK PAID        20027704   IA008819085002           0    384.85
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -300833.55     475   CHECK PAID        20028089   IA008819090080           0    505.59
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -327038.22     475   CHECK PAID        20027796   IA008819119286           0      463.6
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365675.71     475   CHECK PAID        20028054   IA008819125952           0    385.25
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394151.87     475   CHECK PAID        20027530   IA008819138649           0    119.86
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -395388.49     475   CHECK PAID        20027529   IA008819138650           0      28.08
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394381.19     475   CHECK PAID        20027528   IA008819138651           0    114.27
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -394886.59     475   CHECK PAID        20027526   IA008819138652           0      83.34
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -220657.93     475   CHECK PAID        20027730   IA008819140439           0    695.76




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                           UST-14A
Wells Fargo                                                                                                                                                                        Case Number:                             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                Report Mo/Yr:                            August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                         BAI
             As-Of-                                                                                                             Opening        Closing      Running      Type                                 Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal    Code      Tran Desc                  Ref No        Bank Ref       Credit Amt Debit Amt
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -367948.05     475   CHECK PAID                   20028506    IA008819140749            0    372.32
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -233172.73     475   CHECK PAID                   20027629    IA008819141396            0    629.39
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -352758.54     475   CHECK PAID                   20028625    IA008819156999            0    419.03
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -39467.17     475   CHECK PAID                   10354208    IA008834080434            0   4601.51
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -45111.44     475   CHECK PAID                   10354334    IA008834080435            0      2250
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12225030.56      169   MISCELLANEOUS ACH CREDIT             0   IA071751211500    21479.37          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12382028.39      577   ZBA DEBIT TRANSFER                   0   IA082600000004            0   3238.52
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                 0            0               0     275   INDIVIDUAL ZBA CREDIT                0   IA082600000005     3238.52          0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12207045.82      577   ZBA DEBIT TRANSFER                   0   IA082600000006            0 174982.57
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                0   IA082600000007  174982.57           0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    11811598.18      577   ZBA DEBIT TRANSFER                   0   IA082600000052            0 395447.64
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                0   IA082600000053  395447.64           0
 20190826    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12279505.47      169   MISCELLANEOUS ACH CREDIT             0   IA100205220417     5562.11          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12438771.07      169   MISCELLANEOUS ACH CREDIT             0   IA000010223857    67022.42          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12371748.65      169   MISCELLANEOUS ACH CREDIT             0   IA000010300510     75393.3          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12497509.43      169   MISCELLANEOUS ACH CREDIT             0   IA000011890452    58738.36          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12672721.47      169   MISCELLANEOUS ACH CREDIT             0   IA000012559174    30172.04          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12191958.82      169   MISCELLANEOUS ACH CREDIT             0   IA000013496512  111351.24           0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12642549.43      169   MISCELLANEOUS ACH CREDIT             0   IA000015980460    32069.44          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12802737.11      169   MISCELLANEOUS ACH CREDIT             0   IA000018606341          247         0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12802917.61      169   MISCELLANEOUS ACH CREDIT             0   IA000018606342        180.5         0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12803098.11      169   MISCELLANEOUS ACH CREDIT             0   IA000018606343        180.5         0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12540062.96      169   MISCELLANEOUS ACH CREDIT             0   IA000018687831    42553.53          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12610479.99      169   MISCELLANEOUS ACH CREDIT             0   IA000018915131    34166.93          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12736802.08      169   MISCELLANEOUS ACH CREDIT             0   IA000018915132     18034.8          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12576313.06      169   MISCELLANEOUS ACH CREDIT             0   IA000018915133     36250.1          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     12774957.1      169   MISCELLANEOUS ACH CREDIT             0   IA000024073870     5912.63          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12746501.14      169   MISCELLANEOUS ACH CREDIT             0   IA000025983502     9699.06          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12796601.86      169   MISCELLANEOUS ACH CREDIT             0   IA000025983655     4876.36          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     12791725.5      169   MISCELLANEOUS ACH CREDIT             0   IA000025983810     5443.09          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12800791.56      169   MISCELLANEOUS ACH CREDIT             0   IA000025984301      4189.7          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12769044.47      169   MISCELLANEOUS ACH CREDIT             0   IA000025984332         6321         0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12786282.41      169   MISCELLANEOUS ACH CREDIT             0   IA000025985689     5468.48          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12718767.28      169   MISCELLANEOUS ACH CREDIT             0   IA000025986210    18517.68          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12762723.47      169   MISCELLANEOUS ACH CREDIT             0   IA000025990031     6816.13          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12755907.34      169   MISCELLANEOUS ACH CREDIT             0   IA000025990433      9406.2          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12780813.93      169   MISCELLANEOUS ACH CREDIT             0   IA000028351556     5856.83          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    11962387.84      169   MISCELLANEOUS ACH CREDIT             0   IA000280734100  150789.66           0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12296355.35      169   MISCELLANEOUS ACH CREDIT             0   IA000280734101  104396.53           0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12802490.11      169   MISCELLANEOUS ACH CREDIT             0   IA000280734102     1698.55          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -147106.79     475   CHECK PAID                   20027698    IA000387520842            0    501.68
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -113414.66     475   CHECK PAID                   20028016    IA000470851166            0    583.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -120082.01     475   CHECK PAID                   20028118    IA000471205510            0    549.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -116225.9     475   CHECK PAID                   20028077    IA000471245237            0    557.07
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -175967.7     475   CHECK PAID                   20028412    IA000577958762            0    407.71
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -90992.48     475   CHECK PAID                   20027626    IA000578246186            0    684.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -101414.52     475   CHECK PAID                   20028403    IA000578288994            0    623.61
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -194451.42     475   CHECK PAID                   20026483    IA000578378171            0    256.27
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -183635.92     475   CHECK PAID                   20022288    IA000578378172            0    362.57
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -184715.19     475   CHECK PAID                   20028480    IA000620423192            0     358.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -47846.85     475   CHECK PAID                  200003146    IA001387038777            0   1361.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -57509.02     475   CHECK PAID                  200003187    IA001389648375            0    799.46
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -197235.8     475   CHECK PAID                      402009   IA001582227134            0        75
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -12797.15     475   CHECK PAID                   20028364    IA001583178169            0    616.02
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -121168.77     475   CHECK PAID                   20028291    IA001584195557            0    542.07
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -178361.75     475   CHECK PAID                   20028322    IA001584195563            0    394.03
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -196866.85     475   CHECK PAID                   20027206    IA001584195564            0    148.23
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -67884.72     475   CHECK PAID                   20028005    IA001584195575            0     212.7
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -45150.22     475   CHECK PAID                   20028447    IA001584195580            0    509.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -117881.91     475   CHECK PAID                   20028044    IA001584195640            0    550.27




                                                                                     Case 19-62584-pcm11                              Doc 283                  Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -89615.56     475   CHECK PAID        20027960   IA001584195641           0    709.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -47669.77     475   CHECK PAID        20028435   IA001584195680           0    499.08
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -67434.07     475   CHECK PAID        20028566   IA001585042439           0    253.44
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -64193.99     475   CHECK PAID        20028541   IA001585042471           0      341.3
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158824.46     475   CHECK PAID        20028059   IA001585063049           0    473.51
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -352.06     475   CHECK PAID        20028694   IA001585732452           0   1099.94
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -59281.59     475   CHECK PAID        20024616   IA001585732501           0    414.46
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68839.64     475   CHECK PAID        20028258   IA001585732505           0      75.83
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -40476.59     475   CHECK PAID        20028186   IA001585732618           0    527.43
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65173.39     475   CHECK PAID        20022766   IA001585732620           0    312.45
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -4358.43     475   CHECK PAID        20028182   IA001585732621           0    720.42
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -46165.38     475   CHECK PAID        20027070   IA001585732655           0      505.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -12181.13     475   CHECK PAID        20028179   IA001585732656           0    619.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0           -9051     475   CHECK PAID        20025976   IA001585732657           0    632.43
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -66922.69     475   CHECK PAID        20022684   IA001585732709           0    278.52
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -49662.07     475   CHECK PAID        20023627   IA001585732710           0      496.7
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -17658.22     475   CHECK PAID        20024713   IA001585732711           0    598.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -18845.91     475   CHECK PAID        20028021   IA001585732712           0    590.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -68415.6     475   CHECK PAID        20028263   IA001585771841           0    153.44
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -109295.42     475   CHECK PAID        20028152   IA001586157037           0      594.2
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -135422.74     475   CHECK PAID        20028206   IA001586157087           0    518.42
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -186484.49     475   CHECK PAID        20027911   IA001586157186           0    351.82
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -41530.36     475   CHECK PAID        20027649   IA001586504480           0    526.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -77446.71     475   CHECK PAID        20028687   IA001586504498           0   1408.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -100163.66     475   CHECK PAID        20028124   IA001587196071           0    629.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -137482.15     475   CHECK PAID        20028137   IA001587196073           0    512.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -144595.21     475   CHECK PAID        20027915   IA001587196075           0    504.65
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -190798.68     475   CHECK PAID        20028411   IA001587196095           0    306.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -132301.24     475   CHECK PAID        20027914   IA001587196100           0    521.07
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68262.16     475   CHECK PAID        20026201   IA001587196127           0    174.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -44640.36     475   CHECK PAID        20027303   IA001587196128           0      513.3
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -29179.6     475   CHECK PAID        20028440   IA001587196129           0    555.76
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -41003.5     475   CHECK PAID        20027913   IA001587196232           0    526.91
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -186836.07     475   CHECK PAID        20028209   IA001587196234           0    351.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -141563.19     475   CHECK PAID        20027697   IA001587343609           0    508.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -35684.33     475   CHECK PAID        20028319   IA001587755047           0    536.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197399.76     475   CHECK PAID        20028027   IA001587755155           0      45.62
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -112831.3     475   CHECK PAID        20026922   IA001587755157           0    584.19
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -192570.98     475   CHECK PAID        20026772   IA001588374989           0    290.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -134383.96     475   CHECK PAID        20025687   IA001588374990           0    520.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -137993.79     475   CHECK PAID        20027874   IA001588374991           0    511.64
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68557.97     475   CHECK PAID        20027852   IA001588375005           0    142.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -169248.62     475   CHECK PAID        20027853   IA001588375036           0      434.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -87444.8     475   CHECK PAID        20027747   IA001588375094           0    732.11
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -115668.83     475   CHECK PAID        20027741   IA001588375112           0    557.81
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -44127.06     475   CHECK PAID        20028415   IA001588854910           0    516.66
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -27506.97     475   CHECK PAID        20028221   IA001588854913           0    561.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -7137.76     475   CHECK PAID        20028172   IA001588854915           0      644.2
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -64533.85     475   CHECK PAID        20028304   IA001588854918           0    339.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -54937.5     475   CHECK PAID        20027186   IA001588854919           0    458.77
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -193417.37     475   CHECK PAID        20028019   IA001588854931           0    273.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -35147.75     475   CHECK PAID        20028061   IA001589399567           0    536.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -61718.84     475   CHECK PAID        20026954   IA001589399568           0    399.65
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -129683.25     475   CHECK PAID        20028401   IA001589742389           0    525.71
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -170538.05     475   CHECK PAID        20028363   IA001589742486           0      428.7
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -18255.53     475   CHECK PAID        20027759   IA001589946635           0    597.31
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -43092.84     475   CHECK PAID        20027565   IA001589946670           0    518.72
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -58446.59     475   CHECK PAID        20026468   IA001589946671           0    427.44
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -42053.75     475   CHECK PAID        20025372   IA001589946672           0    523.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -2870.15     475   CHECK PAID        20027606   IA001680863109           0    776.58




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -47170.69     475   CHECK PAID        20027029   IA002247560362           0    501.56
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -111658.44     475   CHECK PAID        20027567   IA002247560429           0    588.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -112247.11     475   CHECK PAID        20027607   IA002247560430           0    588.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -90308.19     475   CHECK PAID        20028136   IA002247560451           0    692.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -98894.11     475   CHECK PAID        20027022   IA002247560452           0    644.23
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197473.64     475   CHECK PAID        10354233   IA002247560453           0         15
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -43610.4     475   CHECK PAID        20028402   IA002247560518           0    517.56
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -61319.19     475   CHECK PAID        20027272   IA002247560519           0    400.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -53553.97     475   CHECK PAID        20028422   IA002247560527           0    471.53
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68987.96     475   CHECK PAID        20028158   IA002247560568           0      73.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -68914.8     475   CHECK PAID        20028159   IA002247560571           0      75.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -60514.55     475   CHECK PAID        20028356   IA002489026731           0    406.72
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65789.64     475   CHECK PAID        20026759   IA002489026740           0    304.97
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -32461.37     475   CHECK PAID        20025674   IA002489026741           0    541.65
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -33537.86     475   CHECK PAID        20027861   IA002489026743           0    538.24
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158350.95     475   CHECK PAID        20027909   IA002489026747           0    473.71
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -23523.78     475   CHECK PAID        20027976   IA002489026862           0    574.14
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -1285.72     475   CHECK PAID        20028690   IA003446297559           0    933.66
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -98249.88     475   CHECK PAID        20028127   IA003446297585           0    647.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -10935.91     475   CHECK PAID        20028183   IA003446297719           0    627.23
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -9680.84     475   CHECK PAID        20025980   IA003446297720           0    629.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -11561.66     475   CHECK PAID        20024866   IA003446297721           0    625.75
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -17059.88     475   CHECK PAID        20023595   IA003446297723           0    599.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -58019.15     475   CHECK PAID        20021913   IA003446297724           0    429.97
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62456.06     475   CHECK PAID        20021368   IA003446297725           0    360.44
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68677.93     475   CHECK PAID        20020345   IA003446297726           0    119.96
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -60918.71     475   CHECK PAID        20020840   IA003446297727           0    404.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -54478.73     475   CHECK PAID        20022663   IA003446297728           0    460.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -25239.19     475   CHECK PAID        20026883   IA003446297730           0    570.43
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -15854.76     475   CHECK PAID        20025799   IA003446297731           0      609.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -15245.36     475   CHECK PAID        20024682   IA003446297732           0    609.41
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -5789.16     475   CHECK PAID        20028133   IA003446297745           0      715.2
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -8418.57     475   CHECK PAID        20027019   IA003446297746           0    636.62
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -14635.95     475   CHECK PAID        20025927   IA003446297747           0      610.8
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -172663.7     475   CHECK PAID        20026970   IA003446297754           0    421.45
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -115111.02     475   CHECK PAID        20028082   IA003446297755           0    560.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -21199.87     475   CHECK PAID        20028420   IA003543531581           0    586.22
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -58867.13     475   CHECK PAID        20026984   IA003543531587           0    420.54
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -46669.13     475   CHECK PAID        20028096   IA003543531595           0    503.75
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -45659.98     475   CHECK PAID        20028091   IA003543531597           0    509.76
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -6493.56     475   CHECK PAID        20028545   IA003543531603           0      704.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -63852.69     475   CHECK PAID        20027450   IA003543531610           0    345.89
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -66079.91     475   CHECK PAID        20026345   IA003543531611           0    290.27
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62810.59     475   CHECK PAID        20028586   IA003543531613           0    354.53
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -63159.65     475   CHECK PAID        20028458   IA003543531623           0    349.06
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -21785.64     475   CHECK PAID        20028446   IA003543531643           0    585.77
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -22949.64     475   CHECK PAID        20028358   IA003543531647           0    581.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -63506.8     475   CHECK PAID        20020898   IA003543531770           0    347.15
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -69039.81     475   CHECK PAID        20020392   IA003543531771           0      51.85
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -64860.94     475   CHECK PAID        20021420   IA003543531773           0    327.09
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65484.67     475   CHECK PAID        20022756   IA003543531774           0    311.28
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -38355.88     475   CHECK PAID        20023746   IA003543531775           0    532.89
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68087.58     475   CHECK PAID        20021963   IA003543531776           0    202.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -50158.03     475   CHECK PAID        20027045   IA003543531777           0    495.96
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0          -30831     475   CHECK PAID        20025953   IA003543531778           0    547.76
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -31375.36     475   CHECK PAID        20028156   IA003543531779           0    544.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -31919.72     475   CHECK PAID        20024838   IA003543531780           0    544.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -100790.91     475   CHECK PAID        20028184   IA003543531783           0    627.25
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -194705.71     475   CHECK PAID        20026955   IA003588300775           0    254.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -196383.11     475   CHECK PAID        20028062   IA003588300776           0    194.09




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -48667.39     475   CHECK PAID        20028314   IA003681365163           0    498.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68763.81     475   CHECK PAID        20027198   IA003681365164           0      85.88
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -52122.44     475   CHECK PAID        20028097   IA003681365234           0    483.01
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -19436.16     475   CHECK PAID        20028332   IA003681365237           0    590.25
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -36756.18     475   CHECK PAID        20028333   IA003681365238           0    535.28
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -97602.4     475   CHECK PAID        20026976   IA003681365240           0    650.57
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -102036.58     475   CHECK PAID        20028088   IA003681365241           0    622.06
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -36220.9     475   CHECK PAID        20028338   IA003989235791           0    536.57
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -39421.26     475   CHECK PAID        20028337   IA003989235793           0    532.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -32999.62     475   CHECK PAID        20027929   IA003989235795           0    538.25
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -37289.65     475   CHECK PAID        20027949   IA003989235798           0    533.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -52604.06     475   CHECK PAID        20028608   IA003989235824           0    481.62
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -55830.63     475   CHECK PAID        20027472   IA003989235825           0    445.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -20613.65     475   CHECK PAID        20028452   IA003989235827           0    587.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -42574.12     475   CHECK PAID        20027871   IA003989235834           0    520.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -54018.25     475   CHECK PAID        20028362   IA003989235847           0    464.28
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -30283.24     475   CHECK PAID        20028451   IA003989235894           0    551.27
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -49165.37     475   CHECK PAID        20027015   IA003989235960           0    497.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -39949.16     475   CHECK PAID        20023715   IA003989235961           0      527.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -34074.49     475   CHECK PAID        20028129   IA003989235962           0    536.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -34611.12     475   CHECK PAID        20024807   IA003989235963           0    536.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -38888.63     475   CHECK PAID        20028140   IA003989235969           0    532.75
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -131256.79     475   CHECK PAID        20028050   IA003989236009           0    523.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -60107.83     475   CHECK PAID        20028405   IA003989501762           0    412.12
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -10308.68     475   CHECK PAID        20028004   IA003989502063           0    627.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -56713.34     475   CHECK PAID        20028614   IA003989571945           0    441.31
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -174740.37     475   CHECK PAID        20027478   IA003989571951           0    411.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -187536.08     475   CHECK PAID        20026373   IA003989571955           0    349.65
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -167505.18     475   CHECK PAID        20025273   IA003989571959           0    441.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -156924.27     475   CHECK PAID        20027710   IA004187730331           0    479.46
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -136969.81     475   CHECK PAID        20027714   IA004187730366           0    512.83
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62095.62     475   CHECK PAID        20027590   IA004187730387           0    376.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -135940.63     475   CHECK PAID        20027885   IA004187730392           0    517.89
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -51146.91     475   CHECK PAID        20027872   IA004187730415           0    494.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -134904.32     475   CHECK PAID        20027803   IA004187730425           0    520.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -191401.88     475   CHECK PAID        20026700   IA004187730426           0    299.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -165717.14     475   CHECK PAID        20025612   IA004187730427           0    451.81
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -182178.19     475   CHECK PAID        20024488   IA004187730428           0    374.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -176372.19     475   CHECK PAID        20023400   IA004187730429           0    404.49
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -195989.02     475   CHECK PAID        20022507   IA004187730431           0      201.7
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -56272.03     475   CHECK PAID        20027804   IA004187730446           0      441.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -59695.71     475   CHECK PAID        20027807   IA004187730488           0    414.12
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -67180.63     475   CHECK PAID        20028374   IA004785131855           0    257.94
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -28623.84     475   CHECK PAID        20027970   IA004785131968           0    557.06
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -50652.62     475   CHECK PAID        20027270   IA004785132013           0    494.59
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -37822.99     475   CHECK PAID        20028400   IA004785132014           0    533.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -57152.76     475   CHECK PAID        20028214   IA005744333544           0    439.42
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -117331.64     475   CHECK PAID        20028244   IA005744333558           0    552.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -24668.76     475   CHECK PAID        20027862   IA005744333574           0    572.42
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0          -55385     475   CHECK PAID        20026760   IA005744333575           0      447.5
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -5073.96     475   CHECK PAID        20028055   IA005744333703           0    715.53
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -3638.01     475   CHECK PAID        20027162   IA005744333705           0    767.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -2093.57     475   CHECK PAID        20028280   IA005744333707           0    807.85
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -24096.34     475   CHECK PAID        20027962   IA005744333709           0    572.56
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -160229.33     475   CHECK PAID        20028539   IA005940395120           0    466.12
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -66363.95     475   CHECK PAID        20028204   IA005940395222           0    284.04
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -16460.49     475   CHECK PAID        20025805   IA005940395229           0    605.73
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -57589.18     475   CHECK PAID        20022666   IA005940395230           0    436.42
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -20026.31     475   CHECK PAID        20024689   IA005940395231           0    590.15
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -28066.78     475   CHECK PAID        20026889   IA005940395232           0    559.81




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                            UST-14A
Wells Fargo                                                                                                                                                                  Case Number:                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                          Report Mo/Yr:                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                   BAI
             As-Of-                                                                                                             Opening    Closing    Running      Type                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal Ledger Bal Ledger Bal    Code      Tran Desc         Ref No        Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -29731.97     475   CHECK PAID          20023602    IA005940395233           0    552.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -69059.81     475   CHECK PAID          10354018    IA005940395234           0         20
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -26945.61     475   CHECK PAID          20027994    IA005940395236           0    568.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -78714.23     475   CHECK PAID          20028689    IA006389679192           0   1267.52
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36 4949729.33 13008683.02      115   LOCKBOX DEPOSIT        201257   IA007382276434  205584.91           0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -94990.06     475   CHECK PAID          20028391    IA007543328032           0    658.56
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -7781.95     475   CHECK PAID          20028153    IA007543328044           0    644.19
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -187885.55       475   CHECK PAID          20028654    IA007543328060           0    349.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -66644.17     475   CHECK PAID          20028427    IA007543328099           0    280.22
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -53082.44     475   CHECK PAID          20027957    IA007543328263           0    478.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -51639.43     475   CHECK PAID          20028264    IA007543328279           0    492.52
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -48168.6     475   CHECK PAID          20028271    IA007543328287           0    498.83
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -22368.25     475   CHECK PAID          20026919    IA007543328290           0    582.61
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -13412.55     475   CHECK PAID          20025833    IA007543328291           0      615.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -14025.15     475   CHECK PAID          20028024    IA007543328292           0      612.6
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -25808.01     475   CHECK PAID          20028311    IA007543328295           0    568.82
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -26376.83     475   CHECK PAID          20027194    IA007543328296           0    568.82
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -67672.02     475   CHECK PAID          20026095    IA007543328297           0    237.95
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -1149.13     475   CHECK PAID         200003081    IA007947732991           0    1609.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -194935.71       475   CHECK PAID          20028678    IA008112635642           0        230
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -197354.14       475   CHECK PAID          10351213    IA008112681069           0         50
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -196718.62       475   CHECK PAID          20028697    IA008112681834           0    153.51
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -62213.08     475   CHECK PAID         200003232    IA008112693495           0    354.77
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -132822.3     475   CHECK PAID          20027881    IA008137824332           0    521.06
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -190182.74       475   CHECK PAID          20028424    IA008313581489           0    313.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -33269.2     475   CHECK PAID         200002946    IA008313608688           0   1571.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -54862.39     475   CHECK PAID         200002727    IA008313608689           0   1052.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -16748.58     475   CHECK PAID         200003131    IA008313608690           0    1819.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -74395.11     475   CHECK PAID          20028710    IA008313660765           0   1656.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -150597.98       475   CHECK PAID          20027715    IA008313660766           0    496.12
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -166167.44       475   CHECK PAID          20027586    IA008313661762           0      450.3
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -147608.46       475   CHECK PAID          20027587    IA008313661763           0    501.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                0          0     -1030.14     475   CHECK PAID         200000210    IA008313662701           0  1030.14
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -182909.28       475   CHECK PAID          20027846    IA008313673803           0    364.69
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -177174.93       475   CHECK PAID          20028215    IA008313675336           0    399.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -125987.22       475   CHECK PAID          20028394    IA008313675341           0    530.52
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -45104.79     475   CHECK PAID         200003206    IA008375274767           0    1402.2
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -55869.8     475   CHECK PAID         200002361    IA008375274869           0   1007.41
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -56709.56     475   CHECK PAID         200002601    IA008375274870           0    839.76
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -23714.24     475   CHECK PAID         200003225    IA008375274871           0   1673.06
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -49195.13     475   CHECK PAID         200003173    IA008375274873           0   1348.28
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -5344.91     475   CHECK PAID         200003197    IA008375275343           0   2074.65
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -52712.96     475   CHECK PAID         200003091    IA008375275416           0   1097.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0    -25335.61     475   CHECK PAID         200003112    IA008375275737           0   1621.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -139525.17       475   CHECK PAID          20027246    IA008418079873           0    510.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -119532.69       475   CHECK PAID          20028371    IA008418079874           0    550.25
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -106308.25       475   CHECK PAID          20024810    IA008418079875           0    601.45
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -108103.59       475   CHECK PAID          20025926    IA008418079876           0    597.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -127046.57       475   CHECK PAID          20027018    IA008418079877           0    529.17
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -114550.64       475   CHECK PAID          20028132    IA008418079878           0    567.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -197304.14       475   CHECK PAID          20022738    IA008418079879           0      68.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -175559.99       475   CHECK PAID          20027736    IA008418087513           0    409.46
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -143080.81       475   CHECK PAID          20028078    IA008418121263           0    505.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -171393.08       475   CHECK PAID          20026966    IA008418121264           0    427.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -157402.66       475   CHECK PAID          20027937    IA008418131261           0    478.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -144090.56       475   CHECK PAID          20028302    IA008418131263           0    504.87
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -163903.22       475   CHECK PAID          20027184    IA008418131264           0    455.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -188574.67       475   CHECK PAID          20028470    IA008418131267           0    342.17
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -154514.96       475   CHECK PAID          20028051    IA008418131268           0    486.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0 -140035.46       475   CHECK PAID          20027245    IA008418131271           0    510.29




                                                                                     Case 19-62584-pcm11                              Doc 283              Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -118432.18     475   CHECK PAID        20028369    IA008418131272           0    550.27
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -118982.44     475   CHECK PAID        20025041    IA008418131273           0    550.26
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -121709.06     475   CHECK PAID        20026144    IA008418131274           0    540.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -159296.44     475   CHECK PAID        20028367    IA008418132410           0    471.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -196189.02     475   CHECK PAID        10354318    IA008418132834           0        200
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -53809.92     475   CHECK PAID       200003185    IA008418135441           0   1096.96
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -43702.59     475   CHECK PAID       200003094    IA008418136547           0    1426.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -62503.09     475   CHECK PAID        10061113    IA008418136809           0        100
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -168813.72     475   CHECK PAID        20027894    IA008418137266           0    434.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -196997.02     475   CHECK PAID        20027641    IA008418157148           0    130.17
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -133343.03     475   CHECK PAID        20027719    IA008418159676           0    520.73
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -131780.17     475   CHECK PAID        20028190    IA008418159680           0    523.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -180672.96     475   CHECK PAID        20028216    IA008418159685           0    380.04
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -185427.37     475   CHECK PAID        20027647    IA008418159689           0    353.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -165265.33     475   CHECK PAID        20027618    IA008418159690           0      452.1
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -140545.45     475   CHECK PAID        20028517    IA008418159728           0    509.99
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -133863.58     475   CHECK PAID        20027887    IA008418159734           0    520.55
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -138504.59     475   CHECK PAID        20028644    IA008418159742           0      510.8
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -172242.25     475   CHECK PAID        20028278    IA008418159743           0    423.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -182544.59     475   CHECK PAID        20028620    IA008418159744           0      366.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -168378.74     475   CHECK PAID        20027776    IA008418159745           0    435.77
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -136456.98     475   CHECK PAID        20027991    IA008418159746           0    516.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -190492.34     475   CHECK PAID        20027987    IA008418159747           0      309.6
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -149605.73     475   CHECK PAID        20028627    IA008418159748           0    498.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -183273.35     475   CHECK PAID        20028459    IA008418159750           0    364.07
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -169679.41     475   CHECK PAID        20028261    IA008418159752           0    430.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -188232.5     475   CHECK PAID        20028456    IA008418159819           0    346.95
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197438.64     475   CHECK PAID        20027805    IA008418159834           0      38.88
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -141054.8     475   CHECK PAID        20027941    IA008418165204           0    509.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197458.64     475   CHECK PAID        10354015    IA008428047478           0         20
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -145099.38     475   CHECK PAID        20024737    IA008428047479           0    504.17
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163447.74     475   CHECK PAID        20026941    IA008428047480           0    455.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -189554.58     475   CHECK PAID        20025854    IA008428047481           0    314.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146103.21     475   CHECK PAID        20028046    IA008428047482           0      501.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -195787.32     475   CHECK PAID        20022703    IA008428047483           0    203.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -161160     475   CHECK PAID        20023651    IA008428047484           0    464.95
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -173916.57     475   CHECK PAID        20027847    IA008428049493           0    415.99
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -61858.31     475   CHECK PAID       200003193    IA008437368049           0    431.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -13077.17     475   CHECK PAID       200003086    IA008437393318           0   1853.62
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -9295.14     475   CHECK PAID       200003145    IA008437393320           0   1943.11
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -11223.55     475   CHECK PAID       200003071    IA008437393501           0   1928.41
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -128630.61     475   CHECK PAID        20027995    IA008446514311           0    527.04
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -153055.64     475   CHECK PAID        20026890    IA008446514312           0    488.08
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -18555.09     475   CHECK PAID       200003061    IA008479938536           0   1806.51
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -22041.18     475   CHECK PAID       200003060    IA008479938537           0   1686.74
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -50491.54     475   CHECK PAID       200002908    IA008479938538           0   1296.41
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -37855.73     475   CHECK PAID       200003101    IA008479938539           0    1508.1
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -26956.69     475   CHECK PAID       200003128    IA008479938723           0   1621.08
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -20354.44     475   CHECK PAID       200003202    IA008479938725           0   1799.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         1540.05     475   CHECK PAID        20023827    IA008513233538           0    452.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -171819.12     475   CHECK PAID        20028270    IA008537210517           0    426.04
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166616.33     475   CHECK PAID        20028070    IA008612639605           0    448.89
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -62403.09     475   CHECK PAID           401480   IA008612662619           0    190.01
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -62575.35     475   CHECK PAID       200003072    IA008612701958           0      72.26
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -155484.13     475   CHECK PAID        20028429    IA008612720469           0    483.08
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -185780.21     475   CHECK PAID        20027955    IA008612720470           0    352.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -179140.91     475   CHECK PAID        20028299    IA008612720471           0    387.81
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181428.94     475   CHECK PAID        20028000    IA008612720473           0      376.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -72738.64     475   CHECK PAID        10353691    IA008713765201           0   3678.83
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -59029.24     475   CHECK PAID        10061036    IA008713765202           0    731.86




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197078.91     475   CHECK PAID        20022400   IA008713765207           0      81.89
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -193679.76     475   CHECK PAID        20023284   IA008713765208           0    262.39
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -195378.89     475   CHECK PAID        20028453   IA008713765226           0    220.31
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -130208.63     475   CHECK PAID        20027764   IA008713765934           0    525.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -179911.19     475   CHECK PAID        20027650   IA008713765964           0    384.11
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -123855.53     475   CHECK PAID        20027973   IA008713766576           0    536.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -107505.92     475   CHECK PAID        20025932   IA008713766602           0    597.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -177967.72     475   CHECK PAID        20028372   IA008713766609           0    394.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -103890.23     475   CHECK PAID        20028342   IA008713766961           0    616.68
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -175150.53     475   CHECK PAID        20026660   IA008713766966           0    410.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -167942.97     475   CHECK PAID        20025572   IA008713766967           0    437.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -124389.62     475   CHECK PAID        20027760   IA008713766968           0    534.09
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -179527.08     475   CHECK PAID        20028631   IA008713766973           0    386.17
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -189239.74     475   CHECK PAID        20028508   IA008713766976           0    331.74
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -174329.05     475   CHECK PAID        20026086   IA008713766979           0    412.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164358.69     475   CHECK PAID        20027185   IA008713766980           0    455.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181052.54     475   CHECK PAID        20022828   IA008713766981           0    379.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -151584.97     475   CHECK PAID        20023881   IA008713766982           0    492.21
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -154028.58     475   CHECK PAID        20028303   IA008713766983           0      486.4
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -177572.93     475   CHECK PAID        20020941   IA008713766984           0        398
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -93008.74     475   CHECK PAID        20028647   IA008713766988           0    667.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -139014.88     475   CHECK PAID        20026865   IA008713766993           0    510.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -129157.54     475   CHECK PAID        20027996   IA008713766994           0    526.93
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -80718.71     475   CHECK PAID        20028224   IA008713767000           0    985.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -96300.69     475   CHECK PAID        20027713   IA008713767007           0    654.95
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -170965.69     475   CHECK PAID        20028624   IA008713767011           0    427.64
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -160695.05     475   CHECK PAID        20028502   IA008713767014           0    465.72
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -180292.92     475   CHECK PAID        20028565   IA008713767017           0    381.73
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -88906.43     475   CHECK PAID        20028108   IA008713767021           0    729.99
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -83485.64     475   CHECK PAID        20028122   IA008713767022           0    879.21
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142575.49     475   CHECK PAID        20028228   IA008713767028           0    505.72
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -157877.24     475   CHECK PAID        20027935   IA008713767030           0    474.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -84352.51     475   CHECK PAID        20027983   IA008713767048           0    866.87
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -85219.37     475   CHECK PAID        20027984   IA008713767049           0    866.86
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -173500.58     475   CHECK PAID        20028491   IA008713767050           0    416.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142069.77     475   CHECK PAID        20027786   IA008713768356           0    506.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82606.43     475   CHECK PAID        20028175   IA008713768361           0    907.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -102656.02     475   CHECK PAID        20028409   IA008713768397           0    619.44
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -99534.29     475   CHECK PAID        20028450   IA008713768425           0    640.18
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -130733.41     475   CHECK PAID        20028229   IA008713768430           0    524.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -151092.76     475   CHECK PAID        20027118   IA008713768431           0    494.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -185073.89     475   CHECK PAID        20027215   IA008713768436           0      358.7
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -145601.31     475   CHECK PAID        20028335   IA008713768437           0    501.93
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -76038.35     475   CHECK PAID        20025362   IA008713768482           0   1643.24
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -153542.18     475   CHECK PAID        20027812   IA008713769171           0    486.54
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -193143.39     475   CHECK PAID        20028705   IA008713769189           0    285.07
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -183996.14     475   CHECK PAID        20027793   IA008713769190           0    360.22
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -88176.44     475   CHECK PAID        20027756   IA008713769191           0    731.64
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -155964.91     475   CHECK PAID        20027598   IA008713769193           0    480.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -162991.95     475   CHECK PAID        20027838   IA008713769195           0      456.2
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -150101.86     475   CHECK PAID        20027752   IA008713769203           0    496.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -126517.4     475   CHECK PAID        20027663   IA008713769208           0    530.18
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -149106.95     475   CHECK PAID        20028255   IA008713878220           0    499.22
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -51615.8     475   CHECK PAID       200003141   IA008713879224           0   1124.26
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -60294.29     475   CHECK PAID       200002958   IA008713879225           0    617.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -7352.03     475   CHECK PAID       200003219   IA008713879226           0   2007.12
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -170109.35     475   CHECK PAID        20028106   IA008713887970           0    429.94
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -188908     475   CHECK PAID        20027825   IA008713891023           0    333.33
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -103273.55     475   CHECK PAID        20028657   IA008713891024           0    617.53
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -191696.01     475   CHECK PAID        20028547   IA008713891026           0    294.13




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -192280.62     475   CHECK PAID        20028602   IA008713891027           0    292.04
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -178753.1     475   CHECK PAID        20028519   IA008713891029           0    391.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -196565.11     475   CHECK PAID        10354188   IA008713897909           0        182
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         1134.78     475   CHECK PAID        20025794   IA008819084857           0    405.27
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -143585.69     475   CHECK PAID        20027777   IA008819211658           0    504.88
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -79733.36     475   CHECK PAID        20028105   IA008819212025           0   1019.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -191988.58     475   CHECK PAID        20027673   IA008819212026           0    292.57
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -81698.64     475   CHECK PAID        20027694   IA008819212030           0    979.93
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -195583.46     475   CHECK PAID        20027558   IA008819212227           0    204.57
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -159763.21     475   CHECK PAID        20028494   IA008819212438           0    466.77
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -155001.05     475   CHECK PAID        20028605   IA008819212443           0    486.09
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -125456.7     475   CHECK PAID        20027972   IA008819212445           0      533.5
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -109887.9     475   CHECK PAID        20023724   IA008819212447           0    592.48
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -105105.35     475   CHECK PAID        20028138   IA008819212448           0    601.45
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -105706.8     475   CHECK PAID        20024816   IA008819212449           0    601.45
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -93671.72     475   CHECK PAID        20028389   IA008819212450           0    662.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -192858.32     475   CHECK PAID        20028582   IA008819212458           0    287.34
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -111069.77     475   CHECK PAID        20028375   IA008819212464           0    590.38
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -152567.56     475   CHECK PAID        20028436   IA008819212465           0    490.43
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -161620.42     475   CHECK PAID        20028109   IA008819212466           0    460.42
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -193937.79     475   CHECK PAID        20027832   IA008819212469           0    258.03
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -86712.69     475   CHECK PAID        20025642   IA008819212470           0    744.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -116779.27     475   CHECK PAID        20026729   IA008819212471           0    553.37
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -120626.7     475   CHECK PAID        20028239   IA008819212484           0    544.69
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -148607.73     475   CHECK PAID        20027128   IA008819212485           0    499.29
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -127575.36     475   CHECK PAID        20028373   IA008819244110           0    528.79
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181803.71     475   CHECK PAID        20027627   IA008819317796           0    374.77
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -91672.14     475   CHECK PAID        20027572   IA008819322880           0    679.66
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -85968.4     475   CHECK PAID        20028327   IA008819326860           0    749.03
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -148108.44     475   CHECK PAID        20028395   IA008819326864           0    499.98
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -113983.17     475   CHECK PAID        20028310   IA008819338812           0    568.51
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -176775.09     475   CHECK PAID        20023662   IA008819338814           0      402.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -194195.15     475   CHECK PAID        20024751   IA008819338815           0    257.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -184356.29     475   CHECK PAID        20025869   IA008819338816           0    360.15
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -173084.23     475   CHECK PAID        20026957   IA008819338817           0    420.53
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -128103.57     475   CHECK PAID        20028065   IA008819338818           0    528.21
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -195158.58     475   CHECK PAID        20026091   IA008819343757           0    222.87
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -122245.69     475   CHECK PAID        20028307   IA008819343758           0    536.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -122782.32     475   CHECK PAID        20027190   IA008819343759           0    536.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -96951.83     475   CHECK PAID        20027644   IA008819355763           0    651.14
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -156444.81     475   CHECK PAID        20026548   IA008819355764           0      479.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -186132.67     475   CHECK PAID        20021841   IA008819355766           0    352.46
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -124923.2     475   CHECK PAID        20026712   IA008819355767           0    533.58
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -94331.5     475   CHECK PAID        20025625   IA008819355768           0    659.78
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -95645.74     475   CHECK PAID        20027816   IA008819355769           0    655.68
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -14929.18     475   CHECK PAID       200003194   IA008819364745           0   1852.01
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -197160.8     475   CHECK PAID        20027693   IA008819368898           0      81.89
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -104503.9     475   CHECK PAID        20028353   IA008819382951           0    613.67
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -108701.22     475   CHECK PAID        20026812   IA008819382952           0    597.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -92341.58     475   CHECK PAID        20027916   IA008819382953           0    669.44
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -189869.42     475   CHECK PAID        20026163   IA008819382954           0    314.84
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -162078.49     475   CHECK PAID        20027265   IA008819382955           0    458.07
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146605.11     475   CHECK PAID        20028392   IA008819382956           0      501.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -187186.43     475   CHECK PAID        20028414   IA008819382963           0    350.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -110479.39     475   CHECK PAID        20027912   IA008819383036           0    591.49
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -162535.75     475   CHECK PAID        20027653   IA008819383058           0    457.26
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -123318.95     475   CHECK PAID        20027931   IA008819383059           0    536.63
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -167063.86     475   CHECK PAID        20028346   IA008819383060           0    447.53
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -191102.53     475   CHECK PAID        20026123   IA008819383064           0    303.85
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164813.23     475   CHECK PAID        20027223   IA008819383065           0    454.54




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                        Case Number:                                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                Report Mo/Yr:                                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                         BAI
             As-Of-                                                                                                             Opening        Closing      Running      Type                                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal    Code      Tran Desc                         Ref No        Bank Ref       Credit Amt Debit Amt
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -152077.13     475   CHECK PAID                          20028343    IA008819383066            0    492.16
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -31697.53     475   CHECK PAID                         200003056    IA008819393206            0   1572.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -36347.63     475   CHECK PAID                         200003103    IA008819393233            0    1529.2
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -58297.38     475   CHECK PAID                         200003073    IA008819393235            0    788.36
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -61426.64     475   CHECK PAID                         200003178    IA008819393236            0     543.8
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -42275.69     475   CHECK PAID                         200003077    IA008819393237            0   1463.32
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -40812.37     475   CHECK PAID                         200003210    IA008819393238            0   1467.51
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -46484.87     475   CHECK PAID                         200003083    IA008819393241            0   1380.08
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -3270.26     475   CHECK PAID                         200003127    IA008819393242            0   2121.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -34818.43     475   CHECK PAID                         200003161    IA008819393243            0   1549.23
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -28551.16     475   CHECK PAID                         200003262    IA008819393244            0   1594.47
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -60882.84     475   CHECK PAID                         200003159    IA008819393245            0    588.55
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -30125.21     475   CHECK PAID                         200002507    IA008819394529            0   1574.05
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -59677.16     475   CHECK PAID                         200003207    IA008819394532            0    647.92
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -39344.86     475   CHECK PAID                         200003167    IA008819398653            0   1489.13
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -106908.25     475   CHECK PAID                          10354163    IA008834544145            0       600
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0           386.9     254   POSTING ERROR CORRECTION CREDIT          8064   IA009930755169        386.9         0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          747.88     475   CHECK PAID                          20028064    IA009930758138            0     386.9
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0             100     254   POSTING ERROR CORRECTION CREDIT     10060319    IA009930762364         100          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0             200     254   POSTING ERROR CORRECTION CREDIT     10061058    IA009930762366         100          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0          460.77     254   POSTING ERROR CORRECTION CREDIT     10061163    IA009930762368      260.77          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          510.85     254   POSTING ERROR CORRECTION CREDIT        401590   IA009930762540      123.95          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0         1285.09     254   POSTING ERROR CORRECTION CREDIT     10353649    IA009930762542      774.24          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0         1310.09     254   POSTING ERROR CORRECTION CREDIT     10353997    IA009930762544          25          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0         1320.09     254   POSTING ERROR CORRECTION CREDIT     10354198    IA009930762546          10          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0         1862.71     254   POSTING ERROR CORRECTION CREDIT     10354235    IA009930762548      542.62          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0         1992.89     254   POSTING ERROR CORRECTION CREDIT     10354253    IA009930762550      130.18          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8008683.02      495   OUTGOING MONEY TRANSFER                     0   IA009985777849            0   5000000
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    12080607.58      169   MISCELLANEOUS ACH CREDIT                    0   IA071759216554  118219.74           0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8007652.88      577   ZBA DEBIT TRANSFER                          0   IA082700000004            0   1030.14
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                 0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082700000005     1030.14          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     7945077.53      577   ZBA DEBIT TRANSFER                          0   IA082700000006            0 62575.35
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082700000007    62575.35          0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     7747603.89      577   ZBA DEBIT TRANSFER                          0   IA082700000052            0 197473.64
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082700000053  197473.64           0
 20190827    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     12700249.6      169   MISCELLANEOUS ACH CREDIT                    0   IA100209981562    27528.13          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8112847.89      169   MISCELLANEOUS ACH CREDIT                    0   IA000010819956    27808.29          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8658577.07      698   MISCELLANEOUS FEE DEBIT                     0   IA000011391731            0     38.34
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8131478.66      169   MISCELLANEOUS ACH CREDIT                    0   IA000012215750    18630.77          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8147725.47      169   MISCELLANEOUS ACH CREDIT                    0   IA000012932963    16246.81          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     7898317.01      169   MISCELLANEOUS ACH CREDIT                    0   IA000013842626    91018.16          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8175455.93      169   MISCELLANEOUS ACH CREDIT                    0   IA000018657892     4545.22          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33       8085039.6     169   MISCELLANEOUS ACH CREDIT                    0   IA000018794620    44885.69          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     7988345.34      169   MISCELLANEOUS ACH CREDIT                    0   IA000018794621    90028.33          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8160851.21      169   MISCELLANEOUS ACH CREDIT                    0   IA000018913567    13125.74          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8170910.71      169   MISCELLANEOUS ACH CREDIT                    0   IA000025700171     10059.5          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -640554.81     475   CHECK PAID                          20028677    IA000387702189            0    133.58
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -14126.19     475   CHECK PAID                         200003139    IA000471446564            0   1593.49
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -611987.57     475   CHECK PAID                          20027002    IA000471546221            0    486.24
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -601787.87     475   CHECK PAID                          20025912    IA000471546812            0    523.02
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -598625.73     475   CHECK PAID                          20028354    IA000471590569            0    543.04
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -606958.54     475   CHECK PAID                          20028002    IA000471658549            0    512.86
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -577304.93     475   CHECK PAID                          20027992    IA000578387090            0    720.42
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -628578.48     475   CHECK PAID                          20019198    IA000578741205            0    380.02
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -618988.21     475   CHECK PAID                          20019562    IA000578741206            0    445.12
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -638541.95     475   CHECK PAID                          20019952    IA000578741207            0    264.73
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -594228.31     475   CHECK PAID                          20020361    IA000578741208            0    568.58
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -588919.57     475   CHECK PAID                          20020861    IA000578741209            0     606.6
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -607469.88     475   CHECK PAID                          20028094    IA001582585993            0    511.34
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -10014.48     475   CHECK PAID                          20028145    IA001582586020            0    352.17




                                                                                     Case 19-62584-pcm11                              Doc 283                  Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                   UST-14A
Wells Fargo                                                                                                                                                                         Case Number:                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                 Report Mo/Yr:                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                          BAI
             As-Of-                                                                                                             Opening        Closing      Running       Type                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal     Code      Tran Desc         Ref No        Bank Ref       Credit Amt Debit Amt
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -590730.06      475   CHECK PAID          20028196    IA001582586040           0    601.41
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -10359.04      475   CHECK PAID          20022609    IA001582586045           0    344.56
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -6355.02      475   CHECK PAID          20028377    IA001584195948           0    499.09
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -578727.15      475   CHECK PAID          20028049    IA001585063255           0    704.91
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -580769.16      475   CHECK PAID          20026944    IA001585063256           0    674.98
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -572539.42      475   CHECK PAID          20027016    IA001585732755           0      951.5
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -570633.63      475   CHECK PAID          20028130    IA001585732756           0   1000.51
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -574246.4      475   CHECK PAID          20027968    IA001585732814           0    816.24
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -5354.03      475   CHECK PAID          20026572    IA001585732909           0    502.84
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -2776.24      475   CHECK PAID          20025480    IA001585732910           0    532.75
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -7734.67      475   CHECK PAID          20027670    IA001585732911           0    440.25
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0          -585.16     475   CHECK PAID          20028247    IA001587196314           0    601.86
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -641694.2      475   CHECK PAID          10354179    IA001587196316           0         15
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -595339.78      475   CHECK PAID          20027135    IA001587196317           0    553.46
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -602830.01      475   CHECK PAID          20028095    IA001587196339           0    521.07
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -4851.19      475   CHECK PAID          20028006    IA001587755294           0    512.86
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0          -3824.7     475   CHECK PAID          20027640    IA001588375172           0    520.37
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -7294.42      475   CHECK PAID          20028423    IA002247560677           0    453.44
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -607980.48      475   CHECK PAID          20028080    IA002247560699           0      510.6
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -1708.76      475   CHECK PAID          20027690    IA002247560742           0    555.75
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -11294.24      475   CHECK PAID          20026593    IA002247560743           0    297.67
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -609505.25      475   CHECK PAID          20027870    IA002247560745           0    504.86
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -638277.22      475   CHECK PAID          20026768    IA002247560746           0    276.84
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -11534.49      475   CHECK PAID          20028282    IA002247560817           0    240.25
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -1153.01      475   CHECK PAID          20028318    IA002489026984           0    567.85
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -637155.52      475   CHECK PAID          20025959    IA002489027130           0    287.15
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -620748.89      475   CHECK PAID          20027053    IA002489027131           0    438.68
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -636580.54      475   CHECK PAID          20028163    IA002489027133           0    297.41
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -11676.62      475   CHECK PAID          20027780    IA003180983922           0    142.13
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -615341.62      475   CHECK PAID          20028207    IA003543531932           0    469.36
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -3304.33      475   CHECK PAID          20028469    IA003543531996           0    528.09
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -10996.57      475   CHECK PAID          20027755    IA003543532007           0    313.76
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0             16.7     475   CHECK PAID          20027944    IA003989502122           0    617.79
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -4338.33      475   CHECK PAID          20028144    IA003989502140           0    513.63
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -9662.31      475   CHECK PAID          20024822    IA003989502141           0    356.93
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -6840.98      475   CHECK PAID          20027030    IA003989502142           0    485.96
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -11749.83      475   CHECK PAID          20022748    IA003989502143           0      73.21
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -10682.81      475   CHECK PAID          20025938    IA003989502144           0    323.77
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -8551.82      475   CHECK PAID          20023730    IA003989502145           0    398.04
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -2243.49      475   CHECK PAID          20027811    IA003989502312           0    534.73
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -635971.65      475   CHECK PAID          20026473    IA004187730527           0    319.61
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -639005.09      475   CHECK PAID          20027570    IA004187730528           0    226.97
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -639990.28      475   CHECK PAID          20021730    IA004187730607           0    166.31
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -627817.19      475   CHECK PAID          20025386    IA004187730608           0    390.25
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -628198.46      475   CHECK PAID          20023159    IA004187730609           0    381.27
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -613440.03      475   CHECK PAID          20027579    IA004187730610           0    482.75
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -637440.42      475   CHECK PAID          20021236    IA004187730611           0      284.9
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -8153.78      475   CHECK PAID          20026730    IA004187730614           0    419.11
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -8948.15      475   CHECK PAID          20027833    IA004187730615           0    396.33
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -591322.11      475   CHECK PAID          20026610    IA004187730672           0    592.05
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -585252.2      475   CHECK PAID          20027709    IA004187730673           0    622.06
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -594786.32      475   CHECK PAID          20028072    IA004785132244           0    558.01
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -5855.93      475   CHECK PAID          20028388    IA005744333850           0      501.9
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -9305.38      475   CHECK PAID          20027826    IA005940395288           0    357.23
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33         8609787      115   LOCKBOX DEPOSIT        201257   IA007382423543  434331.07           0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     8658615.41       115   LOCKBOX DEPOSIT         72371   IA007482507442    48828.41          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -579413.84      475   CHECK PAID          20027857    IA008112721421           0    686.69
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -641600.61      475   CHECK PAID          20028675    IA008137998391           0      50.51
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -636868.37      475   CHECK PAID          20028674    IA008137998393           0    287.83
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -581427.66      475   CHECK PAID          20027964    IA008213188090           0      658.5




                                                                                     Case 19-62584-pcm11                              Doc 283                   Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -584630.14     475   CHECK PAID        20027639   IA008213188796           0    628.98
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -619431.29     475   CHECK PAID        20028652   IA008213188797           0    443.08
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -622898.88     475   CHECK PAID        20028588   IA008213188798           0    427.25
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -632589.72     475   CHECK PAID        20027750   IA008213188799           0    351.18
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -582734.52     475   CHECK PAID        20027783   IA008213188800           0        649
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -641679.2     475   CHECK PAID        20023143   IA008213188801           0      28.76
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -616277.58     475   CHECK PAID        20028557   IA008213188802           0    467.05
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -571587.92     475   CHECK PAID        20027892   IA008213188805           0    954.29
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -640996.77     475   CHECK PAID        20027768   IA008213188806           0    103.04
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -621182.49     475   CHECK PAID        20027830   IA008213188811           0      433.6
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -640783.67     475   CHECK PAID        20027684   IA008213188813           0    113.05
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -600740.31     475   CHECK PAID        20027636   IA008213188814           0    525.07
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -617195.13     475   CHECK PAID        20027699   IA008213188815           0    453.58
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -603350.51     475   CHECK PAID        20028556   IA008213188818           0      520.5
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -610006.69     475   CHECK PAID        20028527   IA008213188823           0    501.44
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -632238.54     475   CHECK PAID        20027728   IA008213188824           0    351.56
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -619871.14     475   CHECK PAID        20026684   IA008213188826           0    439.85
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -640136.38     475   CHECK PAID        20027635   IA008213188827           0      146.1
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -583370.41     475   CHECK PAID        20027784   IA008213188828           0    635.89
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -576584.51     475   CHECK PAID        20028637   IA008213188829           0    773.21
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -599687.42     475   CHECK PAID        20028112   IA008213189137           0    530.54
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -601264.85     475   CHECK PAID        20024793   IA008213189138           0    524.54
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -627031.06     475   CHECK PAID        20026999   IA008213189139           0    400.14
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -625821.04     475   CHECK PAID        20023701   IA008213189140           0    409.11
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -636283.13     475   CHECK PAID        20025909   IA008213189141           0    311.48
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -641426.64     475   CHECK PAID        20022727   IA008213189142           0      83.67
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -623325.89     475   CHECK PAID        20028093   IA008213189145           0    427.01
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -586479.6     475   CHECK PAID        20028330   IA008213189146           0    613.67
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -634657.64     475   CHECK PAID        20027917   IA008213189149           0    341.18
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -631527.56     475   CHECK PAID        20028161   IA008213189150           0    360.21
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -630806.67     475   CHECK PAID        20028383   IA008213189151           0    361.61
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -603869.87     475   CHECK PAID        20028449   IA008213189154           0    519.36
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -587705.14     475   CHECK PAID        20028047   IA008213189156           0    611.87
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -578022.24     475   CHECK PAID        20028029   IA008213189159           0    717.31
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -637722.46     475   CHECK PAID        20028323   IA008213189161           0    282.04
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -618543.09     475   CHECK PAID        20028160   IA008213189164           0    446.55
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -612957.28     475   CHECK PAID        20028073   IA008213189169           0    483.52
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -606445.68     475   CHECK PAID        20028249   IA008213189170           0    513.62
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -575036.88     475   CHECK PAID        20027979   IA008213189346           0    790.48
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -634316.46     475   CHECK PAID        20027469   IA008213189358           0    342.34
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -630075.67     475   CHECK PAID        20026364   IA008213189359           0    370.01
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -629705.66     475   CHECK PAID        20028606   IA008213189360           0    372.34
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -614872.26     475   CHECK PAID        20027936   IA008213189363           0    474.59
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -632938.83     475   CHECK PAID        20026830   IA008213189364           0    349.11
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -611005.93     475   CHECK PAID        20028316   IA008213189366           0    499.08
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -628957.53     475   CHECK PAID        20028583   IA008213189387           0    379.05
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -590128.65     475   CHECK PAID        20028386   IA008213189395           0    602.59
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -588312.97     475   CHECK PAID        20028530   IA008213189400           0    607.83
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -596442.41     475   CHECK PAID        20027969   IA008213189402           0    550.26
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -630445.06     475   CHECK PAID        20028014   IA008213189404           0    369.39
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -599156.88     475   CHECK PAID        20028218   IA008213189411           0    531.15
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -631886.98     475   CHECK PAID        20027748   IA008213189461           0    359.42
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -614397.67     475   CHECK PAID        20027840   IA008213189470           0    476.28
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -633285.8     475   CHECK PAID        20028476   IA008213232252           0    346.97
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -15519.68     475   CHECK PAID       200003190   IA008213234675           0   1393.49
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -631167.35     475   CHECK PAID        20028251   IA008213235040           0    360.68
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -633631.38     475   CHECK PAID        20028084   IA008313756239           0    345.58
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -610506.85     475   CHECK PAID        20028058   IA008313756337           0    500.16
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -641342.97     475   CHECK PAID        20026951   IA008313756338           0      83.88
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -618096.54     475   CHECK PAID        20027132   IA008313756358           0    448.94




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -608490.49     475   CHECK PAID        20028037    IA008313756369           0    510.01
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -595892.15     475   CHECK PAID        20027667    IA008418228782           0    552.37
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -625002.45     475   CHECK PAID        20028524    IA008418233065           0    411.96
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -623749.93     475   CHECK PAID        20027617    IA008418236422           0    424.04
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -604902.86     475   CHECK PAID        20026757    IA008418236423           0    516.26
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -605932.06     475   CHECK PAID        20025672    IA008418236424           0    513.87
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -639435.83     475   CHECK PAID        20028056    IA008418248679           0    208.92
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -609000.39     475   CHECK PAID        20027863    IA008418264647           0      509.9
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -569633.12     475   CHECK PAID        20027277    IA008418265878           0   1043.92
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -568589.2     475   CHECK PAID        20028408    IA008418265879           0   1093.91
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -641650.44     475   CHECK PAID        10354232    IA008418265880           0      49.83
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -604386.6     475   CHECK PAID        20028344    IA008418265919           0    516.73
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -584001.16     475   CHECK PAID        20028233    IA008418265926           0    630.75
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -633974.12     475   CHECK PAID        20027990    IA008418265927           0    342.74
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -627426.94     475   CHECK PAID        20027458    IA008418265929           0    395.88
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -634996.72     475   CHECK PAID        20028595    IA008418265930           0    339.08
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -580094.18     475   CHECK PAID        20028036    IA008418265931           0    680.34
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -626229.08     475   CHECK PAID        20027775    IA008418265938           0    408.04
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -629333.32     475   CHECK PAID        20026675    IA008418265939           0    375.79
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -573430.16     475   CHECK PAID        20028149    IA008418265987           0    890.74
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -620310.21     475   CHECK PAID        20028515    IA008418265991           0    439.07
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -585865.93     475   CHECK PAID        20028157    IA008418266007           0    613.73
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -591911.73     475   CHECK PAID        20027975    IA008418266066           0    589.62
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -641724.2     475   CHECK PAID        10352748    IA008418266461           0         15
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -641739.2     475   CHECK PAID        10353626    IA008418266462           0         15
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -641550.1     475   CHECK PAID      3003303697    IA008418266925           0      58.46
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -641259.09     475   CHECK PAID      3003303696    IA008418266926           0      84.01
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -613921.39     475   CHECK PAID        20027978    IA008418266951           0    481.36
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -592499.75     475   CHECK PAID        20028355    IA008418266952           0    588.02
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -621614.22     475   CHECK PAID        20024176    IA008418266953           0    431.73
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -639642.66     475   CHECK PAID        20028633    IA008418266954           0    206.83
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -582085.52     475   CHECK PAID        20027977    IA008418266956           0    657.86
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -611501.33     475   CHECK PAID        20028165    IA008418266958           0      495.4
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -622471.63     475   CHECK PAID        20027062    IA008418267071           0    428.09
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -16859.14     475   CHECK PAID       200002701    IA008579585571           0   1339.46
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -1341.33     475   CHECK PAID       200003110    IA008579585572           0   2173.19
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -12532.7     475   CHECK PAID       200002921    IA008579585573           0   1678.43
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -593659.73     475   CHECK PAID        20028475    IA008612816583           0    577.43
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -641754.13     475   CHECK PAID           402045   IA008612816584           0      14.93
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -600215.24     475   CHECK PAID        20027942    IA008612829010           0    527.82
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -593082.3     475   CHECK PAID        20027705    IA008612839469           0    582.55
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -9026.37     475   CHECK PAID       200003227    IA008612841083           0   1870.56
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -3302.59     475   CHECK PAID       200003217    IA008612841089           0   1961.26
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -10854.27     475   CHECK PAID       200003054    IA008612841090           0    1827.9
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -5254.53     475   CHECK PAID       200003037    IA008612841091           0   1951.94
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -7155.81     475   CHECK PAID       200003224    IA008612841092           0   1901.28
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -602308.94     475   CHECK PAID        20027891    IA008713953763           0    521.07
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -617647.6     475   CHECK PAID        20028351    IA008714039914           0    452.47
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -624590.49     475   CHECK PAID        20028245    IA008714039929           0    418.08
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -638778.12     475   CHECK PAID        20028418    IA008714039930           0    236.17
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -587093.27     475   CHECK PAID        20028365    IA008714039943           0    613.67
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -640279.21     475   CHECK PAID        20028673    IA008714044335           0    142.83
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -640670.62     475   CHECK PAID        20028709    IA008714052239           0    115.81
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -605418.19     475   CHECK PAID        20027742    IA008714062800           0    515.33
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -616741.55     475   CHECK PAID        20028305    IA008714062815           0    463.97
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -641175.08     475   CHECK PAID        20027120    IA008714062816           0      85.88
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -596990.29     475   CHECK PAID        20028231    IA008714062817           0    547.88
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -622043.54     475   CHECK PAID        20028507    IA008714063076           0    429.32
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -639823.97     475   CHECK PAID        20027124    IA008714063104           0    181.31
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -641709.2     475   CHECK PAID        10354240    IA008714063105           0         15




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                        Case Number:                                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                Report Mo/Yr:                                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                         BAI
             As-Of-                                                                                                             Opening        Closing      Running      Type                                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal    Code      Tran Desc                         Ref No        Bank Ref       Credit Amt Debit Amt
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -626630.92     475   CHECK PAID                               7903   IA008744638362           0    401.84
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          634.49     475   CHECK PAID                          20028210    IA008819382908           0    452.51
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -638000.38     475   CHECK PAID                          20027517    IA008819454365           0    277.92
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -625411.93     475   CHECK PAID                          20028653    IA008819454366           0    409.48
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -589526.06     475   CHECK PAID                          20027948    IA008819454559           0    606.49
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                 0            0         -522.87     475   CHECK PAID                         200000213    IA008819457335           0    522.87
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -624172.41     475   CHECK PAID                          20028135    IA008819462569           0    422.48
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -615810.53     475   CHECK PAID                          20027021    IA008819462570           0    468.91
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -641491.64     475   CHECK PAID                          20028685    IA008829263237           0         65
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -635652.04     475   CHECK PAID                          20028212    IA008829263513           0    323.66
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -635328.38     475   CHECK PAID                          20028410    IA008829263514           0    331.66
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -575811.3     475   CHECK PAID                          20027819    IA008829263748           0    774.42
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -597536.49     475   CHECK PAID                          20025769    IA008829264361           0      546.2
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -598082.69     475   CHECK PAID                          20027958    IA008829264362           0      546.2
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -612473.76     475   CHECK PAID                          20026853    IA008829264363           0    486.19
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -639226.91     475   CHECK PAID                          20027559    IA008829266303           0    221.82
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -641089.2     475   CHECK PAID                          20028683    IA008829266998           0      92.43
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -640893.73     475   CHECK PAID                          20028681    IA008829266999           0    110.06
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -640421.23     475   CHECK PAID                          20028682    IA008829267000           0    142.02
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0       -17997.15     475   CHECK PAID                         200003211    IA008834541902           0   1138.01
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0            1087     254   POSTING ERROR CORRECTION CREDIT     10354018    IA009930764029          20          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0         1594.47     254   POSTING ERROR CORRECTION CREDIT    200003262    IA009930764447     1594.47          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0          831.86     475   CHECK PAID                         200003162    IA009930766149           0   1594.47
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0         2326.33     254   POSTING ERROR CORRECTION CREDIT     10061036    IA009930768546      731.86          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0         2426.33     254   POSTING ERROR CORRECTION CREDIT     10061113    IA009930768548         100          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0              50     254   POSTING ERROR CORRECTION CREDIT     10351213    IA009930768622          50          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0              70     254   POSTING ERROR CORRECTION CREDIT     10354015    IA009930768624          20          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0             670     254   POSTING ERROR CORRECTION CREDIT     10354163    IA009930768626         600          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0             852     254   POSTING ERROR CORRECTION CREDIT     10354188    IA009930768628         182          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0             867     254   POSTING ERROR CORRECTION CREDIT     10354233    IA009930768630          15          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0            1067     254   POSTING ERROR CORRECTION CREDIT     10354318    IA009930768632         200          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     7807298.85      208   INTL MONEY TRANSFER CREDIT                  0   IA009985868000    59694.96          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -562751.85     495   OUTGOING MONEY TRANSFER                     0   IA009986052393           0 551002.02
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -567495.29     495   OUTGOING MONEY TRANSFER                     0   IA009986052535           0   4743.44
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33       8658054.2     577   ZBA DEBIT TRANSFER                          0   IA082800000004           0    522.87
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                 0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082800000005      522.87          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8640057.05      577   ZBA DEBIT TRANSFER                          0   IA082800000006           0 17997.15
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082800000007    17997.15          0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     7998302.92      577   ZBA DEBIT TRANSFER                          0   IA082800000052           0 641754.13
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082800000053  641754.13           0
 20190828    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8040153.91      169   MISCELLANEOUS ACH CREDIT                    0   IA100205706416    51808.57          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8630555.36      169   MISCELLANEOUS ACH CREDIT                    0   IA000010783445      1160.1          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8607399.76      169   MISCELLANEOUS ACH CREDIT                    0   IA000010960037    21740.03          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33       8326179.4     169   MISCELLANEOUS ACH CREDIT                    0   IA000010960038  282252.91           0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8623099.95      169   MISCELLANEOUS ACH CREDIT                    0   IA000012371773     5587.18          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8394972.45      169   MISCELLANEOUS ACH CREDIT                    0   IA000013075651    68793.05          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8448725.27      169   MISCELLANEOUS ACH CREDIT                    0   IA000015497843    53752.82          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33       8492962.9     169   MISCELLANEOUS ACH CREDIT                    0   IA000018070854    44237.63          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8631395.36      169   MISCELLANEOUS ACH CREDIT                    0   IA000019528208         840          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8563126.23      169   MISCELLANEOUS ACH CREDIT                    0   IA000020158167    28037.25          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8626966.76      169   MISCELLANEOUS ACH CREDIT                    0   IA000020158247     3866.81          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8535088.98      169   MISCELLANEOUS ACH CREDIT                    0   IA000024301713    42126.08          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8636937.56      469   MISCELLANEOUS ACH DEBIT                     0   IA000025212357           0    249.88
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8617512.77      169   MISCELLANEOUS ACH CREDIT                    0   IA000027770754    10113.01          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          -33545     475   CHECK PAID                          10354020    IA000282525429           0         10
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8029904.49      301   COMMERCIAL DEPOSIT                          0   IA001288941660    31601.57          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -14026.3     475   CHECK PAID                          20028253    IA001582951769           0    603.55
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -23817.11     475   CHECK PAID                          20028289    IA001582951815           0    477.43
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -6866.43     475   CHECK PAID                          20026528    IA001583652847           0      93.94
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -1576.96     475   CHECK PAID                          20028197    IA001583904808           0    541.59




                                                                                     Case 19-62584-pcm11                              Doc 283                  Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                             UST-14A
Wells Fargo                                                                                                                                                                   Case Number:                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                           Report Mo/Yr:                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                    BAI
             As-Of-                                                                                                             Opening    Closing    Running       Type                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal Ledger Bal Ledger Bal     Code      Tran Desc         Ref No        Bank Ref       Credit Amt Debit Amt
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -1035.37      475   CHECK PAID          20028192    IA001583904809           0      541.6
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -4170.35      475   CHECK PAID          20028257    IA001584196102           0    514.84
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -2619.53      475   CHECK PAID          20028085    IA001587755564           0    521.08
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -3138.85      475   CHECK PAID          20026973    IA001587755565           0    519.32
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -19954.29      475   CHECK PAID          20025364    IA001588375262           0      502.8
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -24262.13      475   CHECK PAID          20027556    IA001588375263           0    445.02
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -5605.46      475   CHECK PAID          20027497    IA001588855245           0    307.44
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -4961.22      475   CHECK PAID          20026392    IA001588855246           0    337.42
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -5298.02      475   CHECK PAID          20025292    IA001588855247           0      336.8
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -2098.45      475   CHECK PAID          20026876    IA001589399663           0    521.49
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -3655.51      475   CHECK PAID          20027980    IA001589399664           0    516.66
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -28085.45      475   CHECK PAID          20024796    IA002247560969           0    399.28
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0       -493.77     475   CHECK PAID          20028075    IA003543532122           0      603.6
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -16337.04      475   CHECK PAID          20027569    IA004187730759           0    547.75
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0       -4623.8     475   CHECK PAID          20028119    IA005744334193           0    453.45
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -5904.73      475   CHECK PAID          20026399    IA005940395404           0    299.27
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -6503.22      475   CHECK PAID          20025300    IA005940395405           0    299.23
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -6203.99      475   CHECK PAID          20028640    IA005940395406           0    299.26
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -6772.49      475   CHECK PAID          20027504    IA005940395407           0    269.27
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -26854.13      475   CHECK PAID          20027682    IA006380721750           0      425.4
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -15789.29      475   CHECK PAID          20028769    IA006380985956           0    584.45
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36 4949729.33 8637187.44        115   LOCKBOX DEPOSIT         72371   IA007482539065     5792.08          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -18437.71      475   CHECK PAID          20027731    IA008112835847           0    519.85
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -28861.06      475   CHECK PAID          20025757    IA008112859277           0    386.14
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -14618.36      475   CHECK PAID          20026840    IA008112859278           0    592.06
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -13422.75      475   CHECK PAID          20027946    IA008112859279           0    622.07
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -12800.68      475   CHECK PAID          20029384    IA008112870374           0    627.61
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                0          0     -1531.67      475   CHECK PAID         200000214    IA008112892261           0  1531.67
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                0          0     -2614.39      475   CHECK PAID         200000207    IA008112892262           0  1082.72
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0        -33535     475   CHECK PAID          20027820    IA008112901012           0      86.05
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -27686.17      475   CHECK PAID          20025170    IA008112913139           0    411.74
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -30949.6      475   CHECK PAID          20026270    IA008112913140           0    319.08
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -31860.16      475   CHECK PAID          20027374    IA008112913141           0    287.43
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -31267.04      475   CHECK PAID          20028512    IA008112913142           0    317.44
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -29616.74      475   CHECK PAID          20028645    IA008112913161           0    372.04
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -31572.73      475   CHECK PAID          20028639    IA008112913162           0    305.69
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -12173.07      475   CHECK PAID          20028003    IA008112913239           0    629.39
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -20446.9      475   CHECK PAID          20029792    IA008112913334           0    492.61
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0     -32117.8      475   CHECK PAID          20028665    IA008112913355           0    257.64
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -17396.78      475   CHECK PAID          20027624    IA008112913363           0    521.08
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -23339.68      475   CHECK PAID          20029088    IA008112918763           0    478.41
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -33448.95      475   CHECK PAID          20028679    IA008213268687           0         96
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -28474.92      475   CHECK PAID          20027922    IA008213328951           0    389.47
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -32963.19      475   CHECK PAID          20028686    IA008313785134           0    160.45
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -8303.27      475   CHECK PAID         200003160    IA008313822885           0    462.99
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -17917.86      475   CHECK PAID          20029608    IA008313855977           0    521.08
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -11543.68      475   CHECK PAID          10354145    IA008313859556           0   4677.25
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -15204.84      475   CHECK PAID          20028813    IA008313861536           0    586.48
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -18946.09      475   CHECK PAID          20027721    IA008313861544           0    508.38
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -33240.22      475   CHECK PAID          20028818    IA008313861547           0    130.21
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -33110.01      475   CHECK PAID          20027657    IA008313861548           0    146.82
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -32802.74      475   CHECK PAID          20023443    IA008513745717           0    220.91
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -33352.95      475   CHECK PAID            2002548   IA008612903722           0    112.73
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -30306.23      475   CHECK PAID          20028189    IA008612929556           0    335.85
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -19451.49      475   CHECK PAID          20026460    IA008612931766           0      505.4
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -8567.23      475   CHECK PAID         200003035    IA008612949711           0    110.26
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -32581.83      475   CHECK PAID          20027534    IA008714108018           0        230
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -20933.28      475   CHECK PAID          20027815    IA008714180211           0    486.38
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                  0          0     -7840.28      475   CHECK PAID         200003209    IA008714187536           0    847.37
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                  0          0    -25136.86      475   CHECK PAID          20029785    IA008714187662           0      436.1




                                                                                     Case 19-62584-pcm11                              Doc 283               Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                        Case Number:                                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                Report Mo/Yr:                                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                         BAI
             As-Of-                                                                                                             Opening        Closing      Running      Type                                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal    Code      Tran Desc                         Ref No        Bank Ref       Credit Amt Debit Amt
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -5817.79     475   CHECK PAID                         200003026    IA008714189247            0  1349.97
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -26428.73     475   CHECK PAID                          20027867    IA008714192318            0   428.39
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -26000.34     475   CHECK PAID                          20027594    IA008714192326            0   429.14
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -21416.4     475   CHECK PAID                          20027638    IA008714192327            0   483.12
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -27274.43     475   CHECK PAID                          20027890    IA008714192351            0     420.3
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -32351.83     475   CHECK PAID                          20026737    IA008714192353            0   234.03
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -16875.7     475   CHECK PAID                          20028277    IA008714193676            0   538.66
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -30630.52     475   CHECK PAID                          20028461    IA008714193727            0   324.29
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -25571.2     475   CHECK PAID                          20027700    IA008714193730            0   434.34
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -4467.82     475   CHECK PAID                          10061142    IA008714195070            0  1368.04
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -3099.78     475   CHECK PAID                         200003074    IA008733913571            0  1386.33
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -6992.91     475   CHECK PAID                         200002881    IA008733913572            0  1175.12
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -8456.97     475   CHECK PAID                         200002612    IA008773846702            0     153.7
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0        -1713.45     475   CHECK PAID                         200003208    IA008773846704            0  1713.45
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -29970.38     475   CHECK PAID                          20023000    IA008844329163            0   353.64
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -21898.03     475   CHECK PAID                          20024116    IA008844329164            0   481.63
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -22379.65     475   CHECK PAID                          20025231    IA008844329165            0   481.62
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0        -29244.7     475   CHECK PAID                          20026331    IA008844329166            0   383.64
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -24700.76     475   CHECK PAID                          20027436    IA008844329167            0   438.63
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0       -22861.27     475   CHECK PAID                          20028572    IA008844329168            0   481.62
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          401.84     254   POSTING ERROR CORRECTION CREDIT          7903   IA009930777319      401.84          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          109.83     475   CHECK PAID                          20027903    IA009930778423            0   401.84
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          416.84     254   POSTING ERROR CORRECTION CREDIT     10352748    IA009930780449           15         0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          431.84     254   POSTING ERROR CORRECTION CREDIT     10353626    IA009930780451           15         0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          446.84     254   POSTING ERROR CORRECTION CREDIT     10354179    IA009930780453           15         0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          496.67     254   POSTING ERROR CORRECTION CREDIT     10354232    IA009930780455        49.83         0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0          511.67     254   POSTING ERROR CORRECTION CREDIT     10354240    IA009930780457           15         0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8043926.49      208   INTL MONEY TRANSFER CREDIT                  0   IA009986299047       14022          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8634323.17      577   ZBA DEBIT TRANSFER                          0   IA082900000018            0  2614.39
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, L USD                 0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082900000019     2614.39          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8625755.94      577   ZBA DEBIT TRANSFER                          0   IA082900000020            0  8567.23
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082900000021     8567.23          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8592210.94      577   ZBA DEBIT TRANSFER                          0   IA082900000052            0    33545
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA082900000053       33545          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8585659.73      169   MISCELLANEOUS ACH CREDIT                    0   IA301794268412     22533.5          0
 20190829    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8629395.26      169   MISCELLANEOUS ACH CREDIT                    0   IA500123364023      2428.5          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9744925.44      169   MISCELLANEOUS ACH CREDIT                    0   IA000010269528  143274.33           0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9098963.41      169   MISCELLANEOUS ACH CREDIT                    0   IA000011389460  200534.48           0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9601651.11      169   MISCELLANEOUS ACH CREDIT                    0   IA000016028479    149007.3          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9983253.52      169   MISCELLANEOUS ACH CREDIT                    0   IA000016431320    28344.04          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9452643.81      169   MISCELLANEOUS ACH CREDIT                    0   IA000018280162  157890.99           0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     8898428.93      168   ACH RETURN ITEM CREDIT                      0   IA000018343948      249.88          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    10010626.12      169   MISCELLANEOUS ACH CREDIT                    0   IA000018742110     27372.6          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9917333.48      169   MISCELLANEOUS ACH CREDIT                    0   IA000019795609    45949.39          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    10049254.87      169   MISCELLANEOUS ACH CREDIT                    0   IA000022336688    13530.31          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    10060019.19      169   MISCELLANEOUS ACH CREDIT                    0   IA000026723418         1349         0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -148717.03     475   CHECK PAID                          20028767    IA000284721230            0   641.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9294752.82      169   MISCELLANEOUS ACH CREDIT                    0   IA000286674325  195789.41           0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33     9871384.09      169   MISCELLANEOUS ACH CREDIT                    0   IA000286674326    62701.69          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC USD         9329743.36    4949729.33    10058670.19      169   MISCELLANEOUS ACH CREDIT                    0   IA000286674327     1883.01          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -178963.17     475   CHECK PAID                          20029505    IA000472333219            0     595.2
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -178367.97     475   CHECK PAID                          20029304    IA000472632997            0   598.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -132853.93     475   CHECK PAID                          20029293    IA000472697730            0   692.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -144846.82     475   CHECK PAID                          20028128    IA000472768706            0   649.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -145496.63     475   CHECK PAID                          20029285    IA000472768707            0   649.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -127244.11     475   CHECK PAID                          20029390    IA000472873285            0   716.89
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -135580.24     475   CHECK PAID                          20027125    IA000472873286            0   676.84
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -127960.93     475   CHECK PAID                          20028236    IA000472873287            0   716.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0         -206200     475   CHECK PAID                          20028915    IA000472985157            0   547.29
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC USD                   0            0      -364265.28     475   CHECK PAID                          20029277    IA000472986252            0   206.18




                                                                                     Case 19-62584-pcm11                              Doc 283                  Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362054.32     475   CHECK PAID        20029554   IA000472989032           0    240.29
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -124369.5     475   CHECK PAID        20029153   IA000570024480           0    720.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362525.82     475   CHECK PAID        20029109   IA000579334187           0      233.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -342647.17     475   CHECK PAID        20029562   IA000579339817           0    340.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -303794.77     475   CHECK PAID        20029358   IA000579786028           0    430.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -305508.94     475   CHECK PAID        20029238   IA000579810354           0    427.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -212737.39     475   CHECK PAID        20029341   IA000579914513           0    542.07
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -251077.23     475   CHECK PAID        20029532   IA000579934520           0    512.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -148075.95     475   CHECK PAID        20028995   IA000579994611           0    644.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -196240.45     475   CHECK PAID        20025477   IA000620429255           0    561.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -313450.5     475   CHECK PAID        20028063   IA001288941935           0    406.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -350106.43     475   CHECK PAID        20029224   IA001288941937           0    311.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -24873.56     475   CHECK PAID        20029401   IA001582586268           0    601.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -80189.49     475   CHECK PAID        20029561   IA001582586273           0    308.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -223996.04     475   CHECK PAID        20029148   IA001582586410           0    532.01
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -54201.29     475   CHECK PAID        20029032   IA001582951864           0    517.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -138929.16     475   CHECK PAID        20029542   IA001583178298           0    667.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -51062.77     475   CHECK PAID        20029421   IA001583178365           0    527.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -35344.41     475   CHECK PAID        20029754   IA001583653129           0      571.2
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -228762.9     475   CHECK PAID        20029552   IA001583904931           0    527.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65713.49     475   CHECK PAID        20029155   IA001584129616           0    468.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -71389.94     475   CHECK PAID        20029662   IA001584129797           0    406.15
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -61871.88     475   CHECK PAID        20028518   IA001584129798           0    500.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -51589.81     475   CHECK PAID        20028178   IA001584196266           0    527.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -49479.87     475   CHECK PAID        20029335   IA001584196267           0    529.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -229289.93     475   CHECK PAID        20029083   IA001584196275           0    527.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -230869.08     475   CHECK PAID        20027923   IA001584196276           0    525.71
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -273700.45     475   CHECK PAID        20026817   IA001584196278           0      490.4
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -289573.53     475   CHECK PAID        20027284   IA001584196297           0    465.44
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -366783.05     475   CHECK PAID        20028416   IA001584196298           0    131.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -43078.27     475   CHECK PAID        20029024   IA001584196327           0    538.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -80488.87     475   CHECK PAID        20029472   IA001584196459           0    299.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -109691.57     475   CHECK PAID        20029188   IA001584196570           0    842.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -30760.92     475   CHECK PAID        20029311   IA001584196614           0    577.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -44688.02     475   CHECK PAID        20029070   IA001584196677           0    536.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -123649.07     475   CHECK PAID        20026724   IA001584668686           0    720.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -93578.97     475   CHECK PAID        20027827   IA001584668687           0   1158.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -92420.11     475   CHECK PAID        20028988   IA001584668688           0    1209.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -268246.95     475   CHECK PAID        20029616   IA001585042864           0    500.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -339902.96     475   CHECK PAID        20029617   IA001585042865           0      345.4
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -65244.76     475   CHECK PAID        20028540   IA001585042961           0    469.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -73328.96     475   CHECK PAID        20029684   IA001585042962           0    365.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -50535.73     475   CHECK PAID        20029481   IA001585199035           0    527.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -28441.37     475   CHECK PAID        20029480   IA001585199036           0    590.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -26072.32     475   CHECK PAID        20028921   IA001585199112           0    597.31
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -10645.53     475   CHECK PAID        20029290   IA001585199197           0    715.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -75130.77     475   CHECK PAID        20028585   IA001585199282           0    355.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -80767.96     475   CHECK PAID        20029731   IA001585199283           0    279.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82093.62     475   CHECK PAID        20029367   IA001585295239           0    257.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82576.79     475   CHECK PAID        20028211   IA001585295240           0    230.31
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -83182.9     475   CHECK PAID        20029366   IA001585295241           0    183.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -53683.32     475   CHECK PAID        20028719   IA001585295251           0    518.74
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -112993.5     475   CHECK PAID        20029129   IA001585295257           0    816.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -19355.37     475   CHECK PAID        20029444   IA001585295327           0    623.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -19978.98     475   CHECK PAID        20029402   IA001585295329           0    623.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -23063.66     475   CHECK PAID        20029149   IA001585295348           0    609.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -215437.72     475   CHECK PAID        20029427   IA001585295403           0      538.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -9930.34     475   CHECK PAID        20029105   IA001585733040           0    715.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -212195.32     475   CHECK PAID        20029243   IA001585733047           0      542.9
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -160030.5     475   CHECK PAID        20029241   IA001585733050           0    622.05




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -187715.14     475   CHECK PAID        20029501   IA001585733070           0    572.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -5119.85     475   CHECK PAID        20029458   IA001585733072           0    960.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -63347.88     475   CHECK PAID        20029150   IA001585733078           0    482.01
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -289108.09     475   CHECK PAID        20029535   IA001585772900           0    467.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -360585.59     475   CHECK PAID        20029220   IA001586157662           0    249.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -165597.88     475   CHECK PAID        20029309   IA001586157970           0    614.22
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -38727.42     475   CHECK PAID        20028797   IA001586504729           0    558.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -59854.11     475   CHECK PAID        20028799   IA001586504794           0    508.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362759.07     475   CHECK PAID        20029834   IA001586504850           0    233.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -325713.8     475   CHECK PAID        20028721   IA001586504851           0    384.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -4158.89     475   CHECK PAID        20028816   IA001586504854           0    994.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -83638.08     475   CHECK PAID        20028817   IA001586504857           0    147.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -50008.6     475   CHECK PAID        20028770   IA001586504860           0    528.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -297690.97     475   CHECK PAID        20029013   IA001586504873           0    442.74
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -79246.03     475   CHECK PAID        20029030   IA001586504878           0    324.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -45755.54     475   CHECK PAID        20028965   IA001586504880           0    533.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -81313.93     475   CHECK PAID        20029012   IA001586504916           0    268.17
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -185419.12     475   CHECK PAID        20028978   IA001586504923           0    579.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -139595.29     475   CHECK PAID        20028876   IA001586504934           0    666.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -84106.27     475   CHECK PAID        20028922   IA001586504941           0       94.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -193420.01     475   CHECK PAID        20028985   IA001586504979           0    567.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -32484.1     475   CHECK PAID        20028771   IA001586504999           0    572.83
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -239732.36     475   CHECK PAID        20029235   IA001587196714           0    516.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -240249.17     475   CHECK PAID        20028074   IA001587196716           0    516.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -58836.26     475   CHECK PAID        20029302   IA001587196729           0    509.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -189432.59     475   CHECK PAID        20028240   IA001587196734           0    572.42
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -33629.18     475   CHECK PAID        20029394   IA001587196736           0    572.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -195679.1     475   CHECK PAID        20029375   IA001587196758           0    561.36
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -69307.43     475   CHECK PAID        20029787   IA001587196795           0    434.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -232444.07     475   CHECK PAID        20029074   IA001587196807           0    524.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -246959.97     475   CHECK PAID        20029075   IA001587196810           0    515.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -265744.23     475   CHECK PAID        20029031   IA001587196830           0    501.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -77576.15     475   CHECK PAID        20029571   IA001587196850           0    343.12
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -21223.09     475   CHECK PAID        20029343   IA001587196966           0    622.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -125089.91     475   CHECK PAID        20029339   IA001587196968           0    720.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -186569.75     475   CHECK PAID        20029430   IA001587196985           0    575.22
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -245411.8     475   CHECK PAID        20029282   IA001587197004           0    516.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -243346.82     475   CHECK PAID        20028125   IA001587197005           0    516.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -280536.8     475   CHECK PAID        20027011   IA001587197006           0    486.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -18731.76     475   CHECK PAID        20029165   IA001587197016           0    636.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -245928.04     475   CHECK PAID        20029152   IA001587197070           0    516.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -259200.94     475   CHECK PAID        20029539   IA001587755792           0    504.16
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -29605.9     475   CHECK PAID        20029137   IA001587755983           0      578.3
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -39284.47     475   CHECK PAID        20029131   IA001587755986           0    557.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -33056.75     475   CHECK PAID        20029122   IA001587756007           0    572.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -64303.95     475   CHECK PAID        20029009   IA001588375423           0    475.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -252610.93     475   CHECK PAID        20029003   IA001588375426           0    510.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197362.52     475   CHECK PAID        20028759   IA001588375435           0    560.72
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -195117.74     475   CHECK PAID        20028756   IA001588375436           0    564.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -311394.38     475   CHECK PAID        20029028   IA001588375454           0    415.99
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -60867.49     475   CHECK PAID        20028844   IA001588375456           0      505.4
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -79565.98     475   CHECK PAID        20028997   IA001588375463           0    319.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -122198.33     475   CHECK PAID        20028737   IA001588375483           0    731.12
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -11359.42     475   CHECK PAID        20028882   IA001588375513           0    713.89
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -276637.89     475   CHECK PAID        20028841   IA001588375532           0    488.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -242830.57     475   CHECK PAID        20028913   IA001588375536           0    516.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -22454.25     475   CHECK PAID        20029004   IA001588375538           0    613.36
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -119253.85     475   CHECK PAID        20028957   IA001588375542           0    749.92
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -133543.98     475   CHECK PAID        20028904   IA001588375545           0    690.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -6049.61     475   CHECK PAID        20027766   IA001588375548           0    929.76




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -3164.11     475   CHECK PAID        20028930   IA001588375549           0   1025.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -72184.72     475   CHECK PAID        20028982   IA001588375553           0    396.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -72963.28     475   CHECK PAID        20028864   IA001588375587           0    389.15
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -13443.87     475   CHECK PAID        20029603   IA001588855292           0    681.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -14124.92     475   CHECK PAID        20028457   IA001588855293           0    681.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -57301.29     475   CHECK PAID        20029301   IA001588855357           0    515.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -70156.26     475   CHECK PAID        20028972   IA001588855367           0      420.2
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -79881.45     475   CHECK PAID        20029689   IA001588855425           0    315.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -73694.15     475   CHECK PAID        20029502   IA001588855528           0    365.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -14805.26     475   CHECK PAID        20029197   IA001588855568           0    680.34
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -81045.76     475   CHECK PAID        20029711   IA001589015875           0      277.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -169280.99     475   CHECK PAID        20029259   IA001589946879           0    613.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -156295.09     475   CHECK PAID        20029463   IA001589947034           0      625.9
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142236.88     475   CHECK PAID        20028313   IA001589947035           0    655.57
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -130773.8     475   CHECK PAID        20029283   IA001589947038           0    696.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -9215.13     475   CHECK PAID        20028763   IA001680863494           0    734.33
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -76539.2     475   CHECK PAID        20029547   IA001681058422           0    351.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82999.26     475   CHECK PAID        20029146   IA001681100383           0    206.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -300760.62     475   CHECK PAID        20029364   IA002247561023           0    436.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -43615.05     475   CHECK PAID        20028143   IA002247561028           0    536.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -42000.93     475   CHECK PAID        20029300   IA002247561029           0      539.1
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -305081.31     475   CHECK PAID        20029256   IA002247561040           0    428.69
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -300324.27     475   CHECK PAID        20029255   IA002247561042           0    436.42
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -46820.91     475   CHECK PAID        20029438   IA002247561113           0    532.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -47353.52     475   CHECK PAID        20024973   IA002247561114           0    532.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -47886.13     475   CHECK PAID        20028290   IA002247561115           0    532.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62865.87     475   CHECK PAID        20027172   IA002247561116           0    493.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -170504.29     475   CHECK PAID        20029353   IA002247561130           0      611.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -236618.68     475   CHECK PAID        20029294   IA002247561137           0    521.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -153787.03     475   CHECK PAID        20029281   IA002247561140           0    629.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -56785.33     475   CHECK PAID        20029374   IA002247561168           0    515.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -78921.42     475   CHECK PAID        20029258   IA002247561207           0    333.17
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -17454.75     475   CHECK PAID        20029249   IA002247561224           0    645.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -61371.15     475   CHECK PAID        20029482   IA002247561228           0    503.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -25475.01     475   CHECK PAID        20029295   IA002247561254           0    601.45
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -40377.52     475   CHECK PAID        20029469   IA002489027236           0    545.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -234533.96     475   CHECK PAID        20028155   IA002489027238           0    521.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -298132.4     475   CHECK PAID        20029312   IA002489027239           0    441.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -62372.24     475   CHECK PAID        20029582   IA002489027277           0    500.36
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -41461.83     475   CHECK PAID        20029439   IA002489027333           0    542.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -196801.8     475   CHECK PAID        20029398   IA002489027348           0    561.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -276149.24     475   CHECK PAID        20028252   IA002489027487           0    489.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -282948.91     475   CHECK PAID        20029405   IA002489027488           0    479.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -77233.03     475   CHECK PAID        20029594   IA002489027537           0    345.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -75483.74     475   CHECK PAID        20028448   IA002489027538           0    352.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -83339.78     475   CHECK PAID        20027310   IA002489027539           0    156.88
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -239215.4     475   CHECK PAID        20029410   IA002489027550           0    517.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -20601.04     475   CHECK PAID        20029218   IA002489027570           0    622.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -18094.94     475   CHECK PAID        20028057   IA002489027571           0    640.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -237660.51     475   CHECK PAID        20029181   IA002787740249           0    520.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -15481.51     475   CHECK PAID        20028164   IA002787740475           0    676.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -12762.82     475   CHECK PAID        20029320   IA002787740476           0    695.34
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -338865.27     475   CHECK PAID        20029676   IA003180984066           0    347.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -16155.63     475   CHECK PAID        20027829   IA003181252277           0    674.12
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -23669.11     475   CHECK PAID        20028989   IA003181252278           0    605.45
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -97797.36     475   CHECK PAID        20029287   IA003446298177           0   1018.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -63828.56     475   CHECK PAID        20029360   IA003543532288           0    480.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -78254.94     475   CHECK PAID        20028205   IA003543532292           0    337.53
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -36475.32     475   CHECK PAID        20029454   IA003543532309           0    565.11
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -45221.79     475   CHECK PAID        20029589   IA003543532321           0    533.77




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -12067.48     475   CHECK PAID        20029211   IA003543532386           0    708.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -27851.12     475   CHECK PAID        20029508   IA003543532476           0    590.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -172334.3     475   CHECK PAID        20029157   IA003681365440           0    609.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -172943.71     475   CHECK PAID        20027997   IA003681365441           0    609.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -6879.66     475   CHECK PAID        20029345   IA003681365448           0    830.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -48950.5     475   CHECK PAID        20029073   IA003681365499           0    531.77
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -30183.41     475   CHECK PAID        20029298   IA003681365521           0    577.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -40919.75     475   CHECK PAID        20029393   IA003681365553           0    542.23
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -70571.71     475   CHECK PAID        20028283   IA003989236345           0    415.45
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -77917.41     475   CHECK PAID        20029431   IA003989236346           0    341.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -26668.36     475   CHECK PAID        20029598   IA003989236358           0    596.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -46288.29     475   CHECK PAID        20029297   IA003989236492           0    532.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -324557.72     475   CHECK PAID        20029683   IA003989236517           0    386.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -38169.16     475   CHECK PAID        20029328   IA003989502746           0      564.2
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -52641.21     475   CHECK PAID        20028796   IA003989502813           0    525.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -283427.53     475   CHECK PAID        20028039   IA003989502929           0    478.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -327625.01     475   CHECK PAID        20029201   IA003989502930           0    379.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -56269.36     475   CHECK PAID        20029613   IA003989502938           0    516.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -76887.9     475   CHECK PAID        20029640   IA003989503040           0      348.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -69736.06     475   CHECK PAID        20028497   IA003989503041           0    428.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -74058.73     475   CHECK PAID        20029604   IA003989572279           0    364.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -70983.79     475   CHECK PAID        20029487   IA003989572306           0    412.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -55753.3     475   CHECK PAID        20029564   IA003989572317           0    516.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0        -29027.6     475   CHECK PAID        20029568   IA003989572329           0    586.23
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -55236.65     475   CHECK PAID        20029257   IA003989572339           0    517.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -238698.27     475   CHECK PAID        20029252   IA003989572341           0    517.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -74418.37     475   CHECK PAID        20029791   IA003989572344           0    359.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -67095.06     475   CHECK PAID        20028648   IA003989572345           0    454.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -48418.73     475   CHECK PAID        20029485   IA003989572362           0      532.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -44151.63     475   CHECK PAID        20029486   IA003989572363           0    536.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -318671.93     475   CHECK PAID        20029592   IA003989572487           0    398.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -64775.49     475   CHECK PAID        20029570   IA003989572520           0    471.54
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -81578.59     475   CHECK PAID        20028792   IA004187730842           0    264.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -84156.53     475   CHECK PAID        20029827   IA004187730843           0      50.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -34773.21     475   CHECK PAID        20027608   IA004187730869           0      571.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -35910.21     475   CHECK PAID        20028765   IA004187730870           0      565.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -68873.41     475   CHECK PAID        20029026   IA004187730874           0    439.31
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -59345.73     475   CHECK PAID        20028753   IA004187730880           0    509.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -220266.55     475   CHECK PAID        20027735   IA004187730886           0      535.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -221866.19     475   CHECK PAID        20028899   IA004187730887           0    532.79
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -67991.06     475   CHECK PAID        20028990   IA004187730898           0    443.92
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -60362.09     475   CHECK PAID        20028846   IA004187730903           0    507.98
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -54719.26     475   CHECK PAID        20028800   IA004187730913           0    517.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -363212.22     475   CHECK PAID        20028659   IA004187730920           0    222.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -358543.52     475   CHECK PAID        20029802   IA004187730921           0    261.88
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -215975.2     475   CHECK PAID        20028960   IA004187730972           0    537.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -66640.15     475   CHECK PAID        20028966   IA004187730984           0    459.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -95747.62     475   CHECK PAID        20028854   IA004187730987           0   1057.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -83490.73     475   CHECK PAID        20028032   IA004187731015           0    150.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -82792.61     475   CHECK PAID        20028779   IA004187731017           0    215.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -338169.65     475   CHECK PAID        20028781   IA004187731063           0    348.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -81836.54     475   CHECK PAID        20028739   IA004187731075           0    257.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -42540.01     475   CHECK PAID        20028955   IA004187731086           0    539.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -58326.35     475   CHECK PAID        20028746   IA004187731089           0    510.77
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -333916.07     475   CHECK PAID        20028843   IA004187731101           0    364.15
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -241798.06     475   CHECK PAID        20025491   IA004187731102           0    516.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -242314.32     475   CHECK PAID        20026582   IA004187731103           0    516.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -301196.86     475   CHECK PAID        20027680   IA004187731104           0    436.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -226121.67     475   CHECK PAID        20028758   IA004187731109           0    530.49
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163132.16     475   CHECK PAID        20028927   IA004187731112           0    619.29




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                        Case Number:                       Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                Report Mo/Yr:                      August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                         BAI
             As-Of-                                                                                                             Opening        Closing      Running      Type                           Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal    Code      Tran Desc            Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -262728.2     475   CHECK PAID             20028926    IA004187731115           0    503.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -83770.58     475   CHECK PAID             20028801    IA004187731118           0      132.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -78588.25     475   CHECK PAID             20029060    IA004187731133           0    333.31
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -52116.13     475   CHECK PAID             20028968    IA004187731142           0    526.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -250564.38     475   CHECK PAID             20028971    IA004187731170           0    514.29
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -57815.58     475   CHECK PAID             20029033    IA004187731182           0    514.29
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -366225.97     475   CHECK PAID             20029362    IA004388959613           0    153.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     8715533.65      301   COMMERCIAL DEPOSIT             0   IA004388959939  123322.71           0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -343325.11     475   CHECK PAID             20029528    IA004785132608           0    338.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -177769.92     475   CHECK PAID             20029206    IA004785132618           0    600.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -128670.07     475   CHECK PAID             20029120    IA004785132619           0    709.14
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -82346.48     475   CHECK PAID             20029507    IA004785132641           0    252.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -285810.8     475   CHECK PAID             20029069    IA004785132647           0    474.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -27260.74     475   CHECK PAID             20029357    IA004785132892           0    592.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -31337.76     475   CHECK PAID             20028200    IA004785132893           0    576.84
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -39831.84     475   CHECK PAID             20029233    IA004785132922           0    547.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -84011.67     475   CHECK PAID             20028825    IA004787983953           0    120.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -218658.76     475   CHECK PAID             20029071    IA004884864729           0    536.57
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -213820.83     475   CHECK PAID             20028281    IA004884864879           0    541.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -231394.71     475   CHECK PAID             20029429    IA004884864880           0    525.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -74775.51     475   CHECK PAID             20029529    IA005744334378           0    357.14
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -303364.45     475   CHECK PAID             20028107    IA005744334426           0    430.79
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -342986.14     475   CHECK PAID             20029267    IA005744334427           0    338.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -34201.61     475   CHECK PAID             20029025    IA005744334464           0    572.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -21840.89     475   CHECK PAID             20029593    IA005744334499           0      617.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -83891.4     475   CHECK PAID             20028275    IA005744334551           0    120.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -72574.13     475   CHECK PAID             20029369    IA005744334626           0    389.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -31911.27     475   CHECK PAID             20029386    IA005744334715           0    573.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -7702.59     475   CHECK PAID             20029428    IA005744334718           0    822.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -16809.36     475   CHECK PAID             20029010    IA005940395457           0    653.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -2138.73     475   CHECK PAID             20028944    IA005940395460           0   1037.29
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -24271.7     475   CHECK PAID             20029154    IA005940395533           0    602.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -71788.64     475   CHECK PAID             20029359    IA005940395544           0      398.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -66180.68     475   CHECK PAID             20028661    IA005940395582           0    467.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -68434.1     475   CHECK PAID             20027525    IA005940395583           0    443.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0         -8480.8     475   CHECK PAID             20029288    IA005940395613           0    778.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -317076.81     475   CHECK PAID             20026225    IA006381011960           0    399.92
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -319070.03     475   CHECK PAID             20027328    IA006381012070           0      398.1
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -297248.23     475   CHECK PAID             20028468    IA006381012200           0    444.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -244895.56     475   CHECK PAID             20028766    IA006381202962           0    516.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -232967.51     475   CHECK PAID             20027648    IA006381306072           0    523.44
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -358804.17     475   CHECK PAID             20028807    IA006381306796           0    260.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33    10316295.91      115   LOCKBOX DEPOSIT           201257   IA007382633665  256276.72           0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33    10328531.03      115   LOCKBOX DEPOSIT            72371   IA007482575879    12235.12          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -76188.18     475   CHECK PAID             20029321    IA007543328988           0    351.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -249021.26     475   CHECK PAID             20029361    IA007543329047           0    514.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -331354.84     475   CHECK PAID             20029797    IA007543329066           0    368.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0        -1101.44     475   CHECK PAID             20029558    IA007543329091           0   1111.44
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -53164.58     475   CHECK PAID             20028114    IA007543329206           0    523.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -75836.32     475   CHECK PAID             20029273    IA007543329207           0    352.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -67547.14     475   CHECK PAID             20029118    IA007543329298           0    452.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -37040.14     475   CHECK PAID             20029296    IA007543329353           0    564.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -37604.96     475   CHECK PAID             20028139    IA007543329354           0    564.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -254647.87     475   CHECK PAID             20028862    IA007943270156           0    508.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -209474.39     475   CHECK PAID             20028350    IA008112924273           0      544.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -295914.98     475   CHECK PAID             20026415    IA008112924300           0    445.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -327245.28     475   CHECK PAID             20027520    IA008112924301           0    380.29
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -310562.37     475   CHECK PAID             20028656    IA008112924302           0    416.11
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -367617.1     475   CHECK PAID             10353177    IA008112924303           0        10
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -160652.54     475   CHECK PAID             20028134    IA008112924305           0    622.04




                                                                                     Case 19-62584-pcm11                              Doc 283                  Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -309311.49     475   CHECK PAID        20028619   IA008112924543           0    419.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -323395.84     475   CHECK PAID        20027483   IA008112924544           0    389.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -257688.44     475   CHECK PAID        20028439   IA008112924683           0    504.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -282469.54     475   CHECK PAID        20027256   IA008112924704           0    482.42
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -331722.9     475   CHECK PAID        20029332   IA008112951538           0    368.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -360085.89     475   CHECK PAID        20028897   IA008112972695           0    253.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -279076.08     475   CHECK PAID        20029176   IA008112976120           0    487.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -126527.22     475   CHECK PAID        20027589   IA008112976945           0      718.3
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -344669.11     475   CHECK PAID        20028961   IA008113003543           0    333.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -237139.69     475   CHECK PAID        20029693   IA008113013652           0    521.01
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -201253.47     475   CHECK PAID        20029372   IA008113038732           0    553.31
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362292.32     475   CHECK PAID        20029763   IA008113038733           0        238
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -151263     475   CHECK PAID        20029699   IA008113038818           0    632.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -328004.07     475   CHECK PAID        20028789   IA008113038830           0    379.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -10384.68     475   CHECK PAID       200001510   IA008113047437           0    483.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -220800.08     475   CHECK PAID        20029356   IA008113051472           0    533.53
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -200146.71     475   CHECK PAID        20029102   IA008113051473           0    555.17
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -360835     475   CHECK PAID        20028580   IA008113064512           0    249.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -366912.8     475   CHECK PAID        20029726   IA008113064513           0    129.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367031.84     475   CHECK PAID        20029623   IA008113064514           0    119.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -366651.43     475   CHECK PAID        20028662   IA008113064515           0      137.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -255156.24     475   CHECK PAID        20028808   IA008113064516           0    508.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -340936.26     475   CHECK PAID        20029735   IA008113064517           0    344.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -299013.01     475   CHECK PAID        20029673   IA008113064518           0    439.22
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -150630.38     475   CHECK PAID        20029800   IA008113064519           0    636.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -367607.1     475   CHECK PAID        20029688   IA008113064520           0      29.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -360335.96     475   CHECK PAID        20021086   IA008113064522           0    250.07
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -302933.66     475   CHECK PAID        20029798   IA008113064524           0    431.92
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -141581.31     475   CHECK PAID        20029780   IA008113064526           0    661.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -356909.6     475   CHECK PAID        20029679   IA008113064527           0    279.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -313043.77     475   CHECK PAID        20029620   IA008113064528           0    408.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -323784.08     475   CHECK PAID        20029720   IA008113064529           0    388.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -350727.59     475   CHECK PAID        20029747   IA008113064530           0    310.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -340247.54     475   CHECK PAID        20029724   IA008113064531           0    344.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -199591.54     475   CHECK PAID        20029707   IA008113064532           0    556.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -134903.4     475   CHECK PAID        20029107   IA008113064533           0    679.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -105353.56     475   CHECK PAID        20029440   IA008113064534           0    892.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -356629.99     475   CHECK PAID        20029704   IA008113064535           0    281.57
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -156920.2     475   CHECK PAID        20029014   IA008113064536           0    625.11
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -1977.35     475   CHECK PAID       200003051   IA008113076936           0   1977.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -353454.99     475   CHECK PAID        20028834   IA008146626092           0    297.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -270736.88     475   CHECK PAID        20026573   IA008146626093           0    496.33
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -233490.65     475   CHECK PAID        20028821   IA008146626094           0    523.14
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -110533.01     475   CHECK PAID        20029086   IA008146626329           0    841.44
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -207839.04     475   CHECK PAID        20029244   IA008146626330           0    545.92
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -363429.4     475   CHECK PAID        20029727   IA008146626426           0    217.18
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -287229.76     475   CHECK PAID        20028941   IA008213467559           0    472.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -250050.09     475   CHECK PAID        20029000   IA008213467562           0    514.33
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -364464.54     475   CHECK PAID        20028820   IA008213467563           0    199.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -99801.65     475   CHECK PAID        20028857   IA008213467593           0   1001.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -199035.06     475   CHECK PAID        20028905   IA008213468658           0    556.98
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -253630.64     475   CHECK PAID        20028890   IA008213468664           0      509.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -347258.51     475   CHECK PAID        20028928   IA008213468679           0    321.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -252100.72     475   CHECK PAID        20028809   IA008213468681           0    511.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -103559.71     475   CHECK PAID        20029331   IA008213468693           0      902.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -265242.76     475   CHECK PAID        20029207   IA008213468709           0    502.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -107120.81     475   CHECK PAID        20029145   IA008213468711           0    883.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -102657.21     475   CHECK PAID        20028832   IA008213468712           0    906.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -219195.32     475   CHECK PAID        20028949   IA008213468718           0    536.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -329133.48     475   CHECK PAID        20029095   IA008213468722           0      372.8




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No       Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -274680.43     475   CHECK PAID        20029147   IA008213468731           0    489.98
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -161893.57     475   CHECK PAID        20027986   IA008213468732           0    620.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -322617.3     475   CHECK PAID        20029121   IA008213468733           0    389.57
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -301631.9     475   CHECK PAID        20028815   IA008213468734           0    435.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -210563.77     475   CHECK PAID        20027963   IA008213468745           0    544.69
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -211108.46     475   CHECK PAID        20029124   IA008213468746           0    544.69
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -271728.88     475   CHECK PAID        20026859   IA008213468747           0    495.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -108004.19     475   CHECK PAID        20029144   IA008213468749           0    883.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -132161.29     475   CHECK PAID        20028081   IA008213468809           0    693.74
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -131467.55     475   CHECK PAID        20029242   IA008213468810           0    693.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -355492.05     475   CHECK PAID        20029266   IA008213468828           0    286.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -356348.42     475   CHECK PAID        20029534   IA008213468829           0    284.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -329505.61     475   CHECK PAID        20029316   IA008213468830           0    372.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -246444.01     475   CHECK PAID        20029403   IA008213468840           0    515.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -320261.18     475   CHECK PAID        20029441   IA008213468841           0    395.53
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -211652.42     475   CHECK PAID        20024976   IA008213468842           0    543.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -345646.63     475   CHECK PAID        20026076   IA008213468843           0    324.36
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -251589.08     475   CHECK PAID        20028293   IA008213468844           0    511.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -272717.24     475   CHECK PAID        20027175   IA008213468845           0    493.49
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -247475.92     475   CHECK PAID        20029586   IA008213468846           0    515.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -177169.88     475   CHECK PAID        20029183   IA008213468847           0    601.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -272223.75     475   CHECK PAID        20029093   IA008213468855           0    494.87
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -355778.39     475   CHECK PAID        20029654   IA008213468859           0    286.34
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181919.99     475   CHECK PAID        20029422   IA008213468876           0    590.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -149356.46     475   CHECK PAID        20029559   IA008213468881           0    639.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -332821.89     475   CHECK PAID        20029096   IA008213469523           0    366.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -267246.7     475   CHECK PAID        20029466   IA008213469549           0    500.36
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -279563.54     475   CHECK PAID        20029177   IA008213469552           0    487.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -343999.34     475   CHECK PAID        20029768   IA008213469553           0    336.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -321051.81     475   CHECK PAID        20028886   IA008213469555           0    395.24
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -345322.27     475   CHECK PAID        20029773   IA008213469557           0      326.3
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -348852.91     475   CHECK PAID        20029412   IA008213469576           0    317.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -142891.84     475   CHECK PAID        20028877   IA008213469577           0    654.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -333551.92     475   CHECK PAID        20026280   IA008213469578           0    364.36
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -326864.99     475   CHECK PAID        20029666   IA008213469579           0    382.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -291420.42     475   CHECK PAID        20028522   IA008213469580           0    458.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -308053.19     475   CHECK PAID        20027384   IA008213469581           0    422.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -271232.97     475   CHECK PAID        20027695   IA008213469584           0    496.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -138261.64     475   CHECK PAID        20028341   IA008213469586           0    668.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -353157.52     475   CHECK PAID        20029756   IA008213469588           0    298.16
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -357188.68     475   CHECK PAID        20029625   IA008213469589           0    279.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -202905.6     475   CHECK PAID        20029130   IA008213469590           0    550.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -296359.76     475   CHECK PAID        20029790   IA008213469592           0    444.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -175967.3     475   CHECK PAID        20029537   IA008213469593           0    602.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -314261.97     475   CHECK PAID        20029752   IA008213469594           0    405.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -353749.45     475   CHECK PAID        20029400   IA008213469600           0    294.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -358013.03     475   CHECK PAID        20029719   IA008213469610           0    273.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -339557.56     475   CHECK PAID        20028942   IA008213469611           0    345.99
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -347578.9     475   CHECK PAID        20029775   IA008213469612           0    320.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -255664.42     475   CHECK PAID        20029674   IA008213469613           0    508.18
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -263231.75     475   CHECK PAID        20028875   IA008213469630           0    503.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -354335.45     475   CHECK PAID        20029772   IA008213469632           0        293
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -278101.09     475   CHECK PAID        20029451   IA008213469633           0    487.67
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -320656.57     475   CHECK PAID        20029645   IA008213469634           0    395.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -347898.51     475   CHECK PAID        20029746   IA008213469635           0    319.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -345970.31     475   CHECK PAID        20029748   IA008213469636           0    323.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -315874.73     475   CHECK PAID        20028603   IA008213469637           0    402.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -315472.34     475   CHECK PAID        20028601   IA008213469638           0      402.4
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -351036.68     475   CHECK PAID        20029725   IA008213469644           0    309.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -98800.24     475   CHECK PAID        20029378   IA008213469646           0   1002.88




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -283905.9     475   CHECK PAID        20027628    IA008213469647           0    478.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -248506.61     475   CHECK PAID        20029128    IA008213469650           0      515.1
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -240765.54     475   CHECK PAID        20027967    IA008213469651           0    516.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -337821.4     475   CHECK PAID        20029291    IA008213469658           0    348.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -236097.62     475   CHECK PAID        20029042    IA008238613001           0    521.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -302066.83     475   CHECK PAID        20028883    IA008313919662           0    434.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -341623     475   CHECK PAID        20029769    IA008313919669           0    342.72
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -294130.28     475   CHECK PAID        20029264    IA008313934501           0    449.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -257183.79     475   CHECK PAID        20029450    IA008313934524           0    504.87
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -312223.62     475   CHECK PAID        20029614    IA008313934525           0    413.87
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -277125.66     475   CHECK PAID        20029213    IA008313934526           0    487.77
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -304652.62     475   CHECK PAID        20029778    IA008313934773           0    428.83
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -203455.79     475   CHECK PAID        20029555    IA008313934783           0    550.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -193987.11     475   CHECK PAID        20029318    IA008313934784           0      567.1
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -194553.27     475   CHECK PAID        20029262    IA008313935091           0    566.16
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -168053.68     475   CHECK PAID        20029516    IA008313935160           0    613.67
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -5628.43     475   CHECK PAID       200003144    IA008313936764           0   1745.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -206747.19     475   CHECK PAID        20029248    IA008313937096           0    547.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -219731.05     475   CHECK PAID        20028087    IA008313937097           0    535.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -202355.33     475   CHECK PAID        20029520    IA008313937300           0    550.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -330985.89     475   CHECK PAID        20029041    IA008313939337           0    369.54
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -166826.3     475   CHECK PAID        20029432    IA008313940971           0    614.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -332455.85     475   CHECK PAID        20028012    IA008313940972           0    366.44
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -352560.36     475   CHECK PAID        20029175    IA008313940973           0    299.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -120735.36     475   CHECK PAID        20029216    IA008313942030           0    735.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -230343.37     475   CHECK PAID        20029058    IA008313942059           0    526.53
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -328383.09     475   CHECK PAID        20027716    IA008313942265           0    379.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -304223.79     475   CHECK PAID        20026617    IA008313942266           0    429.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -317874.86     475   CHECK PAID        20028880    IA008313942267           0    399.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -308892.46     475   CHECK PAID        20028848    IA008313942268           0    419.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -351957.06     475   CHECK PAID        20029736    IA008313942536           0    305.84
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -8751.99     475   CHECK PAID             3152   IA008313943074           0   1432.34
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -341965.52     475   CHECK PAID        20029380    IA008313943566           0    342.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -346936.93     475   CHECK PAID        20029222    IA008313943614           0    321.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -216512.06     475   CHECK PAID        20029588    IA008313943615           0    536.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -267746.86     475   CHECK PAID        20029579    IA008313943618           0    500.16
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -341280.28     475   CHECK PAID        20028761    IA008313943621           0    344.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -258696.78     475   CHECK PAID        20029443    IA008313943627           0    504.17
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -312635.69     475   CHECK PAID        20029475    IA008313944427           0    412.07
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -285335.83     475   CHECK PAID        20028783    IA008313944706           0    475.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -336420.13     475   CHECK PAID        20029781    IA008313984316           0    352.99
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367150.45     475   CHECK PAID        20028684    IA008325209216           0    118.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -273210.05     475   CHECK PAID        20027687    IA008325322648           0    492.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -322227.73     475   CHECK PAID        20028707    IA008325322649           0      390.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -261217.54     475   CHECK PAID        20028849    IA008338908500           0    504.14
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -258192.61     475   CHECK PAID        20029495    IA008338908549           0    504.17
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -269245.56     475   CHECK PAID        20028347    IA008338908550           0    498.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -231919.46     475   CHECK PAID        20028829    IA008338908551           0    524.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -324943.72     475   CHECK PAID        20028822    IA008418380747           0       386
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -179556.8     475   CHECK PAID        20029694    IA008418410615           0    593.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -338517.65     475   CHECK PAID        20025738    IA008418410616           0       348
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -174155.51     475   CHECK PAID        20029456    IA008418411376           0    605.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -361814.03     475   CHECK PAID        20029672    IA008418411377           0    241.79
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -208929.69     475   CHECK PAID        20028839    IA008418413706           0    544.74
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -305936.05     475   CHECK PAID        20029348    IA008418413707           0    427.11
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -349795.3     475   CHECK PAID        20029744    IA008418414594           0    311.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -355205.37     475   CHECK PAID        20028616    IA008418414966           0    287.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -361329.85     475   CHECK PAID        20029761    IA008418414967           0    245.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -226651.19     475   CHECK PAID        20029018    IA008418454168           0    529.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -314667.44     475   CHECK PAID        20027858    IA008418454169           0    405.47




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -362989.25     475   CHECK PAID        20029681    IA008418454170           0    230.18
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -357464.71     475   CHECK PAID        20029692    IA008418454201           0    276.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -344995.97     475   CHECK PAID        20029742    IA008418454266           0    326.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -359062.15     475   CHECK PAID        20029648    IA008418454267           0    257.98
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -337473.12     475   CHECK PAID        20028505    IA008418454268           0    349.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -182509.75     475   CHECK PAID        20029061    IA008418454286           0    589.76
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -154414.63     475   CHECK PAID        20029062    IA008418454287           0      627.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -298573.79     475   CHECK PAID        20029087    IA008418454326           0    441.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -183097.24     475   CHECK PAID        20029194    IA008418454327           0    587.49
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -292328.31     475   CHECK PAID        20029365    IA008418454333           0    452.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -238180.88     475   CHECK PAID        20028950    IA008418454345           0    520.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -336067.14     475   CHECK PAID        20028819    IA008418454378           0    356.13
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -106237.42     475   CHECK PAID        20028762    IA008418454381           0    883.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -307208.17     475   CHECK PAID        20029411    IA008418454385           0    423.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -294576.76     475   CHECK PAID        20029103    IA008418454386           0    446.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -223464.03     475   CHECK PAID        20029263    IA008418454387           0    532.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -136924.86     475   CHECK PAID        20029077    IA008418454396           0    669.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -310146.26     475   CHECK PAID        20029622    IA008418454397           0      416.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -174760.78     475   CHECK PAID        20029237    IA008418454403           0    605.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -225591.18     475   CHECK PAID        20029585    IA008418454405           0    531.35
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -136255.43     475   CHECK PAID        20029114    IA008418454406           0    675.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365041.95     475   CHECK PAID        20029474    IA008418454420           0    187.23
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -330246.67     475   CHECK PAID        20029682    IA008418454427           0      370.4
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -260209.26     475   CHECK PAID        20029543    IA008418454434           0    504.16
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -225059.83     475   CHECK PAID        20029465    IA008418454435           0      531.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -309729.76     475   CHECK PAID        20028850    IA008418454437           0    418.27
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -168667.35     475   CHECK PAID        20029503    IA008418454438           0    613.67
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -321837.03     475   CHECK PAID        20029788    IA008418454440           0    392.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -335711.01     475   CHECK PAID        20029703    IA008418454459           0    357.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -332089.41     475   CHECK PAID        20029686    IA008418454470           0    366.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -328760.68     475   CHECK PAID        20029687    IA008418454487           0    377.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -354627.28     475   CHECK PAID        20029737    IA008418454507           0    291.83
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -200700.16     475   CHECK PAID        20029169    IA008418454522           0    553.45
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -340592     475   CHECK PAID        20029523    IA008418454533           0    344.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -205104.85     475   CHECK PAID        20029498    IA008418454534           0    549.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -363850.23     475   CHECK PAID        20029167    IA008418454560           0    208.87
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -281021.12     475   CHECK PAID        20028773    IA008418454563           0    484.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164983.66     475   CHECK PAID        20029330    IA008418454590           0    616.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -176568.86     475   CHECK PAID        20023917    IA008418454596           0    601.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -149994.32     475   CHECK PAID        20026125    IA008418454597           0    637.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -326098.4     475   CHECK PAID        20022855    IA008418454598           0      384.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -151894.56     475   CHECK PAID        20028345    IA008418454599           0    631.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -152526.11     475   CHECK PAID        20025022    IA008418454600           0    631.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -153157.66     475   CHECK PAID        20029493    IA008418454601           0    631.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -187142.53     475   CHECK PAID        20027225    IA008418454602           0    572.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367480.28     475   CHECK PAID        10354008    IA008418454603           0         50
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -222398.81     475   CHECK PAID        20029484    IA008418454606           0    532.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -113802.71     475   CHECK PAID        20029112    IA008418454607           0    809.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367528.96     475   CHECK PAID        20029415    IA008418454613           0      48.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367577.64     475   CHECK PAID        20029079    IA008418454614           0      48.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -217585.56     475   CHECK PAID        20029091    IA008418454616           0    536.72
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -351651.22     475   CHECK PAID        20029308    IA008418454619           0    305.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -281987.12     475   CHECK PAID        20029251    IA008418454624           0    482.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -192852.53     475   CHECK PAID        20028812    IA008418454627           0    568.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -299451.03     475   CHECK PAID        20029388    IA008418454634           0    438.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -278588.62     475   CHECK PAID        20029492    IA008418454635           0    487.53
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -334638.76     475   CHECK PAID        20029515    IA008418454636           0    358.99
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -330616.35     475   CHECK PAID        20028660    IA008418454677           0    369.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -354042.45     475   CHECK PAID        20029803    IA008418454678           0       293
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -9901.29     475   CHECK PAID           401479   IA008418463915           0    1149.3




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -363641.36     475   CHECK PAID        20018707    IA008437891177           0    211.96
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367301.34     475   CHECK PAID        20018318    IA008437891178           0      75.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -364660.4     475   CHECK PAID        10354331    IA008437891179           0    195.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -287700.42     475   CHECK PAID        20029054    IA008437891182           0    470.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -3882.65     475   CHECK PAID       200003168    IA008470756025           0    1905.3
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0       -11130.65     475   CHECK PAID       200002938    IA008470817479           0    110.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                   0                0        -7319.65     475   CHECK PAID       200003125    IA008470817480           0   1691.22
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -249535.76     475   CHECK PAID        20029250    IA008513806537           0      514.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -204555.53     475   CHECK PAID        20029512    IA008513855099           0    549.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -262224.65     475   CHECK PAID        20027773    IA008513856889           0    503.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158786.39     475   CHECK PAID        20027774    IA008513856890           0    622.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -348535.48     475   CHECK PAID        20028859    IA008513856893           0    318.23
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367430.28     475   CHECK PAID        20028702    IA008513862152           0      57.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -175364.71     475   CHECK PAID        20029043    IA008513862153           0    603.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -351345.37     475   CHECK PAID        20029626    IA008513868959           0    308.69
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -343663.06     475   CHECK PAID        20029627    IA008513868960           0    337.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -350417.5     475   CHECK PAID             9999   IA008513868964           0    311.07
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -155669.19     475   CHECK PAID        20029606    IA008513869752           0    626.98
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -222931.42     475   CHECK PAID        20029092    IA008513871080           0    532.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -191146.81     475   CHECK PAID        20029240    IA008513871085           0    569.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -208384.95     475   CHECK PAID        20029094    IA008513871087           0    545.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367226.28     475   CHECK PAID        20022884    IA008513871088           0      75.83
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -299887.85     475   CHECK PAID        20023975    IA008513871089           0    436.82
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -217048.84     475   CHECK PAID        20028421    IA008513871090           0    536.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -214899.22     475   CHECK PAID        20029569    IA008513871091           0    539.11
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -352260.99     475   CHECK PAID        20029082    IA008513871109           0    303.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -247991.51     475   CHECK PAID        20029324    IA008513871132           0    515.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -256172.47     475   CHECK PAID        20028996    IA008513872913           0    508.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -349483.75     475   CHECK PAID        20029663    IA008513876779           0    315.16
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -157542.27     475   CHECK PAID        20028791    IA008513880116           0    622.07
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -117752.19     475   CHECK PAID        20029476    IA008513880549           0    770.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -218122.19     475   CHECK PAID        20029457    IA008513881568           0    536.63
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -204005.97     475   CHECK PAID        20029379    IA008513882176           0    550.18
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -205652.71     475   CHECK PAID        20028225    IA008513882177           0    547.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -263735.22     475   CHECK PAID        20029226    IA008513882179           0    503.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -192284.05     475   CHECK PAID        20029460    IA008513882182           0    568.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -134224.32     475   CHECK PAID        20028981    IA008513882575           0    680.34
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -366513.63     475   CHECK PAID        20028700    IA008513882576           0    138.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -361572.24     475   CHECK PAID        20027767    IA008513882577           0    242.39
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -295023.08     475   CHECK PAID        20028994    IA008547595934           0    446.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -243863.07     475   CHECK PAID        20028902    IA008547596115           0    516.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -162512.87     475   CHECK PAID        20028993    IA008547596121           0      619.3
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -321444.45     475   CHECK PAID        20029063    IA008612984794           0    392.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -101750.36     475   CHECK PAID        20029709    IA008612986289           0    964.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -290961.95     475   CHECK PAID        20028896    IA008612997175           0    459.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -147431.86     475   CHECK PAID        20028920    IA008612997260           0    644.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -197921.07     475   CHECK PAID        20029522    IA008613005470           0    558.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -158164.33     475   CHECK PAID        20029132    IA008613014889           0    622.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -140257.79     475   CHECK PAID        20028023    IA008613021114           0      662.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -140920.29     475   CHECK PAID        20029186    IA008613021116           0      662.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -346615.15     475   CHECK PAID        20029452    IA008613021117           0    321.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -241281.8     475   CHECK PAID        20029333    IA008613022112           0    516.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -281504.6     475   CHECK PAID        20029020    IA008613068611           0    483.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -334279.77     475   CHECK PAID        20029056    IA008613068748           0      363.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -329876.27     475   CHECK PAID        20029027    IA008613078624           0    370.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -349168.59     475   CHECK PAID        20029708    IA008613080493           0    315.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -337123.53     475   CHECK PAID        20029734    IA008613098290           0    350.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -235055.46     475   CHECK PAID        20028723    IA008714209213           0      521.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365414.56     475   CHECK PAID        20026471    IA008714209214           0      185.9
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -295469.37     475   CHECK PAID        20027568    IA008714209215           0    446.29




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -358281.64     475   CHECK PAID        20028729    IA008714209216           0    268.61
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -354918.12     475   CHECK PAID        20028716    IA008714243000           0    290.84
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -313856.34     475   CHECK PAID        20029170    IA008714258514           0    405.84
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -264237.82     475   CHECK PAID        20028711    IA008714284007           0      502.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -342307.14     475   CHECK PAID        20029801    IA008714285740           0    341.62
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -159408.45     475   CHECK PAID        20029106    IA008714301735           0    622.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -184258.98     475   CHECK PAID        20029108    IA008714301799           0    580.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146143.43     475   CHECK PAID        20029292    IA008714301819           0      646.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -316676.89     475   CHECK PAID        20029638    IA008714307960           0    400.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -325328.95     475   CHECK PAID        20028495    IA008714307961           0    385.23
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -166212.09     475   CHECK PAID        20028828    IA008714316340           0    614.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -266746.34     475   CHECK PAID        20028747    IA008714316371           0    500.64
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -280050.55     475   CHECK PAID        20029805    IA008714316372           0    487.01
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -306784.91     475   CHECK PAID        20028826    IA008714316373           0    424.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -318273.56     475   CHECK PAID        20028911    IA008714316407           0      398.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -348217.25     475   CHECK PAID        20027749    IA008714316408           0    318.74
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -111361.01     475   CHECK PAID        20029037    IA008714316411           0        828
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -108849.06     475   CHECK PAID        20029059    IA008714316412           0    844.87
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -367372.53     475   CHECK PAID           402050   IA008714316415           0      71.19
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -359832.28     475   CHECK PAID        20028360    IA008714322398           0    256.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -228235.87     475   CHECK PAID        20029557    IA008714322592           0    527.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -89890.85     475   CHECK PAID        20029832    IA008714322606           0   5734.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -293680.87     475   CHECK PAID        20029833    IA008714322607           0        450
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -143545.69     475   CHECK PAID        20028731    IA008714322848           0    653.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -244379.32     475   CHECK PAID        20029044    IA008714322849           0    516.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -319467.84     475   CHECK PAID        20029514    IA008714323844           0    397.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -213279.44     475   CHECK PAID        20029195    IA008714323845           0    542.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -100785.93     475   CHECK PAID        20029376    IA008714324083           0    984.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -352859.36     475   CHECK PAID        20029667    IA008714324086           0        299
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -284859.9     475   CHECK PAID        20029767    IA008714324092           0    476.34
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -319865.65     475   CHECK PAID        20029117    IA008714324159           0    397.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -234012.4     475   CHECK PAID        20028943    IA008714324321           0    521.75
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -137593.27     475   CHECK PAID        20029015    IA008714324324           0    668.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -293230.87     475   CHECK PAID        20028785    IA008714324325           0      450.1
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365916.35     475   CHECK PAID        20027765    IA008714324326           0    162.45
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365589.44     475   CHECK PAID        20028929    IA008714324327           0    174.88
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -190576.86     475   CHECK PAID        20028743    IA008714324701           0    571.89
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -275659.89     475   CHECK PAID        20028742    IA008714324702           0    489.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -266245.7     475   CHECK PAID        20028879    IA008714324703           0    501.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -357739.65     475   CHECK PAID        20028772    IA008714324704           0    274.94
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -180148.85     475   CHECK PAID        20029034    IA008714324708           0    592.05
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -146787.65     475   CHECK PAID        20028794    IA008714324709           0    644.22
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -94690.14     475   CHECK PAID        20028888    IA008714324710           0   1111.17
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -224528.03     475   CHECK PAID        20029445    IA008714341541           0    531.99
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -308473.19     475   CHECK PAID        10354273    IA008714376925           0        420
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -290038.48     475   CHECK PAID        20029006    IA008714378172           0    464.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -207293.12     475   CHECK PAID        20029418    IA008714378460           0    545.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -198478.08     475   CHECK PAID        20029417    IA008714381126           0    557.01
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -284383.56     475   CHECK PAID        20028243    IA008714382023           0    477.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -277613.42     475   CHECK PAID        20029397    IA008714382024           0    487.76
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -364854.72     475   CHECK PAID        20028906    IA008714383340           0    194.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -121467.21     475   CHECK PAID        20029008    IA008714383648           0    731.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -364059.1     475   CHECK PAID        20029171    IA008714383785           0    208.87
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -221333.4     475   CHECK PAID        20029229    IA008714383851           0    533.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -324171.26     475   CHECK PAID        20029479    IA008714383971           0    387.18
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -306360.86     475   CHECK PAID        20028331    IA008714383972           0    424.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -316276.85     475   CHECK PAID        20029370    IA008714383973           0    402.12
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -256678.92     475   CHECK PAID        20029199    IA008714384306           0    506.45
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -344335.46     475   CHECK PAID        20029245    IA008714384334           0    336.12
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -290502.17     475   CHECK PAID        20028998    IA008714400647           0    463.69




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                      UST-14A
Wells Fargo                                                                                                                                                                              Case Number:                  Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr:                 August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                               BAI
             As-Of-                                                                                                             Opening          Closing          Running      Type                      Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal       Ledger Bal       Ledger Bal    Code      Tran Desc       Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -173550.23     475   CHECK PAID        20028852    IA008714400650           0    606.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -296804.02     475   CHECK PAID        20028869    IA008714400652           0    444.26
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -96779.33     475   CHECK PAID        20027675    IA008714400654           0   1031.71
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -119999.75     475   CHECK PAID        20028838    IA008714400655           0      745.9
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -365228.66     475   CHECK PAID        20028712    IA008714400658           0    186.71
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -201805.06     475   CHECK PAID        20028718    IA008714400659           0    551.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -104461.28     475   CHECK PAID        20028918    IA008714400660           0    901.57
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -302501.74     475   CHECK PAID        20028908    IA008714400674           0    434.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -190004.97     475   CHECK PAID        20028974    IA008714400680           0    572.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -356064.05     475   CHECK PAID        20028755    IA008714400681           0    285.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -91210.51     475   CHECK PAID        20028823    IA008714400682           0   1319.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -286757.17     475   CHECK PAID        20028907    IA008714400683           0    472.72
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -264740.29     475   CHECK PAID        20029101    IA008714400711           0    502.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -333187.56     475   CHECK PAID        20029637    IA008714400716           0    365.67
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -346293.37     475   CHECK PAID        20028836    IA008714400725           0    323.06
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -161273.14     475   CHECK PAID        20028851    IA008714400728           0      620.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -167440.01     475   CHECK PAID        20029314    IA008714403163           0    613.71
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -171114.77     475   CHECK PAID        20029387    IA008714403186           0    610.48
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -116981.63     475   CHECK PAID        20026521    IA008714403188           0    773.67
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -116207.96     475   CHECK PAID        20028776    IA008714403189           0    799.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -114608.37     475   CHECK PAID        20027619    IA008714403190           0    805.66
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -359319.85     475   CHECK PAID        20029652    IA008714403192           0      257.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -268746.71     475   CHECK PAID        20029134    IA008714403195           0    499.76
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -122928.32     475   CHECK PAID        20029268    IA008714403196           0    729.99
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -118503.93     475   CHECK PAID        20029279    IA008714403197           0    751.74
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -144197.01     475   CHECK PAID           402049   IA008714403205           0    651.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -286284.45     475   CHECK PAID        20029599    IA008714403209           0    473.65
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -184839.57     475   CHECK PAID        20029419    IA008714403210           0    580.59
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -315069.94     475   CHECK PAID        20029750    IA008714403211           0      402.5
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0         -129375     475   CHECK PAID        20029306    IA008714403214           0    704.93
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -155042.21     475   CHECK PAID        20028348    IA008714403215           0    627.58
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -253120.84     475   CHECK PAID        20029497    IA008714403216           0    509.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -188287.74     475   CHECK PAID        20029228    IA008714403226           0      572.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -227180.04     475   CHECK PAID        20028945    IA008714403227           0    528.85
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -254139.5     475   CHECK PAID        20028777    IA008714403228           0    508.86
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -185994.53     475   CHECK PAID        20027620    IA008714403229           0    575.41
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -339211.57     475   CHECK PAID        20029729    IA008714403232           0      346.3
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -274190.45     475   CHECK PAID        20028698    IA008714403234           0        490
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -269744.03     475   CHECK PAID        20029713    IA008714403236           0    498.47
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -326482.61     475   CHECK PAID        20029749    IA008714403237           0    384.21
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -125808.92     475   CHECK PAID        20029741    IA008714403238           0    719.01
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -210019.08     475   CHECK PAID        20029499    IA008714403239           0    544.69
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -229816.84     475   CHECK PAID        20029299    IA008714403242           0    526.91
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -288170.98     475   CHECK PAID        20029728    IA008714403250           0    470.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -169892.69     475   CHECK PAID        20027621    IA008714403251           0      611.7
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -115408.55     475   CHECK PAID        20028150    IA008714403252           0    800.18
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -112177.26     475   CHECK PAID        20029307    IA008714403253           0    816.25
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -336773.1     475   CHECK PAID        20028301    IA008714403255           0    352.97
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -366375.01     475   CHECK PAID        20029449    IA008714403256           0    149.04
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -130077.28     475   CHECK PAID        20029363    IA008714403259           0    702.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -164367.64     475   CHECK PAID        20029491    IA008714403260           0    616.68
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -180739.23     475   CHECK PAID        20029583    IA008714403264           0    590.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -183678.39     475   CHECK PAID        20029269    IA008714403265           0    581.15
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -163750.96     475   CHECK PAID        20029462    IA008714403268           0      618.8
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -171724.89     475   CHECK PAID        20028312    IA008714403269           0    610.12
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -181329.61     475   CHECK PAID        20029527    IA008714403270           0    590.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -361084.38     475   CHECK PAID        20029368    IA008727894103           0    249.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0      -359576.23     475   CHECK PAID        20029560    IA008727894104           0    256.38
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -365753.9     475   CHECK PAID        20028847    IA008727897086           0    164.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                   0                0       -259705.1     475   CHECK PAID        20029208    IA008727898716           0    504.16




                                                                                     Case 19-62584-pcm11                              Doc 283                        Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                        Case Number:                                    Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                                                                                Report Mo/Yr:                                   August, 2019
8/23/2019- 8/31/2019
                                                                                                                                                                         BAI
             As-Of-                                                                                                             Opening        Closing      Running      Type                                        Customer
As-Of Date   Time       Bank ID     Bank Name                State   Acct No      Acct Type        Acct Name          Currency Ledger Bal     Ledger Bal   Ledger Bal    Code      Tran Desc                         Ref No        Bank Ref       Credit Amt Debit Amt
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -310978.39     475   CHECK PAID                          20029007    IA008727899779            0   416.02
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0            0       -11020.39     475   CHECK PAID                         200003229    IA008744701811            0   310.81
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0            0       -10709.58     475   CHECK PAID                         200003084    IA008744768373            0     324.9
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0            0        -11184.6     475   CHECK PAID                          10061085    IA008744768440            0     53.95
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -288641.07     475   CHECK PAID                          20029794    IA008744841825            0   470.09
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -292780.77     475   CHECK PAID                          20028962    IA008744938688            0   452.46
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -235576.54     475   CHECK PAID                          20028810    IA008744938690            0   521.08
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -270240.55     475   CHECK PAID                          20029002    IA008744938699            0   496.52
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -291875.79     475   CHECK PAID                          20028866    IA008744938700            0   455.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -275170.21     475   CHECK PAID                          20029084    IA008744938984            0   489.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -188860.17     475   CHECK PAID                          20029135    IA008744939031            0   572.43
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -317475.84     475   CHECK PAID                          20029777    IA008744939063            0   399.03
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -335353.96     475   CHECK PAID                          20029706    IA008819683497            0   357.32
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -260713.4     475   CHECK PAID                          20028958    IA008819694823            0   504.14
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -366072.02     475   CHECK PAID                          20026842    IA008819700928            0   155.67
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -311809.75     475   CHECK PAID                          20029660    IA008819710854            0   415.37
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -307630.72     475   CHECK PAID                          20029556    IA008819711874            0   422.55
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -227708.82     475   CHECK PAID                          20029544    IA008819761453            0   528.78
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -214360.11     475   CHECK PAID                          20029389    IA008819763471            0   539.28
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0       -261721.1     475   CHECK PAID                          20028748    IA008819769267            0   503.56
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -191715.54     475   CHECK PAID                          20028749    IA008819769269            0   568.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -323006.81     475   CHECK PAID                          20029628    IA008819773821            0   389.51
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0      -334996.64     475   CHECK PAID                          20028733    IA008819776523            0   357.88
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0          112.73     254   POSTING ERROR CORRECTION CREDIT       2002548   IA009930787478      112.73          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0              10     475   CHECK PAID                          20025348    IA009930788674            0   112.73
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0          122.73     254   POSTING ERROR CORRECTION CREDIT     10354020    IA009930790741           10         0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     8898179.05      208   INTL MONEY TRANSFER CREDIT                  0   IA009986791635     26094.4          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     8866804.65      195   INCOMING MONEY TRANSFER                     0   IA009986825489      151271          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     8872084.65      195   INCOMING MONEY TRANSFER                     0   IA009986879350         5280         0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     5328531.03      495   OUTGOING MONEY TRANSFER                     0   IA009987225137            0  5000000
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33    10056787.18      169   MISCELLANEOUS ACH CREDIT                    0   IA071757994132     7532.31          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     5317346.43      577   ZBA DEBIT TRANSFER                          0   IA083000000008            0  11184.6
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD                 0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA083000000009     11184.6          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     4949729.33      577   ZBA DEBIT TRANSFER                          0   IA083000000074            0 367617.1
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD                 0            0               0     275   INDIVIDUAL ZBA CREDIT                       0   IA083000000075    367617.1          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33       9808682.4     169   MISCELLANEOUS ACH CREDIT                    0   IA137525382903    63756.96          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33     9954909.48      169   MISCELLANEOUS ACH CREDIT                    0   IA500125999097       37576          0
 20190830    23:59 00   121000248   WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD       9329743.36    4949729.33    10035724.56      169   MISCELLANEOUS ACH CREDIT                    0   IA917937140766    25098.44          0




                                                                                     Case 19-62584-pcm11                              Doc 283                  Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                              Case Number:         Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                         Report Mo/Yr:        August, 2019
8/23/2019- 8/31/2019
TRC        Account      Account
Number     Number       Type       Account Name          Post Date   Reference             Amount           Description          Type Text
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/28/2019                           $261,190.01    TRANSFER CREDIT           TRANSFER CREDIT TELEPHONE TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/28/2019   B7261F002609 TO: MAR    ($11,190.01)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190828B6B7261F002609 TO: MARC NELSON OIL PRODUCTS INC ABA: 121100782 BANK: BK WEST
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/28/2019   B7261F002657 TO: PAC   ($250,000.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190828B6B7261F002657 TO: PACKAGING CORPORATION OF AMERICA ABA: 071000288 BANK: BMO
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/29/2019                           $209,150.00    TRANSFER CREDIT           TRANSFER CREDIT TELEPHONE TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/29/2019   B7261F002773 TO: PAP     ($9,150.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190829B6B7261F002773 TO: PAPER PEOPLE ABA: 125108272 BANK: COLUM ST BK LKWOOD ACCT
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/29/2019   B7261F002799 TO: AMP   ($200,000.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190829B6B7261F002799 TO: AMPAC PLASTICS LLC ABA: 021000021 BANK: JPMCHASE ACCT# 93
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           $197,757.94    TRANSFER CREDIT           TRANSFER CREDIT TELEPHONE TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           $362,665.84    TRANSFER CREDIT           TRANSFER CREDIT TELEPHONE TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003181 TO: EVE     ($2,536.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003181 TO: EVERGREEN SHIPPING AGENCY ABA: 021000021 BANK: JPMCHASE A
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003173 TO: HYU     ($2,744.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003173 TO: HYUNDAI MERCHANT MARINE CO LTD ABA: 026009593 BANK: BK AM
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003172 TO: CON     ($3,183.96)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003172 TO: CONTINENTAL AMERICAN INSURANCE ABA: 053201607 BANK: BB&T
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003120 TO: WIL     ($4,109.70)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003120 TO: WILLAMETTE DENTAL INSURANCE INC ABA: 123205054 BANK: UMPQ
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003122 TO: AME     ($8,825.60)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003122 TO: AMERITAS ABA: 121000248 BANK: WELLS FARGO NA ACCT# 494520
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003110 TO: TEA    ($11,597.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003110 TO: TEAMSTER FOOD PROCESSORS, ABA: 123002011 BANK: KEY BK POR
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003125 TO: UNU    ($12,754.52)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003125 TO: UNUM ABA: 111000012 BANK: BK AMER GLOBAL ACCT# 3752133617
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003126 TO: KAI    ($26,588.07)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003126 TO: KAISER FOUNDATION HEALTH PLAN INC ABA: 121000248 BANK: WE
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003177 TO: FRY    ($32,004.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003177 TO: FRY FOODS INC ABA: 042000314 BANK: FIFTH THIRD CINCI ACCT
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003178 TO: BRE    ($47,826.20)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003178 TO: BRECON FOODS INC ABA: 021001088 BANK: HSBC USA ACCT# 7517
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003179 TO: PRE    ($49,649.83)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003179 TO: PREFERRED FREEZER SERVICES ABA: 121000358 BANK: BK AM SF
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019   B7261F003188 TO: PRO   ($113,985.80)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003188 TO: PROVIDENCE HEALTH PLAN ABA: 123000220 BANK: US BK OR POR
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                              ($850.49)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($1,940.51)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($2,001.03)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($2,747.78)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($2,882.74)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($2,984.48)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($3,391.53)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($3,608.32)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($4,319.04)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($4,325.94)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($4,386.82)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($4,641.56)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($4,735.03)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($8,031.16)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($8,201.06)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($8,434.57)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($8,929.49)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($9,647.37)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                            ($9,732.74)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($12,068.87)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($12,213.46)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($12,217.94)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($13,673.39)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($13,799.37)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($13,830.00)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($16,937.85)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($25,000.00)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8752   Checking   NORPAC OPERATING      8/30/2019                           ($29,086.56)   WITHDRAWAL                PRE-AUTHORIZED WD
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019   OM: HERMISTON FOODS L     $7,022.47    INCOMING WIRE        Wire INCOMING WIRE REF# 20190830B6B7261F00257008301742FT03 0000015168FROM: HERMISTON FOODS LLC DIP ABA: 098400352
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019                             $8,301.72    TRANSFER CREDIT           TRANSFER CREDIT TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019   B7261F003142 TO: CON       ($115.30)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003142 TO: CONTINENTAL AMERICAN INSURANCE ABA: 053201607 BANK: BB&T
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019   B7261F003146 TO: WIL       ($217.65)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003146 TO: WILLIAMETTE DENTAL INSURANCE INC. ABA: 123205054 BANK: UM
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019   B7261F003145 TO: AME       ($341.80)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003145 TO: AMERITAS ABA: 121000248 BANK: WELLS FARGO NA ACCT# 494520
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019   B7261F003144 TO: UNU       ($554.50)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003144 TO: UNUM ABA: 111000012 BANK: BK AMER GLOBAL ACCT# 3752133617
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019   B7261F003143 TO: PRO     ($7,072.47)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003143 TO: PROVIDENCE HEALTH PLAN ABA: 123000220 BANK: US BK OR POR
26013576   XXXXXX8779   Checking   HERMISTON OPERATING   8/30/2019                            ($7,022.47)   SWEEP TRANSFER OUT        ZBA/TBA XFER OUT ZBA/SWEEP TRANSFER TO       8906
26013576   XXXXXX8795   Checking   QUINCY OPERATING      8/28/2019                            $50,000.00    TRANSFER CREDIT           TRANSFER CREDIT TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8795   Checking   QUINCY OPERATING      8/28/2019   B7261F002567 TO: PAC    ($50,000.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190828B6B7261F002567 TO: PACKAGING CORPORATION OF AMERICA ABA: 071000288 BANK: BMO
26013576   XXXXXX8795   Checking   QUINCY OPERATING      8/30/2019   OM: QUINCY FOODS LLC    $153,887.41    INCOMING WIRE        Wire INCOMING WIRE REF# 20190830B6B7261F00257708301755FT03 0000015174FROM: QUINCY FOODS LLC DIP ABA: 098400352 BA
26013576   XXXXXX8795   Checking   QUINCY OPERATING      8/30/2019                            $10,297.25    TRANSFER CREDIT           TRANSFER CREDIT TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8795   Checking   QUINCY OPERATING      8/30/2019                           $178,431.69    TRANSFER CREDIT           TRANSFER CREDIT TRANSFER FROM: XXXXXX8906




                                                                                 Case 19-62584-pcm11                             Doc 283                Filed 10/21/19
Norpac Foods, Inc. (Consolidated)                                                                                                   UST-14A
Signature Bank                                                                                                 Case Number:         Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                            Report Mo/Yr:        August, 2019
8/23/2019- 8/31/2019
TRC        Account      Account
Number     Number       Type       Account Name           Post Date   Reference              Amount            Description          Type Text
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019   B7261F003148 TO: CON         ($349.24)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003148 TO: CONTINENTAL AMERICAN INSURANCE ABA: 053201607 BANK: BB&T
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019   B7261F003150 TO: WIL       ($5,466.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003150 TO: WILLIAMETTE DENTAL INSURANCE INC ABA: 123205054 BANK: UMP
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019   B7261F003165 TO: AME       ($7,931.04)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003165 TO: AMERITAS ABA: 121000248 BANK: WELLS FARGO NA ACCT# 494520
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019   B7261F000568 TO: TEA      ($10,297.25)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F000568 TO: TEAMSTERS LOCAL UNION 760 ABA: 125000574 BANK: KEY BK WAS
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019   B7261F003151 TO: UNU      ($10,748.00)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003151 TO: UNUM ABA: 111000012 BANK: BK AMER GLOBAL ACCT# 3752133617
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019   B7261F003195 TO: PRO     ($153,937.41)   OUTGOING WIRE        Wire OUTGOING WIRE XFER REF# 20190830B6B7261F003195 TO: PROVIDENCE HEALTH PLAN ABA: 123000220 BANK: US BK OR POR
26013576   XXXXXX8795   Checking   QUINCY OPERATING       8/30/2019                            ($153,887.41)   SWEEP TRANSFER OUT        ZBA/TBA XFER OUT ZBA/SWEEP TRANSFER TO       8906
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/27/2019   OM: NORPAC FOODS INC    $5,000,000.00    INCOMING WIRE        Wire INCOMING WIRE REF# 20190827B6B7261F00165808271609FT03 0000009553FROM: NORPAC FOODS INC ABA: 121000248 BANK:
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/28/2019                             ($50,000.00)   TRANSFER DEBIT            TRANSFER DEBIT TRANSFER TO: XXXXXX8795
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/28/2019                            ($261,190.01)   TRANSFER DEBIT            TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/29/2019                            ($209,150.00)   TRANSFER DEBIT            TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019   OM: NORPAC FOODS INC    $5,000,000.00    INCOMING WIRE        Wire INCOMING WIRE REF# 20190830B6B7261F00196508301425FT03 0000011559FROM: NORPAC FOODS INC ABA: 121000248 BANK:
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019   ZBA/TBA TRANSFER IN         $7,022.47    SWEEP TRANSFER IN         ZBA/TBA TRANSFER IN ZBA/SWEEP TRANSFER FROM       8779
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019   ZBA/TBA TRANSFER IN       $153,887.41    SWEEP TRANSFER IN         ZBA/TBA TRANSFER IN ZBA/SWEEP TRANSFER FROM       8795
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019                              ($8,301.72)   TRANSFER DEBIT            TRANSFER DEBIT TRANSFER TO: XXXXXX8779
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019                             ($10,297.25)   TRANSFER DEBIT            TRANSFER DEBIT TRANSFER TO: XXXXXX8795
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019                            ($178,431.69)   TRANSFER DEBIT            TRANSFER DEBIT TRANSFER TO: XXXXXX8795
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019                            ($197,757.94)   TRANSFER DEBIT            TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752
26013576   XXXXXX8906   Checking   NORPAC CONCENTRATION   8/30/2019                            ($362,665.84)   TRANSFER DEBIT            TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752




                                                                               Case 19-62584-pcm11                                  Doc 283                Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
          DDA Cycled Statement Report
          Custom
          As of 08/30/2019
          Company: NORPAC FOODS INC
          User: Tammy Roebke                                                                         09/03/2019 01:08 PM ET
          Commercial Electronic Office®                                                       Treasury Information Reporting


                                   7,917,278.85      Total Deposits

Electronic Deposits/Bank Credits
   Effective Date Posted Date             Amount     Transaction Detail
                 08/01/2019          144,243.79      WAL-MART STORES TRADE PYMT 398370 TRN*1*4144294\
                 08/01/2019          129,013.46      J R SIMPLOT COMP AP ACH PMT 190731 00849389
                                                     M*003*20190628\SE*22*0001\GE*1*0001\IEA*1*0000000
                 08/01/2019          105,520.72      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
                 08/01/2019           29,257.22      WT FED#00371 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                                     LIMITED SRF#
                                                     213342509 TRN#190801010264 RFB# TT TAO829468MNYN
                 08/01/2019           28,708.51      BASHAS' INC. EDI PYMNTS 162448
                                                     003*20190730\SE*25*000000012\GE*1*6996\IEA*1*0000
                 08/01/2019           19,866.43      NESTLE 2814 EDI PAYMNT JUL 31 2000255157US169
                                                     EA*00001*072303746\
                 08/01/2019           19,728.42      J R SIMPLOT COMP AP ACH PMT 190731 00849388
                                                     O*01986566\DTM*003*20190701\SE*10*0001\GE*1*0001\
                 08/01/2019           15,107.00      OFD FOODS ACH 16625 NORPAC FOODS INC
                 08/01/2019            9,582.73      THE SYGMA NETWOR INVOICEPMT 080119 0000NORPAC SERVICES,
                 08/01/2019                2.00      KROGER VENDOR PAY E654601 79078\GE*1*3279\IEA*1*000004927\
                 08/02/2019          242,529.26      WAL-MART STORES TRADE PYMT 398370 TRN*1*4149534\
                 08/02/2019           67,590.00      WT FED#03402 BBVA BANCOMER, S.A /ORG=1/B G FOODS
                                                     MANUFACTURING MEXICO SRF# F9S190
                                                     8026925600 TRN#190802065122 RFB#
                 08/02/2019           64,708.87      Costco Wholesale EDI PYMNTS 0006811466
                                                     DX*-0*WH\SE*38*000000392\GE*1*1\IEA*1*072057896\
                 08/02/2019           38,990.30      J R SIMPLOT COMP AP ACH PMT 190801 00849930
                                                     O*01986788\DTM*003*20190703\SE*10*0001\GE*1*0001\
                 08/02/2019           32,558.01      WINCO FOODS LLC EDIPAYMENT 000003853000062
                                                     729\ADX*0*L8*TN*394185PLB\SE*35*000138471\GE*1*39
                 08/02/2019           32,199.06      NICHOLAS AND CO PAYABLES 080119 0048115 0000NORPAC FOODS.
                                                     IN
                 08/02/2019           31,878.48      FRESHLYINC9143 AZ0802          9073 Norpac Foods, Inc.
                 08/02/2019           29,979.18      THE SYGMA NETWOR INVOICEPMT 080219 0000NORPAC SERVICES,
                 08/02/2019           26,094.40      WT FED#00515 KEB HANA BANK /ORG=1/COSTCO WHOLESALE KOREA
                                                     SRF# 23
                                                     17314214FS TRN#190802009419 RFB# SWF OF 19/08/02
                 08/02/2019           25,895.02      KROGER VENDOR PAY E656223 930\
                 08/02/2019           21,253.50      SKJODT-BARRETT PAYABLES 080119 V001496 NORPAC FOODS, INC.
                 08/02/2019           18,128.62      FOOD SERVICES OF ACCTS PAY 190801 418889 NORPAC FOODS INC
                 08/02/2019           17,920.05      GOLDEN BAY USF PAYMENTS 190802 195-01 NORPAC
                 08/02/2019           17,009.76      SYSCO PAYMENTS 190801 061CA000209649
                                                     0007945\GE*1*20276\IEA*1*000020276\
                 08/02/2019           10,091.45      SYSCO PAYMENTS 190801 320CA000122674 NORPAC FOOD INC
                 08/02/2019            5,057.98      ORION FOOD SYSTE FEDI NORPAC SERVICES
                 08/02/2019              639.81      DESKTOP CHECK DEPOSIT
                 08/05/2019          389,292.83      Costco Wholesale EDI PYMNTS 0006832617
                                                     TM*003*20190708\ADX*0*WH\SE*126*000000607\GE*1*1\
                 08/05/2019          169,539.33      KROGER VENDOR PAY E656910
                                                     23\SE*61*03283084\GE*1*3283\IEA*1*000004933\
                 08/05/2019          141,513.27      WAL-MART STORES TRADE PYMT 398370 TRN*1*4155300\
                 08/05/2019          115,084.82      US FOODS DIRECT PAY 190805 0628671 0000NORPAC FOODS INC
                 08/05/2019           59,857.05      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
                 08/05/2019           59,794.96      WT FED#00777 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                                     LIMITED SRF#
                                                     217412665 TRN#190805015261 RFB# TT TAO829744MNYN
                 08/05/2019           56,740.02      Gordon Food Serv ACCTS PAY 562517
                                                     \REF*PO*72246320\DTM*003*20190801\SE*46*000000012
                 08/05/2019           39,246.34      BASHAS' INC. EDI PYMNTS 162673
                                                     7\SE*19*000000015\GE*1*7006\IEA*1*000007006\
                 08/05/2019           33,070.50      SKJODT BARRETT PAYMENTS V001852
                                                     REF*01-19032088,01-19032089,01-19032936,01-190329
                 08/05/2019           33,006.06      FOOD SERVICES OF ACCTS PAY 190802 418889 NORPAC FOODS INC
                 08/05/2019           30,164.52      WINCO FOODS LLC EDIPAYMENT 000003854000062
                                                     TN*19042452\SE*15*000138540\GE*1*3978\IEA*1*00000
                 08/05/2019           29,572.04      ALPINE FOOD DIST NORPAC           9073 NORPAC FOODS INC
                 08/05/2019           26,078.21      SYSTEMS SERVICES ACCTS PAY 190802 418889 NORPAC FOODS INC
                 08/05/2019           26,000.00      SIMPLOT - RDO LL AP ACH PMT 190802 00850102
                                                     *10*0001\GE*1*0001\IEA*1*000000000\
                 08/05/2019           21,190.64      NICHOLAS AND CO PAYABLES 080219 0048115 0000NORPAC FOODS.
                                                     IN
                 08/05/2019           14,036.23      NICHOLAS AND CO PAYABLES 080219 0048115 0000NORPAC FOODS.
                                                     IN
                 08/05/2019               5,826.97   SYSCO PAYMENTS 190802 013CA000219511 NORPAC SALES & SERVICE




                              Case 19-62584-pcm11Page:
                                                    Doc2 283               Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                         09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                       Treasury Information Reporting

      08/05/2019                 237.50    J R SIMPLOT COMP AP ACH PMT 190802 00850425
                                           01977036\DTM*003*20190618\SE*10*0001\GE*1*0001\IE
      08/06/2019           370,089.52      WAL-MART STORES TRADE PYMT 398370 TRN*1*4161512\
      08/06/2019           167,287.87      Costco Wholesale EDI PYMNTS 0006859550
                                           20190710\ADX*0*WH\SE*62*000000426\GE*1*1\IEA*1*06
      08/06/2019            95,944.06      GOLDEN BAY USF PAYMENTS 190806 195 NORPAC
      08/06/2019            70,810.26      CAMPBELL SOUP SU FUNB EDI 2000644310 NORPAC FOODS INC
      08/06/2019            63,747.19      GOLDEN BAY USF PAYMENTS 190806 195-01 NORPAC
      08/06/2019            62,986.99      KROGER VENDOR PAY E657756 *3285\IEA*1*000004936\
      08/06/2019            40,452.04      Publix Super Mar PAYMENTS 190806 2006137956
                                           TRN*1*2006137956*3006922009\
      08/06/2019            28,404.81      SYSCO PAYMENTS 190805 003CA000100976
                                           03*20190722\SE*10*000005905\GE*1*20282\IEA*1*0000
      08/06/2019            27,141.19      ALPINE FOOD DIST NORPAC            9073 NORPAC FOODS INC
      08/06/2019            25,021.55      Gordon Food Serv ACCTS PAY 562977 001361\
      08/06/2019            24,784.98      FOOD SERVICES OF ACCTS PAY 190805 418889 NORPAC FOODS INC
      08/06/2019            22,195.91      SYSCO PAYMENTS 190805 011CA000123028
                                           0725\SE*10*000006074\GE*1*20282\IEA*1*000020282\
      08/06/2019            14,435.64      SYSCO PAYMENTS 190805 005CA000033110 NORPAC FOODS INC
      08/06/2019             8,775.00      SYSCO PAYMENTS 190805 052CA000906726 NORPAC FOODS INC
      08/06/2019             8,343.68      SYSCO PAYMENTS 190805 022CA000197191
                                           0190723\SE*10*000006332\GE*1*20282\IEA*1*00002028
      08/06/2019                6,121.75   SYSCO PAYMENTS 190805 006CA000025901 NORPAC FOODS INC
      08/06/2019                5,866.63   SYSCO PAYMENTS 190805 002CA000778167
                                           DTM*003*20190724\SE*10*000005837\GE*1*20282\IEA*1
      08/06/2019                3,470.57   SYSCO PAYMENTS 190805 055CA000215273 NORPAC FOODS INC
      08/06/2019                1,046.50   KETTLE CUISINE ACH PAYMNT Aug 02 102634ACH Norpac Foods,
                                           Inc
      08/06/2019                 944.61    GOLDEN BAY USF PAYMENTS 190806 195-F NORPAC
      08/06/2019                 833.75    US Cold Storage EDI PYMNTS 222810
                                           *341*0\DTM*003*20190709\SE*22*000000032\GE*1*1\IE
      08/06/2019               801.42      ALPINE FOOD DIST NORPAC RE             9073 NORPAC FOODS INC
      08/07/2019            97,192.29      WAL-MART STORES TRADE PYMT 398370 TRN*1*4168877\
      08/07/2019            48,109.20      US FOODS DIRECT PAY 190807 0629363 0000NORPAC FOODS INC
      08/07/2019            45,611.10      WT FED#03251 COMPASS BANK WTD /ORG=SANA INTERNACIONAL S DE
                                           RL DE CV SRF# 190807
                                           151347CA96 TRN#190807151672 RFB#
      08/07/2019            43,977.50      J R SIMPLOT COMP AP ACH PMT 190806 00851137
                                           PO*01972875\DTM*003*20190708\SE*10*0001\GE*1*0001
      08/07/2019            26,918.28      WINCO FOODS LLC EDIPAYMENT 000003856000062 003981\
      08/07/2019            20,745.81      CTI ARLINGT0555 VOUCHERPMT 4 NORPAC SERVICES INC.
      08/07/2019            19,360.07      SENECA FOODS COR INVOICE 190806 1011685
                                           *IV*11-19037502**7537.60*7537.60*0.00\SE*10*0203\
      08/07/2019            10,113.01      Publix Super Mar PAYMENTS 190807 2006138463
                                           TRN*1*2006138463*3006922009\
      08/07/2019             2,324.00      WA ST DOC VENDOR PAY 190805 016069! NORPAC FOODS INC
      08/08/2019           172,741.53      J R SIMPLOT COMP AP ACH PMT 190807 00851595
                                           E*42*0001\GE*1*0001\IEA*1*000000000\
      08/08/2019            69,638.08      NESTLE 2814 EDI PAYMNT AUG 07 2000261293US169
                                           003*20190709\SE*31*000000738\GE*000001*072547978\
      08/08/2019            64,724.53      KROGER VENDOR PAY E659081 4942\
      08/08/2019            33,940.60      J R SIMPLOT COMP AP ACH PMT 190807 00851594
                                           O*01971264\DTM*003*20190709\SE*10*0001\GE*1*0001\
      08/08/2019            29,871.79      WAL-MART STORES TRADE PYMT 398370 TRN*1*4173631\
      08/08/2019            18,901.50      SKJODT BARRETT PAYMENTS V001852
                                           REF*01-19032088,01-19032089,01-19032936,01-190329
      08/08/2019            13,126.49      Costco Wholesale EDI PYMNTS 0006900324
                                           *37*000000389\GE*1*1\IEA*1*008814673\
      08/08/2019                9,651.92   SIMPLOT - RDO LL AP ACH PMT 190807 00851326
                                           \REF*PO*01966570\DTM*003*20190605\SE*42*0001\GE*1
      08/08/2019             4,148.75      OFD FOODS ACH 16625 NORPAC FOODS INC
      08/09/2019           357,260.15      GOLDEN BAY USF PAYMENTS 190809 195 NORPAC
      08/09/2019           215,187.68      WAL-MART STORES TRADE PYMT 398370 TRN*1*4179049\
      08/09/2019           198,944.78      GOLDEN BAY USF PAYMENTS 190809 195-01 NORPAC
      08/09/2019           158,665.80      WINCO FOODS LLC EDIPAYMENT 000003858000062 A*1*000003983\
      08/09/2019           115,965.93      J R SIMPLOT COMP AP ACH PMT 190808 00852127
                                           *003*20190710\SE*22*0001\GE*1*0001\IEA*1*00000000
      08/09/2019            95,643.09      Costco Wholesale EDI PYMNTS 0006919706
                                           E*1*1\IEA*1*030076668\
      08/09/2019            86,321.65      J R SIMPLOT COMP AP ACH PMT 190808 00852128
                                           963978\DTM*003*20190710\SE*14*0001\GE*1*0001\IEA*
      08/09/2019            67,708.60      J R SIMPLOT COMP AP ACH PMT 190808 00852129
                                           971355\DTM*003*20190710\SE*14*0001\GE*1*0001\IEA*
      08/09/2019            67,590.00      WT FED#03413 BBVA BANCOMER, S.A /ORG=1/B G FOODS
                                           MANUFACTURING MEXICO SRF# F9S190




                   Case 19-62584-pcm11Page:
                                         Doc3 283                Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                        09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                      Treasury Information Reporting

                                           8096340300 TRN#190809063522 RFB#
      08/09/2019            47,812.32      FRESHLYINC9143 MD - 8/9         9073 Norpac Foods, Inc.
      08/09/2019            46,071.16      Gordon Food Serv ACCTS PAY 564149
                                           190807\SE*35*000000009\GE*1*2671\IEA*1*000001364\
      08/09/2019            30,659.84      BASHAS' INC. EDI PYMNTS 163021
                                           F*PO*372163\DTM*003*20190730\SE*24*000000012\GE*1
      08/09/2019            27,194.87      FOOD SERVICES OF ACCTS PAY 190808 418889 NORPAC FOODS INC
      08/09/2019            26,856.44      NESTLE 2814 EDI PAYMNT AUG 08 2000265254US169 4013\
      08/09/2019            26,447.13      CTI ARLINGT0555 VOUCHERPMT 4 NORPAC SERVICES INC.
      08/09/2019            26,208.32      WT FED#00513 HSBC BN PLC /ORG=COSTCO WHOLESALE UK LIMITED
                                           SRF#
                                           221359609 TRN#190809010037 RFB# GBH090890OK2YMIO
      08/09/2019            24,381.54      KROGER VENDOR PAY E659778
                                           729\SE*56*03291083\GE*1*3291\IEA*1*000004945\
      08/09/2019            17,712.72      THE SYGMA NETWOR INVOICEPMT 080919 0000NORPAC SERVICES,
      08/09/2019            16,623.38      WT FED#07833 ARUBA BANK /ORG=TEC SRF# 201908
                                           0900311162 TRN#190809075261 RFB#          005059120
      08/09/2019            16,561.79      DARDEN DIRECT LO WF-ACH-PAY 190808 00930025
                                           \REF*PO*03226331\DTM*003*190725\SE*8*0001\GE*1*00
      08/09/2019            10,906.28      US FOODS DIRECT PAY 190809 0629815 0000NORPAC FOODS INC
      08/09/2019             7,391.54      LIPARI FOODS VENDOR PAY 1381972171
                                           *10454.74*290.4\REF*PO*1645051\SE*19*000000123\GE
      08/09/2019                6,145.77   SYSCO PAYMENTS 190808 012CA000170259
                                           9\SE*10*000005285\GE*1*20291\IEA*1*000020291\
      08/09/2019             5,775.76      SYSCO PAYMENTS 190808 102CA000595365 NORPAC FOODS INC
      08/09/2019             5,218.50      INST WHOLESALE VEND.PAY 6120 20190809 NORPAC FOODS, INC.
      08/09/2019             2,144.29      GOLDEN BAY USF PAYMENTS 190809 195-F NORPAC
      08/12/2019           273,756.43      Costco Wholesale EDI PYMNTS 0006939895
                                           20190712\ADX*0*WH\SE*90*000000629\GE*1*1\IEA*1*04
      08/12/2019           178,110.91      WAL-MART STORES TRADE PYMT 398370 TRN*1*4184742\
      08/12/2019           114,214.30      KROGER VENDOR PAY E660475
                                           X*6817.2*ZZ\SE*62*03293085\GE*1*3293\IEA*1*000004
      08/12/2019            76,668.94      US FOODS DIRECT PAY 190812 0630302 0000NORPAC FOODS INC
      08/12/2019            67,133.07      WINCO FOODS LLC EDIPAYMENT 000003859000062
                                           00138930\GE*1*3983\IEA*1*000003984\
      08/12/2019            57,454.99      DESKTOP CHECK DEPOSIT
      08/12/2019            38,265.00      J R SIMPLOT COMP AP ACH PMT 190809 00852682
                                           1966601\DTM*003*20190613\SE*14*0001\GE*1*0001\IEA
      08/12/2019            37,689.32      Gordon Food Serv ACCTS PAY 564553
                                           009\GE*1*2672\IEA*1*000001365\
      08/12/2019            33,592.60      NICHOLAS AND CO PAYABLES 080919 0048115 0000NORPAC FOODS.
                                           IN
      08/12/2019            33,401.38      DOT FOODS CANADA Food Purch 190812 NORPAC FOODS, I NORPAC
                                           FOODS, INC
      08/12/2019            24,969.48      LIPARI FOODS VENDOR PAY 1381972171
                                           77.77\REF*PO*1669139\SE*16*000000065\GE*1*1814\IE
      08/12/2019            14,175.00      SINGLE SOURCE PAYMENTJNL 190808 V000640 0000NORPAC FOODS,
                                           IN
      08/12/2019            12,075.71      FOOD SERVICES OF ACCTS PAY 190809 418889 NORPAC FOODS INC
      08/12/2019            10,181.01      SYSCO PAYMENTS 190809 052CA000906898 NORPAC FOODS INC
      08/12/2019             8,773.70      Del Monaco Foods PAYMENT 190812 NOR115 M 8075753 :
                                           -20.50*01-19039268 : 8794.20*
      08/12/2019                8,211.40   SYSCO PAYMENTS 190809 075CA000259593 NORPAC SALES & SERVICE
      08/12/2019                6,829.59   SYSCO PAYMENTS 190809 014CA000728003
                                           DTM*003*20190718\SE*10*000005606\GE*1*20294\IEA*1
      08/12/2019                6,338.95   Del Monaco Foods PAYMENT 190812 NOR115 1-19038549 :
                                           6527.50*CM 18075756 : -188.55*
      08/12/2019                3,834.91   SYSCO PAYMENTS 190809 320CA000122966 NORPAC FOOD INC
      08/12/2019                3,552.31   TOWNSEND FARMS I PAYMENTJNL 190809 V00451 0000NORPAC FOODS,
                                           IN
      08/12/2019                1,153.76   SIMPLOT - RDO LL AP ACH PMT 190809 00852355
                                           0*0001\GE*1*0001\IEA*1*000000000\
      08/13/2019           122,162.04      WAL-MART STORES TRADE PYMT 398370 TRN*1*4190982\
      08/13/2019           105,760.37      Costco Wholesale EDI PYMNTS 0006965723
                                           000000433\GE*1*1\IEA*1*048810404\
      08/13/2019            94,341.60      FOOD SERVICES OF ACCTS PAY 190812 418889 NORPAC FOODS INC
      08/13/2019            79,831.05      GOLDEN BAY USF PAYMENTS 190813 195 NORPAC
      08/13/2019            75,608.30      WINCO FOODS LLC EDIPAYMENT 000003860000062
                                           9010\GE*1*3984\IEA*1*000003985\
      08/13/2019            62,713.76      Gordon Food Serv ACCTS PAY 564968 0001366\
      08/13/2019            59,036.06      GOLDEN BAY USF PAYMENTS 190813 195-01 NORPAC
      08/13/2019            38,787.20      J R SIMPLOT COMP AP ACH PMT 190812 00853128
                                           01966593\DTM*003*20190613\SE*14*0001\GE*1*0001\IE
      08/13/2019            36,274.50      CAMPBELL SOUP SU FUNB EDI 2000644951 NORPAC FOODS INC
      08/13/2019            33,591.53      KROGER VENDOR PAY E661407 GE*1*3295\IEA*1*000004951\




                   Case 19-62584-pcm11Page:
                                         Doc4 283                Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                         09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                       Treasury Information Reporting

      08/13/2019            30,339.03      Publix Super Mar PAYMENTS 190813 2006140900
                                           TRN*1*2006140900*3006922009\
      08/13/2019            28,350.00      SINGLE SOURCE PAYMENTJNL 190812 V000640 0000NORPAC FOODS,
                                           IN
      08/13/2019            26,336.59      SYSCO PAYMENTS 190812 057CA000181863 NORPAC SALES & SERVICE
      08/13/2019            25,263.89      NESTLE 2814 EDI PAYMNT AUG 12 2000268005US169 93835\
      08/13/2019            22,731.17      ALPINE FOOD DIST NORPAC           9073 NORPAC FOODS INC
      08/13/2019            18,603.50      JB WHOLESALE PAYMENTS 3040
                                           3040-JUN19*-29097.80*20190629*-29097.80*NORPAC SE
      08/13/2019            14,874.01      SYSCO PAYMENTS 190812 045CA000310121 NORPAC FOOD INC
      08/13/2019             9,813.31      SYSCO PAYMENTS 190812 037CA000011956 NORPAC SALES & SERVICE
      08/13/2019             9,513.14      SYSCO PAYMENTS 190812 022CA000197411
                                           1\SE*13*000007043\GE*1*20297\IEA*1*000020297\
      08/13/2019                8,710.43   SYSCO PAYMENTS 190812 005CA000033350 NORPAC FOODS INC
      08/13/2019                4,899.71   SYSCO PAYMENTS 190812 019CA000092941 NORPAC SALES & SERVICE
      08/13/2019                4,794.52   SYSCO PAYMENTS 190812 024CA000202277 NORPAC SALES & SERVICE
      08/13/2019                4,095.77   SYSCO PAYMENTS 190812 047CA000200094
                                           *20297\IEA*1*000020297\
      08/13/2019                3,887.76   WT F60813482079000 FIRSTCARIBBEAN I /ORG=THE D'ALBENAS
                                           AGENCY, LIMITED SRF# F6081
                                           3482079000 TRN#190813072558 RFB#
      08/13/2019                2,232.00   SIMPLOT - RDO LL AP ACH PMT 190812 00852877
                                           1\GE*1*0001\IEA*1*000000000\
      08/13/2019             1,377.84      SYSCO PAYMENTS 190812 055CA000215581 NORPAC FOODS INC
      08/13/2019               558.48      ALPINE FOOD DIST NOR PAC RE           9073 NORPAC FOODS INC
      08/13/2019               546.84      SYSCO PAYMENTS 190812 052CA000906964 NORPAC FOODS INC
      08/14/2019           135,473.18      J R SIMPLOT COMP AP ACH PMT 190813 00853561
                                           \SE*38*0001\GE*1*0001\IEA*1*000000000\
      08/14/2019           128,016.12      WAL-MART STORES TRADE PYMT 398370 TRN*1*4198681\
      08/14/2019            88,275.11      WINCO FOODS LLC EDIPAYMENT 000003861000062
                                           094\GE*1*3985\IEA*1*000003986\
      08/14/2019            78,044.18      US FOODS DIRECT PAY 190814 0630785 0000NORPAC FOODS INC
      08/14/2019            54,464.76      SIMPLOT - RDO LL AP ACH PMT 190813 00853307
                                           0**\REF*PO*01966572\DTM*003*20190606\SE*42*0001\G
      08/14/2019            41,547.93      Costco Wholesale EDI PYMNTS 0006985830
                                           000000356\GE*1*1\IEA*1*093721257\
      08/14/2019            40,195.82      NESTLE 2814 EDI PAYMNT AUG 13 2000269337US169
                                           03*20190715\SE*31*000000010\GE*000001*072723400\I
      08/14/2019            28,765.43      WT FED#00332 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                           LIMITED SRF#
                                           226337889 TRN#190814009490 RFB# TT TAO830497MNYN
      08/14/2019            19,721.05      DOT FOODS CANADA Food Purch 190814 NORPAC FOODS, I NORPAC
                                           FOODS, INC
      08/14/2019                4,419.10   WA ST DOC VENDOR PAY 190812 035031! NORPAC FOODS INC
      08/14/2019                1,569.50   TYSON PAYMENTS 190814 2002925842 NORPAC FOODS INC
      08/14/2019                1,024.00   AMERICOLD LOGIST PAYMENTS 190813 10002001117109
                                           *VV*1900994503\DTM*003*20190722\SE*21*000005736\G
      08/15/2019           218,570.02      WAL-MART STORES TRADE PYMT 398370 TRN*1*4203709\
      08/15/2019           157,735.04      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      08/15/2019            62,779.55      KROGER VENDOR PAY E662783
                                           *019224\DTM*003*20190805\SE*71*03299075\GE*1*3299
      08/15/2019            46,094.40      BRECON FOODS INC PAYMENT 190815 11-19041591, 11-19041592
      08/15/2019            42,407.00      WT 216TTJ-23183112 SUMITOMO MITSUI /ORG=NICHIREI FOODS INC.
                                           0216-00262291 SRF# 216TT
                                           J-23183112 TRN#190815020097 RFB# 150190815MT05274
      08/15/2019            33,177.77      SYSTEMS SERVICES ACCTS PAY 190814 418889 NORPAC FOODS INC
      08/15/2019            19,889.10      THE SYGMA NETWOR INVOICEPMT 081519 0000NORPAC SERVICES,
      08/15/2019            18,215.30      J R SIMPLOT COMP AP ACH PMT 190814 00854040
                                           PO*01983364\DTM*003*20190716\SE*10*0001\GE*1*0001
      08/15/2019            11,043.79      * GREAT LAKES FO A/P Paymen Aug 15 NORP Norpac Foods Inc
      08/15/2019            10,113.01      Publix Super Mar PAYMENTS 190815 2006143863
                                           TRN*1*2006143863*3006922009\
      08/15/2019                7,364.60   FIVE STAR GUAM ACH S Pay 2441422 19045375/GF-53128
      08/15/2019                4,448.44   WT FED#00276 EASTERN BANK /ORG=KETTLE CUISINE LLC SRF#
                                           190815
                                           132823H400 TRN#190815121235 RFB#
      08/15/2019               750.00      DESKTOP CHECK DEPOSIT
      08/16/2019           257,250.36      WAL-MART STORES TRADE PYMT 398370 TRN*1*4209190\
      08/16/2019           219,558.49      GOLDEN BAY USF PAYMENTS 190816 195 NORPAC
      08/16/2019           130,777.44      FRESHLYINC9143 MD - 8/16         9073 Norpac Foods, Inc.
      08/16/2019           110,147.83      GOLDEN BAY USF PAYMENTS 190816 195-01 NORPAC
      08/16/2019            99,703.29      J R SIMPLOT COMP AP ACH PMT 190815 00854576
                                           0190702\SE*30*0001\GE*1*0001\IEA*1*000000000\
      08/16/2019            43,540.20      Costco Wholesale EDI PYMNTS 0007028192
                                           8270711171\DTM*003*20190722\ADX*0*WH\SE*32*000000




                   Case 19-62584-pcm11Page:
                                         Doc5 283                Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                        09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                      Treasury Information Reporting

      08/16/2019            41,467.50      WT F60816117402000 WOORI BANK, SEOU /ORG=KOREA TOURIST
                                           SUPPLY CENTER INC. SRF# F6081
                                           6117402000 TRN#190816003670 RFB#
      08/16/2019            33,790.00      WT FED#04394 BBVA BANCOMER, S.A /ORG=1/B G FOODS
                                           MANUFACTURING MEXICO SRF# F7S190
                                           8163059200 TRN#190816087184 RFB#
      08/16/2019            31,878.48      FRESHLYINC9143 PHX - 8/16         9073 Norpac Foods, Inc.
      08/16/2019            29,599.12      WINCO FOODS LLC EDIPAYMENT 000003863000062
                                           TN*19044110\SE*15*000139239\GE*1*3987\IEA*1*00000
      08/16/2019            27,372.60      ORCA BAY FOODS ACH ITEM NORPAC FOODS
      08/16/2019            22,682.67      KROGER VENDOR PAY E663472
                                           *20190806\SE*43*03301076\GE*1*3301\IEA*1*00000496
      08/16/2019            17,846.83      SYSCO PAYMENTS 190815 047CA000200220
                                           000008163\GE*1*20306\IEA*1*000020306\
      08/16/2019            17,273.23      NICHOLAS AND CO PAYABLES 081519 0048115 0000NORPAC FOODS.
                                           IN
      08/16/2019            14,412.25      MSU PAYMENTS VENDOR# 5584 NORPAC FOODS, INC.
      08/16/2019            13,480.16      SYSCO PAYMENTS 190815 043CA000158965
                                           *20306\IEA*1*000020306\
      08/16/2019            11,427.84      J R SIMPLOT COMP AP ACH PMT 190815 00854575
                                           O*01974548\DTM*003*20190717\SE*10*0001\GE*1*0001\
      08/16/2019            10,090.08      THE SYGMA NETWOR INVOICEPMT 081619 0000NORPAC SERVICES,
      08/16/2019             8,109.62      SYSCO PAYMENTS 190815 014CA000728118
                                           TM*003*20190801\SE*10*000007754\GE*1*20306\IEA*1*
      08/16/2019                6,483.53   HILLCREST EGG & Vendors1 Aug 16 625 21209
      08/16/2019                5,583.06   NICHOLAS AND CO PAYABLES 081519 0048115 0000NORPAC FOODS.
                                           IN
      08/16/2019                5,105.60   SYSCO PAYMENTS 190815 320CA000123173 NORPAC FOOD INC
      08/16/2019                4,810.55   SIMPLOT - RDO LL AP ACH PMT 190815 00854306 0\
      08/16/2019                2,207.54   US FOODS DIRECT PAY 190816 0631245 0000NORPAC FOODS INC
      08/16/2019                  939.09   GOLDEN BAY USF PAYMENTS 190816 195-F NORPAC
      08/16/2019                  527.78   FOOD SERVICES OF ACCTS PAY 190815 418889 NORPAC FOODS INC
      08/16/2019                  247.00   SIMPLOT - RDO LL AP ACH PMT 190815 00854305
                                           01\GE*1*0001\IEA*1*000000000\
      08/19/2019           397,400.20      Costco Wholesale EDI PYMNTS 0007048372
                                           10120\DTM*003*20190718\ADX*0*WH\SE*130*000000601\
      08/19/2019           240,518.35      WAL-MART STORES TRADE PYMT 398370 TRN*1*4214996\
      08/19/2019           151,195.08      J R SIMPLOT COMP AP ACH PMT 190816 00855096
                                           626\SE*34*0001\GE*1*0001\IEA*1*000000000\
      08/19/2019            98,020.83      KROGER VENDOR PAY E664138
                                           .09\REF*BT*019224\DTM*003*20190805\SE*49*03303081
      08/19/2019            89,816.28      US FOODS DIRECT PAY 190819 0631744 0000NORPAC FOODS INC
      08/19/2019            61,382.55      WINCO FOODS LLC EDIPAYMENT 000003864000062 03989\
      08/19/2019            58,939.30      J R SIMPLOT COMP AP ACH PMT 190816 00855095
                                           \DTM*003*20190719\SE*18*0001\GE*1*0001\IEA*1*0000
      08/19/2019            38,262.03      Gordon Food Serv ACCTS PAY 566736
                                           000010\GE*1*2677\IEA*1*000001370\
      08/19/2019            17,841.27      Maplevale Farms A/P 190819 620 0000Norpac
      08/19/2019            15,643.48      NICHOLAS AND CO PAYABLES 081619 0048115 0000NORPAC FOODS.
                                           IN
      08/19/2019            10,113.01      Publix Super Mar PAYMENTS 190819 2006145502
                                           TRN*1*2006145502*3006922009\
      08/19/2019                9,401.17   NED BAKER REAL E OWNERFUNDS 190816 233 NORPAC FOOD NORPAC
                                           FOODS INC
      08/19/2019                8,996.13   SYSCO PAYMENTS 190816 052CA000907182 NORPAC FOODS INC
      08/19/2019                5,463.26   SYSCO PAYMENTS 190816 332CA000032326 NORPAC FOODS INC
      08/19/2019                5,189.03   SYSCO PAYMENTS 190816 163CA000114189 20309\IEA*1*000020309\
      08/19/2019                5,041.97   SYSCO PAYMENTS 190816 040CA000014549 NORPAC FOODS INC
      08/19/2019                4,509.07   SIMPLOT - RDO LL AP ACH PMT 190816 00854787 0\
      08/19/2019                2,976.52   TOWNSEND FARMS I PAYMENTJNL 190816 V00451 0000NORPAC FOODS,
                                           IN
      08/19/2019               874.00      SIMPLOT - RDO LL AP ACH PMT 190816 00854786 EA*1*000000000\
      08/19/2019               450.04      DESKTOP CHECK DEPOSIT
      08/20/2019           293,777.67      WAL-MART STORES TRADE PYMT 398370 TRN*1*4221412\
      08/20/2019           180,019.06      Costco Wholesale EDI PYMNTS 0007074554
                                           0722\ADX*-0*WH\SE*62*000000413\GE*1*1\IEA*1*05507
      08/20/2019           108,818.57      GOLDEN BAY USF PAYMENTS 190820 195 NORPAC
      08/20/2019           101,107.49      GOLDEN BAY USF PAYMENTS 190820 195-01 NORPAC
      08/20/2019            91,079.97      WINCO FOODS LLC EDIPAYMENT 000003865000062
                                           5*L7*TN*19044800\SE*27*000139398\GE*1*3989\IEA*1*
      08/20/2019            62,685.38      Gordon Food Serv ACCTS PAY 567211
                                           0190816\SE*45*000000012\GE*1*2678\IEA*1*000001371
      08/20/2019            30,579.40      NICHOLAS AND CO PAYABLES 081919 0048115 0000NORPAC FOODS.
                                           IN
      08/20/2019            29,076.68      FOOD SERVICES OF ACCTS PAY 190819 418889 NORPAC FOODS INC




                   Case 19-62584-pcm11Page:
                                         Doc6 283                Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                          09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                        Treasury Information Reporting

      08/20/2019            24,194.40      KROGER VENDOR PAY E665036 1*000004966\
      08/20/2019            21,011.65      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      08/20/2019            20,399.71      ALPINE FOOD DIST NORPAC               9073 NORPAC FOODS INC
      08/20/2019            18,400.00      CAMPBELL SOUP SU FUNB EDI 2000645620 NORPAC FOODS INC
      08/20/2019            15,849.35      J R SIMPLOT COMP AP ACH PMT 190819 00855582
                                           *PO*01973258\DTM*003*20190702\SE*10*0001\GE*1*000
      08/20/2019            12,022.39      SYSCO PAYMENTS 190819 015CA000155569 NORPAC SALES & SERVICE
      08/20/2019            10,843.62      SYSCO PAYMENTS 190819 005CA000033598 NORPAC FOODS INC
      08/20/2019             8,956.13      SYSCO PAYMENTS 190819 022CA000197657
                                           0190808\SE*10*000006547\GE*1*20312\IEA*1*00002031
      08/20/2019                7,093.80   SYSCO PAYMENTS 190819 195CA000092836 NORPAC FOODS INC
      08/20/2019                6,955.51   SYSCO PAYMENTS 190819 057CA000182070 NORPAC SALES & SERVICE
      08/20/2019                5,446.94   SYSCO PAYMENTS 190819 031CA000176669 NORPAC FOOD INC
      08/20/2019                5,114.01   SYSCO PAYMENTS 190819 048CA000121275 NORPAC SALES & SERVICE
      08/20/2019                4,798.19   SYSCO PAYMENTS 190819 064CA000087677 NORPAC SALES & SERVICE
      08/20/2019                2,719.10   NESTLE 2814 EDI PAYMNT AUG 19 2000275414US169
                                           001*072869531\
      08/20/2019                1,197.84   SIMPLOT - RDO LL AP ACH PMT 190819 00855332
                                           0*0001\GE*1*0001\IEA*1*000000000\
      08/20/2019             1,119.36      ALPINE FOOD DIST NORPAC R               9073 NORPAC FOODS INC
      08/20/2019               504.00      SYSCO PAYMENTS 190819 043CA000159102 EA*1*000020312\
      08/20/2019                87.38      DESKTOP CHECK DEPOSIT
      08/21/2019            61,552.03      WAL-MART STORES TRADE PYMT 398370 TRN*1*4229269\
      08/21/2019            57,991.03      NESTLE 2814 EDI PAYMNT AUG 20 2000276648US169 381\
      08/21/2019            46,142.60      J R SIMPLOT COMP AP ACH PMT 190820 00856098
                                           PO*01983114\DTM*003*20190722\SE*10*0001\GE*1*0001
      08/21/2019            42,336.03      US FOODS DIRECT PAY 190821 0632236 0000NORPAC FOODS INC
      08/21/2019            39,685.99      WT FED#00252 B N S WBO-GLOBAL F /ORG=NORPAC FOODS INC SRF#
                                           CA19
                                           0821059136 TRN#190821152047 RFB#           CA190821059136
      08/21/2019            30,544.07      WT FED#01621 BANCOLOMBIA S.A. /ORG=AGRODEX INTERNATIONAL
                                           SAS SRF# S069
                                           2332524B01 TRN#190821093289 RFB#
      08/21/2019            29,847.48      WT FED#00251 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                           LIMITED SRF#
                                           233339659 TRN#190821009250 RFB# TT TAO831132MNYN
      08/21/2019            27,279.52      WINCO FOODS LLC EDIPAYMENT 000003866000062
                                           7*TN*19045027\SE*15*000139480\GE*1*3990\IEA*1*000
      08/21/2019            22,742.66      Gordon Food Serv ACCTS PAY 567869
                                           5770\DTM*003*20190819\SE*24*000000011\GE*1*2679\I
      08/21/2019             6,621.23      SYSCO PAYMENTS 190820 006CA000026440 NORPAC FOODS INC
      08/21/2019             4,072.31      Costco Wholesale EDI PYMNTS 0007095039 \
      08/21/2019             2,373.00      WA ST DOC VENDOR PAY 190819 048230! NORPAC FOODS INC
      08/22/2019           134,537.78      eDeposit in Branch/Store 08/22/19 03:54:21 PM 3997
                                           COMMERCIAL ST SE SALEM OR
      08/22/2019           131,168.94      WAL-MART STORES TRADE PYMT 398370 TRN*1*4234082\
      08/22/2019            93,264.99      KROGER VENDOR PAY E666360
                                           *003*20190812\SE*40*03309077\GE*1*3309\IEA*1*0000
      08/22/2019            52,229.72      J R SIMPLOT COMP AP ACH PMT 190821 00856612
                                           3253\DTM*003*20190627\SE*18*0001\GE*1*0001\IEA*1*
      08/22/2019            32,557.50      Bonduelle Canada TRADE PAY 4949 NORPAC FOODS INC
      08/22/2019            30,777.39      NESTLE 2814 EDI PAYMNT AUG 21 2000278090US169 4\
      08/22/2019            27,229.58      Costco Wholesale EDI PYMNTS 0007116085
                                           10705317\DTM*003*20190717\ADX*0*WH\SE*32*00000037
      08/22/2019            17,581.36      SYSCO PAYMENTS 190821 061CA000210431
                                           4519\GE*1*20318\IEA*1*000020318\
      08/22/2019            16,949.00      OFD FOODS ACH 16625 NORPAC FOODS INC
      08/22/2019            14,175.00      SINGLE SOURCE PAYMENTJNL 190821 V000640 0000NORPAC FOODS,
                                           IN
      08/22/2019                4,953.00   KETTLE CUISINE ACH PAYMNT Aug 21 102634ACH Norpac Foods,
                                           Inc
      08/22/2019                2,978.21   SIMPLOT - RDO LL AP ACH PMT 190821 00856324
                                           0001\IEA*1*000000000\
      08/22/2019             2,304.54      THE DISTRIBUTION CORP PAY 190822 32715 NORPAC FOODS INC
      08/23/2019           298,461.08      WAL-MART STORES TRADE PYMT 398370 TRN*1*4239511\
      08/23/2019           159,495.28      GOLDEN BAY USF PAYMENTS 190823 195 NORPAC
      08/23/2019            88,590.62      Costco Wholesale EDI PYMNTS 0007136119 83\
      08/23/2019            85,469.82      FRESHLYINC0350 MD - 8/23             9073 Norpac Foods, Inc.
      08/23/2019            59,662.98      GOLDEN BAY USF PAYMENTS 190823 195-01 NORPAC
      08/23/2019            58,083.77      ZBA FUNDING ACCOUNT TRANSFER FROM                   1025
      08/23/2019            33,748.35      SYSCO PAYMENTS 190822 137CA000136617 NORPAC SALES & SERVICE
      08/23/2019            32,864.75      WINCO FOODS LLC EDIPAYMENT 000003868000062
                                           *L7*TN*19045179\SE*15*000139631\GE*1*3992\IEA*1*0
      08/23/2019            32,604.32      NESTLE 2814 EDI PAYMNT AUG 22 2000281851US169 2\
      08/23/2019            32,314.46      KROGER VENDOR PAY E667091




                   Case 19-62584-pcm11Page:
                                         Doc7 283                 Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                         09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                       Treasury Information Reporting

                                           DTM*003*20190813\SE*22*03311076\GE*1*3311\IEA*1*0
      08/23/2019            27,372.60      ORCA BAY FOODS ACH ITEM NORPAC FOODS
      08/23/2019            20,819.16      G&C FOOD DISTRIB G&C Food GC-NORPACFOODS GC-NORPACFOODS
      08/23/2019            11,394.37      SYSCO PAYMENTS 190822 061CA000210471
                                           0006875\GE*1*20322\IEA*1*000020322\
      08/23/2019             7,745.62      US FOODS DIRECT PAY 190823 0632691 0000NORPAC FOODS INC
      08/23/2019             4,692.03      SYSCO PAYMENTS 190822 320CA000123443 NORPAC FOOD INC
      08/23/2019             4,045.43      SYSCO PAYMENTS 190822 102CA000595614 NORPAC FOODS INC
      08/23/2019               322.89      ZBA FUNDING ACCOUNT TRANSFER FROM              6125
      08/26/2019           336,312.97      WAL-MART STORES TRADE PYMT 398370 TRN*1*4245521\
      08/26/2019           258,354.17      Costco Wholesale EDI PYMNTS 0007158469 6520731\
      08/26/2019            99,837.13      US FOODS DIRECT PAY 190826 0633189 0000NORPAC FOODS INC
      08/26/2019            79,083.44      DESKTOP CHECK DEPOSIT
      08/26/2019            52,317.12      WINCO FOODS LLC EDIPAYMENT 000003869000062 3994\
      08/26/2019            44,737.96      KROGER VENDOR PAY E667724 13\IEA*1*000004978\
      08/26/2019            21,479.37      Gordon Food Serv ACCTS PAY 569035
                                           0820\SE*29*000000010\GE*1*2682\IEA*1*000001375\
      08/26/2019            19,238.24      NICHOLAS AND CO PAYABLES 082319 0048115 0000NORPAC FOODS.
                                           IN
      08/26/2019            13,230.00      SINGLE SOURCE PAYMENTJNL 190822 V000640 0000NORPAC FOODS,
                                           IN
      08/26/2019                9,307.80   FOOD SERVICES OF ACCTS PAY 190824 418889 NORPAC FOODS INC
      08/26/2019                7,136.76   SYSCO PAYMENTS 190823 052CA000907452 NORPAC FOODS INC
      08/26/2019                5,562.11   NESTLE 2814 EDI PAYMNT AUG 23 2000284260US169
                                           00001*072990362\
      08/26/2019               150.00      SYSCO PAYMENTS 190823 039CA000096781 20325\IEA*1*000020325\
      08/27/2019           150,789.66      GOLDEN BAY USF PAYMENTS 190827 195 NORPAC
      08/27/2019           118,219.74      Gordon Food Serv ACCTS PAY 569532
                                           *003*20190823\SE*50*000000013\GE*1*2683\IEA*1*000
      08/27/2019           111,351.24      WAL-MART STORES TRADE PYMT 398370 TRN*1*4252229\
      08/27/2019           104,396.53      GOLDEN BAY USF PAYMENTS 190827 195-01 NORPAC
      08/27/2019            75,393.30      WINCO FOODS LLC EDIPAYMENT 000003870000062
                                           45282\SE*27*000139795\GE*1*3994\IEA*1*000003995\
      08/27/2019            67,022.42      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      08/27/2019            58,738.36      Costco Wholesale EDI PYMNTS 0007187147
                                           6\DTM*003*20190801\ADX*0*WH\SE*38*000000416\GE*1*
      08/27/2019            42,553.53      US FOODS DIRECT PAY 190827 0633637 0000NORPAC FOODS INC
      08/27/2019            36,250.10      J R SIMPLOT COMP AP ACH PMT 190826 00858265
                                           983387\DTM*003*20190726\SE*14*0001\GE*1*0001\IEA*
      08/27/2019            34,166.93      J R SIMPLOT COMP AP ACH PMT 190826 00858263
                                           99219\DTM*003*20190726\SE*14*0001\GE*1*0001\IEA*1
      08/27/2019            32,069.44      FOOD SERVICES OF ACCTS PAY 190826 418889 NORPAC FOODS INC
      08/27/2019            30,172.04      ALPINE FOOD DIST NORPAC           9073 NORPAC FOODS INC
      08/27/2019            27,528.13      NESTLE 2814 EDI PAYMNT AUG 26 2000284880US169
                                           IEA*00001*073047062\
      08/27/2019            18,517.68      SYSCO PAYMENTS 190826 011CA000123461
                                           3*20190815\SE*13*000005531\GE*1*20328\IEA*1*00002
      08/27/2019            18,034.80      J R SIMPLOT COMP AP ACH PMT 190826 00858264
                                           PO*01983379\DTM*003*20190723\SE*10*0001\GE*1*0001
      08/27/2019                9,699.06   SYSCO PAYMENTS 190826 005CA000033861 NORPAC FOODS INC
      08/27/2019                9,406.20   SYSCO PAYMENTS 190826 047CA000200505
                                           6272\GE*1*20328\IEA*1*000020328\
      08/27/2019                6,816.13   SYSCO PAYMENTS 190826 043CA000159308
                                           06191\GE*1*20328\IEA*1*000020328\
      08/27/2019                6,321.00   SYSCO PAYMENTS 190826 057CA000182255 NORPAC SALES & SERVICE
      08/27/2019                5,912.63   JETRO C & C ENT. PRODUCT 87948 0000NORPAC FOODS
      08/27/2019                5,856.83   THE SYGMA NETWOR INVOICEPMT 082719 0000NORPAC SERVICES,
      08/27/2019                5,468.48   SYSCO PAYMENTS 190826 007CA000144148
                                           03*20190814\SE*10*000005402\GE*1*20328\IEA*1*0000
      08/27/2019                5,443.09   SYSCO PAYMENTS 190826 024CA000202921 NORPAC SALES & SERVICE
      08/27/2019                4,876.36   SYSCO PAYMENTS 190826 013CA000220515 NORPAC SALES & SERVICE
      08/27/2019                4,189.70   SYSCO PAYMENTS 190826 055CA000216215 NORPAC FOODS INC
      08/27/2019                1,698.55   GOLDEN BAY USF PAYMENTS 190827 195-F NORPAC
      08/27/2019                  247.00   SIMPLOT - RDO LL AP ACH PMT 190826 00857989
                                           01\GE*1*0001\IEA*1*000000000\
      08/27/2019                 180.50    SIMPLOT - RDO LL AP ACH PMT 190826 00857990
                                           001\GE*1*0001\IEA*1*000000000\
      08/27/2019                 180.50    SIMPLOT - RDO LL AP ACH PMT 190826 00857991
                                           001\GE*1*0001\IEA*1*000000000\
      08/28/2019            91,018.16      WAL-MART STORES TRADE PYMT 398370 TRN*1*4259760\
      08/28/2019            90,028.33      J R SIMPLOT COMP AP ACH PMT 190827 00858784
                                           *003*20190621\SE*26*0001\GE*1*0001\IEA*1*00000000
      08/28/2019            59,694.96      WT FED#00321 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                           LIMITED SRF#
                                           240339800 TRN#190828009424 RFB# TT TAO831607MNYN




                   Case 19-62584-pcm11Page:
                                         Doc8 283                Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                            09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                          Treasury Information Reporting

      08/28/2019            51,808.57      NESTLE 2814 EDI PAYMNT AUG 27 2000286101US169
                                           16596\DTM*003*20190729\SE*25*000000389\GE*000001*
      08/28/2019            44,885.69      J R SIMPLOT COMP AP ACH PMT 190827 00858783
                                           \DTM*003*20190729\SE*18*0001\GE*1*0001\IEA*1*0000
      08/28/2019            27,808.29      WINCO FOODS LLC EDIPAYMENT 000003871000062
                                           7*TN*19045396\SE*15*000139873\GE*1*3995\IEA*1*000
      08/28/2019            18,630.77      Costco Wholesale EDI PYMNTS 0007207811
                                           10710366\DTM*003*20190723\ADX*0*WH\SE*32*00000038
      08/28/2019            16,246.81      NICHOLAS AND CO PAYABLES 082719 0048115 0000NORPAC FOODS.
                                           IN
      08/28/2019            13,125.74      KROGER VENDOR PAY E669235 317072\GE*1*3317\IEA*1*000004984\
      08/28/2019            10,059.50      Publix Super Mar PAYMENTS 190828 2006154373
                                           TRN*1*2006154373*3006922009\
      08/28/2019             4,545.22      SIMPLOT - RDO LL AP ACH PMT 190827 00858408 *000000000\
      08/29/2019           282,252.91      J R SIMPLOT COMP AP ACH PMT 190828 00859333
                                           8*0001\GE*1*0001\IEA*1*000000000\
      08/29/2019            68,793.05      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      08/29/2019            53,752.82      WAL-MART STORES TRADE PYMT 398370 TRN*1*4264696\
      08/29/2019            44,237.63      KROGER VENDOR PAY E669920 0004987\
      08/29/2019            42,126.08      THE SYGMA NETWOR INVOICEPMT 082919 0000NORPAC SERVICES,
      08/29/2019            28,037.25      SYSCO PAYMENTS 190828 137CA000136813 NORPAC SALES & SERVICE
      08/29/2019            22,533.50      KETTLE CUISINE ACH PAYMNT Aug 28 102634ACH Norpac Foods,
                                           Inc
      08/29/2019            21,740.03      J R SIMPLOT COMP AP ACH PMT 190828 00859332
                                           O*01975080\DTM*003*20190730\SE*10*0001\GE*1*0001\
      08/29/2019            14,022.00      WT FED#00341 ISLANDSBANKI HF(RE /ORG=DANOL EHF. SRF# 201908
                                           2700207142 TRN#190829008791 RFB# CT5010235591M001
      08/29/2019            10,113.01      Publix Super Mar PAYMENTS 190829 2006154878
                                           TRN*1*2006154878*3006922009\
      08/29/2019                5,587.18   BYU AP/ACH PYMNT ACH PYMNT 190829 0000006415 NORPAC FOODS
                                           INC
      08/29/2019                3,866.81   SYSCO PAYMENTS 190828 429CA000000265 NORPAC SALES & SERVICE
      08/29/2019                2,428.50   CTI ARLINGT0555 VOUCHERPMT 7 NORPAC SERVICES INC.
      08/29/2019                1,160.10   SIMPLOT - RDO LL AP ACH PMT 190828 00858965
                                           0*0001\GE*1*0001\IEA*1*000000000\
      08/29/2019               840.00      WA ST DOC VENDOR PAY 190827 070804! NORPAC FOODS INC
      08/30/2019           200,534.48      WAL-MART STORES TRADE PYMT 398370 TRN*1*4269869\
      08/30/2019           195,789.41      GOLDEN BAY USF PAYMENTS 190830 195 NORPAC
      08/30/2019           157,890.99      Costco Wholesale EDI PYMNTS 0007250433
                                           000000401\GE*1*1\IEA*1*006296045\
      08/30/2019           151,271.00      WT 216TTJ-23223149 SUMITOMO MITSUI /ORG=NICHIREI FOODS INC.
                                           0216-00262291 SRF# 216TT
                                           J-23223149 TRN#190830024400 RFB# 150190830MT06130
      08/30/2019           149,007.30      J R SIMPLOT COMP AP ACH PMT 190829 00860027
                                           M*003*20190731\SE*22*0001\GE*1*0001\IEA*1*0000000
      08/30/2019           143,274.33      WINCO FOODS LLC EDIPAYMENT 000003873000062
                                           *55*000140020\GE*1*3997\IEA*1*000003998\
      08/30/2019            63,756.96      FRESHLYINC9143 AZ - 8/30        9073 Norpac Foods, Inc.
      08/30/2019            62,701.69      GOLDEN BAY USF PAYMENTS 190830 195-01 NORPAC
      08/30/2019            45,949.39      KROGER VENDOR PAY E670573
                                           38\DTM*003*20190819\SE*39*03321079\GE*1*3321\IEA*
      08/30/2019            37,576.00      CTI ARLINGT0555 VOUCHERPMT 6 NORPAC SERVICES INC.
      08/30/2019            28,344.04      BASHAS' INC. EDI PYMNTS 164591
                                           06\REF*PO*374347\DTM*003*20190819\SE*39*000000009
      08/30/2019            27,372.60      ORCA BAY FOODS ACH ITEM NORPAC FOODS
      08/30/2019            26,094.40      WT FED#00427 KEB HANA BANK /ORG=1/COSTCO WHOLESALE KOREA
                                           SRF# 201908
                                           3000042258 TRN#190830011599 RFB# 1284OTT190800829
      08/30/2019            25,098.44      * GREAT LAKES FO A/P Paymen Aug 30 NORP Norpac Foods Inc
      08/30/2019            13,530.31      SYSCO PAYMENTS 190829 061CA000210762
                                           0011368\GE*1*20337\IEA*1*000020337\
      08/30/2019                7,532.31   Gordon Food Serv ACCTS PAY 570907 R FILL RATE
                                           PROGRAM\DTM*003*20190826\SE*24*000000
      08/30/2019                5,280.00   WT FED#00437 U.S. BANK, NATIONA /ORG=TLR TOTAL LOGISTICS
                                           RESOURCE INC SRF# 19
                                           0829048147 TRN#190830047417 RFB#       190829048147
      08/30/2019                1,883.01   GOLDEN BAY USF PAYMENTS 190830 195-F NORPAC
      08/30/2019                1,349.00   TYSON PAYMENTS 190830 2002965666 NORPAC FOODS INC
      08/30/2019                  249.88   NCH MARKETING HIST RTN 190830 XXXXX4900 NORPAC

                        18,765,189.63      Total Electronic Deposits/Bank Credits

                        26,682,468.48      Total Credits




                   Case 19-62584-pcm11Page:
                                         Doc9 283                     Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                          09/03/2019 01:08 PM ET
Commercial Electronic Office®                                                        Treasury Information Reporting

                                           0026993230 TRN#190815108871 RFB#            5738
      08/15/2019            88,905.99      WT FED#07299 Boston Private Ban /FTR/BNF=Sierra
                                           Constellation Partners, LLC SRF# GW0000
                                           0026992572 TRN#190815108280 RFB#
                                           5737
      08/15/2019            25,000.00      WT FED#02522 HSBC BANK USA, NA /FTR/BNF=Donlin Recano &
                                           Company, INC SRF# GW0000
                                           0026993615 TRN#190815109394 RFB#            5739
      08/15/2019            15,000.00      WT FED#02333 HSBC BANK USA, NA /FTR/BNF=Kurtzman Carson
                                           Consultants LLC SRF# GW0000
                                           0026993683 TRN#190815109929 RFB#            5740
      08/15/2019             7,684.36      ZBA FUNDING ACCOUNT TRANSFER TO             1025
      08/15/2019               906.92      NCH MARKETING DEBIT FILE 190812 XXXXX3300 NORPAC
      08/16/2019           380,290.79      ZBA FUNDING ACCOUNT TRANSFER TO             6125
      08/16/2019           250,000.00      WT SEQ141084 TONKON TORP LLP, LAWYER /BNF=Tonkon Torp SRF#
                                           GW0000
                                           0027040596 TRN#190816141084 RFB#            5741
      08/16/2019           135,293.85      ZBA FUNDING ACCOUNT TRANSFER TO             1025
      08/19/2019         1,825,556.02      ZBA FUNDING ACCOUNT TRANSFER TO             6125
      08/19/2019            50,000.00      WT FED#09063 Columbia Bank /FTR/BNF=Saalfeld Griggs PC SRF#
                                           GW0000
                                           0027076325 TRN#190819157814 RFB#            5742
      08/19/2019            49,962.32      ZBA FUNDING ACCOUNT TRANSFER TO             1025
      08/20/2019           613,793.52      ZBA FUNDING ACCOUNT TRANSFER TO             6125
      08/20/2019            83,384.92      ZBA FUNDING ACCOUNT TRANSFER TO             1025
      08/20/2019            50,343.73      ZBA FUNDING ACCOUNT TRANSFER TO             1017
      08/20/2019            19,075.74      WT FED#05800 TD BANK, NA /FTR/BNF=Ogletree Deakins SRF#
                                           GW0000
                                           0027108766 TRN#190820152615 RFB#            5744
      08/20/2019                4,687.39   WT FED#09477 HAPO COMMUNITY CRE /FTR/BNF=Randy D Lyons SRF#
                                           GW0000
                                           0027095338 TRN#190820095853 RFB#            5743
      08/21/2019         1,235,794.29      ZBA FUNDING ACCOUNT TRANSFER TO             6125
      08/21/2019           514,427.98      ZBA FUNDING ACCOUNT TRANSFER TO             1025
      08/21/2019            96,000.00      WT FED#08430 BANK OF AMERICA, N /FTR/BNF=Adesso SRF# GW0000
                                           0027140870 TRN#190821176896 RFB#            5749
      08/21/2019            81,379.44      WT FED#08826 Boston Private Ban /FTR/BNF=Sierra
                                           Constellation Partners, LLC SRF# GW0000
                                           0027141709 TRN#190821181434 RFB#
                                           5756
      08/21/2019            55,124.80      WT FED#09204 Banner Bank /FTR/BNF=Willamette Valley Lumber
                                           SRF# GW0000
                                           0027140631 TRN#190821176431 RFB#            5747
      08/21/2019            48,045.77      WT FED#08132 BANK OF AMERICA, N /FTR/BNF=Motion Industries
                                           SRF# GW0000
                                           0027140828 TRN#190821176655 RFB#            5748
      08/21/2019            15,000.00      WT FED#07945 COLUMBIA STATE BAN /FTR/BNF=Ogletree Deakins
                                           SRF# GW0000
                                           0027141337 TRN#190821179771 RFB#            5753
      08/21/2019                9,610.10   WT SEQ180638 LITTLER MENDELSON PC /BNF=Litttler Mendelson
                                           SRF# GW0000
                                           0027141523 TRN#190821180638 RFB#            5754
      08/21/2019                8,748.49   WT FED#08810 M & T Bank /FTR/BNF=Oxbo SRF# GW0000
                                           0027141262 TRN#190821178907 RFB#            5751
      08/21/2019                8,126.50   WT FED#08432 US Bank /FTR/BNF=Sather Byerly &Holloway LLP
                                           SRF# GW0000
                                           0027140565 TRN#190821175845 RFB#            5745
      08/21/2019                4,317.80   WT FED#08429 Key Bank /FTR/BNF=Tolleson, Conratt, Nielsen,
                                           Maher SRF# GW0000
                                           0027140604 TRN#190821176122 RFB#            5746
      08/21/2019                 987.85    WT FED#08141 FIRST REPUBLIC BAN /FTR/BNF=Chris Hoot SRF#
                                           GW0000
                                           0027141836 TRN#190821181167 RFB#            5755
      08/21/2019                 973.01    WT FED#08256 TCF NATIONAL BANK /FTR/BNF=Gary Jones SRF#
                                           GW0000
                                           0027142224 TRN#190821182410 RFB#            5757
      08/21/2019                 786.80    WT FED#08477 BANK OF AMERICA, N /FTR/BNF=Attivo SRF# GW0000
                                           0027141093 TRN#190821179262 RFB#            5752
      08/22/2019           308,678.64      WT FED#04429 BOSTON PRIVATE BAN /FTR/BNF=Sierra
                                           Constellation Partners, LLC SRF# GW0000
                                           0027173007 TRN#190822161432 RFB#
                                           5759
      08/22/2019           250,000.00      WT SEQ161598 TONKON TORP LLP, LAWYER /BNF=Tonkon Torp SRF#
                                           GW0000
                                           0027173622 TRN#190822161598 RFB#            5761




                   Case 19-62584-pcm11Page:Doc
                                            11 283                Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                                 09/03/2019 01:08 PM ET
            Commercial Electronic Office®                                                               Treasury Information Reporting

                  08/22/2019           196,508.50      WT FED#03415 MUFG UNION BANK, N /FTR/BNF=Woodruff Sawyer
                                                       SRF# GW0000
                                                       0027174952 TRN#190822168178 RFB#            5765
                  08/22/2019            99,948.81      ZBA FUNDING ACCOUNT TRANSFER TO             6125
                  08/22/2019            60,977.45      ZBA FUNDING ACCOUNT TRANSFER TO             1025
                  08/22/2019            24,578.17      WT FED#02832 JPMORGAN CHASE BAN /FTR/BNF=Matrix Trust
                                                       Company SRF# GW0000
                                                       0027173617 TRN#190822161564 RFB#            5760
                  08/22/2019            16,369.10      WT FED#02857 BANK OF EASTERN OR /FTR/BNF=Devin Oil Co Inc
                                                       SRF# GW0000
                                                       0027175038 TRN#190822167547 RFB#            5764
                  08/22/2019            10,197.01      WT FED#03746 Bank of the West /FTR/BNF=Marc Nelson Oil
                                                       Products SRF# GW0000
                                                       0027172557 TRN#190822162686 RFB#            5762
                  08/22/2019                2,686.00   WT FED#03214 U.S. BANK, NATIONA /FTR/BNF=TLR SRF# GW0000
                                                       0027174240 TRN#190822164889 RFB#            5763
                  08/22/2019                 999.45    WT FED#04369 BANK OF AMERICA, N /FTR/BNF=Law offices of
                                                       Gress, Clark, Young SRF# GW0000
                                                       0027173828 TRN#190822162769 RFB#            5758
                  08/26/2019           395,447.64      ZBA FUNDING ACCOUNT TRANSFER TO             6125
                  08/26/2019           174,982.57      ZBA FUNDING ACCOUNT TRANSFER TO             1025
                  08/26/2019             3,238.52      ZBA FUNDING ACCOUNT TRANSFER TO             1017
                  08/27/2019         5,000,000.00      WT FED#06369 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                       0027266323 TRN#190827155668 RFB#            5766
                  08/27/2019           197,473.64      ZBA FUNDING ACCOUNT TRANSFER TO             6125
                  08/27/2019            62,575.35      ZBA FUNDING ACCOUNT TRANSFER TO             1025
                  08/27/2019             1,030.14      ZBA FUNDING ACCOUNT TRANSFER TO             1017
                  08/28/2019           641,754.13      ZBA FUNDING ACCOUNT TRANSFER TO             6125
                  08/28/2019            17,997.15      ZBA FUNDING ACCOUNT TRANSFER TO             1025
                  08/28/2019               522.87      ZBA FUNDING ACCOUNT TRANSFER TO             1017
                  08/28/2019                38.34      SUPERIOR PRESS PRINT CHRG Aug 28 J4049526DE00000 *Most
                                                       Popular Deposit Slips*1*DS1 - GEN1001 Depos
                  08/29/2019            33,545.00      ZBA FUNDING ACCOUNT TRANSFER TO             6125
                  08/29/2019             8,567.23      ZBA FUNDING ACCOUNT TRANSFER TO             1025
                  08/29/2019             2,614.39      ZBA FUNDING ACCOUNT TRANSFER TO             1017
                  08/29/2019               249.88      NCH MARKETING DEBIT FILE 190826 XXXXX4900 NORPAC
                  08/30/2019         5,000,000.00      WT FED#00062 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                       0027380212 TRN#190830200684 RFB#            5767
                  08/30/2019           367,617.10      ZBA FUNDING ACCOUNT TRANSFER TO             6125
                  08/30/2019            11,184.60      ZBA FUNDING ACCOUNT TRANSFER TO             1025

                                    32,219,583.43      Total Electronic Debits/Bank Debits

                                    32,219,583.43      Total Debits

Daily Ledger Balance Summary
              Date                          Balance     Date                           Balance   Date                         Balance

             08/01/2019             10,929,656.51       08/13/2019                9,680,833.11   08/23/2019              10,741,057.34
             08/02/2019             11,083,690.43       08/14/2019                9,766,079.88   08/26/2019              11,811,598.18
             08/05/2019             12,693,322.13       08/15/2019                9,749,100.93   08/27/2019               7,747,603.89
             08/06/2019             13,042,545.57       08/16/2019               10,816,387.33   08/28/2019               7,998,302.92
             08/07/2019             11,604,450.88       08/19/2019               10,544,085.67   08/29/2019               8,592,210.94
             08/08/2019             11,308,394.96       08/20/2019               11,141,117.61   08/30/2019               4,949,729.33
             08/09/2019             11,706,234.60       08/21/2019                9,739,979.48
             08/12/2019              9,739,270.30       08/22/2019                9,329,743.36

                                                                                 10,269,673.03   Average Daily Ledger Balance


                                                       ---- END OF REPORT ----




                               Case 19-62584-pcm11Page:Doc
                                                        12 283                    Filed 10/21/19
              DDA Cycled Statement Report
              Custom
              As of 08/30/2019
              Company: NORPAC FOODS INC
              User: Tammy Roebke                                                                               09/03/2019 01:07 PM ET
              Commercial Electronic Office®                                                             Treasury Information Reporting

                                                        Statement Start Date: 08/01/2019
                                                        Statement End Date: 08/30/2019
Currency: USD
Bank: 121000248                                                                                            WELLS FARGO BANK, N.A.
Account:       6125(OR)                                                                                        NORPAC FOODS INC
Account Overview
         Beginning Ledger Balance                                                                                                  .00
                Deposits                                                                                                     17,278.89
                Electronic Deposits/Bank Credits                                                                         16,408,447.19
         Total Credits                                                                                                   16,425,726.08
                Electronic Debits/Bank Debits                                                                             5,627,720.72
                Checks Paid                                                                                              10,798,005.36
         Total Debits                                                                                                    16,425,726.08
         Ending Ledger Balance                                                                                                     .00


Credits
  Deposits
     Effective Date Posted Date                Amount       Transaction Detail
     08/02/2019      08/05/2019                    477.58   REVERSAL OF CHECK POSTED 8-02-19 REPOSTED 8-05-19 AS SERIAL
                                                            0020024474 OUR REF: 8-02
                                                            -19
                                                            00000000
     08/05/2019      08/06/2019                    200.08   REVERSAL OF CHECK POSTED 8-05-19 REPOSTED 8-06-19 AS SERIAL
                                                            0020025347 OUR REF: 8-05
                                                            -19
                                                            00000000
     08/06/2019      08/07/2019                    224.76   REVERSAL OF CHECK POSTED 8-06-19 REPOSTED 8-07-19 AS SERIAL
                                                            0020025337 OUR REF: 8-06
                                                            -19
                                                            00000000
     08/09/2019      08/12/2019                    382.26   REVERSAL OF CHECK POSTED 8-09-19 REPOSTED 8-12-19 AS SERIAL
                                                            0020025735 OUR REF: 8-09
                                                            -19
                                                            00000000
     08/09/2019      08/12/2019                    323.54   REVERSAL OF CHECK POSTED 8-09-19 REPOSTED 8-12-19 AS SERIAL
                                                            0020025806 OUR REF: 8-09
                                                            -19
                                                            00000000
     08/09/2019      08/12/2019                    308.87   REVERSAL OF CHECK POSTED 8-09-19 REPOSTED 8-12-19 AS SERIAL
                                                            0020025717 OUR REF: 8-09
                                                            -19
                                                            00000000
     08/12/2019      08/13/2019                1,633.87     REVERSAL OF CHECK POSTED 8-12-19 REPOSTED 8-13-19 AS SERIAL
                                                            0020025359 OUR REF: 8-12
                                                            -19
                                                            00000000
     08/12/2019      08/13/2019                    343.05   REVERSAL OF CHECK POSTED 8-12-19 STALE DATE OUR REF: 8-12
                                                            -19
                                                            00000000
     08/14/2019      08/15/2019                8,643.50     REVERSAL OF CHECK POSTED 8-14-19 REPOSTED 8-15-19 AS SERIAL
                                                            0010353996 OUR REF: 8-14
                                                            -19
                                                            00000000
     08/19/2019      08/20/2019                    527.23   REVERSAL OF CHECK POSTED 8-19-19 REPOSTED 8-20-19 AS SERIAL
                                                            0020023913 OUR REF: 8-19
                                                            -19
                                                            00000000
     08/19/2019      08/20/2019                    176.97   REVERSAL OF CHECK POSTED 8-19-19 REPOSTED 8-20-19 AS SERIAL
                                                            0020026833 OUR REF: 8-19
                                                            -19
                                                            00000000
     08/22/2019      08/23/2019                    195.86   REVERSAL OF CHECK POSTED 8-22-19 REFER TO MAKER OUR REF:
                                                            8-22
                                                            -19 00000000
     08/22/2019      08/23/2019                     49.53   REVERSAL OF CHECK POSTED 8-22-19 REFER TO MAKER OUR REF:
                                                            8-22
                                                            -19 00000000
     08/22/2019      08/23/2019                     40.00   REVERSAL OF CHECK POSTED 8-22-19 REFER TO MAKER OUR REF:
                                                            8-22
                                                            -19 00000000
     08/22/2019      08/23/2019                     22.50   REVERSAL OF CHECK POSTED 8-22-19 REFER TO MAKER OUR REF:
                                                            8-22
                                                            -19 00000000




                                  Case 19-62584-pcm11Page:
                                                        Doc1 283                       Filed 10/21/19
        DDA Cycled Statement Report
        Custom
        As of 08/30/2019
        Company: NORPAC FOODS INC
        User: Tammy Roebke                                                                        09/03/2019 01:07 PM ET
        Commercial Electronic Office®                                                      Treasury Information Reporting

08/22/2019    08/23/2019                 15.00   REVERSAL OF CHECK POSTED 8-22-19 REFER TO MAKER OUR REF:
                                                 8-22
                                                 -19 00000000
08/26/2019    08/27/2019                774.24   REVERSAL OF CHECK POSTED 8-26-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-26
                                                 -19 00000000
08/26/2019    08/27/2019                542.62   REVERSAL OF CHECK POSTED 8-26-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-26
                                                 -19 00000000
08/26/2019    08/27/2019                386.90   REVERSAL OF CHECK POSTED 8-26-19 REPOSTED 8-27-19 AS SERIAL
                                                 0020028064 OUR REF: 8-26
                                                 -19
                                                 00000000
08/26/2019    08/27/2019                130.18   REVERSAL OF CHECK POSTED 8-26-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-26
                                                 -19 00000000
08/26/2019    08/27/2019                123.95   REVERSAL OF CHECK POSTED 8-26-19 STALE DATE OUR REF: 8-26
                                                 -19
                                                 00000000
08/26/2019    08/27/2019                 25.00   REVERSAL OF CHECK POSTED 8-26-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-26
                                                 -19 00000000
08/26/2019    08/27/2019                 10.00   REVERSAL OF CHECK POSTED 8-26-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-26
                                                 -19 00000000
08/27/2019    08/28/2019                600.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/27/2019    08/28/2019                200.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/27/2019    08/28/2019                182.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/27/2019    08/28/2019                 50.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/27/2019    08/28/2019                 20.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/27/2019    08/28/2019                 20.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/27/2019    08/28/2019                 15.00   REVERSAL OF CHECK POSTED 8-27-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-27
                                                 -19 00000000
08/28/2019    08/29/2019                401.84   REVERSAL OF CHECK POSTED 8-28-19 REPOSTED 8-29-19 AS SERIAL
                                                 0020027903 OUR REF: 8-28
                                                 -19
                                                 00000000
08/28/2019    08/29/2019                 49.83   REVERSAL OF CHECK POSTED 8-28-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-28
                                                 -19 00000000
08/28/2019    08/29/2019                 15.00   REVERSAL OF CHECK POSTED 8-28-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-28
                                                 -19 00000000
08/28/2019    08/29/2019                 15.00   REVERSAL OF CHECK POSTED 8-28-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-28
                                                 -19 00000000
08/28/2019    08/29/2019                 15.00   REVERSAL OF CHECK POSTED 8-28-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-28
                                                 -19 00000000
08/28/2019    08/29/2019                 15.00   REVERSAL OF CHECK POSTED 8-28-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-28
                                                 -19 00000000
08/29/2019    08/30/2019                112.73   REVERSAL OF CHECK POSTED 8-29-19 REPOSTED 8-30-19 AS SERIAL
                                                 0020025348 OUR REF: 8-29
                                                 -19
                                                 00000000
08/29/2019    08/30/2019                 10.00   REVERSAL OF CHECK POSTED 8-29-19 PAYMENT NOT AUTHORIZED
                                                 (REF OUR REF: 8-29
                                                 -19 00000000

                                    17,278.89    Total Deposits




                           Case 19-62584-pcm11Page:
                                                 Doc2 283               Filed 10/21/19
             DDA Cycled Statement Report
             Custom
             As of 08/30/2019
             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                            09/03/2019 01:07 PM ET
             Commercial Electronic Office®                                                          Treasury Information Reporting

  Electronic Deposits/Bank Credits
     Effective Date Posted Date              Amount     Transaction Detail
                   08/01/2019            132,688.42     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/02/2019            745,384.10     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/02/2019                   .19     PAYPAL VERIFYBANK 190802 1006257959907 CRUZ
                   08/02/2019                   .12     PAYPAL VERIFYBANK 190802 1006257959900 CRUZ
                   08/05/2019            688,361.87     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/05/2019                   .31     PAYPAL HIST RTN 190805 1006257959912 CRUZ
                   08/06/2019          1,055,224.22     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/07/2019          1,359,038.22     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/08/2019            712,629.38     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/09/2019          1,601,661.13     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/12/2019          2,241,491.15     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/13/2019            958,016.76     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/14/2019            686,505.82     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/15/2019            386,224.56     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/16/2019            380,290.79     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/19/2019          1,825,556.02     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/19/2019             50,000.00     ACH RETURNS - NORPAC FOODS INC - FILE 7777788888 COID
                                                        5930289330
                   08/20/2019            613,793.52     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/21/2019          1,235,794.29     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/22/2019             99,948.81     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/26/2019            395,447.64     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/27/2019            197,473.64     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/28/2019            641,754.13     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/29/2019             33,545.00     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   08/30/2019            367,617.10     ZBA BALANCE ACCOUNT TRANSFER FROM           9073

                                      16,408,447.19     Total Electronic Deposits/Bank Credits

                                      16,425,726.08     Total Credits

Debits
  Electronic Debits/Bank Debits
     Effective Date Posted Date              Amount     Transaction Detail
                   08/02/2019                  .31      PAYPAL VERIFYBANK 190802 1006257959912 CRUZ
                   08/06/2019           331,473.82      ACH PREP ORIGINTN - NORPAC FOODS - FILE 4930289330 COID
                                                        3930289330
                   08/07/2019           994,324.02      WT FED#09343 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201908
                                                        0700005799 TRN#190807082899 RFB#     450474844
                   08/07/2019                 101.03    WT FED#09538 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201908
                                                        0700005800 TRN#190807082900 RFB#     450474844
                   08/09/2019           513,833.36      ACH PREP ORIGINTN - NORPAC FOODS - FILE 4930289330 COID
                                                        3930289330
                   08/09/2019           276,796.43      ACH PREP ORIGINTN - NORPAC FOODS INC - FILE 7777788888 COID
                                                        5930289330
                   08/13/2019           295,280.19      ACH PREP ORIGINTN - NORPAC FOODS - FILE 4930289330 COID
                                                        3930289330
                   08/13/2019           279,530.53      BANK ORIGINATED DEBIT
                   08/13/2019           140,110.55      BANK ORIGINATED DEBIT
                   08/13/2019            76,446.11      BANK ORIGINATED DEBIT
                   08/14/2019           537,957.38      WT FED#08871 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201908
                                                        1400006251 TRN#190814086905 RFB#     450474844
                   08/14/2019            50,000.00      ACH PREP ORIGINTN - NORPAC FOODS INC - FILE 7777788888 COID
                                                        5930289330
                   08/14/2019                 101.03    WT FED#09166 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201908
                                                        1400006252 TRN#190814086959 RFB#     450474844
                   08/19/2019            48,140.00      BANK ORIGINATED DEBIT
                   08/19/2019            43,537.33      BANK ORIGINATED DEBIT
                   08/19/2019            10,316.87      WA DEPT REVENUE TAX PYMT 190816 3188716 NORPAC FOODS, INC.
                   08/20/2019           373,804.31      ACH PREP ORIGINTN - NORPAC FOODS - FILE 4930289330 COID
                                                        3930289330
                   08/20/2019             14,945.74     BANK ORIGINATED DEBIT
                   08/21/2019          1,055,841.83     WT FED#09104 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201908
                                                        2100005958 TRN#190821093658 RFB#     450474844
                   08/21/2019                5,818.00   ACH PREP ORIGINTN - NORPAC FOODS INC - FILE 7777788888 COID
                                                        5930289330
                   08/21/2019                 101.03    WT FED#09488 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201908



                                  Case 19-62584-pcm11Page:
                                                        Doc3 283                   Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                                  09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                                Treasury Information Reporting

                                                       2100005959 TRN#190821093659 RFB#     450474844
                   08/22/2019            12,200.00     BANK ORIGINATED DEBIT
                   08/22/2019            10,992.50     BANK ORIGINATED DEBIT
                   08/23/2019               322.89     ZBA BALANCE ACCOUNT TRANSFER TO         9073
                   08/28/2019           551,002.02     WT FED#00054 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                       SRF# 201908
                                                       2800006837 TRN#190828094211 RFB#     450474844
                   08/28/2019               4,743.44   WT FED#09560 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                       SRF# 201908
                                                       2800006838 TRN#190828094274 RFB#     450474844

                                      5,627,720.72     Total Electronic Debits/Bank Debits

Checks Paid
Check                                       Check                                            Check
Number      Date                 Amount     Number         Date                  Amount      Number      Date                  Amount
4474        08/02/2019             477.58   20025175       08/07/2019              478.41    20027238    08/22/2019              181.89
5347*       08/05/2019             200.08   20025176       08/05/2019              477.99    20027239    08/26/2019               32.20
5717*       08/09/2019             308.87   20025177       08/06/2019              297.11    20027240    08/16/2019              276.30
5735*       08/09/2019             382.26   20025178       08/02/2019              695.84    20027241    08/16/2019              303.25
5806*       08/09/2019             323.54   20025179       08/02/2019              509.12    20027242    08/16/2019              571.88
7903*       08/28/2019             401.84   20025180       08/16/2019              525.62    20027243    08/16/2019              376.49
8064*       08/26/2019             386.90   20025181       08/05/2019              375.20    20027244    08/26/2019              400.48
9999*       08/30/2019             311.07   20025182       08/02/2019              420.03    20027245    08/27/2019              510.29
23193*      08/19/2019             527.23   20025183       08/02/2019              450.13    20027246    08/27/2019              510.29
401590*     08/26/2019             123.95   20025184       08/02/2019              450.14    20027247    08/16/2019              140.25
401671*     08/26/2019             123.95   20025185       08/06/2019              496.93    20027248    08/21/2019               85.88
401902*     08/07/2019             214.00   20025186       08/02/2019              315.94    20027249    08/16/2019              518.09
401923*     08/26/2019             847.45   20025187       08/02/2019              678.40    20027250    08/16/2019              330.81
401928*     08/21/2019           1,905.35   20025188       08/09/2019               72.62    20027251    08/16/2019              456.09
401931*     08/01/2019           1,002.84   20025189       08/02/2019              461.21    20027252    08/16/2019              499.85
401973*     08/01/2019             155.00   20025190       08/02/2019              431.74    20027253    08/19/2019              431.47
401974      08/07/2019              95.00   20025191       08/02/2019              423.84    20027254    08/19/2019              405.31
401975      08/01/2019           1,603.68   20025192       08/02/2019              408.75    20027256*   08/30/2019              482.42
401977*     08/09/2019              75.00   20025193       08/02/2019              439.06    20027257    08/16/2019              430.62
401985*     08/15/2019           1,431.68   20025194       08/02/2019              446.72    20027258    08/19/2019              374.51
401988*     08/01/2019             192.18   20025195       08/26/2019              414.00    20027260*   08/16/2019              553.71
401990*     08/06/2019             103.92   20025196       08/02/2019              320.77    20027262*   08/16/2019              485.68
401991      08/02/2019             447.50   20025197       08/26/2019              150.72    20027263    08/16/2019              584.20
401992      08/14/2019             361.22   20025198       08/02/2019              429.33    20027264    08/16/2019              628.56
401994*     08/02/2019              50.00   20025199       08/02/2019              415.72    20027265    08/27/2019              458.07
401995      08/01/2019             244.52   20025200       08/02/2019              462.10    20027266    08/16/2019              501.37
401997*     08/08/2019             548.33   20025201       08/20/2019              249.63    20027267    08/16/2019              484.60
401998      08/01/2019          10,253.34   20025202       08/02/2019              414.30    20027268    08/16/2019              509.67
401999      08/01/2019             589.99   20025203       08/02/2019              478.25    20027269    08/26/2019              542.15
402000      08/08/2019             164.97   20025204       08/02/2019              261.63    20027270    08/27/2019              494.59
402001      08/01/2019             438.09   20025205       08/02/2019              704.39    20027271    08/16/2019              330.96
402002      08/01/2019          26,460.67   20025206       08/06/2019              286.28    20027272    08/27/2019              400.48
402003      08/02/2019             416.86   20025207       08/06/2019              279.03    20027273    08/16/2019              387.20
402004      08/05/2019              60.00   20025208       08/02/2019              491.08    20027274    08/16/2019              501.32
402005      08/06/2019             476.00   20025209       08/05/2019              710.76    20027275    08/16/2019              559.51
402006      08/02/2019             117.84   20025210       08/02/2019              831.55    20027276    08/26/2019              468.25
402007      08/02/2019           4,788.50   20025211       08/02/2019              696.55    20027277    08/28/2019            1,043.92
402008      08/09/2019              13.87   20025212       08/05/2019              613.21    20027278    08/16/2019              517.73
402009      08/27/2019              75.00   20025213       08/05/2019              476.94    20027279    08/16/2019              420.50
402010      08/07/2019             153.00   20025214       08/02/2019              590.47    20027280    08/16/2019              243.71
402011      08/07/2019             721.85   20025215       08/06/2019              528.89    20027281    08/26/2019              541.33
402012      08/13/2019             762.00   20025216       08/06/2019              496.36    20027282    08/19/2019              371.28
402013      08/09/2019             292.79   20025217       08/06/2019              337.06    20027283    08/16/2019               81.88
402014      08/09/2019             128.89   20025218       08/02/2019              356.76    20027284    08/30/2019              465.44
402015      08/08/2019             632.92   20025219       08/06/2019              352.98    20027285    08/19/2019              550.01
402016      08/09/2019           1,341.50   20025220       08/05/2019              448.61    20027286    08/19/2019              547.26
402017      08/12/2019           1,214.50   20025221       08/02/2019              671.79    20027287    08/21/2019              501.48
402018      08/09/2019             651.32   20025222       08/02/2019              472.80    20027288    08/16/2019              412.18
402019      08/08/2019           1,337.33   20025223       08/02/2019            1,179.96    20027289    08/16/2019              342.51
402020      08/19/2019             107.00   20025224       08/02/2019              373.61    20027291*   08/19/2019              521.18
402021      08/12/2019             414.49   20025225       08/02/2019              327.99    20027292    08/19/2019              455.36
402022      08/12/2019             358.09   20025226       08/15/2019              431.74    20027293    08/16/2019              488.42
402023      08/09/2019              28.72   20025227       08/06/2019              537.05    20027294    08/16/2019              296.23
402024      08/13/2019             154.42   20025228       08/05/2019              454.58    20027295    08/20/2019              275.41
402025      08/14/2019           1,167.93   20025229       08/02/2019              454.91    20027296    08/26/2019            1,262.52
402026      08/15/2019             219.96   20025230       08/05/2019              238.63    20027298*   08/19/2019              451.97
402027      08/20/2019             103.92   20025231       08/29/2019              481.62    20027299    08/20/2019              338.94
402028      08/26/2019              28.94   20025232       08/05/2019              382.60    20027300    08/16/2019              492.91
402029      08/19/2019             153.93   20025233       08/02/2019              365.25    20027301    08/16/2019              561.34




                                Case 19-62584-pcm11Page:
                                                      Doc4 283                    Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

402030      08/26/2019            147.00    20025234    08/05/2019   450.14   20027302    08/16/2019             477.09
402031      08/16/2019            324.35    20025235    08/02/2019   366.45   20027303    08/27/2019             513.30
402032      08/14/2019            119.76    20025236    08/02/2019   361.38   20027304    08/26/2019             459.95
402033      08/21/2019            548.33    20025237    08/05/2019   314.98   20027305    08/16/2019             495.02
402034      08/16/2019            434.11    20025238    08/05/2019   385.27   20027307*   08/16/2019             687.16
402035      08/16/2019            244.79    20025239    08/09/2019   241.03   20027308    08/16/2019             489.84
402036      08/19/2019            579.20    20025240    08/02/2019   291.32   20027309    08/16/2019             495.84
402037      08/16/2019             64.96    20025241    08/02/2019   433.47   20027310    08/30/2019             156.88
402038      08/26/2019            197.95    20025242    08/05/2019   316.21   20027311    08/20/2019             611.98
402039      08/20/2019            184.06    20025243    08/05/2019   493.31   20027312    08/20/2019             611.98
402040      08/26/2019            476.00    20025244    08/02/2019   355.37   20027313    08/19/2019             595.90
402041      08/22/2019            706.66    20025245    08/07/2019   372.94   20027314    08/16/2019             566.05
402042      08/21/2019            244.12    20025246    08/05/2019   450.38   20027315    08/16/2019             509.91
402043      08/26/2019             97.50    20025247    08/05/2019   332.44   20027316    08/16/2019             509.91
402045*     08/28/2019             14.93    20025248    08/02/2019   443.20   20027317    08/22/2019             632.66
402046      08/26/2019            200.00    20025249    08/02/2019   397.31   20027318    08/16/2019             486.99
402047      08/26/2019            153.93    20025250    08/02/2019   424.90   20027319    08/19/2019             449.19
402049*     08/30/2019            651.32    20025251    08/05/2019   424.29   20027320    08/16/2019             588.25
402050      08/30/2019             71.19    20025252    08/26/2019   397.39   20027321    08/19/2019             172.94
2002548*    08/29/2019            112.73    20025254*   08/09/2019   979.13   20027322    08/19/2019             533.51
10351213*   08/27/2019             50.00    20025255    08/02/2019   418.09   20027323    08/15/2019             491.06
10352573*   08/19/2019            250.00    20025256    08/02/2019   454.83   20027324    08/16/2019             478.82
10352748*   08/28/2019             15.00    20025257    08/07/2019   431.60   20027325    08/16/2019             265.14
10352937*   08/01/2019            490.00    20025258    08/26/2019   444.18   20027326    08/16/2019             396.78
10353119*   08/08/2019          1,100.00    20025259    08/02/2019   402.39   20027328*   08/30/2019             398.10
10353141*   08/02/2019             16.53    20025260    08/05/2019   386.35   20027329    08/19/2019             313.77
10353153*   08/09/2019            912.50    20025261    08/02/2019   402.40   20027330    08/16/2019             414.63
10353171*   08/01/2019             13.05    20025262    08/09/2019   469.81   20027331    08/16/2019             451.22
10353173*   08/02/2019             65.00    20025263    08/02/2019   488.70   20027333*   08/16/2019             577.02
10353177*   08/30/2019             10.00    20025264    08/02/2019   480.84   20027334    08/16/2019             397.05
10353186*   08/07/2019             74.05    20025265    08/06/2019   576.26   20027335    08/19/2019             708.90
10353188*   08/16/2019             24.65    20025266    08/02/2019   397.82   20027336    08/19/2019             360.92
10353191*   08/06/2019             10.00    20025267    08/22/2019   481.62   20027337    08/19/2019             317.40
10353196*   08/09/2019             25.00    20025268    08/02/2019   429.62   20027338    08/16/2019             506.27
10353240*   08/09/2019             64.93    20025269    08/02/2019   405.27   20027339    08/19/2019             167.98
10353331*   08/06/2019            492.70    20025270    08/02/2019   374.33   20027340    08/16/2019             404.47
10353384*   08/05/2019          1,575.00    20025271    08/26/2019   500.06   20027341    08/19/2019             325.54
10353402*   08/07/2019             10.00    20025272    08/05/2019   395.42   20027342    08/16/2019             131.10
10353460*   08/02/2019             80.00    20025273    08/27/2019   441.32   20027343    08/16/2019             386.90
10353509*   08/02/2019             64.99    20025274    08/19/2019   436.69   20027344    08/16/2019             499.00
10353513*   08/09/2019            131.04    20025275    08/02/2019   287.32   20027345    08/16/2019             453.50
10353523*   08/05/2019         15,047.03    20025277*   08/26/2019   314.19   20027346    08/15/2019             436.74
10353580*   08/19/2019             89.08    20025278    08/13/2019   286.86   20027347    08/19/2019             383.77
10353593*   08/02/2019             44.76    20025279    08/06/2019   467.32   20027348    08/19/2019             655.44
10353594    08/06/2019             10.00    20025280    08/02/2019   294.19   20027349    08/16/2019             281.04
10353595    08/05/2019             22.50    20025282*   08/02/2019   570.08   20027350    08/26/2019             281.65
10353596    08/01/2019             34.98    20025283    08/02/2019   436.73   20027351    08/19/2019              93.20
10353599*   08/05/2019             22.50    20025284    08/02/2019   419.04   20027352    08/19/2019             409.06
10353602*   08/12/2019             22.50    20025285    08/05/2019   406.74   20027353    08/16/2019             386.34
10353605*   08/02/2019             55.99    20025286    08/06/2019   498.79   20027354    08/19/2019             358.40
10353606    08/02/2019             20.00    20025287    08/02/2019   237.81   20027355    08/26/2019             302.06
10353612*   08/16/2019             69.98    20025288    08/02/2019   422.44   20027356    08/16/2019             475.81
10353620*   08/15/2019             65.98    20025289    08/02/2019   485.70   20027357    08/15/2019             465.49
10353626*   08/28/2019             15.00    20025290    08/02/2019   394.33   20027358    08/26/2019             285.90
10353627    08/08/2019             22.50    20025291    08/06/2019   352.73   20027359    08/16/2019             306.80
10353629*   08/01/2019            316.25    20025292    08/29/2019   336.80   20027360    08/19/2019             561.51
10353634*   08/12/2019            277.68    20025293    08/02/2019   477.98   20027361    08/16/2019             753.89
10353635    08/01/2019             49.55    20025294    08/02/2019   548.43   20027362    08/16/2019             325.27
10353638*   08/01/2019         69,820.34    20025295    08/02/2019   355.74   20027363    08/20/2019             264.20
10353639    08/09/2019            150.00    20025296    08/06/2019   476.65   20027364    08/16/2019             456.05
10353640    08/02/2019         35,459.50    20025297    08/02/2019   746.60   20027365    08/20/2019             378.48
10353641    08/01/2019            413.20    20025298    08/02/2019   454.07   20027366    08/16/2019             301.63
10353642    08/02/2019          3,449.13    20025299    08/05/2019   414.00   20027367    08/26/2019             336.12
10353643    08/06/2019            208.74    20025300    08/29/2019   299.23   20027368    08/16/2019             437.71
10353645*   08/07/2019          1,590.80    20025302*   08/06/2019   526.47   20027369    08/20/2019             399.32
10353649*   08/26/2019            774.24    20025304*   08/16/2019   410.93   20027370    08/16/2019             301.73
10353651*   08/19/2019            209.23    20025305    08/05/2019   386.05   20027371    08/19/2019             630.88
10353652    08/15/2019          2,464.98    20025306    08/02/2019   519.50   20027372    08/16/2019             335.24
10353658*   08/01/2019            191.25    20025307    08/19/2019   251.49   20027373    08/16/2019             398.62
10353662*   08/07/2019          2,250.00    20025308    08/05/2019   772.49   20027374    08/29/2019             287.43
10353663    08/01/2019            299.11    20025309    08/02/2019   454.91   20027375    08/19/2019             198.10
10353669*   08/08/2019             94.08    20025310    08/05/2019   603.91   20027376    08/19/2019             356.35
10353670    08/09/2019         10,750.00    20025311    08/26/2019   450.13   20027377    08/20/2019             409.05
10353672*   08/12/2019          2,500.00    20025312    08/02/2019   630.61   20027378    08/16/2019             467.18
10353683*   08/02/2019          5,715.30    20025313    08/07/2019   439.40   20027379    08/20/2019             477.47




                               Case 19-62584-pcm11Page:
                                                     Doc5 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

10353691*   08/27/2019          3,678.83    20025314    08/19/2019     439.95   20027380    08/26/2019              447.98
10353695*   08/08/2019          4,055.19    20025315    08/02/2019     447.39   20027381    08/19/2019              267.14
10353699*   08/02/2019         42,494.35    20025316    08/02/2019     581.55   20027382    08/16/2019              425.27
10353702*   08/05/2019         10,089.31    20025317    08/07/2019     253.42   20027383    08/26/2019              272.34
10353708*   08/02/2019          4,411.64    20025318    08/02/2019     776.42   20027384    08/30/2019              422.47
10353709    08/02/2019          9,119.61    20025319    08/02/2019     452.09   20027385    08/16/2019              345.20
10353716*   08/05/2019            180.00    20025320    08/02/2019     353.13   20027386    08/16/2019              284.99
10353718*   08/01/2019            227.50    20025321    08/02/2019     369.20   20027387    08/16/2019              422.48
10353719    08/05/2019         12,261.07    20025322    08/16/2019     466.92   20027388    08/16/2019              422.46
10353725*   08/02/2019         17,381.96    20025323    08/12/2019     223.25   20027389    08/19/2019              345.96
10353756*   08/06/2019            350.00    20025324    08/12/2019     194.32   20027390    08/16/2019              285.93
10353763*   08/01/2019            385.65    20025325    08/12/2019     118.99   20027391    08/19/2019              370.24
10353770*   08/02/2019          6,877.50    20025326    08/12/2019     117.44   20027392    08/16/2019              568.80
10353771    08/05/2019            733.79    20025327    08/12/2019      27.75   20027393    08/19/2019              431.22
10353774*   08/02/2019            698.62    20025328    08/12/2019     119.89   20027394    08/19/2019              395.90
10353778*   08/05/2019          5,714.74    20025329    08/07/2019     116.41   20027395    08/16/2019              377.32
10353787*   08/02/2019            105.00    20025330    08/09/2019     112.36   20027398*   08/16/2019              431.85
10353798*   08/05/2019            401.96    20025331    08/07/2019     208.93   20027399    08/26/2019              380.38
10353802*   08/08/2019          4,849.87    20025332    08/07/2019     119.89   20027400    08/16/2019              301.44
10353804*   08/06/2019            141.79    20025333    08/07/2019      96.73   20027401    08/16/2019              320.68
10353810*   08/05/2019         47,267.28    20025334    08/07/2019     151.33   20027402    08/16/2019              210.19
10353818*   08/02/2019          6,197.50    20025335    08/06/2019     230.00   20027403    08/16/2019              563.90
10353821*   08/05/2019          1,913.33    20025335*   08/06/2019     224.76   20027404    08/20/2019              311.32
10353826*   08/06/2019         10,005.08    20025336    08/06/2019      96.00   20027405    08/16/2019              420.39
10353827    08/01/2019            490.00    20025337    08/07/2019     224.76   20027406    08/16/2019              446.25
10353830*   08/05/2019          6,266.00    20025338    08/07/2019     111.11   20027407    08/19/2019              231.62
10353833*   08/09/2019             22.50    20025339    08/07/2019     125.82   20027408    08/16/2019              666.39
10353834    08/05/2019          2,826.95    20025340    08/06/2019     110.84   20027409    08/26/2019              217.26
10353835    08/07/2019        126,673.65    20025341    08/07/2019      65.00   20027410    08/19/2019              256.66
10353836    08/01/2019            547.44    20025342    08/07/2019     168.49   20027411    08/16/2019              436.75
10353838*   08/02/2019             22.50    20025343    08/09/2019      56.44   20027412    08/16/2019              595.38
10353842*   08/09/2019             22.50    20025344    08/05/2019     118.11   20027413    08/16/2019              672.75
10353848*   08/02/2019          2,319.50    20025345    08/26/2019     115.05   20027414    08/16/2019              793.88
10353850*   08/22/2019             22.50    20025346    08/01/2019     118.20   20027415    08/16/2019              669.84
10353851    08/02/2019             69.99    20025347    08/06/2019     200.08   20027416    08/19/2019              411.67
10353853*   08/12/2019             22.50    20025348    08/30/2019     112.73   20027417    08/19/2019              449.93
10353854    08/09/2019             62.39    20025349    08/16/2019     454.82   20027418    08/16/2019              741.26
10353857*   08/02/2019             69.00    20025350    08/06/2019   3,366.33   20027419    08/19/2019              488.49
10353860*   08/05/2019             22.50    20025351    08/08/2019     600.00   20027420    08/19/2019              437.60
10353861    08/02/2019             45.00    20025352    08/05/2019     352.07   20027421    08/19/2019              419.43
10353862    08/12/2019             22.50    20025353    08/09/2019     491.79   20027422    08/19/2019              326.76
10353863    08/05/2019             22.50    20025354    08/19/2019   1,408.37   20027423    08/21/2019              238.93
10353864    08/02/2019             22.50    20025355    08/16/2019   1,089.29   20027424    08/16/2019              307.61
10353866*   08/02/2019              9.86    20025356    08/09/2019   1,296.77   20027425    08/19/2019              596.87
10353867    08/09/2019             22.50    20025357    08/09/2019     937.14   20027426    08/16/2019              466.77
10353868    08/05/2019         16,625.00    20025358    08/09/2019   1,432.14   20027427    08/16/2019            1,112.95
10353870*   08/01/2019          1,620.01    20025359    08/13/2019   1,633.87   20027428    08/16/2019              352.19
10353872*   08/08/2019         12,654.34    20025360    08/09/2019   1,236.58   20027429    08/16/2019              288.48
10353873    08/05/2019         12,000.00    20025361    08/12/2019   1,146.23   20027432*   08/20/2019              713.64
10353874    08/02/2019            350.73    20025362    08/27/2019   1,643.24   20027433    08/19/2019              434.10
10353875    08/02/2019             40.00    20025363    08/09/2019   1,079.45   20027434    08/16/2019              419.07
10353876    08/05/2019          4,474.27    20025364    08/29/2019     502.80   20027435    08/19/2019              484.26
10353877    08/14/2019            107.57    20025365    08/12/2019     504.88   20027436    08/29/2019              438.63
10353878    08/06/2019            243.60    20025366    08/09/2019     469.90   20027437    08/16/2019              352.78
10353879    08/06/2019          7,901.69    20025367    08/09/2019     312.51   20027438    08/16/2019              325.25
10353880    08/02/2019             84.02    20025368    08/19/2019     619.46   20027439    08/26/2019              264.65
10353881    08/08/2019            863.92    20025369    08/09/2019     450.96   20027441*   08/26/2019              267.00
10353882    08/07/2019          2,697.33    20025370    08/12/2019     507.97   20027442    08/19/2019              393.10
10353883    08/05/2019          1,491.41    20025371    08/09/2019     526.05   20027443    08/16/2019              323.60
10353884    08/02/2019            457.94    20025372    08/27/2019     523.39   20027444    08/19/2019              209.55
10353885    08/05/2019            496.29    20025373    08/13/2019     467.55   20027445    08/26/2019              261.32
10353886    08/12/2019         14,764.59    20025374    08/21/2019     542.67   20027446    08/16/2019              397.48
10353887    08/06/2019         13,754.10    20025375    08/09/2019     459.63   20027447    08/16/2019              424.22
10353888    08/05/2019         50,240.09    20025376    08/15/2019     283.84   20027448    08/19/2019              457.79
10353889    08/05/2019         11,731.85    20025377    08/09/2019     507.29   20027449    08/16/2019              325.27
10353890    08/09/2019          2,972.17    20025378    08/09/2019     679.47   20027450    08/27/2019              345.89
10353891    08/14/2019          5,244.84    20025379    08/09/2019     199.24   20027451    08/20/2019              141.84
10353892    08/05/2019             71.71    20025380    08/13/2019     321.36   20027452    08/16/2019              397.27
10353893    08/08/2019          4,621.31    20025381    08/09/2019     520.83   20027453    08/19/2019              284.40
10353894    08/06/2019             10.26    20025382    08/09/2019     497.90   20027454    08/16/2019              367.31
10353898*   08/06/2019        136,778.72    20025383    08/09/2019     861.12   20027455    08/19/2019              424.90
10353899    08/06/2019         17,855.20    20025384    08/14/2019     444.37   20027456    08/16/2019              394.20
10353900    08/05/2019          2,433.92    20025385    08/12/2019     327.01   20027457    08/26/2019              367.39
10353901    08/06/2019         52,000.00    20025386    08/28/2019     390.25   20027458    08/28/2019              395.88
10353902    08/05/2019          1,256.80    20025387    08/13/2019     199.64   20027459    08/16/2019              779.50




                               Case 19-62584-pcm11Page:
                                                     Doc6 283         Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

10353903    08/05/2019         13,641.06    20025388    08/13/2019     627.61   20027460    08/16/2019             381.96
10353904    08/06/2019         11,707.45    20025389    08/09/2019     712.02   20027461    08/26/2019             434.53
10353905    08/05/2019          1,492.77    20025391*   08/13/2019     307.39   20027462    08/16/2019             415.00
10353906    08/05/2019            736.75    20025392    08/09/2019     392.38   20027463    08/26/2019             182.87
10353908*   08/07/2019         94,619.27    20025393    08/09/2019     393.70   20027464    08/16/2019             374.36
10353909    08/07/2019          1,362.44    20025394    08/09/2019     359.32   20027465    08/26/2019             358.31
10353910    08/06/2019         55,088.56    20025395    08/09/2019     714.45   20027466    08/16/2019             270.99
10353911    08/05/2019            696.10    20025396    08/15/2019     391.57   20027467    08/16/2019             436.27
10353912    08/05/2019         10,340.26    20025397    08/13/2019     555.17   20027468    08/16/2019             458.70
10353913    08/09/2019          4,760.00    20025398    08/09/2019     454.86   20027469    08/28/2019             342.34
10353914    08/08/2019            515.35    20025399    08/09/2019     511.57   20027470    08/16/2019             469.69
10353915    08/05/2019          3,223.09    20025400    08/09/2019     503.56   20027471    08/19/2019             334.71
10353916    08/06/2019          4,165.00    20025401    08/09/2019     577.12   20027472    08/27/2019             445.63
10353917    08/05/2019          2,369.02    20025402    08/20/2019     550.63   20027473    08/16/2019             687.65
10353918    08/06/2019          2,632.63    20025403    08/09/2019     686.92   20027474    08/19/2019             375.26
10353919    08/05/2019          1,743.00    20025404    08/12/2019     415.99   20027475    08/16/2019             344.64
10353920    08/06/2019          1,000.00    20025405    08/12/2019     416.02   20027477*   08/16/2019             358.60
10353921    08/06/2019         38,644.75    20025406    08/09/2019     829.37   20027478    08/27/2019             411.32
10353923*   08/07/2019         82,910.17    20025407    08/26/2019     490.29   20027479    08/26/2019             406.69
10353924    08/06/2019          4,746.77    20025408    08/12/2019     540.62   20027480    08/16/2019             285.94
10353925    08/07/2019          1,465.95    20025409    08/09/2019     583.32   20027482*   08/16/2019             284.20
10353927*   08/05/2019         19,856.35    20025410    08/09/2019     433.16   20027483    08/30/2019             389.03
10353928    08/09/2019          5,995.00    20025411    08/12/2019     560.73   20027484    08/19/2019             435.99
10353929    08/06/2019            116.94    20025412    08/26/2019     397.85   20027485    08/19/2019             264.19
10353930    08/05/2019          5,880.80    20025413    08/09/2019   1,085.09   20027487*   08/16/2019             531.18
10353931    08/06/2019          2,650.00    20025414    08/09/2019     596.19   20027488    08/16/2019             406.73
10353932    08/15/2019        297,560.00    20025415    08/12/2019     542.67   20027489    08/16/2019             389.04
10353933    08/06/2019            236.50    20025416    08/16/2019     526.14   20027490    08/20/2019             370.90
10353934    08/05/2019         28,775.80    20025417    08/13/2019     516.24   20027491    08/19/2019             468.80
10353935    08/09/2019          1,011.04    20025419*   08/16/2019     531.99   20027492    08/16/2019             339.19
10353937*   08/06/2019          4,332.27    20025420    08/08/2019     392.19   20027493    08/16/2019             426.14
10353938    08/05/2019         29,816.32    20025421    08/09/2019     622.06   20027494    08/19/2019             321.52
10353939    08/08/2019          4,697.55    20025422    08/09/2019     467.73   20027495    08/16/2019             365.43
10353940    08/05/2019          9,567.20    20025423    08/09/2019     266.70   20027497*   08/29/2019             307.44
10353942*   08/06/2019         96,832.02    20025424    08/09/2019     337.20   20027498    08/16/2019             447.98
10353943    08/05/2019         26,153.49    20025425    08/19/2019     337.41   20027499    08/16/2019             530.19
10353944    08/05/2019         52,143.59    20025426    08/09/2019     455.78   20027500    08/20/2019             452.60
10353945    08/06/2019            780.44    20025427    08/09/2019     805.66   20027501    08/19/2019             673.66
10353946    08/06/2019         17,344.32    20025428    08/09/2019     427.64   20027502    08/16/2019             272.98
10353947    08/09/2019            540.15    20025429    08/09/2019     611.70   20027503    08/16/2019             382.00
10353948    08/06/2019          1,350.00    20025430    08/09/2019     430.22   20027504    08/29/2019             269.27
10353949    08/05/2019          5,654.00    20025431    08/09/2019     346.00   20027506*   08/19/2019             416.01
10353950    08/05/2019          9,996.00    20025432    08/12/2019     428.70   20027507    08/16/2019             387.74
10353951    08/05/2019         24,900.00    20025433    08/13/2019     292.61   20027508    08/16/2019             494.15
10353952    08/07/2019          9,540.15    20025434    08/13/2019     426.74   20027509    08/16/2019             476.24
10353953    08/06/2019            445.07    20025435    08/09/2019     634.81   20027510    08/19/2019              28.91
10353954    08/06/2019          3,350.00    20025436    08/09/2019     663.53   20027511    08/16/2019             735.02
10353955    08/06/2019          5,310.16    20025437    08/12/2019     513.88   20027512    08/16/2019             424.90
10353956    08/05/2019          2,647.04    20025438    08/09/2019     422.95   20027513    08/19/2019             565.94
10353957    08/06/2019          3,183.96    20025439    08/12/2019     629.38   20027514    08/26/2019             414.20
10353958    08/16/2019          2,130.00    20025440    08/09/2019     400.30   20027515    08/16/2019             522.73
10353959    08/07/2019          6,790.80    20025441    08/14/2019     505.40   20027516    08/21/2019             413.07
10353960    08/07/2019          2,156.14    20025442    08/09/2019     231.27   20027517    08/28/2019             277.92
10353961    08/06/2019          5,780.60    20025443    08/12/2019     502.10   20027518    08/20/2019             417.39
10353962    08/05/2019          1,632.90    20025444    08/09/2019     577.78   20027519    08/19/2019             561.52
10353963    08/05/2019          4,050.00    20025445    08/14/2019     525.07   20027520    08/30/2019             380.29
10353964    08/06/2019          1,250.00    20025446    08/09/2019     665.68   20027521    08/19/2019             569.00
10353965    08/06/2019          7,092.34    20025447    08/09/2019     422.76   20027522    08/16/2019             418.47
10353966    08/05/2019         42,018.82    20025448    08/09/2019     485.46   20027523    08/16/2019              64.47
10353967    08/05/2019            971.50    20025449    08/16/2019     508.39   20027524    08/26/2019             243.98
10353968    08/05/2019            875.00    20025450    08/09/2019     520.37   20027525    08/30/2019             443.04
10353969    08/06/2019          4,690.76    20025451    08/19/2019     508.59   20027526    08/26/2019              83.34
10353970    08/08/2019             11.60    20025452    08/09/2019     284.68   20027527    08/26/2019              67.48
10353971    08/06/2019         13,603.06    20025453    08/12/2019     464.18   20027528    08/26/2019             114.27
10353973*   08/06/2019          5,368.40    20025454    08/09/2019     532.62   20027529    08/26/2019              28.08
10353974    08/02/2019        188,308.55    20025455    08/13/2019      61.19   20027530    08/26/2019             119.86
10353975    08/06/2019         15,000.00    20025456    08/13/2019     561.36   20027531    08/21/2019             152.01
10353976    08/12/2019         11,510.40    20025457    08/09/2019     431.42   20027532    08/20/2019             243.46
10353977    08/26/2019          7,060.00    20025458    08/09/2019     506.09   20027533    08/21/2019             130.12
10353978    08/15/2019          3,995.70    20025459    08/09/2019     493.79   20027534    08/29/2019             230.00
10353979    08/09/2019            600.00    20025460    08/09/2019     518.78   20027535    08/20/2019              96.00
10353980    08/06/2019         21,753.00    20025461    08/19/2019     509.90   20027536    08/19/2019             133.47
10353981    08/16/2019            210.00    20025462    08/09/2019     432.65   20027537    08/21/2019             110.06
10353982    08/09/2019          4,614.76    20025463    08/09/2019     567.97   20027538    08/21/2019             139.88
10353983    08/02/2019          3,383.64    20025464    08/13/2019     161.03   20027539    08/21/2019             118.61




                               Case 19-62584-pcm11Page:
                                                     Doc7 283         Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                    09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                  Treasury Information Reporting

10353984    08/06/2019         17,185.92    20025465   08/14/2019     347.91   20027540    08/20/2019             108.81
10353985    08/06/2019          7,177.58    20025466   08/09/2019     905.66   20027541    08/21/2019              65.00
10353986    08/13/2019             15.00    20025467   08/12/2019     365.03   20027542    08/21/2019             134.28
10353987    08/16/2019             15.00    20025468   08/12/2019     391.41   20027543    08/19/2019             108.53
10353988    08/08/2019          4,153.25    20025469   08/16/2019     505.39   20027544    08/19/2019             680.09
10353989    08/06/2019          3,797.72    20025470   08/09/2019     277.73   20027545    08/15/2019              81.55
10353990    08/06/2019          2,275.00    20025471   08/09/2019     498.84   20027546    08/26/2019              40.26
10353991    08/19/2019             20.00    20025472   08/09/2019     416.00   20027547    08/16/2019             105.04
10353992    08/19/2019             50.00    20025473   08/09/2019     996.36   20027548    08/19/2019             156.88
10353993    08/09/2019             15.00    20025474   08/13/2019     610.17   20027549    08/20/2019             125.50
10353994    08/09/2019             20.00    20025475   08/09/2019     644.21   20027550    08/16/2019             161.16
10353995    08/09/2019             20.00    20025476   08/09/2019     516.71   20027551    08/16/2019             116.16
10353996    08/15/2019          8,643.50    20025477   08/30/2019     561.35   20027552    08/16/2019             198.48
10353997    08/26/2019             25.00    20025478   08/12/2019     554.14   20027553    08/26/2019             152.14
10353998    08/08/2019          3,125.00    20025479   08/09/2019     855.13   20027555*   08/16/2019             874.58
10353999    08/22/2019             15.00    20025480   08/28/2019     532.75   20027556    08/29/2019             445.02
10354000    08/19/2019             10.00    20025481   08/14/2019     269.52   20027557    08/26/2019             504.86
10354001    08/09/2019             20.00    20025482   08/09/2019     370.02   20027558    08/27/2019             204.57
10354002    08/26/2019             25.00    20025483   08/14/2019     314.80   20027559    08/28/2019             221.82
10354003    08/13/2019             10.00    20025484   08/09/2019     367.70   20027561*   08/26/2019             455.38
10354004    08/19/2019             15.00    20025485   08/12/2019     545.33   20027562    08/26/2019             466.66
10354006*   08/09/2019             15.00    20025486   08/16/2019     885.16   20027563    08/26/2019             523.59
10354007    08/12/2019             10.00    20025487   08/12/2019     567.68   20027564    08/26/2019             534.10
10354008    08/30/2019             50.00    20025488   08/13/2019     590.96   20027565    08/27/2019             518.72
10354010*   08/06/2019          4,721.53    20025489   08/09/2019     476.53   20027566    08/26/2019             476.29
10354011    08/06/2019          1,914.44    20025490   08/09/2019     448.86   20027567    08/27/2019             588.67
10354012    08/06/2019            500.00    20025491   08/30/2019     516.26   20027568    08/30/2019             446.29
10354013    08/06/2019          2,598.00    20025492   08/09/2019     618.17   20027569    08/29/2019             547.75
10354014    08/07/2019          1,620.01    20025493   08/12/2019     310.77   20027570    08/28/2019             226.97
10354015    08/27/2019             20.00    20025494   08/09/2019     581.88   20027571    08/26/2019             507.29
10354017*   08/12/2019             25.00    20025495   08/09/2019     340.09   20027572    08/27/2019             679.66
10354018    08/27/2019             20.00    20025496   08/09/2019     400.74   20027573    08/26/2019             473.56
10354019    08/09/2019             20.00    20025497   08/09/2019     245.20   20027574    08/26/2019             354.34
10354020    08/29/2019             10.00    20025498   08/09/2019     457.37   20027576*   08/26/2019             781.70
10354021    08/07/2019            648.16    20025499   08/09/2019     600.92   20027577    08/26/2019             564.32
10354022    08/08/2019        425,056.94    20025500   08/12/2019     467.73   20027578    08/26/2019             229.31
10354023    08/07/2019            139.20    20025501   08/09/2019     582.29   20027579    08/28/2019             482.75
10354024    08/09/2019             15.08    20025502   08/09/2019     518.35   20027581*   08/26/2019             627.61
10354025    08/16/2019          2,428.66    20025503   08/09/2019     422.86   20027582    08/26/2019             739.73
10354026    08/12/2019          1,031.20    20025504   08/09/2019   1,035.06   20027584*   08/26/2019             295.47
10354027    08/07/2019          1,052.23    20025505   08/09/2019     798.03   20027585    08/26/2019             463.77
10354028    08/09/2019             23.49    20025506   08/16/2019     427.12   20027586    08/27/2019             450.30
10354029    08/13/2019          1,138.09    20025507   08/13/2019     489.44   20027587    08/27/2019             501.67
10354030    08/08/2019          3,571.68    20025508   08/09/2019     499.64   20027588    08/26/2019             714.45
10354031    08/08/2019            168.72    20025509   08/14/2019     614.25   20027589    08/30/2019             718.30
10354032    08/13/2019            472.21    20025510   08/16/2019     354.25   20027590    08/27/2019             376.78
10354033    08/07/2019            530.42    20025511   08/13/2019     214.42   20027591    08/26/2019             463.59
10354034    08/09/2019             74.82    20025512   08/09/2019     354.78   20027592    08/26/2019             428.06
10354035    08/12/2019          1,581.59    20025513   08/22/2019     397.16   20027593    08/26/2019             503.56
10354036    08/09/2019             45.82    20025514   08/22/2019     390.70   20027594    08/29/2019             429.14
10354037    08/09/2019            851.21    20025515   08/09/2019     208.64   20027596*   08/26/2019             512.22
10354038    08/12/2019          1,454.18    20025516   08/12/2019     582.55   20027597    08/26/2019             846.23
10354039    08/12/2019          1,537.57    20025517   08/12/2019     273.30   20027598    08/27/2019             480.78
10354040    08/13/2019            496.25    20025518   08/12/2019     397.41   20027599    08/26/2019             546.48
10354042*   08/12/2019        334,425.95    20025519   08/12/2019     397.69   20027600    08/26/2019             622.06
10354043    08/13/2019            900.00    20025520   08/09/2019     622.06   20027601    08/26/2019             528.26
10354044    08/21/2019          5,873.59    20025521   08/12/2019     513.04   20027602    08/26/2019             560.74
10354045    08/13/2019          1,419.27    20025522   08/09/2019     505.40   20027603    08/26/2019             436.40
10354046    08/12/2019            900.15    20025523   08/09/2019     494.83   20027604    08/26/2019             325.52
10354047    08/08/2019        174,987.38    20025524   08/09/2019     622.07   20027605    08/26/2019             913.52
10354048    08/12/2019            898.15    20025525   08/09/2019     654.96   20027606    08/27/2019             776.58
10354049    08/13/2019            712.33    20025526   08/09/2019     443.51   20027607    08/27/2019             588.67
10354051*   08/12/2019         40,057.29    20025527   08/09/2019     504.86   20027608    08/30/2019             571.60
10354052    08/09/2019          3,448.00    20025528   08/13/2019     567.47   20027609    08/26/2019             516.26
10354053    08/12/2019          7,675.99    20025529   08/14/2019     284.40   20027610    08/26/2019             248.39
10354054    08/12/2019             48.65    20025530   08/09/2019     799.92   20027612*   08/26/2019             627.60
10354055    08/09/2019          2,273.55    20025531   08/09/2019     583.15   20027613    08/26/2019             425.40
10354056    08/09/2019          1,240.31    20025532   08/13/2019     652.53   20027614    08/26/2019             441.44
10354057    08/12/2019         25,138.79    20025533   08/12/2019     545.33   20027615    08/26/2019             124.13
10354058    08/12/2019          8,176.90    20025534   08/09/2019     861.34   20027616    08/26/2019             375.24
10354059    08/09/2019            412.36    20025535   08/09/2019     233.00   20027617    08/28/2019             424.04
10354064*   08/12/2019         19,395.74    20025536   08/13/2019     416.09   20027618    08/27/2019             452.10
10354065    08/09/2019          5,231.92    20025537   08/14/2019     432.47   20027619    08/30/2019             805.66
10354066    08/12/2019            116.00    20025538   08/26/2019     498.94   20027620    08/30/2019             575.41
10354067    08/09/2019             66.19    20025539   08/09/2019     695.75   20027621    08/30/2019             611.70




                               Case 19-62584-pcm11Page:
                                                     Doc8 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

10354068    08/12/2019            735.78    20025540    08/16/2019   506.60   20027622    08/26/2019              449.31
10354069    08/09/2019          1,628.58    20025541    08/15/2019   689.76   20027623    08/26/2019              345.99
10354070    08/09/2019         19,754.45    20025542    08/09/2019   339.82   20027624    08/29/2019              521.08
10354071    08/09/2019            979.80    20025543    08/13/2019   471.46   20027625    08/26/2019              455.93
10354072    08/12/2019          2,887.05    20025544    08/12/2019   412.55   20027626    08/27/2019              684.29
10354073    08/12/2019          1,877.36    20025545    08/09/2019   642.06   20027627    08/27/2019              374.77
10354074    08/09/2019         11,816.87    20025546    08/22/2019   498.98   20027628    08/30/2019              478.37
10354075    08/12/2019            563.80    20025547    08/16/2019   584.54   20027629    08/26/2019              629.39
10354076    08/12/2019            853.00    20025548    08/09/2019   424.77   20027630    08/26/2019              254.36
10354077    08/13/2019         28,953.12    20025549    08/12/2019   509.90   20027631    08/26/2019              622.05
10354078    08/12/2019          3,270.72    20025550    08/09/2019   495.03   20027632    08/26/2019              325.92
10354079    08/12/2019          1,814.97    20025551    08/20/2019   393.50   20027633    08/26/2019              648.25
10354080    08/12/2019         22,337.11    20025552    08/12/2019   550.63   20027634    08/26/2019              536.80
10354081    08/12/2019          2,383.02    20025553    08/12/2019   349.23   20027635    08/28/2019              146.10
10354082    08/09/2019            680.64    20025554    08/13/2019   140.07   20027636    08/28/2019              525.07
10354083    08/12/2019            387.25    20025555    08/09/2019   472.72   20027637    08/26/2019              542.71
10354084    08/12/2019            133.95    20025556    08/09/2019   418.39   20027638    08/29/2019              483.12
10354085    08/12/2019            719.81    20025557    08/13/2019   183.02   20027639    08/28/2019              628.98
10354086    08/12/2019            778.60    20025558    08/08/2019   509.90   20027640    08/28/2019              520.37
10354087    08/09/2019            174.53    20025559    08/09/2019   680.45   20027641    08/27/2019              130.17
10354088    08/13/2019          1,000.00    20025560    08/12/2019   268.62   20027644*   08/27/2019              651.14
10354089    08/13/2019          9,551.59    20025561    08/13/2019   531.03   20027645    08/26/2019              532.61
10354090    08/13/2019            400.48    20025562    08/12/2019   428.69   20027646    08/26/2019               46.65
10354091    08/13/2019          6,943.00    20025563    08/09/2019   459.66   20027647    08/27/2019              353.48
10354092    08/12/2019         53,932.18    20025564    08/09/2019   485.35   20027648    08/30/2019              523.44
10354093    08/12/2019          9,826.04    20025565    08/09/2019   504.86   20027649    08/27/2019              526.86
10354094    08/12/2019            288.44    20025566    08/09/2019   542.78   20027650    08/27/2019              384.11
10354095    08/09/2019          1,932.50    20025567    08/09/2019   539.59   20027651    08/26/2019              521.07
10354096    08/12/2019             95.08    20025568    08/20/2019   538.69   20027653*   08/27/2019              457.26
10354097    08/13/2019          2,480.65    20025569    08/09/2019   731.65   20027654    08/26/2019              566.97
10354100*   08/12/2019         58,969.37    20025570    08/15/2019   508.23   20027655    08/26/2019              274.05
10354101    08/13/2019            873.88    20025571    08/09/2019   597.32   20027656    08/26/2019            1,002.24
10354102    08/16/2019          8,842.50    20025572    08/27/2019   437.79   20027657    08/29/2019              146.82
10354103    08/09/2019          3,156.00    20025573    08/09/2019   509.90   20027658    08/26/2019              338.73
10354104    08/16/2019          1,345.08    20025574    08/09/2019   503.57   20027659    08/26/2019              158.91
10354105    08/12/2019            100.50    20025575    08/14/2019   590.33   20027660    08/26/2019              508.54
10354106    08/12/2019         30,198.96    20025576    08/09/2019   555.94   20027661    08/26/2019              458.38
10354107    08/12/2019          1,261.35    20025577    08/14/2019   639.39   20027662    08/26/2019            1,286.71
10354108    08/12/2019            115.44    20025578    08/19/2019   306.68   20027663    08/27/2019              530.18
10354109    08/09/2019            319.60    20025579    08/13/2019   456.80   20027664    08/26/2019              272.05
10354110    08/12/2019         10,346.33    20025580    08/12/2019   458.06   20027666*   08/26/2019              523.59
10354111    08/12/2019            195.66    20025581    08/12/2019   520.82   20027667    08/28/2019              552.37
10354112    08/12/2019          4,261.66    20025582    08/12/2019   661.96   20027668    08/26/2019              553.30
10354113    08/09/2019         17,340.07    20025584*   08/20/2019   553.56   20027669    08/26/2019              997.95
10354114    08/14/2019         20,606.40    20025585    08/20/2019   622.07   20027670    08/28/2019              440.25
10354115    08/12/2019            226.50    20025586    08/12/2019   124.85   20027671    08/26/2019              305.70
10354116    08/12/2019         41,347.27    20025587    08/26/2019   498.11   20027672    08/26/2019              332.66
10354118*   08/09/2019         92,363.22    20025588    08/12/2019   444.07   20027673    08/27/2019              292.57
10354119    08/12/2019         10,629.63    20025589    08/09/2019   414.92   20027674    08/26/2019              545.33
10354120    08/09/2019            132.00    20025590    08/09/2019   277.77   20027675    08/30/2019            1,031.71
10354121    08/12/2019         50,149.03    20025591    08/09/2019   533.61   20027676    08/26/2019              397.75
10354122    08/12/2019            703.76    20025592    08/09/2019   670.24   20027678*   08/26/2019              489.76
10354123    08/12/2019          1,651.48    20025593    08/09/2019   528.83   20027680*   08/30/2019              436.24
10354124    08/14/2019         11,008.00    20025594    08/12/2019   521.07   20027682*   08/29/2019              425.40
10354125    08/12/2019          1,656.28    20025595    08/14/2019   683.73   20027683    08/26/2019              400.75
10354126    08/16/2019          1,237.12    20025596    08/09/2019   603.28   20027684    08/28/2019              113.05
10354127    08/12/2019          2,797.00    20025597    08/09/2019   496.59   20027685    08/26/2019              463.60
10354128    08/12/2019          1,645.35    20025598    08/09/2019   580.60   20027686    08/26/2019              549.18
10354129    08/09/2019         15,500.00    20025599    08/09/2019   556.40   20027687    08/30/2019              492.81
10354130    08/12/2019          3,858.15    20025600    08/16/2019   402.38   20027688    08/26/2019              478.13
10354131    08/13/2019             85.14    20025601    08/26/2019   497.86   20027689    08/26/2019              616.87
10354132    08/13/2019            122.94    20025602    08/09/2019   583.23   20027690    08/28/2019              555.75
10354133    08/12/2019            258.22    20025603    08/09/2019   505.39   20027691    08/26/2019            1,035.05
10354134    08/09/2019             12.87    20025604    08/09/2019   505.39   20027693*   08/27/2019               81.89
10354135    08/09/2019            994.41    20025605    08/14/2019   323.62   20027694    08/27/2019              979.93
10354136    08/13/2019             85.00    20025606    08/09/2019   845.95   20027695    08/30/2019              496.09
10354137    08/12/2019          6,855.36    20025607    08/12/2019   454.86   20027697*   08/27/2019              508.39
10354138    08/13/2019            316.53    20025608    08/26/2019   426.74   20027698    08/27/2019              501.68
10354139    08/12/2019            186.00    20025609    08/09/2019   471.01   20027699    08/28/2019              453.58
10354140    08/12/2019          4,576.56    20025610    08/09/2019   418.21   20027700    08/29/2019              434.34
10354141    08/13/2019          2,602.00    20025611    08/12/2019   348.91   20027701    08/26/2019              366.00
10354142    08/12/2019         13,640.00    20025612    08/27/2019   451.81   20027704*   08/26/2019              384.85
10354143    08/12/2019          5,446.87    20025613    08/09/2019   533.76   20027705    08/28/2019              582.55
10354144    08/12/2019          4,664.30    20025614    08/12/2019   520.30   20027707*   08/26/2019              458.99
10354145    08/29/2019          4,677.25    20025615    08/09/2019   504.83   20027708    08/26/2019              292.61




                               Case 19-62584-pcm11Page:
                                                     Doc9 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

10354146    08/13/2019         13,288.00    20025616    08/09/2019   743.90   20027709    08/28/2019              622.06
10354147    08/12/2019          1,785.00    20025617    08/09/2019   311.00   20027710    08/27/2019              479.46
10354148    08/16/2019            120.00    20025618    08/12/2019   780.72   20027711    08/26/2019              503.56
10354149    08/13/2019            312.49    20025619    08/09/2019   388.73   20027712    08/26/2019              583.32
10354150    08/12/2019            545.88    20025620    08/09/2019   475.28   20027713    08/27/2019              654.95
10354151    08/12/2019        234,849.20    20025621    08/09/2019   561.85   20027714    08/27/2019              512.83
10354152    08/12/2019          4,987.81    20025622    08/12/2019   491.78   20027715    08/27/2019              496.12
10354153    08/13/2019          4,725.00    20025623    08/12/2019   279.56   20027716    08/30/2019              379.02
10354154    08/12/2019        670,200.87    20025624    08/12/2019   486.38   20027717    08/26/2019               47.49
10354155    08/16/2019            450.00    20025625    08/27/2019   659.78   20027718    08/26/2019              839.20
10354156    08/12/2019          4,187.62    20025627*   08/12/2019   579.55   20027719    08/27/2019              520.73
10354157    08/09/2019          6,754.78    20025628    08/09/2019   774.41   20027720    08/26/2019              653.61
10354158    08/07/2019          2,300.00    20025629    08/09/2019   791.97   20027721    08/29/2019              508.38
10354159    08/12/2019          4,000.00    20025630    08/09/2019   400.57   20027722    08/26/2019               93.94
10354160    08/13/2019            657.85    20025631    08/12/2019   485.96   20027723    08/26/2019              476.28
10354161    08/09/2019          1,825.00    20025632    08/09/2019   561.44   20027725*   08/26/2019            1,062.14
10354162    08/13/2019             33.95    20025633    08/09/2019   523.37   20027727*   08/26/2019              427.56
10354163    08/27/2019            600.00    20025635*   08/09/2019   567.47   20027728    08/28/2019              351.56
10354164    08/12/2019            957.00    20025636    08/09/2019   538.44   20027730*   08/26/2019              695.76
10354165    08/12/2019            786.80    20025637    08/13/2019   462.40   20027731    08/29/2019              519.85
10354166    08/09/2019         22,615.00    20025638    08/12/2019   799.16   20027732    08/26/2019              689.75
10354167    08/12/2019          3,670.97    20025639    08/09/2019   208.32   20027733    08/26/2019              450.09
10354168    08/12/2019            130.00    20025640    08/12/2019   607.11   20027734    08/26/2019              494.16
10354169    08/12/2019        196,508.50    20025641    08/13/2019   254.68   20027735    08/30/2019              535.50
10354170    08/12/2019            390.00    20025642    08/27/2019   744.29   20027736    08/27/2019              409.46
10354171    08/15/2019            118.00    20025643    08/12/2019   450.27   20027738*   08/26/2019              418.70
10354173*   08/09/2019          2,287.50    20025644    08/09/2019   601.79   20027739    08/26/2019              495.71
10354174    08/09/2019          4,205.52    20025645    08/09/2019   334.13   20027740    08/26/2019              572.06
10354175    08/13/2019          1,188.46    20025646    08/09/2019   593.55   20027741    08/27/2019              557.81
10354176    08/09/2019          2,106.00    20025647    08/09/2019   586.23   20027742    08/28/2019              515.33
10354177    08/12/2019             31.00    20025648    08/09/2019   262.40   20027743    08/26/2019              238.76
10354179*   08/28/2019             15.00    20025649    08/09/2019   364.55   20027744    08/26/2019              476.21
10354180    08/09/2019            187.47    20025650    08/13/2019   403.81   20027745    08/26/2019              410.51
10354181    08/12/2019         16,686.39    20025651    08/13/2019   459.64   20027746    08/26/2019              235.32
10354182    08/15/2019          2,475.00    20025652    08/12/2019   691.25   20027747    08/27/2019              732.11
10354183    08/12/2019          2,927.00    20025653    08/09/2019   496.52   20027748    08/28/2019              359.42
10354184    08/21/2019             20.00    20025654    08/09/2019   509.61   20027749    08/30/2019              318.74
10354185    08/19/2019             10.00    20025655    08/09/2019   598.28   20027750    08/28/2019              351.18
10354186    08/16/2019             25.00    20025656    08/09/2019   409.69   20027751    08/26/2019              510.49
10354187    08/12/2019             20.00    20025657    08/12/2019   558.70   20027752    08/27/2019              496.13
10354188    08/27/2019            182.00    20025658    08/09/2019   416.01   20027753    08/26/2019              551.79
10354189    08/12/2019            890.10    20025659    08/09/2019   692.96   20027754    08/26/2019              507.65
10354190    08/09/2019         12,204.19    20025660    08/09/2019   386.12   20027755    08/28/2019              313.76
10354191    08/12/2019          5,265.00    20025661    08/09/2019   633.58   20027756    08/27/2019              731.64
10354192    08/09/2019        137,000.00    20025662    08/09/2019   516.24   20027757    08/26/2019              497.97
10354193    08/12/2019         12,000.00    20025663    08/09/2019   536.43   20027758    08/26/2019              536.80
10354194    08/26/2019             15.00    20025664    08/09/2019   600.82   20027759    08/27/2019              597.31
10354195    08/12/2019          1,334.98    20025665    08/09/2019   675.34   20027760    08/27/2019              534.09
10354196    08/12/2019          4,656.00    20025666    08/09/2019   691.26   20027761    08/26/2019              577.60
10354197    08/09/2019         11,320.20    20025667    08/12/2019   686.68   20027762    08/26/2019              503.56
10354198    08/26/2019             10.00    20025668    08/12/2019   529.53   20027763    08/26/2019              601.78
10354199    08/19/2019             50.00    20025669    08/14/2019    79.39   20027764    08/27/2019              525.38
10354200    08/16/2019             10.00    20025670    08/09/2019   346.92   20027765    08/30/2019              162.45
10354201    08/12/2019             50.00    20025671    08/09/2019   339.81   20027766    08/30/2019              929.76
10354202    08/12/2019         95,914.00    20025672    08/28/2019   513.87   20027767    08/30/2019              242.39
10354203    08/19/2019          1,194.21    20025673    08/22/2019   424.84   20027768    08/28/2019              103.04
10354204    08/14/2019             43.38    20025674    08/27/2019   541.65   20027769    08/26/2019              455.60
10354205    08/16/2019             27.84    20025675    08/12/2019   572.42   20027770    08/26/2019              520.83
10354206    08/21/2019            948.62    20025676    08/14/2019   449.79   20027771    08/26/2019              728.31
10354207    08/15/2019             37.50    20025677    08/09/2019   313.75   20027773*   08/30/2019              503.55
10354208    08/26/2019          4,601.51    20025678    08/13/2019   110.04   20027774    08/30/2019              622.06
10354209    08/19/2019            711.57    20025679    08/12/2019   241.97   20027775    08/28/2019              408.04
10354210    08/19/2019            763.58    20025680    08/16/2019   466.56   20027776    08/27/2019              435.77
10354211    08/14/2019          3,206.01    20025681    08/09/2019   434.47   20027777    08/27/2019              504.88
10354212    08/22/2019          1,708.60    20025682    08/09/2019   416.09   20027778    08/26/2019              309.64
10354213    08/15/2019             99.99    20025683    08/09/2019   496.12   20027779    08/26/2019              538.24
10354214    08/15/2019             40.00    20025684    08/09/2019   481.01   20027780    08/28/2019              142.13
10354215    08/16/2019          1,036.19    20025685    08/09/2019   505.40   20027781    08/26/2019              532.45
10354216    08/19/2019         10,500.00    20025686    08/09/2019   347.26   20027783*   08/28/2019              649.00
10354217    08/16/2019         40,303.00    20025687    08/27/2019   520.38   20027784    08/28/2019              635.89
10354218    08/19/2019         18,209.09    20025688    08/09/2019   427.65   20027785    08/26/2019              358.46
10354219    08/26/2019            596.25    20025689    08/13/2019   918.46   20027786    08/27/2019              506.58
10354220    08/20/2019            132.00    20025690    08/09/2019   385.81   20027787    08/26/2019              490.37
10354222*   08/16/2019         21,351.51    20025691    08/09/2019   150.94   20027788    08/26/2019              123.46
10354223    08/15/2019          8,098.46    20025692    08/12/2019    77.75   20027789    08/26/2019              556.40




                               Case 19-62584-pcm11Page:Doc
                                                        10 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

10354224    08/16/2019             30.00    20025693    08/16/2019     361.36   20027790    08/26/2019              518.87
10354225    08/22/2019          7,884.57    20025694    08/13/2019     247.27   20027791    08/26/2019              410.14
10354226    08/16/2019          3,521.75    20025695    08/09/2019     104.15   20027792    08/26/2019              310.98
10354227    08/19/2019            580.19    20025696    08/09/2019     517.65   20027793    08/27/2019              360.22
10354228    08/20/2019         13,395.00    20025697    08/12/2019     516.24   20027794    08/26/2019              338.73
10354230*   08/19/2019        416,459.80    20025698    08/14/2019     441.69   20027795    08/26/2019              753.81
10354231    08/20/2019             25.00    20025699    08/14/2019     499.09   20027796    08/26/2019              463.60
10354232    08/28/2019             49.83    20025700    08/13/2019     530.06   20027798*   08/26/2019              517.47
10354233    08/27/2019             15.00    20025701    08/09/2019     528.93   20027799    08/26/2019              108.74
10354234    08/16/2019             20.00    20025702    08/13/2019     416.90   20027800    08/26/2019              386.43
10354235    08/26/2019            542.62    20025703    08/12/2019     521.08   20027801    08/26/2019              549.56
10354236    08/19/2019          2,600.00    20025704    08/14/2019   1,233.61   20027802    08/26/2019              254.97
10354237    08/19/2019          1,445.39    20025705    08/09/2019     389.93   20027803    08/27/2019              520.36
10354238    08/19/2019         50,630.56    20025706    08/09/2019     519.04   20027804    08/27/2019              441.40
10354239    08/19/2019          1,062.00    20025707    08/09/2019     276.06   20027805    08/27/2019               38.88
10354240    08/28/2019             15.00    20025708    08/09/2019     446.26   20027806    08/26/2019              571.84
10354241    08/19/2019             25.00    20025709    08/09/2019     495.82   20027807    08/27/2019              414.12
10354242    08/19/2019             20.00    20025710    08/12/2019     476.78   20027808    08/26/2019              743.90
10354243    08/19/2019             50.00    20025711    08/09/2019     517.56   20027810*   08/26/2019              540.94
10354244    08/21/2019            758.00    20025712    08/09/2019     759.48   20027811    08/28/2019              534.73
10354245    08/19/2019            600.00    20025713    08/09/2019     445.31   20027812    08/27/2019              486.54
10354246    08/20/2019            175.00    20025714    08/09/2019     623.66   20027813    08/26/2019              491.79
10354247    08/21/2019            106.09    20025715    08/09/2019     606.67   20027814    08/26/2019              189.65
10354248    08/22/2019             40.00    20025716    08/09/2019     379.49   20027815    08/29/2019              486.38
10354249    08/19/2019          1,052.88    20025717    08/12/2019     308.87   20027816    08/27/2019              655.68
10354250    08/19/2019          2,313.59    20025719*   08/09/2019      75.15   20027818*   08/26/2019              579.55
10354251    08/20/2019          1,189.09    20025720    08/12/2019     293.30   20027819    08/28/2019              774.42
10354252    08/19/2019             30.00    20025721    08/16/2019     254.30   20027820    08/29/2019               86.05
10354253    08/26/2019            130.18    20025722    08/13/2019     219.89   20027821    08/26/2019              709.04
10354254    08/20/2019             41.76    20025723    08/19/2019     298.18   20027822    08/26/2019              412.09
10354255    08/19/2019            220.12    20025724    08/26/2019     434.88   20027823    08/26/2019              534.88
10354256    08/19/2019            256.37    20025725    08/09/2019     523.38   20027824    08/26/2019              567.48
10354257    08/19/2019         11,317.00    20025726    08/09/2019     348.85   20027825    08/27/2019              333.33
10354258    08/19/2019         30,232.17    20025727    08/09/2019     432.09   20027826    08/28/2019              357.23
10354259    08/20/2019            347.29    20025728    08/16/2019     323.77   20027827    08/30/2019            1,158.86
10354260    08/22/2019             49.53    20025729    08/12/2019     669.44   20027828    08/26/2019              277.39
10354261    08/20/2019             65.00    20025730    08/22/2019     327.01   20027829    08/30/2019              674.12
10354262    08/19/2019         24,033.78    20025731    08/09/2019     366.24   20027830    08/28/2019              433.60
10354263    08/20/2019            645.70    20025732    08/09/2019     330.26   20027831    08/26/2019              322.06
10354264    08/20/2019            678.22    20025733    08/09/2019     266.77   20027832    08/27/2019              258.03
10354265    08/19/2019         11,958.46    20025734    08/26/2019     323.53   20027833    08/28/2019              396.33
10354267*   08/21/2019          8,405.54    20025735    08/12/2019     382.26   20027834    08/26/2019              601.79
10354268    08/19/2019            161.84    20025736    08/12/2019     326.91   20027835    08/26/2019              428.32
10354269    08/19/2019         30,964.81    20025737    08/09/2019     675.55   20027836    08/26/2019              632.42
10354270    08/19/2019            675.00    20025738    08/08/2019     291.23   20027837    08/26/2019              443.25
10354271    08/19/2019          1,257.80    20025738*   08/30/2019     348.00   20027838    08/27/2019              456.20
10354272    08/19/2019            155.00    20025739    08/13/2019     441.21   20027839    08/26/2019              453.47
10354273    08/30/2019            420.00    20025740    08/12/2019     645.39   20027840    08/28/2019              476.28
10354274    08/19/2019             35.00    20025741    08/13/2019     367.50   20027841    08/26/2019              714.64
10354275    08/20/2019            175.00    20025742    08/12/2019     444.34   20027842    08/26/2019              496.53
10354276    08/19/2019          3,378.00    20025743    08/13/2019     349.07   20027843    08/26/2019              504.58
10354277    08/20/2019            918.62    20025744    08/12/2019     448.35   20027844    08/26/2019              598.28
10354278    08/21/2019         27,329.90    20025745    08/09/2019     379.62   20027845    08/26/2019              326.69
10354281*   08/19/2019         48,001.71    20025746    08/09/2019     268.08   20027846    08/27/2019              364.69
10354282    08/26/2019          9,825.00    20025747    08/09/2019     280.21   20027847    08/27/2019              415.99
10354283    08/20/2019            187.02    20025748    08/20/2019     536.69   20027848    08/26/2019              714.47
10354284    08/19/2019          2,102.76    20025750*   08/26/2019     442.86   20027849    08/26/2019              273.95
10354285    08/19/2019            397.08    20025751    08/13/2019     404.08   20027850    08/26/2019              653.72
10354286    08/19/2019          5,373.19    20025752    08/09/2019     520.82   20027851    08/26/2019              516.24
10354287    08/20/2019             33.59    20025753    08/09/2019     340.70   20027852    08/27/2019              142.37
10354288    08/20/2019             43.92    20025754    08/22/2019     588.65   20027853    08/27/2019              434.90
10354289    08/19/2019         24,090.10    20025755    08/09/2019     601.35   20027854    08/26/2019              600.82
10354290    08/21/2019            335.00    20025756    08/09/2019     194.78   20027855    08/26/2019              672.29
10354291    08/20/2019            318.15    20025757    08/29/2019     386.14   20027856    08/26/2019              736.33
10354293*   08/20/2019          5,381.13    20025758    08/22/2019     380.97   20027857    08/28/2019              686.69
10354294    08/19/2019          9,247.76    20025760*   08/12/2019     219.11   20027858    08/30/2019              405.47
10354295    08/19/2019         27,866.46    20025761    08/13/2019     407.56   20027861*   08/27/2019              538.24
10354298*   08/20/2019         79,617.55    20025762    08/26/2019     782.95   20027862    08/27/2019              572.42
10354299    08/19/2019          7,506.40    20025763    08/09/2019     563.84   20027863    08/28/2019              509.90
10354300    08/19/2019             90.00    20025764    08/09/2019     581.29   20027866*   08/26/2019              484.65
10354301    08/20/2019             25.00    20025765    08/16/2019     232.93   20027867    08/29/2019              428.39
10354302    08/19/2019         58,983.59    20025766    08/12/2019     230.86   20027868    08/26/2019              644.21
10354303    08/20/2019         16,305.08    20025768*   08/09/2019     312.59   20027869    08/26/2019              379.49
10354304    08/20/2019          1,288.98    20025769    08/28/2019     546.20   20027870    08/28/2019              504.86
10354305    08/20/2019          9,000.00    20025770    08/09/2019     403.02   20027871    08/27/2019              520.37




                               Case 19-62584-pcm11Page:Doc
                                                        11 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

10354306    08/19/2019             41.03    20025771    08/09/2019     695.98   20027872    08/27/2019             494.29
10354307    08/19/2019         15,477.00    20025772    08/09/2019     372.07   20027873    08/26/2019             572.06
10354308    08/19/2019         17,700.00    20025773    08/09/2019     112.61   20027874    08/27/2019             511.64
10354309    08/21/2019          1,245.55    20025774    08/13/2019     575.95   20027875    08/26/2019             622.09
10354310    08/21/2019             14.99    20025775    08/15/2019     350.36   20027876    08/26/2019             720.08
10354311    08/21/2019            110.16    20025776    08/20/2019     610.33   20027877    08/26/2019             196.96
10354312    08/19/2019            162.42    20025777    08/13/2019     303.30   20027878    08/26/2019             283.69
10354313    08/19/2019            183.14    20025778    08/09/2019     449.43   20027879    08/26/2019             262.63
10354314    08/21/2019          1,230.25    20025779    08/14/2019     519.87   20027880    08/26/2019             369.54
10354315    08/22/2019          6,250.00    20025780    08/22/2019     814.26   20027881    08/27/2019             521.06
10354316    08/19/2019         11,703.90    20025781    08/12/2019     540.29   20027882    08/26/2019              93.94
10354317    08/19/2019            509.63    20025782    08/09/2019     560.44   20027883    08/26/2019             516.25
10354318    08/27/2019            200.00    20025783    08/09/2019     247.50   20027884    08/26/2019             241.06
10354319    08/19/2019            397.50    20025784    08/12/2019     409.75   20027885    08/27/2019             517.89
10354320    08/19/2019        312,480.27    20025785    08/09/2019     540.06   20027887*   08/27/2019             520.55
10354321    08/20/2019         58,386.78    20025786    08/09/2019     563.45   20027888    08/26/2019             107.20
10354322    08/19/2019         90,844.00    20025787    08/09/2019     540.21   20027889    08/26/2019             528.93
10354323    08/19/2019        311,481.46    20025788    08/09/2019     574.14   20027890    08/29/2019             420.30
10354324    08/19/2019         71,724.11    20025789    08/14/2019     657.86   20027891    08/28/2019             521.07
10354330*   08/19/2019            320.09    20025790    08/09/2019     456.60   20027892    08/28/2019             954.29
10354331    08/22/2019            195.86    20025791    08/09/2019     646.25   20027893    08/26/2019             431.47
10354331*   08/30/2019            195.86    20025792    08/19/2019     253.12   20027894    08/27/2019             434.98
10354332    08/16/2019         20,000.00    20025794*   08/27/2019     405.27   20027895    08/26/2019             406.30
10354333    08/21/2019          1,002.00    20025795    08/09/2019     695.77   20027896    08/26/2019             426.74
10354334    08/26/2019          2,250.00    20025796    08/09/2019     695.76   20027897    08/26/2019             531.14
10354335    08/22/2019            250.00    20025797    08/09/2019     591.82   20027898    08/26/2019             839.21
10354336    08/21/2019            317.05    20025798    08/09/2019     562.18   20027899    08/26/2019             396.21
10354338*   08/21/2019            953.69    20025799    08/27/2019     609.40   20027900    08/26/2019             577.60
10354339    08/22/2019          9,057.80    20025800    08/16/2019     542.56   20027901    08/26/2019             627.60
10354340    08/22/2019          3,428.40    20025801    08/21/2019     278.61   20027902    08/26/2019             392.64
10354341    08/21/2019          5,276.93    20025802    08/09/2019     542.55   20027903    08/29/2019             401.84
10354342    08/21/2019         95,000.00    20025803    08/09/2019     589.82   20027907*   08/26/2019             311.40
10354343    08/21/2019          2,280.94    20025804    08/12/2019     346.70   20027908    08/26/2019             317.27
10354344    08/21/2019          3,761.23    20025805    08/27/2019     605.73   20027909    08/27/2019             473.71
20017197*   08/05/2019            261.48    20025806    08/12/2019     323.54   20027910    08/26/2019             544.53
20018318*   08/30/2019             75.06    20025807    08/13/2019     424.20   20027911    08/27/2019             351.82
20018597*   08/09/2019            449.98    20025808    08/09/2019      77.82   20027912    08/27/2019             591.49
20018707*   08/30/2019            211.96    20025809    08/22/2019     612.55   20027913    08/27/2019             526.91
20018963*   08/26/2019            214.95    20025810    08/13/2019     670.54   20027914    08/27/2019             521.07
20019195*   08/13/2019             74.15    20025811    08/12/2019     539.08   20027915    08/27/2019             504.65
20019198*   08/28/2019            380.02    20025812    08/12/2019     533.51   20027916    08/27/2019             669.44
20019210*   08/26/2019             62.96    20025813    08/26/2019     404.90   20027917    08/28/2019             341.18
20019234*   08/05/2019            252.31    20025814    08/12/2019     264.47   20027918    08/26/2019             382.45
20019385*   08/15/2019            368.01    20025815    08/09/2019     581.61   20027919    08/26/2019             428.40
20019405*   08/26/2019            238.00    20025816    08/26/2019     531.04   20027920    08/26/2019             314.97
20019562*   08/28/2019            445.12    20025817    08/09/2019     266.69   20027922*   08/29/2019             389.47
20019590*   08/22/2019            172.06    20025818    08/16/2019     264.47   20027923    08/30/2019             525.71
20019624*   08/09/2019            400.31    20025819    08/09/2019     521.09   20027924    08/26/2019             399.43
20019742*   08/15/2019            439.23    20025820    08/26/2019     601.45   20027926*   08/26/2019             822.93
20019755*   08/02/2019            482.64    20025821    08/09/2019     317.32   20027927    08/26/2019             533.77
20019787*   08/09/2019            480.17    20025822    08/14/2019     357.87   20027928    08/26/2019             463.96
20019884*   08/26/2019             75.06    20025823    08/12/2019     227.47   20027929    08/27/2019             538.25
20019952*   08/28/2019            264.73    20025824    08/26/2019     535.97   20027930    08/26/2019             505.39
20019956*   08/12/2019            627.77    20025825    08/19/2019     553.50   20027931    08/27/2019             536.63
20020118*   08/26/2019            336.60    20025827*   08/09/2019   1,006.42   20027932    08/26/2019             532.61
20020164*   08/09/2019            383.01    20025828    08/09/2019     305.81   20027933    08/26/2019             522.19
20020335*   08/22/2019            600.26    20025829    08/12/2019     536.97   20027934    08/26/2019             545.92
20020345*   08/27/2019            119.96    20025831*   08/09/2019     444.28   20027935    08/27/2019             474.58
20020361*   08/28/2019            568.58    20025832    08/22/2019     552.77   20027936    08/28/2019             474.59
20020379*   08/26/2019            598.14    20025833    08/27/2019     615.40   20027937    08/27/2019             478.39
20020392*   08/27/2019             51.85    20025834    08/09/2019     928.23   20027940*   08/26/2019             614.20
20020415*   08/22/2019            390.18    20025835    08/19/2019     810.81   20027941    08/27/2019             509.35
20020426*   08/26/2019            384.19    20025836    08/09/2019     644.20   20027942    08/28/2019             527.82
20020587*   08/26/2019            314.84    20025837    08/09/2019     559.75   20027943    08/26/2019             416.53
20020633*   08/09/2019            353.01    20025838    08/09/2019     695.26   20027944    08/28/2019             617.79
20020803*   08/22/2019            138.27    20025840*   08/09/2019     422.06   20027945    08/26/2019             715.21
20020829*   08/22/2019            630.26    20025841    08/12/2019     660.86   20027946    08/29/2019             622.07
20020830    08/22/2019             69.90    20025842    08/12/2019     562.39   20027947    08/26/2019             479.97
20020840*   08/27/2019            404.16    20025843    08/09/2019     515.76   20027948    08/28/2019             606.49
20020846*   08/05/2019            345.97    20025844    08/09/2019     242.42   20027949    08/27/2019             533.47
20020854*   08/13/2019            251.49    20025845    08/16/2019     570.29   20027951*   08/26/2019             791.69
20020861*   08/28/2019            606.60    20025846    08/16/2019     385.79   20027952    08/26/2019             430.78
20020881*   08/26/2019            592.04    20025848*   08/16/2019     357.76   20027953    08/26/2019             675.19
20020898*   08/27/2019            347.15    20025849    08/09/2019     483.47   20027954    08/26/2019             626.31
20020936*   08/13/2019            231.49    20025850    08/13/2019     758.44   20027955    08/27/2019             352.84




                               Case 19-62584-pcm11Page:Doc
                                                        12 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

20020941*   08/27/2019            398.00    20025851    08/13/2019     290.63   20027957*   08/27/2019             478.38
20020944*   08/26/2019            397.20    20025852    08/09/2019     446.36   20027958    08/28/2019             546.20
20021040*   08/07/2019            482.97    20025853    08/09/2019     404.09   20027959    08/26/2019             546.20
20021086*   08/30/2019            250.07    20025854    08/27/2019     314.84   20027960    08/27/2019             709.13
20021118*   08/26/2019            342.37    20025855    08/13/2019     490.58   20027961    08/26/2019             372.08
20021236*   08/28/2019            284.90    20025856    08/12/2019     362.36   20027962    08/27/2019             572.56
20021358*   08/22/2019            495.34    20025857    08/09/2019     579.68   20027963    08/30/2019             544.69
20021367*   08/13/2019            316.28    20025858    08/12/2019     276.43   20027964    08/28/2019             658.50
20021368    08/27/2019            360.44    20025859    08/09/2019     301.65   20027967*   08/30/2019             516.37
20021369    08/02/2019            357.05    20025860    08/12/2019     416.02   20027968    08/28/2019             816.24
20021374*   08/05/2019            298.03    20025861    08/09/2019     383.55   20027969    08/28/2019             550.26
20021375    08/05/2019            370.90    20025862    08/19/2019     587.40   20027970    08/27/2019             557.06
20021382*   08/13/2019            312.90    20025863    08/12/2019     247.50   20027971    08/26/2019             505.39
20021385*   08/19/2019            456.55    20025864    08/09/2019     533.51   20027972    08/27/2019             533.50
20021396*   08/19/2019            316.39    20025865    08/12/2019     318.11   20027973    08/27/2019             536.58
20021403*   08/05/2019            601.87    20025866    08/09/2019     521.12   20027974    08/26/2019             572.41
20021405*   08/26/2019            497.26    20025867    08/15/2019     254.29   20027975    08/28/2019             589.62
20021412*   08/05/2019            468.17    20025868    08/09/2019     277.85   20027976    08/27/2019             574.14
20021420*   08/27/2019            327.09    20025869    08/27/2019     360.15   20027977    08/28/2019             657.86
20021445*   08/22/2019            339.79    20025870    08/12/2019     549.32   20027978    08/28/2019             481.36
20021453*   08/13/2019            299.14    20025871    08/09/2019     481.21   20027979    08/28/2019             790.48
20021460*   08/26/2019            341.49    20025872    08/09/2019     421.99   20027980    08/29/2019             516.66
20021550*   08/06/2019            471.90    20025873    08/14/2019     445.95   20027983*   08/27/2019             866.87
20021615*   08/01/2019            301.02    20025874    08/13/2019     291.98   20027984    08/27/2019             866.86
20021621*   08/26/2019            347.51    20025875    08/09/2019     419.15   20027985    08/26/2019             257.64
20021630*   08/05/2019            380.42    20025876    08/09/2019     603.61   20027986    08/30/2019             620.43
20021634*   08/09/2019            500.07    20025877    08/09/2019     380.96   20027987    08/27/2019             309.60
20021637*   08/01/2019            441.32    20025878    08/09/2019     339.31   20027988    08/26/2019             609.40
20021666*   08/09/2019            457.33    20025879    08/19/2019     527.84   20027989    08/26/2019             562.01
20021669*   08/02/2019            533.00    20025880    08/12/2019     622.05   20027990    08/28/2019             342.74
20021730*   08/28/2019            166.31    20025881    08/26/2019     578.95   20027991    08/27/2019             516.35
20021800*   08/26/2019            153.03    20025882    08/12/2019     544.46   20027992    08/28/2019             720.42
20021841*   08/27/2019            352.46    20025883    08/09/2019     430.87   20027993    08/26/2019             178.89
20021842    08/02/2019            134.93    20025884    08/13/2019     226.46   20027994    08/27/2019             568.78
20021850*   08/06/2019            322.37    20025885    08/14/2019     531.03   20027995    08/27/2019             527.04
20021871*   08/06/2019            391.87    20025888*   08/09/2019     250.08   20027996    08/27/2019             526.93
20021904*   08/22/2019            536.81    20025889    08/12/2019     382.41   20027997    08/30/2019             609.41
20021912*   08/13/2019            411.34    20025890    08/16/2019     336.99   20027999*   08/26/2019             653.15
20021913    08/27/2019            429.97    20025891    08/15/2019     285.44   20028000    08/27/2019             376.40
20021914    08/02/2019            302.77    20025892    08/16/2019     331.60   20028001    08/26/2019             508.10
20021919*   08/05/2019            392.42    20025893    08/09/2019     561.35   20028002    08/28/2019             512.86
20021925*   08/13/2019            423.50    20025894    08/09/2019     521.06   20028003    08/29/2019             629.39
20021927*   08/13/2019            284.77    20025895    08/15/2019     285.44   20028004    08/27/2019             627.84
20021928    08/05/2019            309.07    20025896    08/09/2019     306.11   20028005    08/27/2019             212.70
20021930*   08/19/2019            715.02    20025897    08/12/2019     589.35   20028006    08/28/2019             512.86
20021941*   08/19/2019            373.74    20025898    08/19/2019     327.83   20028007    08/26/2019             455.25
20021947*   08/16/2019            632.04    20025899    08/12/2019     266.75   20028008    08/26/2019             375.85
20021949*   08/26/2019            543.75    20025900    08/09/2019     569.54   20028009    08/26/2019             599.39
20021956*   08/05/2019            298.16    20025901    08/09/2019     438.35   20028010    08/26/2019             527.51
20021962*   08/01/2019            412.42    20025902    08/09/2019     437.06   20028012*   08/30/2019             366.44
20021963    08/27/2019            202.86    20025903    08/13/2019   1,012.24   20028013    08/26/2019             487.47
20021986*   08/22/2019            386.94    20025904    08/09/2019     254.29   20028014    08/28/2019             369.39
20021995*   08/13/2019            271.82    20025905    08/16/2019     293.30   20028016*   08/27/2019             583.36
20022002*   08/26/2019            227.19    20025906    08/09/2019     729.99   20028017    08/26/2019             512.49
20022026*   08/02/2019            297.99    20025907    08/09/2019     547.42   20028019*   08/27/2019             273.98
20022052*   08/02/2019            339.63    20025908    08/09/2019     347.83   20028020    08/26/2019             600.92
20022081*   08/16/2019            359.13    20025909    08/28/2019     311.48   20028021    08/27/2019             590.38
20022089*   08/06/2019            442.35    20025910    08/12/2019     352.43   20028022    08/26/2019             547.00
20022093*   08/02/2019            290.38    20025911    08/12/2019     303.27   20028023    08/30/2019             662.50
20022094    08/02/2019            283.00    20025912    08/28/2019     523.02   20028024    08/27/2019             612.60
20022102*   08/20/2019            249.72    20025913    08/12/2019     536.58   20028025    08/26/2019             817.45
20022138*   08/01/2019            274.37    20025914    08/09/2019     428.69   20028027*   08/27/2019              45.62
20022152*   08/01/2019            357.05    20025915    08/13/2019     303.30   20028029*   08/28/2019             717.31
20022158*   08/26/2019            340.83    20025916    08/26/2019     705.13   20028031*   08/26/2019             163.19
20022167*   08/05/2019            435.76    20025917    08/26/2019     560.14   20028032    08/30/2019             150.95
20022174*   08/01/2019            349.75    20025918    08/09/2019     508.92   20028033    08/26/2019             587.49
20022178*   08/26/2019            219.05    20025919    08/21/2019     516.25   20028034    08/26/2019             622.06
20022203*   08/09/2019            405.25    20025920    08/09/2019     618.78   20028035    08/26/2019             419.01
20022206*   08/02/2019            386.11    20025921    08/09/2019     610.70   20028036    08/28/2019             680.34
20022215*   08/19/2019            345.69    20025922    08/26/2019     539.33   20028037    08/28/2019             510.01
20022218*   08/07/2019            321.57    20025923    08/12/2019     521.13   20028039*   08/30/2019             478.62
20022233*   08/01/2019          1,633.95    20025924    08/09/2019     993.47   20028040    08/26/2019             474.73
20022260*   08/16/2019             51.29    20025925    08/13/2019     667.56   20028041    08/26/2019             642.88
20022269*   08/07/2019            272.62    20025926    08/27/2019     597.67   20028042    08/26/2019             428.42
20022271*   08/02/2019             33.68    20025927    08/27/2019     610.80   20028043    08/26/2019             507.95




                               Case 19-62584-pcm11Page:Doc
                                                        13 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                  09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                Treasury Information Reporting

20022276*   08/07/2019            239.25    20025928   08/09/2019   489.19   20028044    08/27/2019              550.27
20022280*   08/15/2019            184.58    20025929   08/12/2019   327.54   20028045    08/26/2019              496.11
20022288*   08/27/2019            362.57    20025930   08/12/2019   691.63   20028046    08/27/2019              501.90
20022302*   08/07/2019            234.83    20025931   08/09/2019   428.70   20028047    08/28/2019              611.87
20022315*   08/06/2019            239.25    20025932   08/27/2019   597.67   20028048    08/26/2019              473.38
20022324*   08/05/2019            238.24    20025933   08/19/2019   550.30   20028049    08/28/2019              704.91
20022330*   08/05/2019            158.90    20025934   08/22/2019   336.53   20028050    08/27/2019              523.38
20022336*   08/05/2019             87.59    20025935   08/26/2019   571.76   20028051    08/27/2019              486.38
20022376*   08/14/2019            397.39    20025936   08/09/2019   376.97   20028052    08/26/2019              644.21
20022398*   08/02/2019            763.39    20025937   08/12/2019   337.73   20028053    08/26/2019              326.58
20022400*   08/27/2019             81.89    20025938   08/28/2019   323.77   20028054    08/26/2019              385.25
20022423*   08/02/2019             90.71    20025939   08/15/2019   560.90   20028055    08/27/2019              715.53
20022430*   08/02/2019            161.90    20025940   08/26/2019   661.58   20028056    08/28/2019              208.92
20022435*   08/26/2019            386.09    20025941   08/12/2019   323.29   20028057    08/30/2019              640.19
20022450*   08/01/2019             33.68    20025942   08/09/2019   598.05   20028058    08/28/2019              500.16
20022492*   08/07/2019            414.54    20025943   08/09/2019   728.48   20028059    08/27/2019              473.51
20022504*   08/19/2019            194.68    20025944   08/09/2019   648.59   20028060    08/26/2019              390.74
20022507*   08/27/2019            201.70    20025945   08/09/2019   795.35   20028061    08/27/2019              536.63
20022521*   08/02/2019            308.89    20025946   08/26/2019   380.96   20028062    08/27/2019              194.09
20022536*   08/06/2019            524.54    20025947   08/12/2019   309.26   20028063    08/30/2019              406.73
20022569*   08/07/2019            220.87    20025948   08/12/2019   644.20   20028064    08/27/2019              386.90
20022589*   08/16/2019             66.67    20025949   08/12/2019   386.49   20028065    08/27/2019              528.21
20022608*   08/01/2019             51.77    20025950   08/26/2019   575.12   20028067*   08/26/2019              579.16
20022609    08/28/2019            344.56    20025951   08/09/2019   424.78   20028068    08/26/2019              533.33
20022630*   08/26/2019             80.51    20025952   08/13/2019   321.67   20028070*   08/27/2019              448.89
20022647*   08/15/2019            342.73    20025953   08/27/2019   547.76   20028072*   08/28/2019              558.01
20022651*   08/22/2019            593.57    20025954   08/09/2019   601.48   20028073    08/28/2019              483.52
20022663*   08/27/2019            460.48    20025955   08/16/2019   212.02   20028074    08/30/2019              516.81
20022666*   08/27/2019            436.42    20025956   08/09/2019   266.77   20028075    08/29/2019              603.60
20022674*   08/05/2019            425.36    20025957   08/12/2019   463.09   20028076    08/26/2019              496.55
20022677*   08/26/2019             82.92    20025958   08/12/2019   391.82   20028077    08/27/2019              557.07
20022680*   08/14/2019            391.35    20025959   08/28/2019   287.15   20028078    08/27/2019              505.32
20022684*   08/27/2019            278.52    20025960   08/09/2019   562.70   20028080*   08/28/2019              510.60
20022686*   08/22/2019            470.01    20025961   08/12/2019   391.21   20028081    08/30/2019              693.74
20022687    08/05/2019            460.59    20025962   08/12/2019   491.51   20028082    08/27/2019              560.38
20022689*   08/19/2019            570.43    20025963   08/16/2019   131.50   20028083    08/26/2019              545.91
20022703*   08/27/2019            203.86    20025964   08/13/2019   342.46   20028084    08/28/2019              345.58
20022707*   08/19/2019            396.45    20025965   08/13/2019   339.31   20028085    08/29/2019              521.08
20022713*   08/26/2019            284.39    20025966   08/26/2019   602.75   20028087*   08/30/2019              535.73
20022714    08/26/2019            247.16    20025967   08/09/2019   523.39   20028088    08/27/2019              622.06
20022727*   08/28/2019             83.67    20025968   08/13/2019   279.12   20028089    08/26/2019              505.59
20022728    08/12/2019             75.83    20025969   08/14/2019   529.51   20028090    08/26/2019              514.46
20022729    08/26/2019            600.77    20025970   08/09/2019   840.44   20028091    08/27/2019              509.76
20022730    08/26/2019            194.34    20025971   08/09/2019   336.02   20028092    08/26/2019              518.03
20022734*   08/26/2019            184.35    20025972   08/09/2019   516.25   20028093    08/28/2019              427.01
20022735    08/02/2019            408.38    20025973   08/12/2019   391.83   20028094    08/28/2019              511.34
20022736    08/02/2019            749.13    20025974   08/13/2019   313.34   20028095    08/28/2019              521.07
20022738*   08/27/2019             68.34    20025975   08/16/2019   344.46   20028096    08/27/2019              503.75
20022739    08/05/2019            533.51    20025976   08/27/2019   632.43   20028097    08/27/2019              483.01
20022743*   08/13/2019            466.89    20025977   08/12/2019   621.41   20028098    08/26/2019              613.62
20022744    08/12/2019            154.10    20025978   08/19/2019   627.23   20028099    08/26/2019              512.64
20022748*   08/28/2019             73.21    20025979   08/12/2019   718.53   20028101*   08/26/2019              307.46
20022754*   08/01/2019            448.35    20025980   08/27/2019   629.84   20028102    08/26/2019              566.15
20022756*   08/27/2019            311.28    20025981   08/09/2019   629.84   20028103    08/26/2019              532.62
20022766*   08/27/2019            312.45    20025982   08/19/2019   504.08   20028104    08/26/2019              533.35
20022769*   08/16/2019             57.97    20025983   08/09/2019   356.17   20028105    08/27/2019            1,019.13
20022797*   08/09/2019             81.67    20025984   08/09/2019   690.28   20028106    08/27/2019              429.94
20022802*   08/22/2019            414.55    20025985   08/16/2019   293.28   20028107    08/30/2019              430.79
20022817*   08/26/2019            417.02    20025986   08/13/2019   640.17   20028108    08/27/2019              729.99
20022820*   08/05/2019             56.07    20025987   08/16/2019   366.35   20028109    08/27/2019              460.42
20022828*   08/27/2019            379.58    20025988   08/12/2019   611.61   20028111*   08/26/2019              224.31
20022830*   08/26/2019             75.90    20025989   08/16/2019   366.36   20028112    08/28/2019              530.54
20022833*   08/26/2019            389.51    20025990   08/09/2019   364.55   20028114*   08/30/2019              523.37
20022834    08/02/2019            413.61    20025991   08/12/2019   426.74   20028115    08/26/2019              539.05
20022842*   08/02/2019            331.40    20025992   08/09/2019   439.42   20028116    08/26/2019              527.43
20022855*   08/30/2019            384.60    20025993   08/16/2019   558.26   20028117    08/26/2019              418.29
20022858*   08/16/2019            333.17    20025994   08/09/2019   348.32   20028118    08/27/2019              549.32
20022873*   08/05/2019            124.87    20025995   08/09/2019   412.80   20028119    08/29/2019              453.45
20022877*   08/02/2019            207.32    20025996   08/09/2019   428.68   20028120    08/26/2019              166.46
20022881*   08/09/2019            146.25    20025997   08/09/2019   254.29   20028121    08/26/2019              166.45
20022884*   08/30/2019             75.83    20025998   08/09/2019   563.92   20028122    08/27/2019              879.21
20022887*   08/12/2019            436.77    20025999   08/09/2019   217.38   20028123    08/26/2019              687.78
20022892*   08/07/2019            166.09    20026000   08/09/2019   558.15   20028124    08/27/2019              629.37
20022894*   08/06/2019             45.99    20026001   08/09/2019   562.71   20028125    08/30/2019              516.25
20022911*   08/09/2019            334.36    20026002   08/12/2019   297.29   20028126    08/26/2019              670.26




                               Case 19-62584-pcm11Page:Doc
                                                        14 283      Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20022924*   08/02/2019            310.17    20026003    08/13/2019   244.82   20028127    08/27/2019              647.48
20022953*   08/16/2019            190.01    20026004    08/09/2019   266.76   20028128    08/30/2019              649.81
20022961*   08/06/2019            409.83    20026005    08/12/2019   192.29   20028129    08/27/2019              536.63
20022962    08/01/2019            436.73    20026006    08/12/2019   230.81   20028130    08/28/2019            1,000.51
20022965*   08/02/2019            181.15    20026007    08/12/2019   228.11   20028132*   08/27/2019              567.47
20022966    08/02/2019            322.28    20026008    08/09/2019   244.82   20028133    08/27/2019              715.20
20022973*   08/20/2019            219.74    20026009    08/09/2019   292.91   20028134    08/30/2019              622.04
20022996*   08/05/2019            310.17    20026010    08/09/2019   454.63   20028135    08/28/2019              422.48
20022997    08/06/2019            442.72    20026011    08/26/2019   423.81   20028136    08/27/2019              692.63
20023000*   08/29/2019            353.64    20026012    08/19/2019   439.47   20028137    08/27/2019              512.34
20023021*   08/01/2019            271.59    20026013    08/09/2019   316.27   20028138    08/27/2019              601.45
20023022    08/09/2019            310.17    20026014    08/12/2019   360.16   20028139    08/30/2019              564.82
20023027*   08/26/2019            319.18    20026015    08/09/2019   959.41   20028140    08/27/2019              532.75
20023033*   08/02/2019            340.01    20026016    08/19/2019   287.15   20028141    08/26/2019              577.51
20023036*   08/05/2019            353.64    20026017    08/09/2019   799.82   20028142    08/26/2019              571.83
20023040*   08/26/2019            319.80    20026018    08/12/2019   345.61   20028143    08/30/2019              536.78
20023043*   08/01/2019            319.66    20026019    08/19/2019   287.14   20028144    08/28/2019              513.63
20023071*   08/09/2019            358.14    20026020    08/12/2019   336.99   20028145    08/28/2019              352.17
20023074*   08/05/2019            354.05    20026021    08/09/2019   533.51   20028146    08/26/2019              669.44
20023082*   08/19/2019            219.54    20026022    08/08/2019   311.13   20028147    08/26/2019              579.60
20023090*   08/02/2019            339.95    20026023    08/09/2019   474.35   20028149*   08/28/2019              890.74
20023107*   08/05/2019            230.00    20026024    08/09/2019   630.76   20028150    08/30/2019              800.18
20023130*   08/01/2019          1,633.86    20026025    08/12/2019   369.06   20028151    08/26/2019              587.06
20023136*   08/12/2019            292.84    20026026    08/09/2019   236.59   20028152    08/27/2019              594.20
20023140*   08/08/2019            503.56    20026027    08/15/2019   672.18   20028153    08/27/2019              644.19
20023141    08/05/2019            361.55    20026028    08/12/2019   245.03   20028154    08/26/2019              577.51
20023143*   08/28/2019             28.76    20026029    08/26/2019   507.99   20028155    08/30/2019              521.56
20023146*   08/05/2019            429.23    20026030    08/19/2019   116.66   20028156    08/27/2019              544.36
20023148*   08/07/2019            488.50    20026031    08/09/2019   437.44   20028157    08/28/2019              613.73
20023151*   08/16/2019             77.75    20026032    08/22/2019   575.58   20028158    08/27/2019               73.16
20023152    08/15/2019            344.99    20026034*   08/09/2019   628.09   20028159    08/27/2019               75.16
20023159*   08/28/2019            381.27    20026035    08/19/2019   291.28   20028160    08/28/2019              446.55
20023169*   08/01/2019             86.82    20026036    08/09/2019   561.35   20028161    08/28/2019              360.21
20023175*   08/07/2019            520.63    20026037    08/08/2019   280.18   20028162    08/26/2019              463.09
20023177*   08/13/2019            691.26    20026038    08/16/2019   488.62   20028163    08/28/2019              297.41
20023181*   08/26/2019            154.83    20026039    08/09/2019   597.42   20028164    08/30/2019              676.25
20023184*   08/05/2019            512.60    20026040    08/09/2019   320.78   20028165    08/28/2019              495.40
20023189*   08/12/2019            488.50    20026041    08/22/2019   587.43   20028166    08/26/2019              650.88
20023190    08/26/2019            468.89    20026042    08/12/2019   498.41   20028168*   08/26/2019              513.33
20023201*   08/05/2019            460.44    20026043    08/09/2019   314.77   20028169    08/26/2019              500.81
20023202    08/02/2019            712.93    20026044    08/26/2019   349.07   20028170    08/26/2019              466.80
20023204*   08/02/2019            505.40    20026045    08/09/2019   340.10   20028172*   08/27/2019              644.20
20023209*   08/07/2019            530.77    20026046    08/09/2019   194.78   20028174*   08/26/2019              496.55
20023210    08/01/2019            482.77    20026047    08/09/2019   284.48   20028175    08/27/2019              907.79
20023226*   08/19/2019            437.38    20026048    08/09/2019   190.28   20028176    08/26/2019              500.16
20023232*   08/02/2019            421.67    20026049    08/09/2019   293.30   20028177    08/26/2019              424.77
20023238*   08/01/2019            567.97    20026050    08/09/2019   483.47   20028178    08/30/2019              527.04
20023243*   08/02/2019            408.07    20026051    08/12/2019   294.77   20028179    08/27/2019              619.47
20023247*   08/02/2019            264.81    20026052    08/20/2019   441.14   20028180    08/26/2019              710.94
20023254*   08/02/2019            466.41    20026053    08/09/2019   452.50   20028182*   08/27/2019              720.42
20023257*   08/05/2019            532.74    20026054    08/09/2019   431.87   20028183    08/27/2019              627.23
20023260*   08/12/2019            351.48    20026055    08/09/2019   477.23   20028184    08/27/2019              627.25
20023263*   08/02/2019            907.86    20026056    08/09/2019   234.71   20028186*   08/27/2019              527.43
20023264    08/01/2019            260.38    20026057    08/09/2019   574.46   20028187    08/26/2019              539.14
20023270*   08/02/2019            622.05    20026058    08/09/2019   644.19   20028188    08/26/2019              795.75
20023277*   08/08/2019             51.29    20026059    08/12/2019    72.45   20028189    08/29/2019              335.85
20023282*   08/02/2019            790.98    20026060    08/12/2019   162.11   20028190    08/27/2019              523.38
20023283    08/02/2019            409.29    20026061    08/09/2019   276.43   20028191    08/26/2019              430.78
20023284    08/27/2019            262.39    20026062    08/09/2019   521.01   20028192    08/29/2019              541.60
20023285    08/05/2019            432.72    20026063    08/16/2019   803.23   20028196*   08/28/2019              601.41
20023299*   08/02/2019            622.05    20026064    08/09/2019   369.18   20028197    08/29/2019              541.59
20023308*   08/02/2019            567.48    20026065    08/09/2019   289.86   20028198    08/26/2019              470.84
20023317*   08/07/2019             65.93    20026066    08/09/2019   248.38   20028199    08/26/2019              533.51
20023319*   08/26/2019            448.11    20026067    08/09/2019   322.05   20028200    08/30/2019              576.84
20023322*   08/02/2019            520.96    20026068    08/21/2019   629.83   20028201    08/26/2019              148.87
20023329*   08/22/2019            435.92    20026069    08/19/2019   640.20   20028203*   08/26/2019              412.80
20023330    08/05/2019            358.74    20026070    08/09/2019   622.05   20028204    08/27/2019              284.04
20023331    08/20/2019            326.93    20026071    08/09/2019   642.79   20028205    08/30/2019              337.53
20023348*   08/09/2019            266.77    20026072    08/16/2019   420.01   20028206    08/27/2019              518.42
20023357*   08/16/2019            530.69    20026073    08/26/2019   435.18   20028207    08/28/2019              469.36
20023364*   08/02/2019            705.98    20026074    08/09/2019   156.59   20028208    08/26/2019              665.43
20023380*   08/02/2019            503.62    20026075    08/09/2019   818.94   20028209    08/27/2019              351.58
20023383*   08/05/2019            477.42    20026076    08/30/2019   324.36   20028210    08/28/2019              452.51
20023387*   08/02/2019            521.89    20026077    08/26/2019   550.26   20028211    08/30/2019              230.31
20023395*   08/26/2019            423.22    20026078    08/09/2019   327.82   20028212    08/28/2019              323.66




                               Case 19-62584-pcm11Page:Doc
                                                        15 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20023399*   08/05/2019            314.69    20026079    08/09/2019   603.33   20028213    08/26/2019             254.29
20023400    08/27/2019            404.49    20026080    08/09/2019   297.91   20028214    08/27/2019             439.42
20023415*   08/02/2019            503.56    20026081    08/13/2019   319.55   20028215    08/27/2019             399.84
20023431*   08/06/2019            744.29    20026082    08/12/2019   378.22   20028216    08/27/2019             380.04
20023443*   08/29/2019            220.91    20026083    08/12/2019   451.34   20028217    08/26/2019             558.08
20023468*   08/07/2019            516.24    20026084    08/13/2019    75.89   20028218    08/28/2019             531.15
20023469    08/06/2019            408.33    20026085    08/21/2019   418.30   20028220*   08/26/2019             519.46
20023483*   08/02/2019            434.77    20026086    08/27/2019   412.48   20028221    08/27/2019             561.36
20023492*   08/02/2019            486.55    20026087    08/12/2019   300.60   20028222    08/26/2019             966.75
20023495*   08/01/2019            280.67    20026088    08/26/2019   300.59   20028224*   08/27/2019             985.35
20023512*   08/01/2019             38.99    20026089    08/12/2019    83.88   20028225    08/30/2019             547.86
20023515*   08/16/2019            331.70    20026090    08/19/2019   344.37   20028226    08/26/2019             499.44
20023517*   08/05/2019            405.35    20026091    08/27/2019   222.87   20028228*   08/27/2019             505.72
20023520*   08/06/2019            401.42    20026092    08/09/2019   936.21   20028229    08/27/2019             524.78
20023527*   08/02/2019            412.54    20026093    08/26/2019   448.34   20028230    08/26/2019             627.59
20023532*   08/05/2019            447.51    20026094    08/26/2019   571.90   20028231    08/28/2019             547.88
20023536*   08/09/2019            274.71    20026095    08/27/2019   237.95   20028232    08/26/2019             564.78
20023544*   08/05/2019            459.29    20026096    08/16/2019   268.43   20028233    08/28/2019             630.75
20023551*   08/12/2019            382.13    20026097    08/16/2019   593.95   20028234    08/26/2019             522.23
20023554*   08/02/2019            459.84    20026098    08/09/2019   785.21   20028235    08/26/2019             445.37
20023555    08/02/2019            449.49    20026099    08/21/2019   152.66   20028236    08/30/2019             716.82
20023560*   08/09/2019            673.42    20026100    08/20/2019    68.30   20028238*   08/26/2019             505.39
20023562*   08/05/2019            320.43    20026101    08/09/2019   336.76   20028239    08/27/2019             544.69
20023565*   08/08/2019            238.76    20026102    08/09/2019   304.49   20028240    08/30/2019             572.42
20023572*   08/22/2019            545.23    20026103    08/09/2019   292.91   20028242*   08/26/2019             523.40
20023573    08/15/2019            499.38    20026104    08/09/2019   533.50   20028243    08/30/2019             477.66
20023575*   08/05/2019            393.50    20026105    08/09/2019   222.64   20028244    08/27/2019             552.37
20023577*   08/02/2019            415.28    20026106    08/19/2019   359.98   20028245    08/28/2019             418.08
20023578    08/22/2019            791.56    20026107    08/15/2019   579.00   20028246    08/26/2019              75.82
20023594*   08/13/2019            476.17    20026108    08/09/2019   194.66   20028247    08/28/2019             601.86
20023595    08/27/2019            599.39    20026109    08/09/2019   244.82   20028248    08/26/2019             623.61
20023602*   08/27/2019            552.37    20026110    08/19/2019   615.60   20028249    08/28/2019             513.62
20023604*   08/02/2019            436.48    20026111    08/16/2019   378.37   20028250    08/26/2019             445.37
20023606*   08/02/2019            565.44    20026112    08/09/2019   607.55   20028251    08/28/2019             360.68
20023607    08/06/2019            660.76    20026113    08/13/2019   469.27   20028252    08/30/2019             489.35
20023610*   08/26/2019            467.55    20026114    08/09/2019   583.37   20028253    08/29/2019             603.55
20023611    08/01/2019            231.38    20026115    08/09/2019   394.86   20028255*   08/27/2019             499.22
20023612    08/05/2019            604.83    20026116    08/13/2019   337.76   20028257*   08/29/2019             514.84
20023618*   08/26/2019            571.45    20026117    08/26/2019   438.36   20028258    08/27/2019              75.83
20023621*   08/14/2019            535.97    20026118    08/16/2019   441.50   20028259    08/26/2019             379.80
20023627*   08/27/2019            496.70    20026119    08/16/2019   536.56   20028260    08/26/2019              96.07
20023629*   08/22/2019            659.72    20026120    08/09/2019   244.82   20028261    08/27/2019             430.79
20023630    08/05/2019            602.65    20026121    08/22/2019   555.03   20028263*   08/27/2019             153.44
20023631    08/06/2019            817.45    20026122    08/09/2019   604.56   20028264    08/27/2019             492.52
20023632    08/19/2019            795.17    20026123    08/27/2019   303.85   20028265    08/26/2019             317.30
20023641*   08/05/2019            663.75    20026124    08/13/2019   411.73   20028267*   08/26/2019             556.99
20023651*   08/27/2019            464.95    20026125    08/30/2019   637.86   20028268    08/26/2019             545.91
20023654*   08/09/2019            704.90    20026126    08/09/2019   301.05   20028269    08/26/2019             580.60
20023657*   08/19/2019            732.32    20026127    08/09/2019   386.96   20028270    08/27/2019             426.04
20023662*   08/27/2019            402.90    20026128    08/12/2019   542.57   20028271    08/27/2019             498.83
20023673*   08/26/2019            318.33    20026129    08/16/2019   451.73   20028272    08/26/2019             590.38
20023675*   08/05/2019            530.71    20026130    08/09/2019   468.52   20028274*   08/26/2019             394.78
20023676    08/12/2019            551.39    20026131    08/12/2019   616.82   20028275    08/30/2019             120.82
20023678*   08/01/2019            236.94    20026132    08/13/2019   487.88   20028276    08/26/2019              89.60
20023679    08/14/2019            378.74    20026133    08/09/2019   217.24   20028277    08/29/2019             538.66
20023682*   08/02/2019            379.74    20026134    08/13/2019   147.01   20028278    08/27/2019             423.13
20023684*   08/02/2019            395.46    20026135    08/09/2019   293.30   20028279    08/26/2019             517.95
20023701*   08/28/2019            409.11    20026136    08/09/2019   556.41   20028280    08/27/2019             807.85
20023702    08/12/2019            443.82    20026137    08/13/2019   278.17   20028281    08/30/2019             541.39
20023704*   08/09/2019            272.61    20026138    08/09/2019   275.10   20028282    08/28/2019             240.25
20023706*   08/02/2019             89.91    20026139    08/14/2019   292.53   20028283    08/30/2019             415.45
20023707    08/26/2019            755.69    20026140    08/12/2019   616.81   20028284    08/26/2019             473.38
20023708    08/26/2019            655.93    20026141    08/15/2019    75.83   20028286*   08/26/2019             505.40
20023713*   08/26/2019            617.03    20026142    08/12/2019   303.30   20028287    08/26/2019             622.06
20023715*   08/27/2019            527.90    20026143    08/09/2019   349.07   20028288    08/26/2019             627.24
20023716    08/02/2019            974.16    20026144    08/27/2019   540.29   20028289    08/29/2019             477.43
20023717    08/26/2019            677.65    20026145    08/09/2019   550.27   20028290    08/30/2019             532.61
20023718    08/12/2019            571.45    20026146    08/20/2019   264.47   20028291    08/27/2019             542.07
20023719    08/22/2019             88.20    20026147    08/09/2019   566.50   20028292    08/26/2019             877.20
20023721*   08/02/2019            362.72    20026149*   08/09/2019   332.75   20028293    08/30/2019             511.85
20023722    08/01/2019            668.91    20026150    08/09/2019   529.86   20028295*   08/26/2019             501.90
20023724*   08/27/2019            592.48    20026151    08/19/2019   627.60   20028296    08/26/2019             623.61
20023725    08/12/2019            414.28    20026152    08/19/2019   627.60   20028297    08/26/2019             613.33
20023728*   08/05/2019            425.81    20026153    08/12/2019   340.99   20028299*   08/27/2019             387.81
20023730*   08/28/2019            398.04    20026154    08/13/2019   353.54   20028300    08/26/2019             446.76




                               Case 19-62584-pcm11Page:Doc
                                                        16 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

20023731    08/01/2019            392.19    20026155    08/09/2019     280.07   20028301    08/30/2019             352.97
20023732    08/14/2019            402.65    20026156    08/12/2019     325.30   20028302    08/27/2019             504.87
20023742*   08/15/2019            577.51    20026157    08/19/2019     310.87   20028303    08/27/2019             486.40
20023746*   08/27/2019            532.89    20026158    08/09/2019     598.06   20028304    08/27/2019             339.86
20023749*   08/05/2019            344.40    20026159    08/12/2019     627.60   20028305    08/28/2019             463.97
20023752*   08/02/2019            368.72    20026160    08/12/2019     334.01   20028306    08/26/2019             500.56
20023759*   08/26/2019            416.65    20026161    08/16/2019     644.19   20028307    08/27/2019             536.63
20023767*   08/13/2019            260.11    20026162    08/09/2019     651.59   20028308    08/26/2019             943.45
20023768    08/02/2019            500.54    20026163    08/27/2019     314.84   20028309    08/26/2019             545.91
20023771*   08/19/2019            241.02    20026164    08/09/2019     428.48   20028310    08/27/2019             568.51
20023773*   08/07/2019            331.72    20026165    08/16/2019     368.76   20028311    08/27/2019             568.82
20023775*   08/02/2019            493.54    20026166    08/16/2019     264.10   20028312    08/30/2019             610.12
20023781*   08/16/2019            397.74    20026167    08/12/2019     490.43   20028313    08/30/2019             655.57
20023796*   08/01/2019             59.05    20026168    08/12/2019     421.99   20028314    08/27/2019             498.79
20023807*   08/26/2019            410.76    20026169    08/09/2019     335.67   20028315    08/26/2019             521.98
20023808    08/05/2019            451.33    20026170    08/12/2019     342.14   20028316    08/28/2019             499.08
20023814*   08/12/2019            384.38    20026171    08/09/2019     249.63   20028317    08/26/2019             399.84
20023816*   08/05/2019            232.70    20026172    08/09/2019     422.46   20028318    08/28/2019             567.85
20023823*   08/06/2019            241.02    20026173    08/09/2019     462.14   20028319    08/27/2019             536.58
20023824    08/26/2019            413.98    20026174    08/09/2019     279.48   20028322*   08/27/2019             394.03
20023825    08/26/2019            367.35    20026175    08/09/2019     337.63   20028323    08/28/2019             282.04
20023826    08/05/2019            323.72    20026176    08/09/2019   1,086.74   20028324    08/26/2019             205.59
20023827    08/27/2019            452.84    20026177    08/13/2019     475.91   20028325    08/26/2019             127.82
20023831*   08/09/2019            394.15    20026178    08/09/2019     272.76   20028326    08/26/2019             294.35
20023837*   08/22/2019            487.43    20026179    08/09/2019     213.48   20028327    08/27/2019             749.03
20023840*   08/09/2019            391.81    20026180    08/16/2019     479.09   20028329*   08/26/2019             474.29
20023846*   08/13/2019            401.22    20026181    08/09/2019      83.66   20028330    08/28/2019             613.67
20023847    08/20/2019            452.85    20026182    08/09/2019     302.72   20028331    08/30/2019             424.81
20023855*   08/02/2019            505.92    20026183    08/12/2019     546.51   20028332    08/27/2019             590.25
20023858*   08/08/2019            674.82    20026184    08/12/2019     488.52   20028333    08/27/2019             535.28
20023864*   08/02/2019             86.82    20026185    08/20/2019     343.31   20028334    08/26/2019             212.92
20023868*   08/26/2019            520.63    20026186    08/09/2019     464.12   20028335    08/27/2019             501.93
20023878*   08/02/2019            394.70    20026187    08/09/2019     303.28   20028336    08/26/2019             532.61
20023879    08/01/2019            446.76    20026189*   08/12/2019     273.03   20028337    08/27/2019             532.63
20023881*   08/27/2019            492.21    20026190    08/13/2019     300.59   20028338    08/27/2019             536.57
20023883*   08/26/2019            383.72    20026191    08/12/2019     287.90   20028339    08/26/2019             500.17
20023885*   08/05/2019            395.24    20026192    08/09/2019     244.82   20028340    08/26/2019             516.84
20023887*   08/26/2019            504.24    20026193    08/14/2019      72.46   20028341    08/30/2019             668.37
20023888    08/26/2019            460.38    20026194    08/26/2019   1,381.64   20028342    08/27/2019             616.68
20023896*   08/05/2019            127.49    20026195    08/13/2019     365.62   20028343    08/27/2019             492.16
20023897    08/19/2019            410.73    20026196    08/09/2019     316.61   20028344    08/28/2019             516.73
20023898    08/15/2019            678.51    20026197    08/09/2019     574.45   20028345    08/30/2019             631.56
20023902*   08/02/2019            698.97    20026198    08/16/2019     303.28   20028346    08/27/2019             447.53
20023904*   08/02/2019            613.67    20026199    08/09/2019     561.36   20028347    08/30/2019             498.85
20023908*   08/01/2019            378.79    20026200    08/09/2019     323.77   20028348    08/30/2019             627.58
20023913*   08/20/2019            527.23    20026201    08/27/2019     174.58   20028349    08/26/2019             451.06
20023917*   08/30/2019            601.56    20026202    08/09/2019     362.31   20028350    08/30/2019             544.70
20023927*   08/02/2019            312.22    20026203    08/09/2019     389.88   20028351    08/28/2019             452.47
20023929*   08/02/2019             50.99    20026205*   08/09/2019     558.27   20028352    08/26/2019             572.41
20023934*   08/26/2019            391.82    20026206    08/12/2019     305.82   20028353    08/27/2019             613.67
20023943*   08/07/2019            405.27    20026207    08/12/2019     286.17   20028354    08/28/2019             543.04
20023944    08/07/2019            405.27    20026208    08/16/2019     276.43   20028355    08/28/2019             588.02
20023945    08/12/2019            383.74    20026209    08/16/2019     276.43   20028356    08/27/2019             406.72
20023947*   08/05/2019            350.99    20026210    08/12/2019     287.17   20028358*   08/27/2019             581.39
20023951*   08/12/2019            392.20    20026211    08/09/2019     590.04   20028359    08/26/2019             452.47
20023955*   08/05/2019            477.59    20026212    08/09/2019     627.60   20028360    08/30/2019             256.05
20023957*   08/05/2019            339.39    20026213    08/09/2019     627.60   20028361    08/26/2019             139.62
20023962*   08/12/2019            391.81    20026214    08/22/2019     684.44   20028362    08/27/2019             464.28
20023967*   08/02/2019            493.37    20026215    08/09/2019     201.97   20028363    08/27/2019             428.70
20023972*   08/09/2019            386.95    20026216    08/14/2019     204.02   20028364    08/27/2019             616.02
20023975*   08/30/2019            436.82    20026217    08/09/2019     621.22   20028365    08/28/2019             613.67
20023978*   08/16/2019            567.95    20026218    08/12/2019     166.21   20028367*   08/27/2019             471.98
20023985*   08/06/2019          1,110.89    20026219    08/12/2019     533.50   20028368    08/26/2019             517.57
20023992*   08/07/2019            463.18    20026220    08/08/2019     512.97   20028369    08/27/2019             550.27
20023998*   08/02/2019            209.10    20026221    08/09/2019     336.34   20028370    08/26/2019             433.36
20023999    08/05/2019             82.92    20026222    08/14/2019     205.59   20028371    08/27/2019             550.25
20024004*   08/09/2019            653.78    20026223    08/09/2019     389.17   20028372    08/27/2019             394.79
20024012*   08/09/2019             53.92    20026225*   08/30/2019     399.92   20028373    08/27/2019             528.79
20024026*   08/09/2019            361.55    20026226    08/09/2019      83.66   20028374    08/27/2019             257.94
20024033*   08/08/2019            528.04    20026227    08/12/2019     353.18   20028375    08/27/2019             590.38
20024035*   08/05/2019            355.27    20026228    08/09/2019     292.91   20028377*   08/28/2019             499.09
20024038*   08/06/2019            549.67    20026229    08/09/2019     469.85   20028378    08/26/2019             539.09
20024040*   08/02/2019            377.20    20026230    08/09/2019     325.46   20028381*   08/26/2019             400.78
20024041    08/02/2019            466.77    20026231    08/09/2019   1,021.52   20028383*   08/28/2019             361.61
20024044*   08/02/2019            428.60    20026232    08/09/2019     294.35   20028384    08/26/2019             477.82




                               Case 19-62584-pcm11Page:Doc
                                                        17 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024045    08/12/2019            599.52    20026233    08/09/2019   423.25   20028386*   08/28/2019              602.59
20024054*   08/05/2019            429.33    20026234    08/09/2019   243.93   20028388*   08/28/2019              501.90
20024069*   08/16/2019            525.07    20026235    08/09/2019   416.40   20028389    08/27/2019              662.98
20024070    08/05/2019            375.49    20026236    08/09/2019   101.11   20028390    08/26/2019              163.71
20024077*   08/06/2019            441.85    20026237    08/09/2019   261.07   20028391    08/27/2019              658.56
20024081*   08/02/2019            469.49    20026238    08/16/2019   243.52   20028392    08/27/2019              501.90
20024082    08/02/2019            447.39    20026239    08/09/2019   326.36   20028393    08/26/2019              528.78
20024088*   08/20/2019            341.32    20026240    08/09/2019   470.00   20028394    08/27/2019              530.52
20024111*   08/15/2019            431.63    20026241    08/09/2019   389.49   20028395    08/27/2019              499.98
20024112    08/06/2019            296.45    20026242    08/09/2019   344.36   20028396    08/26/2019              590.38
20024116*   08/29/2019            481.63    20026243    08/22/2019   342.66   20028397    08/26/2019              383.78
20024119*   08/05/2019            450.13    20026244    08/12/2019   545.16   20028400*   08/27/2019              533.34
20024120    08/02/2019            272.25    20026246*   08/26/2019   261.15   20028401    08/27/2019              525.71
20024127*   08/15/2019            436.03    20026247    08/12/2019   299.84   20028402    08/27/2019              517.56
20024130*   08/07/2019            289.51    20026248    08/09/2019   340.02   20028403    08/27/2019              623.61
20024137*   08/01/2019            396.77    20026249    08/16/2019   318.53   20028404    08/26/2019              547.85
20024138    08/02/2019            274.25    20026250    08/09/2019   336.50   20028405    08/27/2019              412.12
20024141*   08/02/2019            356.85    20026251    08/26/2019   333.35   20028406    08/26/2019              525.70
20024143*   08/26/2019            435.93    20026252    08/09/2019   230.06   20028407    08/26/2019              158.35
20024149*   08/02/2019            469.07    20026253    08/09/2019   385.90   20028408    08/28/2019            1,093.91
20024152*   08/08/2019            485.15    20026254    08/09/2019   224.27   20028409    08/27/2019              619.44
20024157*   08/05/2019            395.42    20026255    08/16/2019   336.96   20028410    08/28/2019              331.66
20024158    08/01/2019            441.41    20026256    08/12/2019   466.09   20028411    08/27/2019              306.34
20024159    08/26/2019            436.69    20026257    08/09/2019   672.24   20028412    08/27/2019              407.71
20024162*   08/26/2019            314.15    20026258    08/12/2019   261.07   20028413    08/26/2019              419.59
20024163    08/02/2019            419.03    20026259    08/19/2019   198.97   20028414    08/27/2019              350.36
20024170*   08/05/2019            406.09    20026260    08/09/2019   369.30   20028415    08/27/2019              516.66
20024172*   08/02/2019            464.15    20026261    08/09/2019   262.31   20028416    08/30/2019              131.62
20024176*   08/28/2019            431.73    20026262    08/12/2019   232.35   20028417    08/26/2019              533.37
20024185*   08/05/2019            458.61    20026263    08/26/2019   189.01   20028418    08/28/2019              236.17
20024189*   08/05/2019            386.06    20026264    08/09/2019   372.33   20028419    08/26/2019              280.22
20024191*   08/19/2019            256.05    20026265    08/12/2019   179.01   20028420    08/27/2019              586.22
20024195*   08/26/2019            444.19    20026266    08/13/2019   240.17   20028421    08/30/2019              536.78
20024197*   08/02/2019            443.07    20026267    08/12/2019   494.16   20028422    08/27/2019              471.53
20024198    08/19/2019              9.55    20026268    08/09/2019   268.34   20028423    08/28/2019              453.44
20024201*   08/07/2019            416.11    20026269    08/14/2019   336.89   20028424    08/27/2019              313.32
20024206*   08/02/2019            476.79    20026270    08/29/2019   319.08   20028427*   08/27/2019              280.22
20024209*   08/05/2019            205.14    20026271    08/12/2019   492.11   20028428    08/26/2019              479.52
20024210    08/06/2019            243.43    20026272    08/09/2019   292.24   20028429    08/27/2019              483.08
20024211    08/06/2019            195.46    20026273    08/13/2019   340.01   20028430    08/26/2019              557.00
20024212    08/06/2019            124.17    20026274    08/09/2019   386.56   20028431    08/26/2019              412.07
20024213    08/06/2019            117.44    20026275    08/13/2019   402.02   20028435*   08/27/2019              499.08
20024214    08/07/2019             28.50    20026276    08/12/2019   381.01   20028436    08/27/2019              490.43
20024215    08/13/2019            119.87    20026277    08/09/2019   224.01   20028437    08/26/2019              537.06
20024217*   08/05/2019            112.36    20026278    08/16/2019   539.96   20028438    08/26/2019              511.36
20024218    08/01/2019            210.23    20026279    08/16/2019   381.36   20028439    08/30/2019              504.65
20024219    08/01/2019            119.86    20026280    08/30/2019   364.36   20028440    08/27/2019              555.76
20024221*   08/02/2019            152.38    20026281    08/09/2019   279.97   20028441    08/26/2019              517.44
20024229*   08/05/2019            204.14    20026282    08/09/2019   315.00   20028442    08/26/2019              533.76
20024233*   08/05/2019          2,498.35    20026283    08/09/2019   364.36   20028443    08/26/2019              418.08
20024235*   08/02/2019             10.46    20026284    08/09/2019   364.36   20028445*   08/26/2019              508.27
20024236    08/26/2019          3,394.27    20026285    08/09/2019   399.84   20028446    08/27/2019              585.77
20024239*   08/02/2019            103.34    20026286    08/09/2019   224.26   20028447    08/27/2019              509.86
20024240    08/05/2019            300.16    20026287    08/09/2019   408.24   20028448    08/30/2019              352.97
20024243*   08/12/2019            505.38    20026288    08/09/2019   487.74   20028449    08/28/2019              519.36
20024244    08/05/2019            417.17    20026289    08/12/2019   361.06   20028450    08/27/2019              640.18
20024245    08/02/2019            352.74    20026290    08/09/2019   340.16   20028451    08/27/2019              551.27
20024246    08/02/2019            236.43    20026291    08/09/2019   329.65   20028452    08/27/2019              587.34
20024247    08/02/2019            503.55    20026292    08/09/2019   289.64   20028453    08/27/2019              220.31
20024248    08/05/2019            503.55    20026294*   08/09/2019   270.68   20028454    08/26/2019              459.90
20024249    08/02/2019            433.15    20026295    08/26/2019   316.11   20028455    08/26/2019              459.90
20024250    08/02/2019            437.78    20026296    08/09/2019   236.18   20028456    08/27/2019              346.95
20024251    08/05/2019            436.83    20026297    08/09/2019   352.86   20028457    08/30/2019              681.05
20024252    08/02/2019            422.77    20026298    08/12/2019   363.78   20028458    08/27/2019              349.06
20024253    08/21/2019            458.51    20026299    08/12/2019   414.28   20028459    08/27/2019              364.07
20024254    08/02/2019            425.24    20026300    08/20/2019   315.20   20028460    08/26/2019              627.00
20024255    08/15/2019            330.14    20026301    08/12/2019   348.99   20028461    08/29/2019              324.29
20024256    08/02/2019            328.23    20026302    08/09/2019   416.92   20028462    08/26/2019              483.50
20024257    08/05/2019            669.73    20026303    08/09/2019   163.64   20028463    08/26/2019              521.08
20024258    08/07/2019            412.09    20026304    08/09/2019   543.28   20028465*   08/26/2019              241.17
20024259    08/02/2019            279.30    20026305    08/09/2019   134.67   20028468*   08/30/2019              444.21
20024260    08/02/2019            490.32    20026306    08/09/2019   195.19   20028469    08/28/2019              528.09
20024261    08/02/2019            841.98    20026307    08/09/2019   493.89   20028470    08/27/2019              342.17
20024262    08/05/2019            438.55    20026308    08/12/2019   575.63   20028472*   08/26/2019              602.38
20024263    08/05/2019            279.30    20026309    08/12/2019   673.54   20028473    08/26/2019              420.99




                               Case 19-62584-pcm11Page:Doc
                                                        18 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024264    08/07/2019            390.24    20026310    08/09/2019   721.56   20028474    08/26/2019             975.33
20024265    08/05/2019            345.52    20026311    08/12/2019   347.42   20028475    08/28/2019             577.43
20024266    08/13/2019            619.76    20026312    08/12/2019   382.99   20028476    08/28/2019             346.97
20024267    08/02/2019            500.69    20026313    08/09/2019   615.11   20028477    08/26/2019             527.69
20024268    08/06/2019            571.00    20026314    08/14/2019   412.07   20028478    08/26/2019             197.98
20024270*   08/02/2019            442.24    20026315    08/14/2019   372.33   20028479    08/26/2019             448.96
20024271    08/02/2019            393.23    20026316    08/12/2019   310.10   20028480    08/27/2019             358.90
20024272    08/02/2019            409.88    20026317    08/09/2019   263.58   20028481    08/26/2019             283.67
20024273    08/02/2019            683.04    20026318    08/12/2019   352.98   20028482    08/26/2019             416.92
20024274    08/06/2019            301.22    20026319    08/09/2019   311.82   20028483    08/26/2019             483.49
20024275    08/09/2019            718.31    20026320    08/09/2019   538.47   20028484    08/26/2019             212.81
20024276    08/07/2019            555.17    20026321    08/12/2019   310.98   20028486*   08/26/2019             668.46
20024277    08/02/2019            412.56    20026322    08/09/2019   945.92   20028488*   08/26/2019             355.27
20024278    08/02/2019            415.47    20026323    08/09/2019   290.17   20028489    08/26/2019             412.18
20024279    08/02/2019            412.09    20026324    08/09/2019   258.57   20028490    08/26/2019             439.06
20024280    08/06/2019            335.49    20026325    08/15/2019   340.17   20028491    08/27/2019             416.35
20024281    08/07/2019            534.69    20026326    08/12/2019   299.93   20028492    08/26/2019             388.40
20024282    08/26/2019            691.24    20026327    08/09/2019   511.41   20028493    08/26/2019             431.73
20024283    08/02/2019            323.61    20026328    08/12/2019   372.33   20028494    08/27/2019             466.77
20024284    08/02/2019            323.61    20026329    08/09/2019   359.62   20028495    08/30/2019             385.23
20024285    08/02/2019            840.45    20026330    08/12/2019   453.19   20028496    08/26/2019             315.94
20024286    08/26/2019            430.74    20026331    08/29/2019   383.64   20028497    08/30/2019             428.63
20024287    08/02/2019            449.81    20026332    08/09/2019   288.40   20028499*   08/26/2019             886.41
20024288    08/08/2019            622.05    20026333    08/12/2019   365.25   20028500    08/26/2019             261.28
20024289    08/05/2019            433.14    20026334    08/26/2019   364.35   20028502*   08/27/2019             465.72
20024290    08/02/2019            560.74    20026335    08/14/2019   272.13   20028503    08/26/2019             408.47
20024291    08/26/2019            397.75    20026336    08/20/2019   228.91   20028504    08/26/2019             221.53
20024292    08/02/2019            867.78    20026337    08/19/2019   318.23   20028505    08/30/2019             349.59
20024293    08/02/2019            496.82    20026338    08/13/2019   291.07   20028506    08/26/2019             372.32
20024294    08/12/2019            458.51    20026339    08/09/2019   114.11   20028507    08/28/2019             429.32
20024295    08/26/2019            454.88    20026340    08/26/2019   199.64   20028508    08/27/2019             331.74
20024296    08/05/2019            442.51    20026341    08/09/2019   339.36   20028509    08/26/2019             626.95
20024297    08/02/2019            333.31    20026342    08/13/2019   328.77   20028510    08/26/2019             365.24
20024298    08/06/2019            303.29    20026343    08/12/2019   374.77   20028511    08/26/2019             428.62
20024299    08/07/2019            444.23    20026344    08/09/2019   261.06   20028512    08/29/2019             317.44
20024300    08/01/2019            381.74    20026345    08/27/2019   290.27   20028513    08/26/2019             611.60
20024301    08/02/2019            388.73    20026346    08/20/2019   212.52   20028514    08/26/2019             384.02
20024302    08/02/2019            548.29    20026347    08/14/2019   332.89   20028515    08/28/2019             439.07
20024303    08/05/2019            425.24    20026348    08/09/2019   326.73   20028516    08/26/2019             506.05
20024304    08/07/2019            319.36    20026349    08/09/2019   305.84   20028517    08/27/2019             509.99
20024305    08/02/2019            292.57    20026350    08/09/2019   359.64   20028518    08/30/2019             500.73
20024306    08/06/2019            805.68    20026351    08/12/2019   328.98   20028519    08/27/2019             391.35
20024307    08/09/2019            427.66    20026352    08/26/2019   302.28   20028520    08/26/2019             684.35
20024308    08/02/2019            622.07    20026353    08/09/2019   340.17   20028521    08/26/2019             499.96
20024309    08/05/2019            452.81    20026354    08/09/2019   638.50   20028522    08/30/2019             458.47
20024310    08/02/2019            345.99    20026355    08/09/2019   340.53   20028523    08/26/2019             375.20
20024311    08/02/2019            398.69    20026356    08/26/2019   353.23   20028524    08/28/2019             411.96
20024312    08/02/2019            165.27    20026357    08/13/2019   285.22   20028525    08/26/2019             458.47
20024313    08/02/2019            217.64    20026358    08/26/2019   348.99   20028526    08/26/2019             458.48
20024314    08/05/2019            508.61    20026359    08/09/2019   304.60   20028527    08/28/2019             501.44
20024315    08/02/2019            614.33    20026360    08/12/2019   292.14   20028528    08/26/2019             321.70
20024316    08/02/2019            516.24    20026361    08/09/2019   306.28   20028529    08/26/2019             551.00
20024317    08/02/2019            561.23    20026362    08/09/2019   371.99   20028530    08/28/2019             607.83
20024318    08/02/2019            409.18    20026363    08/09/2019   435.55   20028531    08/26/2019             461.20
20024319    08/02/2019             88.12    20026364    08/28/2019   370.01   20028532    08/26/2019             329.61
20024320    08/02/2019            505.39    20026365    08/09/2019   388.09   20028535*   08/26/2019             454.38
20024321    08/06/2019            286.68    20026366    08/09/2019   302.84   20028536    08/26/2019             418.24
20024322    08/05/2019            376.00    20026367    08/22/2019   383.64   20028537    08/26/2019             324.44
20024323    08/02/2019            512.98    20026368    08/09/2019   548.77   20028538    08/26/2019             444.87
20024324    08/05/2019            432.69    20026369    08/13/2019   311.16   20028539    08/27/2019             466.12
20024325    08/02/2019            516.67    20026370    08/09/2019   280.15   20028540    08/30/2019             469.27
20024326    08/02/2019            221.49    20026371    08/16/2019   391.19   20028541    08/27/2019             341.30
20024327    08/07/2019            435.42    20026372    08/16/2019   302.87   20028542    08/26/2019             450.39
20024328    08/02/2019            518.74    20026373    08/27/2019   349.65   20028543    08/26/2019             478.25
20024329    08/02/2019            432.42    20026374    08/19/2019   336.29   20028544    08/26/2019             261.62
20024330    08/19/2019            452.55    20026375    08/09/2019   224.27   20028545    08/27/2019             704.40
20024331    08/02/2019            354.33    20026377*   08/26/2019   218.92   20028546    08/26/2019             106.31
20024332    08/12/2019            627.60    20026378    08/13/2019   128.65   20028547    08/27/2019             294.13
20024333    08/02/2019            443.50    20026379    08/09/2019   381.70   20028548    08/26/2019             436.73
20024334    08/06/2019            466.41    20026380    08/09/2019   198.99   20028549    08/26/2019             634.49
20024335    08/02/2019            290.28    20026382*   08/09/2019   458.33   20028550    08/26/2019             717.02
20024336    08/02/2019            418.28    20026383    08/09/2019   344.37   20028552*   08/26/2019             717.00
20024337    08/02/2019            324.96    20026384    08/09/2019   327.47   20028553    08/26/2019             450.52
20024338    08/02/2019            428.69    20026385    08/20/2019   315.16   20028554    08/26/2019             479.94
20024339    08/19/2019            381.74    20026386    08/13/2019   403.33   20028555    08/26/2019             757.98




                               Case 19-62584-pcm11Page:Doc
                                                        19 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                      09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                    Treasury Information Reporting

20024340    08/02/2019            336.22    20026387    08/09/2019      473.71   20028556    08/28/2019              520.50
20024341    08/02/2019            568.05    20026388    08/09/2019      334.72   20028557    08/28/2019              467.05
20024342    08/02/2019            241.55    20026389    08/12/2019      386.86   20028558    08/26/2019              467.90
20024343    08/02/2019            667.78    20026390    08/09/2019      302.86   20028559    08/26/2019              356.72
20024344    08/05/2019            346.01    20026391    08/12/2019      252.52   20028560    08/26/2019              415.61
20024345    08/05/2019            403.42    20026392    08/29/2019      337.42   20028561    08/26/2019              351.28
20024346    08/02/2019            516.25    20026393    08/09/2019      381.02   20028562    08/26/2019              671.78
20024347    08/02/2019            463.09    20026394    08/09/2019      449.85   20028563    08/26/2019              466.76
20024348    08/06/2019            498.15    20026395    08/09/2019      393.78   20028564    08/26/2019            1,179.96
20024349    08/02/2019            496.86    20026396    08/09/2019      729.23   20028565    08/27/2019              381.73
20024350    08/02/2019          1,029.03    20026397    08/12/2019      352.97   20028566    08/27/2019              253.44
20024351    08/02/2019            582.15    20026398    08/13/2019      299.55   20028568*   08/26/2019              592.23
20024352    08/02/2019            523.36    20026399    08/29/2019      299.27   20028569    08/26/2019              467.59
20024353    08/02/2019            433.15    20026401*   08/09/2019      358.39   20028570    08/26/2019              447.90
20024354    08/26/2019            466.41    20026402    08/16/2019      327.48   20028571    08/26/2019              514.27
20024355    08/06/2019            462.76    20026403    08/09/2019      415.88   20028572    08/29/2019              481.62
20024356    08/02/2019            858.36    20026404    08/09/2019      372.03   20028573    08/26/2019              382.69
20024357    08/16/2019            532.74    20026405    08/19/2019       33.65   20028574    08/26/2019              506.80
20024358    08/02/2019            526.33    20026406    08/09/2019      614.77   20028575    08/26/2019              591.09
20024359    08/05/2019            362.66    20026407    08/09/2019      359.63   20028578*   08/26/2019              431.88
20024361*   08/12/2019            451.32    20026408    08/09/2019      471.51   20028579    08/26/2019              391.21
20024362    08/02/2019            887.84    20026409    08/26/2019      348.98   20028580    08/30/2019              249.41
20024363    08/02/2019            570.03    20026410    08/12/2019      445.68   20028581    08/26/2019              199.66
20024364    08/13/2019            622.06    20026411    08/14/2019      348.81   20028582    08/27/2019              287.34
20024365    08/02/2019            400.66    20026412    08/19/2019      210.49   20028583    08/28/2019              379.05
20024366    08/02/2019            446.55    20026413    08/09/2019      352.28   20028584    08/26/2019              504.30
20024367    08/19/2019            495.71    20026414    08/09/2019      466.08   20028585    08/30/2019              355.26
20024368    08/02/2019            622.05    20026415    08/30/2019      445.61   20028586    08/27/2019              354.53
20024369    08/02/2019            455.35    20026416    08/19/2019      617.53   20028587    08/26/2019              420.39
20024370    08/02/2019            622.06    20026417    08/09/2019      354.20   20028588    08/28/2019              427.25
20024371    08/02/2019            447.73    20026418    08/12/2019      266.54   20028589    08/26/2019              443.19
20024372    08/02/2019            400.75    20026419    08/09/2019      273.98   20028590    08/26/2019              397.32
20024373    08/02/2019            327.37    20026420    08/16/2019      369.93   20028591    08/26/2019              454.91
20024374    08/02/2019            412.55    20026421    08/16/2019      423.81   20028592    08/26/2019              424.20
20024375    08/02/2019            566.40    20026423*   08/16/2019      167.11   20028594*   08/26/2019              397.40
20024376    08/12/2019            353.29    20026424    08/16/2019      159.25   20028595    08/28/2019              339.08
20024377    08/02/2019            582.30    20026425    08/16/2019      156.43   20028596    08/26/2019              875.64
20024378    08/09/2019            466.66    20026426    08/16/2019       94.30   20028597    08/26/2019              443.21
20024379    08/02/2019            854.70    20026427    08/16/2019       23.21   20028598    08/26/2019              461.96
20024380    08/02/2019            608.72    20026428    08/16/2019       94.59   20028599    08/26/2019              428.30
20024381    08/09/2019            464.59    20026429    08/14/2019       84.80   20028600    08/26/2019              280.93
20024382    08/13/2019            531.10    20026430    08/15/2019       40.13   20028601    08/30/2019              402.40
20024383    08/02/2019            415.99    20026431    08/13/2019      274.75   20028602    08/27/2019              292.04
20024384    08/12/2019            501.69    20026432    08/13/2019       47.24   20028603    08/30/2019              402.39
20024385    08/05/2019            359.15    20026433    08/14/2019      130.12   20028604    08/26/2019              466.35
20024386    08/06/2019            436.66    20026434    08/12/2019      230.00   20028605    08/27/2019              486.09
20024387    08/02/2019            416.00    20026435    08/12/2019       96.00   20028606    08/28/2019              372.34
20024388    08/22/2019            405.19    20026436    08/12/2019      239.10   20028607    08/26/2019              501.67
20024389    08/22/2019            400.66    20026437    08/14/2019       50.15   20028608    08/27/2019              481.62
20024390    08/09/2019            582.54    20026438    08/14/2019       96.95   20028609    08/26/2019              727.66
20024391    08/02/2019            305.91    20026439    08/14/2019       93.33   20028610    08/26/2019              311.04
20024392    08/05/2019            253.99    20026440    08/13/2019       87.95   20028611    08/26/2019              374.35
20024393    08/05/2019            304.30    20026441    08/14/2019       65.00   20028614*   08/27/2019              441.31
20024394    08/02/2019            622.05    20026442    08/14/2019      152.20   20028615    08/26/2019              200.57
20024395    08/05/2019            422.38    20026443    08/12/2019       94.89   20028616    08/30/2019              287.25
20024396    08/02/2019            505.37    20026444    08/09/2019       18.30   20028618*   08/26/2019              314.19
20024397    08/02/2019            412.09    20026445    08/20/2019       96.03   20028619    08/30/2019              419.03
20024398    08/02/2019            622.05    20026446    08/12/2019       93.69   20028620    08/27/2019              366.40
20024399    08/02/2019            239.45    20026447    08/12/2019      117.15   20028621    08/26/2019               62.87
20024400    08/02/2019            654.95    20026448    08/09/2019      165.80   20028623*   08/26/2019              570.06
20024401    08/02/2019            443.49    20026449    08/08/2019   21,164.80   20028624    08/27/2019              427.64
20024402    08/02/2019            417.17    20026450    08/09/2019   12,675.20   20028625    08/26/2019              419.03
20024403    08/02/2019            567.48    20026451    08/15/2019      396.59   20028626    08/26/2019              407.19
20024404    08/05/2019            217.08    20026452    08/14/2019       71.23   20028627    08/27/2019              498.78
20024405    08/02/2019            602.46    20026453    08/12/2019      214.31   20028628    08/26/2019              369.20
20024406    08/02/2019            503.64    20026454    08/12/2019      296.00   20028629    08/26/2019              464.15
20024407    08/07/2019            654.58    20026455    08/09/2019       78.52   20028630    08/26/2019              476.96
20024408    08/05/2019            451.31    20026456    08/12/2019      159.39   20028631    08/27/2019              386.17
20024409    08/02/2019            839.90    20026457    08/12/2019      393.90   20028632    08/26/2019              359.89
20024410    08/02/2019            363.66    20026458    08/12/2019      401.92   20028633    08/28/2019              206.83
20024411    08/07/2019            507.55    20026459    08/14/2019      214.54   20028634    08/26/2019              477.98
20024413*   08/06/2019            491.86    20026460    08/29/2019      505.40   20028635    08/26/2019              562.19
20024414    08/26/2019            448.10    20026461    08/20/2019      284.93   20028636    08/26/2019              476.64
20024415    08/02/2019            486.97    20026462    08/21/2019      469.90   20028637    08/28/2019              773.21
20024416    08/02/2019            431.76    20026463    08/16/2019      215.98   20028638    08/26/2019              454.07




                               Case 19-62584-pcm11Page:Doc
                                                        20 283         Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024417    08/02/2019            661.49    20026464    08/19/2019   505.40   20028639    08/29/2019              305.69
20024418    08/01/2019            319.07    20026465    08/16/2019    59.78   20028640    08/29/2019              299.26
20024419    08/06/2019            245.99    20026466    08/19/2019   298.02   20028642*   08/26/2019              486.62
20024420    08/02/2019             80.25    20026467    08/16/2019   410.16   20028644*   08/27/2019              510.80
20024421    08/02/2019            623.74    20026468    08/27/2019   427.44   20028645    08/29/2019              372.04
20024422    08/22/2019            439.41    20026469    08/20/2019   229.15   20028647*   08/27/2019              667.16
20024423    08/05/2019            505.39    20026470    08/21/2019   336.04   20028648    08/30/2019              454.91
20024424    08/02/2019            424.76    20026471    08/30/2019   185.90   20028649    08/26/2019              608.54
20024425    08/02/2019            512.51    20026472    08/16/2019   312.04   20028650    08/26/2019              444.19
20024426    08/02/2019            383.55    20026473    08/28/2019   319.61   20028651    08/26/2019              620.78
20024427    08/06/2019             86.45    20026474    08/16/2019   285.01   20028652    08/28/2019              443.08
20024428    08/02/2019            748.00    20026475    08/16/2019   618.83   20028653    08/28/2019              409.48
20024429    08/06/2019            288.72    20026476    08/19/2019   199.23   20028654    08/27/2019              349.47
20024430    08/02/2019            384.52    20026477    08/20/2019    77.76   20028655    08/26/2019              599.51
20024431    08/02/2019            418.40    20026478    08/16/2019   394.71   20028656    08/30/2019              416.11
20024432    08/02/2019            527.78    20026479    08/16/2019   448.87   20028657    08/27/2019              617.53
20024433    08/05/2019            613.21    20026480    08/16/2019   771.53   20028658    08/26/2019              452.08
20024434    08/02/2019            550.95    20026481    08/19/2019   523.82   20028659    08/30/2019              222.97
20024435    08/06/2019            331.65    20026482    08/20/2019   266.28   20028660    08/30/2019              369.68
20024436    08/13/2019            429.91    20026483    08/27/2019   256.27   20028661    08/30/2019              467.19
20024437    08/05/2019            423.39    20026484    08/16/2019   116.21   20028662    08/30/2019              137.80
20024438    08/02/2019            383.48    20026485    08/26/2019   479.89   20028663    08/26/2019              446.27
20024439    08/02/2019            516.24    20026486    08/16/2019   433.49   20028665*   08/29/2019              257.64
20024440    08/09/2019            417.17    20026488*   08/19/2019   471.98   20028667*   08/26/2019            1,109.84
20024441    08/02/2019            460.45    20026489    08/16/2019   233.14   20028673*   08/28/2019              142.83
20024442    08/02/2019            355.75    20026490    08/16/2019   367.90   20028674    08/28/2019              287.83
20024443    08/06/2019            381.74    20026491    08/16/2019   398.90   20028675    08/28/2019               50.51
20024444    08/02/2019            597.68    20026492    08/16/2019   513.93   20028677*   08/28/2019              133.58
20024445    08/06/2019            516.25    20026493    08/20/2019   443.76   20028678    08/27/2019              230.00
20024446    08/02/2019            516.25    20026494    08/16/2019   540.76   20028679    08/29/2019               96.00
20024447    08/02/2019            488.42    20026495    08/16/2019   221.53   20028680    08/26/2019              246.26
20024448    08/02/2019            439.03    20026496    08/16/2019   320.61   20028681    08/28/2019              110.06
20024449    08/02/2019            627.60    20026497    08/16/2019   292.88   20028682    08/28/2019              142.02
20024450    08/09/2019            503.55    20026498    08/20/2019    86.66   20028683    08/28/2019               92.43
20024451    08/02/2019            587.63    20026499    08/26/2019   682.23   20028684    08/30/2019              118.61
20024452    08/02/2019            366.40    20026500    08/16/2019   341.98   20028685    08/28/2019               65.00
20024453    08/05/2019            614.07    20026501    08/16/2019   643.04   20028686    08/29/2019              160.45
20024454    08/02/2019            645.42    20026502    08/26/2019   411.72   20028687    08/27/2019            1,408.36
20024455    08/05/2019            327.02    20026503    08/19/2019   420.95   20028689*   08/27/2019            1,267.52
20024456    08/06/2019            437.79    20026504    08/19/2019   553.24   20028690    08/27/2019              933.66
20024457    08/05/2019            457.14    20026505    08/16/2019   396.65   20028691    08/26/2019            1,541.19
20024458    08/05/2019            492.30    20026506    08/16/2019   520.18   20028693*   08/26/2019            1,236.96
20024459    08/05/2019            644.69    20026507    08/26/2019   295.51   20028694    08/27/2019            1,099.94
20024461*   08/02/2019            553.55    20026508    08/16/2019   818.79   20028696*   08/26/2019            1,048.93
20024462    08/02/2019            622.05    20026509    08/16/2019   479.35   20028697    08/27/2019              153.51
20024463    08/05/2019            329.88    20026510    08/19/2019   336.04   20028698    08/30/2019              490.00
20024464    08/09/2019            408.04    20026511    08/16/2019   329.43   20028699    08/26/2019               16.10
20024465    08/02/2019            477.42    20026512    08/20/2019   303.30   20028700    08/30/2019              138.62
20024466    08/02/2019            268.10    20026514*   08/15/2019   475.97   20028701    08/26/2019                8.05
20024467    08/02/2019            348.25    20026515    08/16/2019   463.94   20028702    08/30/2019               57.75
20024468    08/02/2019            447.68    20026516    08/26/2019   446.72   20028703    08/26/2019               40.27
20024469    08/02/2019            670.24    20026517    08/16/2019   304.72   20028705*   08/27/2019              285.07
20024470    08/02/2019            439.61    20026518    08/16/2019    75.83   20028707*   08/30/2019              390.70
20024471    08/06/2019            398.69    20026519    08/22/2019   298.04   20028709*   08/28/2019              115.81
20024472    08/05/2019            575.80    20026520    08/19/2019   196.97   20028710    08/27/2019            1,656.47
20024473    08/05/2019            560.98    20026521    08/30/2019   773.67   20028711    08/30/2019              502.60
20024474    08/05/2019            477.58    20026522    08/16/2019   511.73   20028712    08/30/2019              186.71
20024475    08/07/2019            222.74    20026523    08/16/2019   581.69   20028716*   08/30/2019              290.84
20024476    08/02/2019            556.40    20026524    08/16/2019   262.64   20028718*   08/30/2019              551.59
20024477    08/16/2019            465.50    20026525    08/16/2019   314.69   20028719    08/30/2019              518.74
20024478    08/15/2019            451.81    20026526    08/22/2019   306.30   20028721*   08/30/2019              384.85
20024479    08/02/2019            505.41    20026527    08/16/2019    90.94   20028723*   08/30/2019              521.50
20024480    08/02/2019            388.74    20026528    08/29/2019    93.94   20028729*   08/30/2019              268.61
20024481    08/02/2019            427.65    20026529    08/19/2019   150.86   20028731*   08/30/2019              653.85
20024482    08/05/2019            220.90    20026531*   08/16/2019   488.48   20028733*   08/30/2019              357.88
20024483    08/02/2019            583.67    20026532    08/19/2019   553.19   20028737*   08/30/2019              731.12
20024484    08/05/2019            412.56    20026533    08/16/2019   516.25   20028739*   08/30/2019              257.95
20024485    08/26/2019            426.72    20026534    08/16/2019   508.39   20028742*   08/30/2019              489.68
20024486    08/02/2019            567.47    20026535    08/16/2019   458.74   20028743    08/30/2019              571.89
20024487    08/02/2019            448.98    20026536    08/20/2019   364.79   20028746*   08/30/2019              510.77
20024488    08/27/2019            374.48    20026537    08/26/2019   589.45   20028747    08/30/2019              500.64
20024489    08/02/2019            533.76    20026538    08/19/2019   416.00   20028748    08/30/2019              503.56
20024490    08/05/2019            359.67    20026539    08/19/2019   492.12   20028749    08/30/2019              568.73
20024491    08/02/2019            414.13    20026540    08/16/2019   291.70   20028753*   08/30/2019              509.47
20024492    08/02/2019            735.73    20026541    08/19/2019   402.69   20028755*   08/30/2019              285.66




                               Case 19-62584-pcm11Page:Doc
                                                        21 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

20024493    08/02/2019            518.35    20026542    08/16/2019     440.18   20028756    08/30/2019              564.47
20024494    08/12/2019            598.49    20026543    08/16/2019     415.76   20028758*   08/30/2019              530.49
20024495    08/02/2019            611.68    20026544    08/16/2019     481.92   20028759    08/30/2019              560.72
20024496    08/05/2019            358.50    20026545    08/16/2019     294.03   20028761*   08/30/2019              344.02
20024497    08/02/2019            563.13    20026546    08/19/2019     278.62   20028762    08/30/2019              883.86
20024498    08/05/2019            440.73    20026547    08/16/2019     283.46   20028763    08/30/2019              734.33
20024499    08/02/2019            418.28    20026548    08/27/2019     479.90   20028765*   08/30/2019              565.80
20024500    08/07/2019            281.30    20026549    08/19/2019     310.42   20028766    08/30/2019              516.24
20024501    08/06/2019            544.05    20026550    08/19/2019     191.52   20028767    08/30/2019              641.08
20024502    08/13/2019            585.23    20026551    08/19/2019     367.81   20028769*   08/29/2019              584.45
20024503    08/02/2019            503.55    20026552    08/16/2019     484.69   20028770    08/30/2019              528.73
20024504    08/02/2019            485.39    20026553    08/16/2019     386.00   20028771    08/30/2019              572.83
20024505    08/02/2019            774.50    20026554    08/16/2019     264.27   20028772    08/30/2019              274.94
20024506    08/05/2019            673.42    20026555    08/16/2019     306.32   20028773    08/30/2019              484.32
20024507    08/02/2019            373.44    20026556    08/19/2019     379.12   20028776*   08/30/2019              799.41
20024508    08/02/2019            565.42    20026557    08/16/2019     424.97   20028777    08/30/2019              508.86
20024509    08/02/2019            620.05    20026558    08/15/2019     505.20   20028779*   08/30/2019              215.82
20024510    08/02/2019            537.48    20026559    08/19/2019     362.88   20028781*   08/30/2019              348.25
20024511    08/02/2019            423.63    20026560    08/16/2019     977.02   20028783*   08/30/2019              475.93
20024512    08/02/2019            460.43    20026561    08/16/2019     388.74   20028785*   08/30/2019              450.10
20024513    08/02/2019            749.02    20026562    08/16/2019     182.26   20028789*   08/30/2019              379.06
20024514    08/02/2019            289.75    20026563    08/16/2019     480.28   20028791*   08/30/2019              622.07
20024515    08/02/2019            589.95    20026564    08/16/2019     409.19   20028792    08/30/2019              264.66
20024516    08/05/2019            429.25    20026565    08/16/2019   1,295.02   20028794*   08/30/2019              644.22
20024517    08/07/2019            239.44    20026566    08/16/2019     446.71   20028796*   08/30/2019              525.08
20024518    08/06/2019            744.29    20026567    08/16/2019     454.95   20028797    08/30/2019              558.26
20024519    08/12/2019            458.09    20026568    08/16/2019     395.33   20028799*   08/30/2019              508.38
20024520    08/02/2019            605.97    20026569    08/16/2019     332.51   20028800    08/30/2019              517.97
20024521    08/02/2019            334.11    20026570    08/26/2019     303.12   20028801    08/30/2019              132.50
20024522    08/02/2019            622.05    20026571    08/16/2019     592.91   20028807*   08/30/2019              260.65
20024523    08/02/2019            348.82    20026572    08/28/2019     502.84   20028808    08/30/2019              508.37
20024524    08/02/2019            152.48    20026573    08/30/2019     496.33   20028809    08/30/2019              511.64
20024525    08/02/2019            212.81    20026574    08/16/2019      31.62   20028810    08/30/2019              521.08
20024526    08/02/2019            364.53    20026575    08/19/2019     395.08   20028812*   08/30/2019              568.48
20024527    08/02/2019            485.37    20026576    08/26/2019     318.33   20028813    08/29/2019              586.48
20024528    08/06/2019            425.24    20026577    08/16/2019     617.92   20028815*   08/30/2019              435.04
20024529    08/05/2019            673.22    20026578    08/19/2019     400.77   20028816    08/30/2019              994.78
20024530    08/02/2019            407.42    20026579    08/16/2019     622.06   20028817    08/30/2019              147.35
20024531    08/02/2019            505.08    20026580    08/16/2019     263.60   20028818    08/29/2019              130.21
20024532    08/02/2019            680.09    20026581    08/19/2019     408.72   20028819    08/30/2019              356.13
20024533    08/02/2019            412.08    20026582    08/30/2019     516.26   20028820    08/30/2019              199.26
20024534    08/02/2019            558.70    20026583    08/16/2019     622.08   20028821    08/30/2019              523.14
20024535    08/06/2019            316.78    20026584    08/16/2019     505.40   20028822    08/30/2019              386.00
20024536    08/02/2019            649.95    20026585    08/16/2019     344.69   20028823    08/30/2019            1,319.66
20024537    08/02/2019            622.06    20026586    08/16/2019     362.75   20028825*   08/30/2019              120.27
20024538    08/02/2019            685.92    20026587    08/16/2019     178.63   20028826    08/30/2019              424.05
20024539    08/02/2019            516.24    20026588    08/16/2019     221.53   20028828*   08/30/2019              614.21
20024540    08/02/2019            410.72    20026589    08/16/2019     484.12   20028829    08/30/2019              524.75
20024541    08/02/2019            581.69    20026590    08/16/2019     530.79   20028832*   08/30/2019              906.85
20024542    08/02/2019            593.25    20026591    08/16/2019     514.23   20028834*   08/30/2019              297.47
20024543    08/02/2019            523.78    20026592    08/16/2019     378.38   20028836*   08/30/2019              323.06
20024544    08/02/2019            691.26    20026593    08/28/2019     297.67   20028838*   08/30/2019              745.90
20024545    08/05/2019            686.70    20026594    08/16/2019     631.25   20028839    08/30/2019              544.74
20024546    08/05/2019            509.14    20026595    08/16/2019     923.07   20028841*   08/30/2019              488.65
20024548*   08/02/2019            279.23    20026596    08/26/2019     405.27   20028843*   08/30/2019              364.15
20024549    08/01/2019            323.61    20026597    08/19/2019     459.83   20028844    08/30/2019              505.40
20024550    08/07/2019            516.24    20026598    08/16/2019     282.61   20028846*   08/30/2019              507.98
20024551    08/02/2019            334.12    20026599    08/26/2019     358.10   20028847    08/30/2019              164.46
20024552    08/02/2019            451.56    20026600    08/19/2019     275.97   20028848    08/30/2019              419.27
20024553    08/06/2019            542.43    20026601    08/19/2019     217.01   20028849    08/30/2019              504.14
20024554    08/05/2019            509.89    20026602    08/16/2019     508.38   20028850    08/30/2019              418.27
20024555    08/02/2019            381.75    20026603    08/22/2019     262.07   20028851    08/30/2019              620.60
20024556    08/06/2019            290.95    20026604    08/22/2019     263.59   20028852    08/30/2019              606.52
20024557    08/07/2019            341.85    20026605    08/16/2019     165.27   20028854*   08/30/2019            1,057.48
20024558    08/02/2019            100.67    20026606    08/19/2019     529.45   20028857*   08/30/2019            1,001.41
20024559    08/02/2019            471.74    20026608*   08/19/2019     281.60   20028859*   08/30/2019              318.23
20024560    08/02/2019            509.67    20026609    08/19/2019     292.62   20028862*   08/30/2019              508.37
20024561    08/05/2019            417.18    20026610    08/28/2019     592.05   20028864*   08/30/2019              389.15
20024562    08/05/2019            402.43    20026611    08/19/2019     397.05   20028866*   08/30/2019              455.37
20024563    08/02/2019            622.05    20026612    08/16/2019     281.87   20028869*   08/30/2019              444.26
20024564    08/02/2019            383.55    20026613    08/16/2019     592.06   20028875*   08/30/2019              503.55
20024565    08/02/2019            339.99    20026614    08/16/2019     616.21   20028876    08/30/2019              666.13
20024566    08/09/2019            622.05    20026615    08/19/2019     408.03   20028877    08/30/2019              654.96
20024567    08/02/2019            769.07    20026616    08/16/2019     276.84   20028879*   08/30/2019              501.47
20024568    08/02/2019            290.97    20026617    08/30/2019     429.02   20028880    08/30/2019              399.02




                               Case 19-62584-pcm11Page:Doc
                                                        22 283        Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024569    08/02/2019            210.54    20026618    08/19/2019   253.60   20028882*   08/30/2019              713.89
20024570    08/02/2019            120.32    20026619    08/19/2019   657.04   20028883    08/30/2019              434.93
20024571    08/02/2019            231.94    20026620    08/16/2019   558.30   20028886*   08/30/2019              395.24
20024572    08/05/2019            323.29    20026621    08/19/2019   584.71   20028888*   08/30/2019            1,111.17
20024573    08/07/2019            281.65    20026622    08/16/2019   327.17   20028890*   08/30/2019              509.80
20024574    08/02/2019            509.55    20026623    08/16/2019    86.91   20028896*   08/30/2019              459.78
20024575    08/02/2019            508.24    20026624    08/19/2019   412.34   20028897    08/30/2019              253.61
20024576    08/05/2019            191.17    20026625    08/16/2019   767.06   20028899*   08/30/2019              532.79
20024577    08/05/2019            214.86    20026626    08/19/2019   218.41   20028902*   08/30/2019              516.25
20024578    08/07/2019            515.58    20026627    08/16/2019   416.09   20028904*   08/30/2019              690.05
20024579    08/02/2019            420.60    20026628    08/19/2019   484.00   20028905    08/30/2019              556.98
20024580    08/02/2019            283.69    20026629    08/26/2019   249.59   20028906    08/30/2019              194.32
20024581    08/06/2019            395.24    20026630    08/16/2019   403.27   20028907    08/30/2019              472.72
20024582    08/02/2019            523.35    20026631    08/16/2019   302.86   20028908    08/30/2019              434.91
20024583    08/06/2019          1,000.33    20026632    08/20/2019   345.45   20028911*   08/30/2019              398.70
20024584    08/05/2019            527.36    20026633    08/20/2019   365.43   20028913*   08/30/2019              516.25
20024585    08/09/2019            462.75    20026634    08/16/2019   478.88   20028915*   08/30/2019              547.29
20024586    08/02/2019            563.52    20026635    08/22/2019   281.31   20028918*   08/30/2019              901.57
20024587    08/02/2019            301.63    20026636    08/16/2019   548.04   20028920*   08/30/2019              644.21
20024588    08/02/2019            439.59    20026637    08/19/2019   238.87   20028921    08/30/2019              597.31
20024589    08/02/2019            835.37    20026638    08/16/2019   294.57   20028922    08/30/2019               94.60
20024590    08/02/2019            394.78    20026639    08/19/2019   509.90   20028926*   08/30/2019              503.55
20024591    08/02/2019            613.22    20026640    08/16/2019   622.06   20028927    08/30/2019              619.29
20024592    08/02/2019            613.21    20026641    08/20/2019   350.40   20028928    08/30/2019              321.58
20024593    08/02/2019            581.89    20026642    08/20/2019   519.09   20028929    08/30/2019              174.88
20024594    08/02/2019            142.40    20026643    08/16/2019   522.71   20028930    08/30/2019            1,025.38
20024595    08/13/2019            561.34    20026644    08/16/2019   251.69   20028941*   08/30/2019              472.59
20024596    08/05/2019            378.40    20026645    08/16/2019   369.40   20028942    08/30/2019              345.99
20024597    08/02/2019            318.79    20026646    08/16/2019   313.75   20028943    08/30/2019              521.75
20024598    08/16/2019            275.22    20026647    08/16/2019   405.72   20028944    08/30/2019            1,037.29
20024600*   08/19/2019            451.38    20026648    08/21/2019     8.05   20028945    08/30/2019              528.85
20024601    08/05/2019            488.77    20026649    08/20/2019   393.06   20028949*   08/30/2019              536.56
20024602    08/06/2019            465.90    20026650    08/16/2019   334.04   20028950    08/30/2019              520.37
20024603    08/02/2019            644.20    20026651    08/19/2019   366.83   20028955*   08/30/2019              539.08
20024604    08/05/2019            462.26    20026652    08/16/2019   456.49   20028957*   08/30/2019              749.92
20024605    08/02/2019            521.07    20026653    08/20/2019   284.94   20028958    08/30/2019              504.14
20024606    08/02/2019            369.93    20026654    08/16/2019   298.48   20028960*   08/30/2019              537.48
20024607    08/12/2019            669.43    20026655    08/16/2019   416.36   20028961    08/30/2019              333.65
20024608    08/13/2019            457.46    20026656    08/20/2019   495.61   20028962    08/30/2019              452.46
20024609    08/02/2019            462.26    20026657    08/16/2019   701.65   20028965*   08/30/2019              533.75
20024610    08/02/2019            242.46    20026658    08/26/2019   469.51   20028966    08/30/2019              459.47
20024611    08/02/2019            209.83    20026659    08/16/2019   439.58   20028968*   08/30/2019              526.32
20024613*   08/02/2019            527.04    20026660    08/27/2019   410.16   20028971*   08/30/2019              514.29
20024614    08/02/2019            413.22    20026661    08/16/2019   507.28   20028972    08/30/2019              420.20
20024615    08/06/2019            515.95    20026662    08/16/2019   473.56   20028974*   08/30/2019              572.38
20024616    08/27/2019            414.46    20026663    08/16/2019   557.63   20028978*   08/30/2019              579.55
20024617    08/02/2019            822.93    20026664    08/16/2019   258.31   20028981*   08/30/2019              680.34
20024618    08/01/2019            335.16    20026665    08/19/2019   742.65   20028982    08/30/2019              396.08
20024619    08/05/2019            540.52    20026667*   08/19/2019   258.64   20028985*   08/30/2019              567.48
20024620    08/09/2019            509.07    20026668    08/19/2019   241.68   20028988*   08/30/2019            1,209.60
20024621    08/06/2019            536.63    20026669    08/19/2019   415.86   20028989    08/30/2019              605.45
20024622    08/02/2019            532.61    20026670    08/19/2019   452.79   20028990    08/30/2019              443.92
20024623    08/02/2019            450.18    20026671    08/19/2019   593.17   20028993*   08/30/2019              619.30
20024624    08/12/2019             67.47    20026673*   08/16/2019   553.56   20028994    08/30/2019              446.32
20024625    08/09/2019            401.85    20026674    08/16/2019   592.05   20028995    08/30/2019              644.09
20024626    08/02/2019            232.70    20026675    08/28/2019   375.79   20028996    08/30/2019              508.05
20024627    08/02/2019            472.58    20026676    08/19/2019   269.86   20028997    08/30/2019              319.95
20024628    08/07/2019            140.12    20026677    08/16/2019   256.12   20028998    08/30/2019              463.69
20024629    08/05/2019            389.09    20026678    08/16/2019   267.21   20029000*   08/30/2019              514.33
20024630    08/02/2019            376.39    20026679    08/16/2019   306.21   20029002*   08/30/2019              496.52
20024631    08/02/2019            644.21    20026680    08/19/2019   631.51   20029003    08/30/2019              510.21
20024632    08/07/2019            454.49    20026681    08/16/2019   298.55   20029004    08/30/2019              613.36
20024633    08/02/2019            426.74    20026682    08/19/2019   306.31   20029006*   08/30/2019              464.95
20024634    08/02/2019            507.32    20026683    08/16/2019   393.69   20029007    08/30/2019              416.02
20024635    08/02/2019            567.33    20026684    08/28/2019   439.85   20029008    08/30/2019              731.85
20024636    08/02/2019            730.00    20026685    08/16/2019   422.57   20029009    08/30/2019              475.39
20024637    08/02/2019            400.23    20026686    08/16/2019   357.64   20029010    08/30/2019              653.73
20024638    08/02/2019            571.51    20026687    08/16/2019   283.23   20029012*   08/30/2019              268.17
20024639    08/12/2019            511.87    20026688    08/21/2019   517.43   20029013    08/30/2019              442.74
20024640    08/07/2019            480.44    20026689    08/26/2019   480.60   20029014    08/30/2019              625.11
20024641    08/05/2019            327.68    20026690    08/26/2019   254.32   20029015    08/30/2019              668.41
20024642    08/05/2019            534.76    20026691    08/16/2019   356.14   20029018*   08/30/2019              529.52
20024643    08/06/2019            275.22    20026692    08/16/2019   472.79   20029020*   08/30/2019              483.48
20024644    08/26/2019            791.69    20026693    08/16/2019   505.40   20029024*   08/30/2019              538.26
20024645    08/09/2019            680.33    20026694    08/16/2019   450.76   20029025    08/30/2019              572.43




                               Case 19-62584-pcm11Page:Doc
                                                        23 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024646    08/02/2019            626.32    20026695    08/22/2019   221.53   20029026    08/30/2019             439.31
20024647    08/05/2019            203.25    20026696    08/19/2019   268.61   20029027    08/30/2019             370.66
20024648    08/06/2019            435.99    20026697    08/16/2019   474.48   20029028    08/30/2019             415.99
20024650*   08/05/2019            302.06    20026698    08/19/2019   315.90   20029030*   08/30/2019             324.61
20024651    08/02/2019            223.44    20026699    08/19/2019   379.74   20029031    08/30/2019             501.47
20024652    08/06/2019            112.70    20026700    08/27/2019   299.35   20029032    08/30/2019             517.97
20024653    08/08/2019            546.21    20026701    08/16/2019   495.03   20029033    08/30/2019             514.29
20024654    08/02/2019            546.20    20026702    08/19/2019   270.73   20029034    08/30/2019             592.05
20024655    08/02/2019            689.68    20026703    08/16/2019   289.93   20029037*   08/30/2019             828.00
20024656    08/02/2019            372.06    20026704    08/16/2019   679.10   20029041*   08/30/2019             369.54
20024657    08/02/2019             73.16    20026705    08/19/2019   619.74   20029042    08/30/2019             521.08
20024658    08/06/2019            572.56    20026706    08/16/2019   505.40   20029043    08/30/2019             603.93
20024659    08/15/2019            544.69    20026707    08/20/2019   417.52   20029044    08/30/2019             516.25
20024660    08/05/2019            658.51    20026708    08/16/2019   549.22   20029054*   08/30/2019             470.66
20024661    08/05/2019            353.02    20026709    08/19/2019   247.45   20029056*   08/30/2019             363.70
20024662    08/02/2019            544.69    20026710    08/19/2019   210.32   20029058*   08/30/2019             526.53
20024663    08/07/2019            425.00    20026711    08/20/2019   291.57   20029059    08/30/2019             844.87
20024664    08/22/2019            746.96    20026712    08/27/2019   533.58   20029060    08/30/2019             333.31
20024665    08/12/2019            550.26    20026714*   08/16/2019   519.57   20029061    08/30/2019             589.76
20024666    08/02/2019            557.06    20026715    08/26/2019   742.42   20029062    08/30/2019             627.60
20024667    08/06/2019            362.21    20026716    08/16/2019   731.91   20029063    08/30/2019             392.64
20024668    08/06/2019            536.58    20026717    08/16/2019   224.24   20029069*   08/30/2019             474.97
20024669    08/02/2019            542.42    20026718    08/19/2019   258.59   20029070    08/30/2019             536.39
20024670    08/02/2019            563.22    20026719    08/16/2019   535.48   20029071    08/30/2019             536.57
20024671    08/02/2019            574.16    20026720    08/16/2019   322.06   20029073*   08/30/2019             531.77
20024672    08/07/2019            657.86    20026721    08/16/2019   537.47   20029074    08/30/2019             524.61
20024673    08/05/2019            505.46    20026722    08/16/2019   308.01   20029075    08/30/2019             515.96
20024674    08/07/2019            790.49    20026723    08/19/2019   251.43   20029077*   08/30/2019             669.43
20024675    08/06/2019            284.63    20026724    08/30/2019   720.75   20029079*   08/30/2019              48.68
20024676    08/26/2019            601.26    20026725    08/16/2019   278.47   20029082*   08/30/2019             303.93
20024677    08/02/2019            574.41    20026726    08/19/2019   531.39   20029083    08/30/2019             527.03
20024678    08/02/2019            866.87    20026727    08/16/2019   190.48   20029084    08/30/2019             489.78
20024679    08/02/2019            866.86    20026728    08/19/2019    99.30   20029086*   08/30/2019             841.44
20024680    08/05/2019            392.57    20026729    08/27/2019   553.37   20029087    08/30/2019             441.39
20024681    08/13/2019            620.42    20026730    08/28/2019   419.11   20029088    08/29/2019             478.41
20024682    08/27/2019            609.41    20026731    08/16/2019   572.83   20029091*   08/30/2019             536.72
20024683    08/16/2019            549.32    20026732    08/16/2019   308.71   20029092    08/30/2019             532.61
20024684    08/06/2019            544.68    20026733    08/16/2019   592.05   20029093    08/30/2019             494.87
20024685    08/02/2019            421.07    20026734    08/19/2019   438.98   20029094    08/30/2019             545.91
20024686    08/02/2019            366.88    20026735    08/16/2019   303.66   20029095    08/30/2019             372.80
20024687    08/05/2019            523.38    20026736    08/16/2019   325.11   20029096    08/30/2019             366.04
20024688    08/02/2019            500.15    20026737    08/29/2019   234.03   20029101*   08/30/2019             502.47
20024689    08/27/2019            590.15    20026738    08/20/2019   556.85   20029102    08/30/2019             555.17
20024690    08/09/2019            527.04    20026739    08/16/2019   279.59   20029103    08/30/2019             446.48
20024691    08/07/2019            445.82    20026740    08/16/2019   464.83   20029105*   08/30/2019             715.21
20024692    08/05/2019            351.02    20026741    08/16/2019   560.28   20029106    08/30/2019             622.06
20024693    08/22/2019            613.67    20026742    08/16/2019   219.03   20029107    08/30/2019             679.08
20024694    08/06/2019            664.16    20026743    08/16/2019   500.55   20029108    08/30/2019             580.59
20024695    08/02/2019            456.15    20026744    08/16/2019   289.07   20029109    08/30/2019             233.50
20024696    08/06/2019            503.50    20026745    08/16/2019   338.09   20029112*   08/30/2019             809.21
20024697    08/26/2019            516.84    20026746    08/19/2019   427.66   20029114*   08/30/2019             675.19
20024698    08/12/2019            491.49    20026747    08/16/2019   611.10   20029117*   08/30/2019             397.81
20024699    08/05/2019            609.36    20026748    08/16/2019   325.43   20029118    08/30/2019             452.08
20024700    08/05/2019            648.65    20026749    08/16/2019   389.59   20029120*   08/30/2019             709.14
20024701    08/05/2019             50.83    20026750    08/19/2019   534.32   20029121    08/30/2019             389.57
20024702    08/02/2019            512.85    20026751    08/16/2019   376.47   20029122    08/30/2019             572.65
20024703    08/02/2019            398.69    20026752    08/19/2019   704.34   20029124*   08/30/2019             544.69
20024704    08/26/2019            601.45    20026753    08/20/2019   680.06   20029128*   08/30/2019             515.10
20024705    08/02/2019            457.47    20026754    08/19/2019   492.47   20029129    08/30/2019             816.24
20024706    08/05/2019            491.14    20026755    08/16/2019   161.04   20029130    08/30/2019             550.27
20024707    08/02/2019            232.70    20026757*   08/28/2019   516.26   20029131    08/30/2019             557.05
20024708    08/14/2019            535.96    20026758    08/16/2019   304.11   20029132    08/30/2019             622.06
20024709    08/05/2019            550.01    20026759    08/27/2019   304.97   20029134*   08/30/2019             499.76
20024710    08/02/2019          1,011.79    20026760    08/27/2019   447.50   20029135    08/30/2019             572.43
20024711    08/02/2019            204.73    20026761    08/19/2019   582.49   20029137*   08/30/2019             578.30
20024712    08/02/2019            600.93    20026762    08/16/2019   235.31   20029144*   08/30/2019             883.38
20024713    08/27/2019            598.34    20026763    08/16/2019   237.33   20029145    08/30/2019             883.39
20024714    08/06/2019            465.88    20026764    08/16/2019   505.41   20029146    08/30/2019             206.65
20024715    08/22/2019            667.64    20026765    08/16/2019   323.61   20029147    08/30/2019             489.98
20024716    08/05/2019            621.57    20026766    08/19/2019   238.87   20029148    08/30/2019             532.01
20024717    08/06/2019            591.40    20026767    08/16/2019   507.56   20029149    08/30/2019             609.41
20024718    08/19/2019            801.33    20026768    08/28/2019   276.84   20029150    08/30/2019             482.01
20024719    08/05/2019            644.20    20026769    08/16/2019   297.01   20029152*   08/30/2019             516.24
20024720    08/02/2019            541.85    20026770    08/16/2019   622.06   20029153    08/30/2019             720.43
20024721    08/02/2019            674.83    20026771    08/16/2019   622.06   20029154    08/30/2019             602.59




                               Case 19-62584-pcm11Page:Doc
                                                        24 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024723*   08/05/2019            525.18    20026772    08/27/2019   290.36   20029155    08/30/2019              468.73
20024724    08/02/2019            520.10    20026773    08/16/2019   358.75   20029157*   08/30/2019              609.41
20024725    08/12/2019            577.91    20026774    08/26/2019   562.81   20029165*   08/30/2019              636.82
20024726    08/02/2019            505.41    20026775    08/26/2019   259.54   20029167*   08/30/2019              208.87
20024727    08/02/2019            349.04    20026776    08/26/2019   178.01   20029169*   08/30/2019              553.45
20024728    08/05/2019            693.75    20026777    08/20/2019   194.67   20029170    08/30/2019              405.84
20024729    08/02/2019            524.92    20026778    08/16/2019   288.92   20029171    08/30/2019              208.87
20024730    08/12/2019            452.64    20026779    08/16/2019   394.15   20029175*   08/30/2019              299.37
20024731    08/16/2019            419.82    20026780    08/16/2019   465.71   20029176    08/30/2019              487.46
20024732    08/02/2019            616.58    20026781    08/19/2019   255.08   20029177    08/30/2019              487.46
20024733    08/02/2019            605.50    20026782    08/19/2019   207.97   20029181*   08/30/2019              520.82
20024734    08/06/2019            462.25    20026783    08/20/2019   342.49   20029183*   08/30/2019              601.02
20024735    08/02/2019            550.27    20026784    08/19/2019   330.11   20029186*   08/30/2019              662.50
20024736    08/02/2019            428.19    20026785    08/16/2019   498.95   20029188*   08/30/2019              842.51
20024737    08/27/2019            504.17    20026786    08/19/2019   147.15   20029194*   08/30/2019              587.49
20024738    08/07/2019            493.39    20026787    08/19/2019   491.08   20029195    08/30/2019              542.05
20024739    08/05/2019            644.19    20026788    08/19/2019   936.91   20029197*   08/30/2019              680.34
20024740    08/09/2019            704.90    20026789    08/16/2019   213.17   20029199*   08/30/2019              506.45
20024741    08/05/2019            475.06    20026790    08/16/2019   567.43   20029201*   08/30/2019              379.73
20024742    08/02/2019            345.59    20026791    08/19/2019   124.10   20029206*   08/30/2019              600.04
20024743    08/02/2019            493.39    20026792    08/16/2019   396.69   20029207    08/30/2019              502.47
20024744    08/02/2019            207.32    20026793    08/16/2019   299.67   20029208    08/30/2019              504.16
20024745    08/19/2019            732.00    20026794    08/16/2019   456.29   20029211*   08/30/2019              708.06
20024746    08/02/2019            533.50    20026795    08/16/2019   284.37   20029213*   08/30/2019              487.77
20024747    08/02/2019            542.25    20026796    08/16/2019   767.60   20029216*   08/30/2019              735.61
20024748    08/05/2019            536.63    20026797    08/16/2019   303.32   20029218*   08/30/2019              622.06
20024749    08/06/2019            130.17    20026798    08/16/2019   627.61   20029220*   08/30/2019              249.63
20024750    08/02/2019            220.91    20026799    08/16/2019   589.77   20029222*   08/30/2019              321.78
20024751    08/27/2019            257.36    20026800    08/16/2019   353.89   20029224*   08/30/2019              311.13
20024752    08/02/2019            519.32    20026801    08/16/2019   322.61   20029226*   08/30/2019              503.47
20024753    08/02/2019            587.29    20026803*   08/19/2019   360.81   20029228*   08/30/2019              572.60
20024754    08/02/2019            533.33    20026805*   08/26/2019   269.98   20029229    08/30/2019              533.32
20024755    08/05/2019             48.32    20026806    08/19/2019   440.37   20029233*   08/30/2019              547.37
20024756    08/05/2019            476.98    20026807    08/26/2019   494.50   20029235*   08/30/2019              516.96
20024757    08/13/2019            394.21    20026808    08/19/2019   480.45   20029237*   08/30/2019              605.27
20024758    08/09/2019            510.84    20026809    08/16/2019   504.41   20029238    08/30/2019              427.63
20024760*   08/02/2019            244.46    20026810    08/16/2019   502.93   20029240*   08/30/2019              569.95
20024761    08/02/2019            202.14    20026811    08/16/2019   449.90   20029241    08/30/2019              622.05
20024762    08/09/2019            191.14    20026812    08/27/2019   597.63   20029242    08/30/2019              693.75
20024763    08/05/2019            444.26    20026814*   08/16/2019   454.14   20029243    08/30/2019              542.90
20024764    08/08/2019            592.06    20026815    08/16/2019   358.51   20029244    08/30/2019              545.92
20024765    08/05/2019            639.86    20026816    08/19/2019   352.49   20029245    08/30/2019              336.12
20024766    08/12/2019            560.38    20026817    08/30/2019   490.40   20029248*   08/30/2019              547.19
20024767    08/02/2019            545.92    20026818    08/19/2019   368.71   20029249    08/30/2019              645.39
20024768    08/07/2019            322.79    20026819    08/19/2019   382.81   20029250    08/30/2019              514.50
20024769    08/14/2019            516.27    20026820    08/16/2019   784.91   20029251    08/30/2019              482.52
20024772*   08/02/2019            506.16    20026821    08/16/2019   152.87   20029252    08/30/2019              517.39
20024773    08/02/2019            439.10    20026822    08/15/2019   438.53   20029255*   08/30/2019              436.42
20024774    08/06/2019            462.26    20026823    08/19/2019   499.51   20029256    08/30/2019              428.69
20024775    08/12/2019            450.18    20026824    08/21/2019   592.06   20029257    08/30/2019              517.39
20024776    08/02/2019            339.03    20026825    08/16/2019   399.65   20029258    08/30/2019              333.17
20024777    08/02/2019            293.61    20026826    08/16/2019   475.41   20029259    08/30/2019              613.64
20024778    08/02/2019            462.25    20026827    08/16/2019   400.49   20029262*   08/30/2019              566.16
20024779    08/02/2019            410.97    20026828    08/19/2019   393.02   20029263    08/30/2019              532.61
20024780    08/02/2019            613.64    20026829    08/16/2019   444.59   20029264    08/30/2019              449.41
20024781    08/19/2019            522.65    20026830    08/28/2019   349.11   20029266*   08/30/2019              286.68
20024782    08/02/2019            203.85    20026831    08/16/2019   436.25   20029267    08/30/2019              338.97
20024783    08/02/2019            601.71    20026832    08/20/2019   386.76   20029268    08/30/2019              729.99
20024784    08/02/2019            532.61    20026833    08/20/2019   176.97   20029269    08/30/2019              581.15
20024785    08/02/2019            515.92    20026834    08/26/2019   319.37   20029273*   08/30/2019              352.58
20024787*   08/07/2019          1,024.49    20026835    08/20/2019   475.24   20029277*   08/30/2019              206.18
20024788    08/02/2019            275.22    20026836    08/16/2019   490.82   20029279*   08/30/2019              751.74
20024789    08/16/2019            227.70    20026837    08/16/2019   434.17   20029281*   08/30/2019              629.37
20024790    08/02/2019            710.94    20026838    08/19/2019   534.64   20029282    08/30/2019              516.24
20024791    08/02/2019            462.39    20026839    08/16/2019   666.32   20029283    08/30/2019              696.52
20024792    08/05/2019            318.79    20026840    08/29/2019   592.06   20029285*   08/30/2019              649.81
20024793    08/28/2019            524.54    20026841    08/22/2019   468.91   20029287*   08/30/2019            1,018.03
20024794    08/12/2019            322.79    20026842    08/30/2019   155.67   20029288    08/30/2019              778.21
20024795    08/02/2019            478.80    20026844*   08/19/2019   500.58   20029290*   08/30/2019              715.19
20024796    08/29/2019            399.28    20026845    08/22/2019   308.69   20029291    08/30/2019              348.28
20024797    08/02/2019            227.62    20026846    08/26/2019   751.69   20029292    08/30/2019              646.80
20024798    08/02/2019            312.06    20026847    08/26/2019   626.80   20029293    08/30/2019              692.64
20024799    08/05/2019            232.70    20026848    08/16/2019   577.93   20029294    08/30/2019              521.06
20024800    08/26/2019            756.99    20026849    08/16/2019   199.47   20029295    08/30/2019              601.45
20024801    08/26/2019            693.03    20026850    08/19/2019   397.25   20029296    08/30/2019              564.82




                               Case 19-62584-pcm11Page:Doc
                                                        25 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024802    08/02/2019            629.38    20026852*   08/16/2019   370.55   20029297    08/30/2019              532.75
20024803    08/05/2019            486.26    20026853    08/28/2019   486.19   20029298    08/30/2019              577.51
20024804    08/09/2019            720.38    20026854    08/16/2019   507.46   20029299    08/30/2019              526.91
20024805    08/02/2019            629.05    20026855    08/16/2019   670.40   20029300    08/30/2019              539.10
20024806    08/26/2019            654.95    20026856    08/16/2019   334.06   20029301    08/30/2019              515.96
20024807    08/27/2019            536.63    20026857    08/20/2019   514.71   20029302    08/30/2019              509.91
20024808    08/09/2019            981.04    20026858    08/16/2019   156.87   20029304*   08/30/2019              598.05
20024810*   08/27/2019            601.45    20026859    08/30/2019   495.91   20029306*   08/30/2019              704.93
20024811    08/05/2019            729.99    20026860    08/20/2019   619.78   20029307    08/30/2019              816.25
20024812    08/02/2019            591.24    20026861    08/19/2019   503.36   20029308    08/30/2019              305.85
20024813    08/02/2019            449.84    20026862    08/16/2019   492.31   20029309    08/30/2019              614.22
20024814    08/12/2019            648.64    20026863    08/22/2019   467.98   20029311*   08/30/2019              577.51
20024815    08/02/2019            521.06    20026864    08/22/2019   767.85   20029312    08/30/2019              441.43
20024816    08/27/2019            601.45    20026865    08/27/2019   510.29   20029314*   08/30/2019              613.71
20024817    08/12/2019            564.82    20026866    08/16/2019   508.66   20029316*   08/30/2019              372.13
20024818    08/05/2019            439.10    20026867    08/16/2019   645.39   20029318*   08/30/2019              567.10
20024819    08/26/2019            577.51    20026868    08/20/2019   278.98   20029320*   08/30/2019              695.34
20024820    08/06/2019            246.18    20026869    08/16/2019   488.17   20029321    08/30/2019              351.86
20024821    08/12/2019            393.93    20026870    08/26/2019   533.46   20029324*   08/30/2019              515.59
20024822    08/28/2019            356.93    20026871    08/16/2019   567.08   20029328*   08/30/2019              564.20
20024823    08/12/2019            323.02    20026872    08/16/2019   544.17   20029330*   08/30/2019              616.02
20024824    08/26/2019            626.37    20026873    08/22/2019   519.41   20029331    08/30/2019              902.50
20024825    08/02/2019            426.74    20026874    08/21/2019   348.58   20029332    08/30/2019              368.06
20024826    08/02/2019            512.86    20026875    08/21/2019   750.49   20029333    08/30/2019              516.26
20024827    08/06/2019            750.52    20026876    08/29/2019   521.49   20029335*   08/30/2019              529.37
20024828    08/02/2019            667.65    20026878*   08/26/2019   617.37   20029339*   08/30/2019              720.41
20024829    08/02/2019            783.38    20026879    08/16/2019   817.86   20029341*   08/30/2019              542.07
20024830    08/02/2019            202.14    20026880    08/16/2019   817.87   20029343*   08/30/2019              622.05
20024832*   08/05/2019            185.59    20026881    08/16/2019   601.58   20029345*   08/30/2019              830.05
20024833    08/02/2019            644.19    20026883*   08/27/2019   570.43   20029348*   08/30/2019              427.11
20024834    08/02/2019            606.63    20026884    08/16/2019   562.01   20029353*   08/30/2019              611.60
20024835    08/26/2019            577.51    20026885    08/21/2019   479.72   20029356*   08/30/2019              533.53
20024836    08/02/2019            394.77    20026886    08/16/2019   415.32   20029357    08/30/2019              592.38
20024837    08/02/2019            384.50    20026887    08/19/2019   681.67   20029358    08/30/2019              430.32
20024838    08/27/2019            544.36    20026888    08/16/2019   356.90   20029359    08/30/2019              398.70
20024839    08/02/2019            613.63    20026889    08/27/2019   559.81   20029360    08/30/2019              480.68
20024840    08/02/2019            587.82    20026890    08/27/2019   488.08   20029361    08/30/2019              514.65
20024841    08/05/2019            287.91    20026891    08/16/2019   479.21   20029362    08/30/2019              153.95
20024842    08/02/2019            401.17    20026892    08/22/2019   560.52   20029363    08/30/2019              702.28
20024843    08/02/2019            398.59    20026893    08/20/2019   647.58   20029364    08/30/2019              436.35
20024844    08/02/2019            309.66    20026894    08/16/2019   509.08   20029365    08/30/2019              452.52
20024845    08/02/2019            676.25    20026895    08/26/2019   503.51   20029366    08/30/2019              183.64
20024846    08/06/2019            498.13    20026896    08/26/2019   478.10   20029367    08/30/2019              257.08
20024847    08/07/2019            474.17    20026897    08/21/2019   452.86   20029368    08/30/2019              249.38
20024848    08/05/2019            312.38    20026898    08/16/2019   555.06   20029369    08/30/2019              389.41
20024849    08/05/2019            439.10    20026899    08/26/2019   597.92   20029370    08/30/2019              402.12
20024850    08/02/2019            191.14    20026900    08/16/2019   209.32   20029372*   08/30/2019              553.31
20024851    08/26/2019            610.53    20026901    08/16/2019   446.86   20029374*   08/30/2019              515.97
20024852    08/05/2019            637.49    20026902    08/16/2019   478.48   20029375    08/30/2019              561.36
20024853    08/02/2019             48.33    20026903    08/26/2019   570.43   20029376    08/30/2019              984.28
20024854    08/06/2019            605.28    20026904    08/16/2019    83.88   20029378*   08/30/2019            1,002.88
20024855    08/02/2019            529.52    20026905    08/19/2019   148.23   20029379    08/30/2019              550.18
20024856    08/02/2019            919.88    20026906    08/16/2019   462.30   20029380    08/30/2019              342.52
20024857    08/05/2019            470.16    20026907    08/16/2019   210.46   20029384*   08/29/2019              627.61
20024858    08/02/2019            516.26    20026909*   08/26/2019   503.96   20029386*   08/30/2019              573.51
20024859    08/02/2019            547.54    20026910    08/19/2019   501.63   20029387    08/30/2019              610.48
20024860    08/13/2019            235.98    20026911    08/20/2019    77.87   20029388    08/30/2019              438.02
20024861    08/02/2019            535.20    20026913*   08/16/2019   957.43   20029389    08/30/2019              539.28
20024862    08/02/2019            505.40    20026914    08/16/2019   399.16   20029390    08/30/2019              716.89
20024863    08/05/2019            655.52    20026915    08/16/2019   551.55   20029393*   08/30/2019              542.23
20024864    08/02/2019            622.05    20026917*   08/20/2019   499.28   20029394    08/30/2019              572.43
20024865    08/02/2019            734.51    20026918    08/22/2019   614.11   20029397*   08/30/2019              487.76
20024866    08/27/2019            625.75    20026919    08/27/2019   582.61   20029398    08/30/2019              561.35
20024867    08/02/2019            388.73    20026920    08/19/2019   788.84   20029400*   08/30/2019              294.46
20024868    08/02/2019            663.53    20026921    08/19/2019   766.12   20029401    08/30/2019              601.86
20024869    08/02/2019            473.33    20026922    08/27/2019   584.19   20029402    08/30/2019              623.61
20024870    08/02/2019            702.65    20026923    08/19/2019   320.18   20029403    08/30/2019              515.97
20024871    08/02/2019            255.81    20026924    08/20/2019   693.47   20029405*   08/30/2019              479.37
20024872    08/06/2019            605.25    20026926*   08/19/2019   197.58   20029410*   08/30/2019              517.13
20024873    08/02/2019            343.58    20026927    08/19/2019   468.77   20029411    08/30/2019              423.26
20024874    08/05/2019            473.33    20026928    08/19/2019   539.09   20029412    08/30/2019              317.43
20024876*   08/05/2019            611.59    20026929    08/20/2019   505.40   20029415*   08/30/2019               48.68
20024877    08/05/2019            473.34    20026931*   08/20/2019   622.26   20029417*   08/30/2019              557.01
20024878    08/02/2019            542.42    20026932    08/16/2019   468.57   20029418    08/30/2019              545.93
20024879    08/06/2019            520.82    20026934*   08/16/2019   428.62   20029419    08/30/2019              580.59




                               Case 19-62584-pcm11Page:Doc
                                                        26 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024880    08/05/2019            439.43    20026935    08/16/2019   548.70   20029421*   08/30/2019             527.04
20024881    08/08/2019            532.82    20026936    08/16/2019   529.97   20029422    08/30/2019             590.38
20024882    08/06/2019            284.40    20026937    08/16/2019   156.87   20029427*   08/30/2019             538.50
20024883    08/02/2019            412.81    20026938    08/20/2019   411.54   20029428    08/30/2019             822.93
20024884    08/02/2019            243.18    20026939    08/16/2019   510.29   20029429    08/30/2019             525.63
20024885    08/02/2019            275.22    20026940    08/16/2019   469.54   20029430    08/30/2019             575.22
20024886    08/02/2019            597.99    20026941    08/27/2019   455.79   20029431    08/30/2019             341.26
20024887    08/02/2019            468.35    20026942    08/20/2019   560.07   20029432    08/30/2019             614.21
20024888    08/06/2019            248.47    20026943    08/16/2019   440.18   20029438*   08/30/2019             532.62
20024889    08/02/2019            560.57    20026944    08/28/2019   674.98   20029439    08/30/2019             542.08
20024890    08/21/2019             62.10    20026945    08/20/2019   504.61   20029440    08/30/2019             892.28
20024891    08/02/2019            472.52    20026946    08/16/2019   459.96   20029441    08/30/2019             395.53
20024892    08/05/2019            226.47    20026947    08/19/2019   600.78   20029443*   08/30/2019             504.17
20024893    08/06/2019            285.99    20026948    08/16/2019   207.33   20029444    08/30/2019             623.61
20024894    08/12/2019            107.78    20026950*   08/16/2019   658.35   20029445    08/30/2019             531.99
20024895    08/12/2019            107.78    20026951    08/28/2019    83.88   20029449*   08/30/2019             149.04
20024896    08/02/2019            287.91    20026952    08/16/2019   533.51   20029450    08/30/2019             504.87
20024897    08/02/2019            211.59    20026953    08/16/2019   503.69   20029451    08/30/2019             487.67
20024898    08/06/2019            465.59    20026954    08/27/2019   399.65   20029452    08/30/2019             321.78
20024899    08/06/2019            484.47    20026955    08/27/2019   254.29   20029454*   08/30/2019             565.11
20024900    08/02/2019            334.85    20026956    08/16/2019   276.09   20029456*   08/30/2019             605.28
20024901    08/02/2019            402.12    20026957    08/27/2019   420.53   20029457    08/30/2019             536.63
20024902    08/02/2019            481.57    20026958    08/16/2019   519.32   20029458    08/30/2019             960.96
20024903    08/26/2019            454.81    20026959    08/16/2019   533.37   20029460*   08/30/2019             568.51
20024904    08/05/2019            498.33    20026960    08/16/2019   494.60   20029462*   08/30/2019             618.80
20024905    08/02/2019            515.96    20026961    08/19/2019   507.90   20029463    08/30/2019             625.90
20024906    08/02/2019            561.35    20026962    08/22/2019   510.83   20029465*   08/30/2019             531.80
20024907    08/02/2019            947.29    20026963    08/26/2019   468.43   20029466    08/30/2019             500.36
20024908    08/19/2019            319.16    20026964    08/16/2019   543.60   20029469*   08/30/2019             545.68
20024909    08/02/2019          1,006.80    20026965    08/16/2019   229.21   20029472*   08/30/2019             299.38
20024910    08/02/2019            550.19    20026966    08/27/2019   427.39   20029474*   08/30/2019             187.23
20024911    08/19/2019            321.49    20026967    08/19/2019   508.21   20029475    08/30/2019             412.07
20024912    08/12/2019            439.10    20026968    08/19/2019   592.06   20029476    08/30/2019             770.56
20024913    08/09/2019            533.51    20026969    08/26/2019   645.43   20029479*   08/30/2019             387.18
20024914    08/02/2019            163.42    20026970    08/27/2019   421.45   20029480    08/30/2019             590.25
20024915    08/05/2019            358.31    20026971    08/16/2019   507.34   20029481    08/30/2019             527.13
20024916    08/06/2019            232.70    20026972    08/26/2019   400.84   20029482    08/30/2019             503.66
20024917    08/02/2019            474.35    20026973    08/29/2019   519.32   20029484*   08/30/2019             532.62
20024918    08/02/2019            630.76    20026976*   08/27/2019   650.57   20029485    08/30/2019             532.60
20024919    08/05/2019            472.34    20026977    08/16/2019   317.48   20029486    08/30/2019             536.58
20024920    08/09/2019            312.68    20026978    08/16/2019   397.39   20029487    08/30/2019             412.08
20024921    08/13/2019            716.84    20026979    08/19/2019   420.53   20029491*   08/30/2019             616.68
20024922    08/12/2019            231.88    20026980    08/19/2019    85.88   20029492    08/30/2019             487.53
20024923    08/26/2019            663.53    20026981    08/20/2019   400.48   20029493    08/30/2019             631.55
20024924    08/26/2019            165.88    20026982    08/16/2019   561.36   20029495*   08/30/2019             504.17
20024925    08/26/2019            110.05    20026983    08/16/2019   461.08   20029497*   08/30/2019             509.91
20024926    08/19/2019            255.29    20026984    08/27/2019   420.54   20029498    08/30/2019             549.32
20024927    08/26/2019            463.56    20026985    08/16/2019   302.46   20029499    08/30/2019             544.69
20024928    08/06/2019            572.42    20026986    08/16/2019   574.89   20029501*   08/30/2019             572.61
20024930*   08/05/2019            644.21    20026987    08/19/2019    85.88   20029502    08/30/2019             365.19
20024931    08/19/2019            345.59    20026989*   08/16/2019   266.76   20029503    08/30/2019             613.67
20024932    08/02/2019            561.36    20026990    08/16/2019   517.76   20029505*   08/30/2019             595.20
20024933    08/02/2019            214.92    20026991    08/19/2019   483.74   20029507*   08/30/2019             252.86
20024934    08/16/2019            547.98    20026992    08/16/2019   506.94   20029508    08/30/2019             590.38
20024935    08/02/2019            623.61    20026993    08/26/2019   970.13   20029512*   08/30/2019             549.56
20024936    08/02/2019            519.48    20026994    08/16/2019   339.81   20029514*   08/30/2019             397.81
20024937    08/22/2019            310.53    20026995    08/16/2019   358.48   20029515    08/30/2019             358.99
20024938    08/02/2019            549.56    20026996    08/16/2019   691.02   20029516    08/30/2019             613.67
20024939    08/09/2019            515.97    20026997    08/20/2019   134.11   20029520*   08/30/2019             550.27
20024940    08/09/2019            450.18    20026998    08/19/2019   423.27   20029522*   08/30/2019             558.55
20024941    08/05/2019            450.18    20026999    08/28/2019   400.14   20029523    08/30/2019             344.46
20024942    08/02/2019            244.82    20027001*   08/16/2019   626.75   20029527*   08/30/2019             590.38
20024943    08/06/2019            305.95    20027002    08/28/2019   486.24   20029528    08/30/2019             338.97
20024944    08/05/2019            412.62    20027003    08/16/2019   475.28   20029529    08/30/2019             357.14
20024945    08/02/2019            227.70    20027004    08/16/2019   428.69   20029532*   08/30/2019             512.85
20024946    08/05/2019            592.80    20027005    08/16/2019   372.49   20029534*   08/30/2019             284.37
20024947    08/02/2019            390.51    20027006    08/19/2019    85.87   20029535    08/30/2019             467.02
20024949*   08/20/2019            465.87    20027007    08/20/2019    85.88   20029537*   08/30/2019             602.59
20024950    08/02/2019            550.83    20027008    08/26/2019   712.76   20029539*   08/30/2019             504.16
20024951    08/02/2019            539.75    20027009    08/26/2019   646.94   20029542*   08/30/2019             667.52
20024952    08/02/2019            580.59    20027010    08/16/2019   616.74   20029543    08/30/2019             504.16
20024953    08/02/2019            572.26    20027011    08/30/2019   486.25   20029544    08/30/2019             528.78
20024954    08/02/2019            333.34    20027012    08/26/2019   678.75   20029547*   08/30/2019             351.02
20024955    08/02/2019            590.38    20027013    08/16/2019   567.92   20029552*   08/30/2019             527.03
20024956    08/02/2019            592.74    20027014    08/26/2019   601.42   20029554*   08/30/2019             240.29




                               Case 19-62584-pcm11Page:Doc
                                                        27 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                   09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                 Treasury Information Reporting

20024957    08/02/2019            376.08    20027015    08/27/2019   497.98   20029555    08/30/2019              550.19
20024958    08/06/2019            330.79    20027016    08/28/2019   951.50   20029556    08/30/2019              422.55
20024959    08/02/2019            447.25    20027018*   08/27/2019   529.17   20029557    08/30/2019              527.05
20024961*   08/02/2019            525.36    20027019    08/27/2019   636.62   20029558    08/30/2019            1,111.44
20024962    08/16/2019            820.94    20027020    08/16/2019   438.64   20029559    08/30/2019              639.43
20024963    08/02/2019            482.10    20027021    08/28/2019   468.91   20029560    08/30/2019              256.38
20024964    08/02/2019            601.25    20027022    08/27/2019   644.23   20029561    08/30/2019              308.04
20024965    08/02/2019             87.59    20027023    08/16/2019   390.33   20029562    08/30/2019              340.03
20024966    08/02/2019            330.79    20027024    08/19/2019   552.56   20029564*   08/30/2019              516.65
20024967    08/02/2019            432.10    20027025    08/19/2019   526.09   20029568*   08/30/2019              586.23
20024968    08/02/2019            510.59    20027026    08/22/2019   482.10   20029569    08/30/2019              539.11
20024969    08/02/2019            505.40    20027027    08/26/2019   538.77   20029570    08/30/2019              471.54
20024970    08/02/2019            388.75    20027028    08/20/2019   384.46   20029571    08/30/2019              343.12
20024971    08/02/2019            388.74    20027029    08/27/2019   501.56   20029579*   08/30/2019              500.16
20024972    08/16/2019            407.89    20027030    08/28/2019   485.96   20029582*   08/30/2019              500.36
20024973    08/30/2019            532.61    20027031    08/20/2019   117.71   20029583    08/30/2019              590.38
20024974    08/02/2019            542.07    20027032    08/26/2019   639.43   20029585*   08/30/2019              531.35
20024975    08/02/2019            877.20    20027033    08/19/2019   156.84   20029586    08/30/2019              515.95
20024976    08/30/2019            543.96    20027034    08/16/2019   558.88   20029588*   08/30/2019              536.86
20024977    08/02/2019            543.27    20027035    08/16/2019   687.41   20029589    08/30/2019              533.77
20024978    08/02/2019            517.96    20027036    08/16/2019   804.04   20029592*   08/30/2019              398.37
20024979    08/02/2019            623.61    20027037    08/16/2019   760.18   20029593    08/30/2019              617.80
20024980    08/02/2019            495.19    20027038    08/26/2019   429.85   20029594    08/30/2019              345.13
20024981    08/06/2019            520.54    20027039    08/19/2019   232.78   20029598*   08/30/2019              596.04
20024982    08/02/2019            432.14    20027040    08/16/2019   644.20   20029599    08/30/2019              473.65
20024983    08/06/2019            208.15    20027041    08/16/2019   618.71   20029603*   08/30/2019              681.05
20024984    08/05/2019            446.76    20027042    08/26/2019   429.48   20029604    08/30/2019              364.58
20024985    08/21/2019            504.88    20027043    08/16/2019   178.70   20029606*   08/30/2019              626.98
20024986    08/16/2019            504.88    20027044    08/22/2019   488.07   20029608*   08/29/2019              521.08
20024987    08/12/2019            275.22    20027045    08/27/2019   495.96   20029613*   08/30/2019              516.06
20024988    08/26/2019            336.44    20027046    08/16/2019   565.23   20029614    08/30/2019              413.87
20024989    08/02/2019            466.76    20027047    08/16/2019    83.88   20029616*   08/30/2019              500.09
20024990    08/05/2019            510.84    20027048    08/16/2019    85.88   20029617    08/30/2019              345.40
20024991    08/02/2019            957.53    20027049    08/16/2019   277.81   20029620*   08/30/2019              408.08
20024992    08/26/2019            539.75    20027050    08/16/2019   412.49   20029622*   08/30/2019              416.50
20024993    08/26/2019            568.51    20027051    08/16/2019   210.57   20029623    08/30/2019              119.04
20024994    08/06/2019            265.74    20027052    08/20/2019    80.51   20029625*   08/30/2019              279.08
20024995    08/02/2019            654.59    20027053    08/28/2019   438.68   20029626    08/30/2019              308.69
20024996    08/02/2019            815.72    20027054    08/16/2019   638.26   20029627    08/30/2019              337.95
20024997    08/07/2019            401.93    20027055    08/16/2019   465.41   20029628    08/30/2019              389.51
20024998    08/09/2019            179.93    20027056    08/19/2019   620.90   20029637*   08/30/2019              365.67
20024999    08/02/2019            309.66    20027057    08/26/2019   510.10   20029638    08/30/2019              400.04
20025000    08/02/2019            500.36    20027058    08/20/2019   443.21   20029640*   08/30/2019              348.70
20025001    08/02/2019            402.12    20027059    08/19/2019   367.39   20029645*   08/30/2019              395.39
20025002    08/02/2019            533.53    20027060    08/26/2019   580.53   20029648*   08/30/2019              257.98
20025003    08/19/2019            527.34    20027061    08/16/2019   644.19   20029652*   08/30/2019              257.70
20025004    08/15/2019            575.59    20027062    08/28/2019   428.09   20029654*   08/30/2019              286.34
20025005    08/02/2019            382.56    20027063    08/20/2019   435.43   20029660*   08/30/2019              415.37
20025006    08/02/2019            395.55    20027064    08/16/2019   856.79   20029662*   08/30/2019              406.15
20025007    08/02/2019            766.44    20027065    08/16/2019   464.17   20029663    08/30/2019              315.16
20025008    08/09/2019             51.83    20027066    08/16/2019   477.53   20029666*   08/30/2019              382.38
20025009    08/02/2019            613.67    20027068*   08/21/2019   372.22   20029667    08/30/2019              299.00
20025010    08/05/2019            356.97    20027069    08/16/2019   482.40   20029672*   08/30/2019              241.79
20025011    08/02/2019            581.85    20027070    08/27/2019   505.40   20029673    08/30/2019              439.22
20025012    08/02/2019            538.95    20027071    08/19/2019   628.73   20029674    08/30/2019              508.18
20025013    08/06/2019            436.35    20027072    08/19/2019   505.40   20029676*   08/30/2019              347.62
20025014    08/19/2019            532.60    20027073    08/20/2019   672.00   20029679*   08/30/2019              279.61
20025015    08/08/2019            532.60    20027075*   08/16/2019   622.06   20029681*   08/30/2019              230.18
20025016    08/08/2019            527.34    20027077*   08/16/2019   424.94   20029682    08/30/2019              370.40
20025017    08/02/2019            327.66    20027078    08/16/2019   647.29   20029683    08/30/2019              386.46
20025018    08/16/2019            614.47    20027079    08/16/2019   360.82   20029684    08/30/2019              365.68
20025019    08/02/2019            616.69    20027080    08/20/2019   644.20   20029686*   08/30/2019              366.51
20025020    08/05/2019            410.97    20027081    08/16/2019    85.88   20029687    08/30/2019              377.59
20025021    08/07/2019            443.74    20027082    08/16/2019   515.49   20029688    08/30/2019               29.46
20025022    08/30/2019            631.55    20027084*   08/20/2019    85.88   20029689    08/30/2019              315.47
20025023    08/26/2019            504.16    20027085    08/20/2019   571.41   20029692*   08/30/2019              276.03
20025024    08/09/2019            627.61    20027086    08/16/2019   515.49   20029693    08/30/2019              521.01
20025025    08/05/2019            250.71    20027087    08/16/2019   240.54   20029694    08/30/2019              593.63
20025026    08/16/2019            544.68    20027088    08/19/2019   426.72   20029699*   08/30/2019              632.62
20025027    08/02/2019            572.42    20027089    08/16/2019   473.51   20029703*   08/30/2019              357.05
20025028    08/05/2019            613.67    20027090    08/16/2019   533.59   20029704    08/30/2019              281.57
20025029    08/06/2019            614.23    20027091    08/16/2019   282.32   20029706*   08/30/2019              357.32
20025030    08/09/2019            276.71    20027092    08/16/2019   361.81   20029707    08/30/2019              556.48
20025031    08/05/2019             50.83    20027093    08/16/2019   428.69   20029708    08/30/2019              315.68
20025032    08/02/2019            178.13    20027094    08/20/2019   399.81   20029709    08/30/2019              964.43




                               Case 19-62584-pcm11Page:Doc
                                                        28 283       Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                     09/03/2019 01:07 PM ET
            Commercial Electronic Office®                                                   Treasury Information Reporting

20025033    08/05/2019            569.29    20027095    08/19/2019   588.15   20029711*     08/30/2019              277.80
20025034    08/02/2019            430.97    20027096    08/16/2019   375.72   20029713*     08/30/2019              498.47
20025035    08/02/2019            188.52    20027097    08/16/2019   654.78   20029719*     08/30/2019              273.38
20025036    08/05/2019            500.55    20027098    08/16/2019   562.69   20029720      08/30/2019              388.24
20025037    08/05/2019            605.43    20027099    08/16/2019   409.17   20029724*     08/30/2019              344.58
20025038    08/02/2019            327.66    20027100    08/16/2019   412.50   20029725      08/30/2019              309.09
20025039    08/05/2019            232.70    20027101    08/16/2019   150.86   20029726      08/30/2019              129.75
20025040    08/05/2019            450.18    20027102    08/19/2019   194.59   20029727      08/30/2019              217.18
20025041    08/27/2019            550.26    20027103    08/19/2019    49.66   20029728      08/30/2019              470.56
20025042    08/09/2019            550.26    20027104    08/16/2019   422.76   20029729      08/30/2019              346.30
20025043    08/07/2019            395.93    20027105    08/16/2019   365.66   20029731*     08/30/2019              279.09
20025044    08/02/2019            556.41    20027106    08/16/2019   520.25   20029734*     08/30/2019              350.43
20025045    08/05/2019            227.70    20027107    08/26/2019   484.74   20029735      08/30/2019              344.26
20025046    08/02/2019            503.80    20027109*   08/16/2019   467.08   20029736      08/30/2019              305.84
20025047    08/02/2019            402.61    20027110    08/16/2019   522.37   20029737      08/30/2019              291.83
20025048    08/06/2019             75.93    20027111    08/16/2019   915.77   20029741*     08/30/2019              719.01
20025049    08/07/2019            235.32    20027112    08/19/2019   378.68   20029742      08/30/2019              326.86
20025050    08/07/2019            313.77    20027113    08/16/2019   934.35   20029744*     08/30/2019              311.55
20025051    08/12/2019            443.10    20027114    08/19/2019   491.42   20029746*     08/30/2019              319.61
20025052    08/02/2019            452.49    20027115    08/16/2019   156.87   20029747      08/30/2019              310.09
20025053    08/05/2019            302.58    20027116    08/19/2019   378.68   20029748      08/30/2019              323.68
20025054    08/05/2019            335.57    20027117    08/26/2019   388.41   20029749      08/30/2019              384.21
20025055    08/19/2019            504.87    20027118    08/27/2019   494.78   20029750      08/30/2019              402.50
20025056    08/02/2019            602.59    20027119    08/15/2019   479.91   20029752*     08/30/2019              405.63
20025057    08/12/2019            509.90    20027120    08/28/2019    85.88   20029754*     08/30/2019              571.20
20025058    08/02/2019            298.59    20027121    08/16/2019   435.37   20029756*     08/30/2019              298.16
20025059    08/02/2019            644.20    20027122    08/16/2019   569.82   20029761*     08/30/2019              245.47
20025060    08/02/2019            667.52    20027123    08/16/2019   492.61   20029763*     08/30/2019              238.00
20025061    08/05/2019            504.18    20027124    08/28/2019   181.31   20029767*     08/30/2019              476.34
20025062    08/02/2019            536.15    20027125    08/30/2019   676.84   20029768      08/30/2019              336.28
20025063    08/05/2019            433.57    20027126    08/19/2019   202.72   20029769      08/30/2019              342.72
20025064    08/02/2019            404.04    20027127    08/26/2019   572.44   20029772*     08/30/2019              293.00
20025065    08/12/2019            410.73    20027128    08/27/2019   499.29   20029773      08/30/2019              326.30
20025066    08/05/2019            533.33    20027129    08/22/2019   515.21   20029775*     08/30/2019              320.39
20025067    08/02/2019            505.19    20027130    08/16/2019   506.89   20029777*     08/30/2019              399.03
20025068    08/12/2019            420.72    20027131    08/21/2019   329.66   20029778      08/30/2019              428.83
20025069    08/02/2019            439.44    20027132    08/28/2019   448.94   20029780*     08/30/2019              661.02
20025070    08/05/2019            313.77    20027133    08/16/2019   522.37   20029781      08/30/2019              352.99
20025071    08/02/2019            550.20    20027134    08/26/2019   251.15   20029785*     08/29/2019              436.10
20025072    08/06/2019            144.32    20027135    08/28/2019   553.46   20029787*     08/30/2019              434.02
20025073    08/02/2019            350.00    20027136    08/16/2019   584.63   20029788      08/30/2019              392.58
20025074    08/02/2019            527.04    20027137    08/16/2019   491.14   20029790*     08/30/2019              444.78
20025075    08/02/2019          1,074.45    20027138    08/22/2019   440.98   20029791      08/30/2019              359.64
20025076    08/06/2019            371.33    20027139    08/16/2019   463.06   20029792      08/29/2019              492.61
20025077    08/02/2019            294.91    20027140    08/26/2019   477.00   20029794*     08/30/2019              470.09
20025078    08/09/2019            221.80    20027141    08/26/2019   400.49   20029797*     08/30/2019              368.95
20025079    08/02/2019            547.61    20027142    08/22/2019   398.27   20029798      08/30/2019              431.92
20025080    08/09/2019            504.18    20027143    08/16/2019   300.36   20029800*     08/30/2019              636.06
20025081    08/19/2019            550.01    20027144    08/16/2019   307.34   20029801      08/30/2019              341.62
20025082    08/02/2019            586.22    20027145    08/16/2019   273.64   20029802      08/30/2019              261.88
20025083    08/21/2019            535.62    20027146    08/16/2019   298.48   20029803      08/30/2019              293.00
20025084    08/02/2019            496.33    20027147    08/19/2019   548.69   20029805*     08/30/2019              487.01
20025085    08/02/2019            237.93    20027148    08/19/2019   215.63   20029827*     08/30/2019               50.26
20025086    08/07/2019            346.54    20027149    08/19/2019    85.88   20029832*     08/30/2019            5,734.32
20025088*   08/06/2019            409.42    20027150    08/20/2019   505.56   20029833      08/30/2019              450.00
20025089    08/06/2019            245.23    20027151    08/16/2019   518.02   20029834      08/30/2019              233.25
20025090    08/02/2019            548.44    20027152    08/16/2019   506.94   200253599*    08/12/2019            1,633.87
20025091    08/02/2019            364.56    20027153    08/16/2019   541.84   220026833*    08/19/2019              176.97
20025092    08/02/2019            159.71    20027154    08/16/2019   359.62   710353996*    08/14/2019            8,643.50
20025094*   08/16/2019            462.26    20027155    08/26/2019   551.40   3003287687*   08/12/2019              343.05
20025095    08/02/2019            500.37    20027156    08/26/2019   614.21   3003303684*   08/26/2019              148.95
20025096    08/02/2019            490.42    20027157    08/16/2019   238.81   3003303685    08/06/2019               21.78
20025097    08/02/2019            341.26    20027158    08/16/2019    48.32   3003303686    08/26/2019              204.66
20025098    08/05/2019            561.35    20027159    08/19/2019   409.60   3003303690*   08/05/2019              115.60
20025099    08/02/2019            369.93    20027160    08/16/2019   385.54   3003303691    08/09/2019               39.98
20025100    08/07/2019            546.28    20027161    08/16/2019   490.99   3003303692    08/26/2019               61.65
20025101    08/26/2019            460.31    20027162    08/27/2019   767.86   3003303693    08/22/2019              156.25
20025102    08/01/2019            533.76    20027163    08/16/2019   406.68   3003303694    08/19/2019              138.27
20025104*   08/02/2019            683.11    20027164    08/16/2019   461.64   3003303695    08/19/2019                4.60
20025105    08/05/2019            235.28    20027165    08/16/2019   379.11   3003303696    08/28/2019               84.01
20025106    08/02/2019            141.07    20027166    08/16/2019   523.39   3003303697    08/28/2019               58.46
20025107    08/05/2019             51.83    20027168*   08/19/2019   562.05   3003303699*   08/26/2019              128.33
20025108    08/02/2019            462.44    20027169    08/19/2019   622.05   5100147347*   08/13/2019            3,715.60
20025109    08/06/2019            477.75    20027170    08/19/2019   622.07   5100147386*   08/14/2019              766.40
20025110    08/02/2019            311.31    20027171    08/16/2019   533.19   5100147387    08/14/2019              856.67




                               Case 19-62584-pcm11Page:Doc
                                                        29 283       Filed 10/21/19
             DDA Cycled Statement Report
             Custom
             As of 08/30/2019
             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                               09/03/2019 01:07 PM ET
             Commercial Electronic Office®                                                             Treasury Information Reporting

20025111     08/02/2019            414.68    20027172      08/30/2019         493.63    5100147484*    08/02/2019            3,715.57
20025112     08/02/2019            566.05    20027173      08/16/2019         503.35    5100147515*    08/22/2019           11,723.64
20025113     08/05/2019            509.91    20027174      08/19/2019         828.21    5100147521*    08/12/2019            6,848.81
20025114     08/05/2019            515.12    20027175      08/30/2019         493.49    5100147551*    08/09/2019           11,474.83
20025115     08/09/2019            627.18    20027176      08/26/2019         510.29    5100147552     08/13/2019            3,680.01
20025116     08/02/2019            312.18    20027177      08/16/2019         468.56    5100147580*    08/05/2019            9,704.11
20025117     08/06/2019            347.53    20027178      08/16/2019         584.64    5100147583*    08/19/2019           11,608.11
20025118     08/02/2019            621.23    20027179      08/19/2019         495.19    5100147589*    08/12/2019            6,778.30
20025119     08/06/2019            222.75    20027180      08/20/2019         486.40    5100147595*    08/01/2019            2,572.83
20025120     08/06/2019            533.52    20027181      08/19/2019         348.22    5100147597*    08/06/2019            5,100.42
20025121     08/02/2019            484.26    20027182      08/19/2019         408.76    5100147603*    08/02/2019            8,202.75
20025122     08/02/2019            483.97    20027183      08/20/2019         310.98    5100147615*    08/08/2019            9,978.14
20025123     08/14/2019            379.19    20027184      08/27/2019         455.48    5100147619*    08/16/2019            2,109.05
20025124     08/02/2019            606.15    20027185      08/27/2019         455.47    5100147620     08/09/2019           11,809.29
20025125     08/08/2019            324.49    20027186      08/27/2019         458.77    5100147623*    08/02/2019           27,225.47
20025126     08/08/2019            552.47    20027187      08/26/2019         444.36    5100147625*    08/05/2019              467.81
20025127     08/06/2019            465.33    20027188      08/19/2019         123.83    5100147631*    08/08/2019           24,644.95
20025128     08/02/2019            372.12    20027189      08/19/2019         241.26    5100147632     08/02/2019            6,175.42
20025129     08/02/2019            615.02    20027190      08/27/2019         536.63    5100147633     08/02/2019           15,691.73
20025130     08/02/2019            427.07    20027191      08/16/2019         892.43    5100147634     08/13/2019           19,073.69
20025131     08/02/2019          1,501.02    20027192      08/26/2019         487.13    5100147635     08/02/2019            6,766.51
20025132     08/02/2019            294.36    20027193      08/26/2019         520.13    5100147636     08/16/2019            2,221.49
20025133     08/02/2019            550.64    20027194      08/27/2019         568.82    5100147637     08/09/2019            3,561.44
20025134     08/05/2019            252.28    20027195      08/26/2019         560.59    5100147638     08/19/2019            4,987.09
20025135     08/02/2019            527.69    20027196      08/16/2019         580.11    5100147639     08/09/2019            4,275.23
20025136     08/02/2019            197.98    20027197      08/16/2019         548.57    5100147640     08/09/2019            6,131.65
20025137     08/09/2019            361.54    20027198      08/27/2019          85.88    5100147641     08/06/2019            5,981.27
20025138     08/02/2019            338.75    20027199      08/16/2019         500.11    5100147642     08/09/2019            2,669.41
20025139     08/02/2019            408.48    20027200      08/16/2019         475.41    5100147643     08/05/2019           60,879.98
20025140     08/02/2019            453.85    20027201      08/19/2019         365.66    5100147644     08/02/2019           20,440.13
20025141     08/02/2019            379.67    20027202      08/16/2019         484.20    5100147645     08/05/2019            4,443.52
20025142     08/02/2019            483.49    20027203      08/16/2019         496.90    5100147646     08/02/2019           13,773.07
20025143     08/13/2019            443.77    20027204      08/19/2019         489.16    5100147648*    08/02/2019            8,953.17
20025144     08/06/2019            697.51    20027206*     08/27/2019         148.23    5100147649     08/16/2019            7,027.30
20025145     08/16/2019            378.23    20027207      08/16/2019         317.19    5100147650     08/02/2019            6,858.01
20025146     08/05/2019            328.33    20027208      08/20/2019         296.22    5100147651     08/05/2019            2,257.31
20025147     08/05/2019            412.20    20027209      08/19/2019         719.03    5100147653*    08/05/2019            9,014.66
20025148     08/05/2019            439.06    20027210      08/16/2019         489.85    5100147654     08/14/2019            3,959.39
20025149     08/06/2019            248.86    20027211      08/20/2019         540.89    5100147656*    08/06/2019            2,131.71
20025150     08/02/2019            388.40    20027212      08/16/2019         160.29    5100147657     08/14/2019            9,972.25
20025151     08/02/2019            423.60    20027213      08/16/2019         550.51    5100147658     08/12/2019           20,462.02
20025152     08/02/2019            160.50    20027214      08/16/2019         487.74    5100147659     08/09/2019            1,008.38
20025153     08/06/2019            497.49    20027215      08/27/2019         358.70    5100147660     08/26/2019           13,085.56
20025154     08/26/2019            315.93    20027216      08/26/2019         483.74    5100147661     08/26/2019            4,895.10
20025155     08/02/2019            428.61    20027217      08/16/2019         473.83    5100147662     08/13/2019            9,141.39
20025156     08/12/2019            599.51    20027218      08/16/2019         506.58    5100147663     08/09/2019           24,505.79
20025157     08/02/2019            856.37    20027219      08/16/2019         265.31    5100147664     08/14/2019            8,300.79
20025158     08/02/2019            355.26    20027220      08/16/2019          83.88    5100147665     08/15/2019           53,802.81
20025159     08/05/2019            270.73    20027221      08/22/2019         619.97    5100147666     08/09/2019           17,572.68
20025160     08/02/2019            466.31    20027222      08/16/2019         568.29    5100147667     08/26/2019           15,885.87
20025161     08/02/2019            408.48    20027223      08/27/2019         454.54    5100147668     08/22/2019            4,892.33
20025162     08/06/2019            331.62    20027224      08/16/2019         476.33    5100147669     08/09/2019            6,333.21
20025163     08/26/2019            386.77    20027225      08/30/2019         572.78    5100147671*    08/09/2019           30,280.06
20025164     08/02/2019            459.24    20027226      08/16/2019         465.44    5100147672     08/16/2019            5,140.33
20025165     08/05/2019            393.02    20027227      08/26/2019         597.61    5100147673     08/13/2019            8,111.95
20025166     08/02/2019            331.73    20027228      08/19/2019         519.32    5100147674     08/14/2019            5,016.82
20025167     08/06/2019            635.74    20027229      08/16/2019         495.81    5100147675     08/06/2019           25,183.65
20025168     08/02/2019            365.24    20027230      08/16/2019         533.44    5100147676     08/06/2019           21,324.14
20025169     08/05/2019            332.46    20027231      08/16/2019         537.07    5100147677     08/19/2019            2,800.45
20025170     08/29/2019            411.74    20027232      08/16/2019          83.88    5100147679*    08/21/2019            5,520.34
20025171     08/12/2019            664.97    20027233      08/20/2019         549.29    5100147680     08/15/2019               89.75
20025172     08/02/2019            359.40    20027234      08/16/2019         278.44    5100147681     08/12/2019            8,760.26
20025173     08/06/2019            439.07    20027236*     08/19/2019         293.28
20025174     08/06/2019            405.32    20027237      08/16/2019         527.98

* Gap in check sequence                                                 10,798,005.36   Total Checks Paid

                                                                        16,425,726.08   Total Debits

Daily Ledger Balance Summary
              Date                           Balance     Date                     Balance      Date                          Balance

              08/01/2019                         .00     08/13/2019                     .00    08/23/2019                         .00
              08/02/2019                         .00     08/14/2019                     .00    08/26/2019                         .00
              08/05/2019                         .00     08/15/2019                     .00    08/27/2019                         .00



                                Case 19-62584-pcm11Page:Doc
                                                         30 283               Filed 10/21/19
DDA Cycled Statement Report
Custom
As of 08/30/2019
Company: NORPAC FOODS INC
User: Tammy Roebke                                                                       09/03/2019 01:07 PM ET
Commercial Electronic Office®                                                     Treasury Information Reporting

08/06/2019                      .00   08/16/2019                      .00   08/28/2019                       .00
08/07/2019                      .00   08/19/2019                      .00   08/29/2019                       .00
08/08/2019                      .00   08/20/2019                      .00   08/30/2019                       .00
08/09/2019                      .00   08/21/2019                      .00
08/12/2019                      .00   08/22/2019                      .00

                                                                      .00   Average Daily Ledger Balance


                                      ---- END OF REPORT ----




                   Case 19-62584-pcm11Page:Doc
                                            31 283              Filed 10/21/19
                                                                                Statement Period
                                                                             From August    22, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     5

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    8-161
             CASE # 19-62584
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8752         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8752      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
                                                                                              Statement Period
                                                                                           From August    22, 2019
                                                                                           To   August    31, 2019
                                                                                           Page     2 of     5

                                                                                           PRIVATE CLIENT GROUP 161
                                                                                           565 FIFTH AVENUE
                                                                                           NEW YORK, NY 10017




             NORPAC FOODS INC DIP                             8-161
             CASE # 19-62584
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                         999                              See Back for Important Information


                                                                                  Primary Account:       8752           0


BANKRUPTCY CHECKING                       8752




Summary

 Previous Balance as of August         22, 2019                                                                      .00
        4 Credits                                                                                           1,030,763.79
       44 Debits                                                                                            1,030,763.79
 Ending Balance as of   August         31, 2019                                                                      .00


Deposits and Other    Credits
 Aug 28 TELEPHONE     XFER CR                                                                                   261,190.01
         TELEPHONE    TRANSFER   FROM: XXXXXX8906
 Aug 29 TELEPHONE     XFER CR                                                                                   209,150.00
         TELEPHONE    TRANSFER   FROM: XXXXXX8906
 Aug 30 TELEPHONE     XFER CR                                                                                   197,757.94
         TELEPHONE    TRANSFER   FROM: XXXXXX8906
 Aug 30 TELEPHONE     XFER CR                                                                                   362,665.84
         TELEPHONE    TRANSFER   FROM: XXXXXX8906

Withdrawals and Other Debits
 Aug 28 OUTGOING WIRE XFER                                                                                       11,190.01
         REF# 20190828B6B7261F002609
         TO:   MARC NELSON OIL PRODUCTS INC                 ABA:      121100782
         BANK: BK WEST WAL CRK                            ACCT#         4117
 Aug 28 OUTGOING WIRE XFER                                                                                      250,000.00
         REF# 20190828B6B7261F002657
         TO:   PACKAGING CORPORATION OF AMERICA             ABA:      071000288
         BANK: BMO HARRIS BANK NA                         ACCT#       3005
 Aug 29 OUTGOING WIRE XFER                                                                                        9,150.00
         REF# 20190829B6B7261F002773
         TO:   PAPER PEOPLE                                 ABA:      125108272
         BANK: COLUM ST BK LKWOOD                         ACCT#          7879
 Aug 29 OUTGOING WIRE XFER                                                                                      200,000.00
         REF# 20190829B6B7261F002799
         TO:   AMPAC PLASTICS LLC                           ABA:      021000021




                            Case 19-62584-pcm11              Doc 283        Filed 10/21/19
                                                                                        Statement Period
                                                                                     From August    22, 2019
                                                                                     To   August    31, 2019
                                                                                     Page     3 of     5

                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017




             NORPAC FOODS INC DIP                      8-161
             CASE # 19-62584
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                 999                                See Back for Important Information


                                                                            Primary Account:       8752          0

Date                   Description
         BANK: JPMCHASE                            ACCT#         5423
Aug 30   OUTGOING WIRE XFER                                                                                2,536.00
         REF# 20190830B6B7261F003181
         TO:   EVERGREEN SHIPPING AGENCY             ABA:      021000021
         BANK: JPMCHASE                            ACCT#          8414
Aug 30   OUTGOING WIRE XFER                                                                                2,744.00
         REF# 20190830B6B7261F003173
         TO:   HYUNDAI MERCHANT MARINE CO LTD        ABA:      026009593
         BANK: BK AMER NYC                         ACCT#          1192
Aug 30   OUTGOING WIRE XFER                                                                                3,183.96
         REF# 20190830B6B7261F003172
         TO:   CONTINENTAL AMERICAN INSURANCE        ABA:      053201607
         BANK: BB&T SC                             ACCT# 0           3966
Aug 30   OUTGOING WIRE XFER                                                                                4,109.70
         REF# 20190830B6B7261F003120
         TO:   WILLAMETTE DENTAL INSURANCE INC       ABA:      123205054
         BANK: UMPQUA BANK                         ACCT#         5332
Aug 30   OUTGOING WIRE XFER                                                                                8,825.60
         REF# 20190830B6B7261F003122
         TO:   AMERITAS                              ABA:      121000248
         BANK: WELLS FARGO NA                      ACCT#         04220
Aug 30   OUTGOING WIRE XFER                                                                               11,597.00
         REF# 20190830B6B7261F003110
         TO:   TEAMSTER FOOD PROCESSORS,             ABA:      123002011
         BANK: KEY BK POR                          ACCT#        9562
Aug 30   OUTGOING WIRE XFER                                                                               12,754.52
         REF# 20190830B6B7261F003125
         TO:   UNUM                                  ABA:      111000012
         BANK: BK AMER GLOBAL                      ACCT#          3617
Aug 30   OUTGOING WIRE XFER                                                                               26,588.07
         REF# 20190830B6B7261F003126
         TO:   KAISER FOUNDATION HEALTH PLAN INC     ABA:      121000248
         BANK: WELLS FARGO NA                      ACCT#          2210
Aug 30   OUTGOING WIRE XFER                                                                               32,004.00
         REF# 20190830B6B7261F003177
         TO:   FRY FOODS INC                         ABA:      042000314
         BANK: FIFTH THIRD CINCI                   ACCT#          6160
Aug 30   OUTGOING WIRE XFER                                                                               47,826.20
         REF# 20190830B6B7261F003178




                         Case 19-62584-pcm11          Doc 283           Filed 10/21/19
                                                                                         Statement Period
                                                                                      From August    22, 2019
                                                                                      To   August    31, 2019
                                                                                      Page     4 of     5

                                                                                      PRIVATE CLIENT GROUP 161
                                                                                      565 FIFTH AVENUE
                                                                                      NEW YORK, NY 10017




                NORPAC FOODS INC DIP                     8-161
                CASE # 19-62584
                OPERATING ACCOUNT
                PO BOX 14444
                SALEM OR 97309                 999                              See Back for Important Information


                                                                             Primary Account:       8752           0

Date                     Description
            TO:   BRECON FOODS INC                     ABA:      021001088
            BANK: HSBC USA                           ACCT#         2669
Aug 30      OUTGOING WIRE XFER                                                                              49,649.83
            REF# 20190830B6B7261F003179
            TO:   PREFERRED FREEZER SERVICES           ABA:      121000358
            BANK: BK AM SF                           ACCT#          7762
Aug 30      OUTGOING WIRE XFER                                                                             113,985.80
            REF# 20190830B6B7261F003188
            TO:   PROVIDENCE HEALTH PLAN               ABA:      123000220
            BANK: US BK OR POR                       ACCT#          3097
Aug    30   PRE-AUTHORIZED WD                                                                                  850.49
Aug    30   PRE-AUTHORIZED WD                                                                                1,940.51
Aug    30   PRE-AUTHORIZED WD                                                                                2,001.03
Aug    30   PRE-AUTHORIZED WD                                                                                2,747.78
Aug    30   PRE-AUTHORIZED WD                                                                                2,882.74
Aug    30   PRE-AUTHORIZED WD                                                                                2,984.48
Aug    30   PRE-AUTHORIZED WD                                                                                3,391.53
Aug    30   PRE-AUTHORIZED WD                                                                                3,608.32
Aug    30   PRE-AUTHORIZED WD                                                                                4,319.04
Aug    30   PRE-AUTHORIZED WD                                                                                4,325.94
Aug    30   PRE-AUTHORIZED WD                                                                                4,386.82
Aug    30   PRE-AUTHORIZED WD                                                                                4,641.56
Aug    30   PRE-AUTHORIZED WD                                                                                4,735.03
Aug    30   PRE-AUTHORIZED WD                                                                                8,031.16
Aug    30   PRE-AUTHORIZED WD                                                                                8,201.06
Aug    30   PRE-AUTHORIZED WD                                                                                8,434.57
Aug    30   PRE-AUTHORIZED WD                                                                                8,929.49
Aug    30   PRE-AUTHORIZED WD                                                                                9,647.37
Aug    30   PRE-AUTHORIZED WD                                                                                9,732.74
Aug    30   PRE-AUTHORIZED WD                                                                               12,068.87
Aug    30   PRE-AUTHORIZED WD                                                                               12,213.46
Aug    30   PRE-AUTHORIZED WD                                                                               12,217.94
Aug    30   PRE-AUTHORIZED WD                                                                               13,673.39
Aug    30   PRE-AUTHORIZED WD                                                                               13,799.37
Aug    30   PRE-AUTHORIZED WD                                                                               13,830.00
Aug    30   PRE-AUTHORIZED WD                                                                               16,937.85
Aug    30   PRE-AUTHORIZED WD                                                                               25,000.00
Aug    30   PRE-AUTHORIZED WD                                                                               29,086.56




                            Case 19-62584-pcm11         Doc 283        Filed 10/21/19
                                                                        Statement Period
                                                                     From August    22, 2019
                                                                     To   August    31, 2019
                                                                     Page     5 of     5

                                                                     PRIVATE CLIENT GROUP 161
                                                                     565 FIFTH AVENUE
                                                                     NEW YORK, NY 10017




             NORPAC FOODS INC DIP              8-161
             CASE # 19-62584
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309            999                     See Back for Important Information


                                                            Primary Account:       8752         0


Daily Balances
 Aug 22                  .00




                         Case 19-62584-pcm11   Doc 283   Filed 10/21/19
                                                                                Statement Period
                                                                             From August    22, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    8-161
             CASE # 19-62584
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8760         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8760      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
                                                                              Statement Period
                                                                           From August    22, 2019
                                                                           To   August    31, 2019
                                                                           Page     2 of     2

                                                                           PRIVATE CLIENT GROUP 161
                                                                           565 FIFTH AVENUE
                                                                           NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    8-161
             CASE # 19-62584
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                   See Back for Important Information


                                                                  Primary Account:       8760          0


BANKRUPTCY CHECKING                    8760




Summary

 Previous Balance as of August      22, 2019                                                          .00

 There was no deposit activity during this statement period

 Ending Balance as of   August      31, 2019                                                          .00




                         Case 19-62584-pcm11         Doc 283   Filed 10/21/19
                                                                                Statement Period
                                                                             From August    26, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     3

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    8-161
             CASE # 19-62584
             CONCENTRATION ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8906         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8906      BANKRUPTCY CHECKING                                        .00                  8,883,115.43

              RELATIONSHIP             TOTAL                                                    8,883,115.43




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
                                                                                        Statement Period
                                                                                     From August    26, 2019
                                                                                     To   August    31, 2019
                                                                                     Page     2 of     3

                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017




             NORPAC FOODS INC DIP                       8-161
             CASE # 19-62584
             CONCENTRATION ACCOUNT
             PO BOX 14444
             SALEM OR 97309                     999                            See Back for Important Information


                                                                            Primary Account:       8906           0


BANKRUPTCY CHECKING                     8906




Summary

 Previous Balance as of August       26, 2019                                                                  .00
        4 Credits                                                                                    10,160,909.88
        8 Debits                                                                                      1,277,794.45
 Ending Balance as of   August       31, 2019                                                         8,883,115.43


Deposits and Other Credits
 Aug 27 INCOMING WIRE                                                                                 5,000,000.00
         REF# 20190827B6B7261F00165808271609FT03
         FROM: NORPAC FOODS INC                       ABA:      121000248
         BANK:
 Aug 30 INCOMING WIRE                                                                                 5,000,000.00
         REF# 20190830B6B7261F00196508301425FT03
         FROM: NORPAC FOODS INC                       ABA:      121000248
         BANK:
 Aug 30 ZBA/TBA TRANSFER IN                                                                                 7,022.47
         ZBA/SWEEP TRANSFER FROM          8779
 Aug 30 ZBA/TBA TRANSFER IN                                                                               153,887.41
         ZBA/SWEEP TRANSFER FROM          8795

Withdrawals and Other Debits
 Aug 28 TRANSFER DR      TRANSFER DR 0                                                                     50,000.00
         TRANSFER TO:        XXXXXX8795
 Aug 28 TELEPHONE XFER DR                                                                                 261,190.01
         TELEPHONE TRANSFER TO: XXXXXX8752
 Aug 29 TELEPHONE XFER DR                                                                                 209,150.00
         TELEPHONE TRANSFER TO: XXXXXX8752
 Aug 30 TRANSFER DR      TRANSFER DR 0                                                                      8,301.72
         TRANSFER TO:        XXXXXX8779
 Aug 30 TRANSFER DR      TRANSFER DR 0                                                                     10,297.25
         TRANSFER TO:        XXXXXX8795
 Aug 30 TRANSFER DR      TRANSFER DR 0                                                                    178,431.69




                         Case 19-62584-pcm11           Doc 283        Filed 10/21/19
                                                                             Statement Period
                                                                          From August    26, 2019
                                                                          To   August    31, 2019
                                                                          Page     3 of     3

                                                                          PRIVATE CLIENT GROUP 161
                                                                          565 FIFTH AVENUE
                                                                          NEW YORK, NY 10017




              NORPAC FOODS INC DIP                  8-161
              CASE # 19-62584
              CONCENTRATION ACCOUNT
              PO BOX 14444
              SALEM OR 97309                  999                   See Back for Important Information


                                                                 Primary Account:       8906           0

 Date                  Description
          TRANSFER TO:       XXXXXX8795
 Aug 30   TELEPHONE XFER DR                                                                    197,757.94
          TELEPHONE TRANSFER TO: XXXXXX8752
 Aug 30   TELEPHONE XFER DR                                                                    362,665.84
          TELEPHONE TRANSFER TO: XXXXXX8752

Daily Balances
 Aug 26                   .00                       Aug 29       4,479,659.99
 Aug 27          5,000,000.00                       Aug 30       8,883,115.43
 Aug 28          4,688,809.99




                          Case 19-62584-pcm11       Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                                 09/03/2019 01:05 PM ET
            Commercial Electronic Office®                                                               Treasury Information Reporting

                                                                            136,307.56   Total Debits

Daily Ledger Balance Summary
              Date                          Balance   Date                         Balance      Date                          Balance

             08/01/2019                         .00   08/13/2019                         .00    08/23/2019                         .00
             08/02/2019                         .00   08/14/2019                         .00    08/26/2019                         .00
             08/05/2019                         .00   08/15/2019                         .00    08/27/2019                         .00
             08/06/2019                         .00   08/16/2019                         .00    08/28/2019                         .00
             08/07/2019                         .00   08/19/2019                         .00    08/29/2019                         .00
             08/08/2019                         .00   08/20/2019                         .00    08/30/2019                         .00
             08/09/2019                         .00   08/21/2019                         .00
             08/12/2019                         .00   08/22/2019                         .00

                                                                                         .00    Average Daily Ledger Balance


                                                      ---- END OF REPORT ----




                               Case 19-62584-pcm11Page:
                                                     Doc2 283                   Filed 10/21/19
                                                                                Statement Period
                                                                             From August    22, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     3

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                 8-161
             CASE # 19-33102
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8779         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8779      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
                                                                                         Statement Period
                                                                                      From August    22, 2019
                                                                                      To   August    31, 2019
                                                                                      Page     2 of     3

                                                                                      PRIVATE CLIENT GROUP 161
                                                                                      565 FIFTH AVENUE
                                                                                      NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                    8-161
             CASE # 19-33102
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                   999                               See Back for Important Information


                                                                             Primary Account:       8779            0


BANKRUPTCY CHECKING                    8779




Summary

 Previous Balance as of August    22, 2019                                                                       .00
        2 Credits                                                                                          15,324.19
        6 Debits                                                                                           15,324.19
 Ending Balance as of   August    31, 2019                                                                       .00


Deposits and Other Credits
 Aug 30 INCOMING WIRE                                                                                       7,022.47
         REF# 20190830B6B7261F00257008301742FT03
         FROM: HERMISTON FOODS LLC DIP                ABA:      098400352
         BANK: US BANK OREGON NATIONAL ASSOCIAT
 Aug 30 TRANSFER CR      TRANSFER CR 0                                                                      8,301.72
         TRANSFER FROM:       XXXXXX8906

Withdrawals and Other Debits
 Aug 30 OUTGOING WIRE XFER                                                                                      115.30
         REF# 20190830B6B7261F003142
         TO:   CONTINENTAL AMERICAN INSURANCE         ABA:      053201607
         BANK: BB&T SC                              ACCT#             3966
 Aug 30 OUTGOING WIRE XFER                                                                                      217.65
         REF# 20190830B6B7261F003146
         TO:   WILLIAMETTE DENTAL INSURANCE INC.      ABA:      123205054
         BANK: UMPQUA BANK                          ACCT#         5332
 Aug 30 OUTGOING WIRE XFER                                                                                      341.80
         REF# 20190830B6B7261F003145
         TO:   AMERITAS                               ABA:      121000248
         BANK: WELLS FARGO NA                       ACCT#          4220
 Aug 30 OUTGOING WIRE XFER                                                                                      554.50
         REF# 20190830B6B7261F003144
         TO:   UNUM                                   ABA:      111000012
         BANK: BK AMER GLOBAL                       ACCT#          3617
 Aug 30 OUTGOING WIRE XFER                                                                                  7,072.47




                         Case 19-62584-pcm11           Doc 283        Filed 10/21/19
                                                                                    Statement Period
                                                                                 From August    22, 2019
                                                                                 To   August    31, 2019
                                                                                 Page     3 of     3

                                                                                 PRIVATE CLIENT GROUP 161
                                                                                 565 FIFTH AVENUE
                                                                                 NEW YORK, NY 10017




              HERMISTON FOODS LLC DIP               8-161
              CASE # 19-33102
              OPERATING ACCOUNT
              PO BOX 14444
              SALEM OR 97309              999                              See Back for Important Information


                                                                        Primary Account:       8779         0

 Date                  Description
          REF# 20190830B6B7261F003143
          TO:   PROVIDENCE HEALTH PLAN            ABA:      123000220
          BANK: US BK OR POR                    ACCT#           097
 Aug 30   ZBA/TBA XFER OUT                                                                            7,022.47
          ZBA/SWEEP TRANSFER TO          8906

Daily Balances
 Aug 22                   .00




                          Case 19-62584-pcm11      Doc 283        Filed 10/21/19
                                                                                Statement Period
                                                                             From August    22, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                 8-161
             CASE # 19-33102
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8787         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8787      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
                                                                             Statement Period
                                                                          From August    22, 2019
                                                                          To   August    31, 2019
                                                                          Page     2 of     2

                                                                          PRIVATE CLIENT GROUP 161
                                                                          565 FIFTH AVENUE
                                                                          NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                 8-161
             CASE # 19-33102
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                   999                   See Back for Important Information


                                                                 Primary Account:       8787          0


BANKRUPTCY CHECKING                    8787




Summary

 Previous Balance as of August    22, 2019                                                           .00

 There was no deposit activity during this statement period

 Ending Balance as of   August    31, 2019                                                           .00




                         Case 19-62584-pcm11        Doc 283   Filed 10/21/19
                                                                                Statement Period
                                                                             From August    22, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     3

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                    8-161
             CASE # 19-33103
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8795         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8795      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
                                                                                       Statement Period
                                                                                    From August    22, 2019
                                                                                    To   August    31, 2019
                                                                                    Page     3 of     3

                                                                                    PRIVATE CLIENT GROUP 161
                                                                                    565 FIFTH AVENUE
                                                                                    NEW YORK, NY 10017




              QUINCY FOODS LLC DIP                     8-161
              CASE # 19-33103
              OPERATING ACCOUNT
              PO BOX 14444
              SALEM OR 97309                 999                              See Back for Important Information


                                                                           Primary Account:       8795           0

 Date                  Description
          REF# 20190830B6B7261F003165
          TO:   AMERITAS                             ABA:      121000248
          BANK: WELLS FARGO NA                     ACCT#          4220
 Aug 30   OUTGOING WIRE XFER                                                                              10,297.25
          REF# 20190830B6B7261F000568
          TO:   TEAMSTERS LOCAL UNION 760            ABA:      125000574
          BANK: KEY BK WASH TAC                    ACCT#        5602
 Aug 30   OUTGOING WIRE XFER                                                                              10,748.00
          REF# 20190830B6B7261F003151
          TO:   UNUM                                 ABA:      111000012
          BANK: BK AMER GLOBAL                     ACCT#          3617
 Aug 30   OUTGOING WIRE XFER                                                                             153,937.41
          REF# 20190830B6B7261F003195
          TO:   PROVIDENCE HEALTH PLAN               ABA:      123000220
          BANK: US BK OR POR                       ACCT#          3097
 Aug 30   ZBA/TBA XFER OUT                                                                               153,887.41
          ZBA/SWEEP TRANSFER TO             8906

Daily Balances
 Aug 22                   .00




                          Case 19-62584-pcm11         Doc 283        Filed 10/21/19
                                                                                Statement Period
                                                                             From August    22, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                    8-161
             CASE # 19-33103
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8809         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8809      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




                         Case 19-62584-pcm11         Doc 283    Filed 10/21/19
                                                                              Statement Period
                                                                           From August    22, 2019
                                                                           To   August    31, 2019
                                                                           Page     2 of     2

                                                                           PRIVATE CLIENT GROUP 161
                                                                           565 FIFTH AVENUE
                                                                           NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                    8-161
             CASE # 19-33103
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                   See Back for Important Information


                                                                  Primary Account:       8809          0


BANKRUPTCY CHECKING                    8809




Summary

 Previous Balance as of August      22, 2019                                                          .00

 There was no deposit activity during this statement period

 Ending Balance as of   August      31, 2019                                                          .00




                         Case 19-62584-pcm11         Doc 283   Filed 10/21/19
Case 19-62584-pcm11   Doc 283   Filed 10/21/19
             DDA Cycled Statement Report
             Custom
             As of 08/30/2019
             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                                     09/03/2019 01:10 PM ET
             Commercial Electronic Office®                                                                   Treasury Information Reporting

                   08/08/2019              22,738.78      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/09/2019             211,289.43      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/12/2019             156,553.66      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/13/2019             245,328.79      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/14/2019             118,729.78      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/15/2019               7,684.36      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/16/2019             135,293.85      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/19/2019              49,962.32      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/20/2019              83,384.92      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/21/2019             514,427.98      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/22/2019              60,977.45      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/26/2019             174,982.57      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/27/2019              62,575.35      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/28/2019              17,997.15      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/29/2019               8,567.23      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073
                   08/30/2019              11,184.60      ZBA BALANCE ACCOUNT TRANSFER FROM                  9073

                                        2,572,472.45      Total Electronic Deposits/Bank Credits

                                        2,636,135.17      Total Credits

Debits
  Electronic Debits/Bank Debits
     Effective Date Posted Date                Amount     Transaction Detail
                   08/07/2019             451,948.77      WT FED#09543 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                          SRF# 201908
                                                          0700005801 TRN#190807082954 RFB#     450474844
                   08/12/2019               2,655.20      K6079636A MANUAL 190806 QUINCY PAYROLL 6079636
                   08/19/2019              12,847.52      WA DEPT REVENUE TAX PYMT 190816 3061970 QUINCY FOODS, LLC
                   08/21/2019             487,239.46      WT FED#09108 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                          SRF# 201908
                                                          2100005960 TRN#190821093681 RFB#     450474844
                   08/22/2019                  2,000.00   BANK ORIGINATED DEBIT
                   08/23/2019                 58,083.77   ZBA BALANCE ACCOUNT TRANSFER TO         9073

                                        1,014,774.72      Total Electronic Debits/Bank Debits

Checks Paid
Check                                          Check                                            Check
Number      Date                   Amount      Number         Date                  Amount      Number       Date                  Amount
3152         08/30/2019            1,432.34    200002812*     08/05/2019              390.52    200003039    08/09/2019            1,890.12
401451*      08/02/2019              553.45    200002813      08/05/2019              993.86    200003040    08/20/2019            1,962.98
401457*      08/02/2019            4,221.94    200002814      08/08/2019              471.70    200003041    08/12/2019            2,402.68
401458       08/01/2019           15,471.75    200002815      08/01/2019              455.17    200003042    08/26/2019            1,440.51
401459       08/05/2019              934.38    200002819*     08/06/2019            1,451.17    200003043    08/12/2019            1,220.67
401460       08/07/2019               20.24    200002823*     08/05/2019            1,095.48    200003045*   08/14/2019              860.86
401461       08/06/2019            1,258.55    200002827*     08/09/2019               63.40    200003046    08/16/2019              110.26
401462       08/09/2019              190.01    200002831*     08/07/2019            1,913.20    200003047    08/13/2019            1,297.54
401463       08/09/2019              346.55    200002837*     08/13/2019            1,732.58    200003048    08/20/2019            4,946.44
401464       08/21/2019               43.50    200002841*     08/08/2019            1,772.59    200003050*   08/26/2019            1,449.51
401465       08/13/2019              607.37    200002844*     08/05/2019              267.65    200003051    08/30/2019            1,977.35
401467*      08/12/2019              104.02    200002845      08/12/2019              192.91    200003054*   08/28/2019            1,827.90
401468       08/15/2019              188.41    200002847*     08/26/2019              250.70    200003055    08/26/2019              906.79
401469       08/19/2019              448.84    200002848      08/13/2019               88.21    200003056    08/27/2019            1,572.32
401470       08/19/2019              190.01    200002849      08/06/2019            2,760.39    200003057    08/26/2019            1,030.78
401471       08/22/2019              301.62    200002850      08/12/2019            1,735.69    200003058    08/26/2019            2,222.65
401473*      08/19/2019              680.00    200002851      08/12/2019            1,411.73    200003059    08/26/2019            1,750.23
401474       08/21/2019              109.00    200002852      08/12/2019              289.75    200003060    08/27/2019            1,686.74
401475       08/22/2019              592.06    200002853      08/09/2019            1,559.74    200003061    08/27/2019            1,806.51
401476       08/26/2019              696.36    200002854      08/12/2019            1,121.80    200003063*   08/26/2019            1,657.41
401477       08/26/2019              796.06    200002855      08/12/2019              201.30    200003064    08/26/2019            1,681.45
401478       08/26/2019              442.35    200002856      08/09/2019            1,287.45    200003065    08/26/2019            2,154.96
401479       08/30/2019            1,149.30    200002859*     08/26/2019            1,681.29    200003066    08/26/2019              911.90
401480       08/27/2019              190.01    200002860      08/09/2019            1,201.77    200003067    08/26/2019            1,771.81
10060319*    08/26/2019              100.00    200002861      08/16/2019            2,592.51    200003068    08/26/2019            1,443.01
10060769*    08/02/2019            2,649.74    200002862      08/13/2019              209.48    200003069    08/26/2019            1,403.61
10060861*    08/05/2019            1,783.33    200002863      08/12/2019              657.64    200003070    08/26/2019            1,827.32
10061001*    08/02/2019            1,662.75    200002864      08/09/2019            1,993.66    200003071    08/27/2019            1,928.41
10061020*    08/05/2019               80.87    200002865      08/09/2019            1,816.45    200003072    08/27/2019               72.26
10061026*    08/01/2019              815.62    200002866      08/13/2019              150.56    200003073    08/27/2019              788.36
10061031*    08/01/2019              134.11    200002867      08/20/2019              110.26    200003074    08/29/2019            1,386.33
10061035*    08/13/2019              716.57    200002868      08/12/2019            1,709.52    200003075    08/26/2019            1,674.11
10061036     08/27/2019              731.86    200002869      08/12/2019            2,086.86    200003076    08/26/2019            1,634.33
10061047*    08/09/2019            2,150.26    200002871*     08/12/2019              951.74    200003077    08/27/2019            1,463.32
10061053*    08/06/2019            1,344.49    200002872      08/09/2019            1,066.42    200003078    08/26/2019              405.65



                                  Case 19-62584-pcm11Page:
                                                        Doc2 283                     Filed 10/21/19
            DDA Cycled Statement Report
            Custom
            As of 08/30/2019
            Company: NORPAC FOODS INC
            User: Tammy Roebke                                                                       09/03/2019 01:10 PM ET
            Commercial Electronic Office®                                                     Treasury Information Reporting

10061058*   08/26/2019            100.00    200002873    08/09/2019   2,053.23   200003079    08/26/2019            1,833.66
10061060*   08/05/2019             48.30    200002875*   08/09/2019     139.85   200003080    08/26/2019            1,743.53
10061062*   08/01/2019            555.98    200002876    08/09/2019   1,519.25   200003081    08/27/2019            1,609.90
10061066*   08/01/2019              6.46    200002877    08/09/2019   1,378.09   200003082    08/26/2019            1,177.25
10061068*   08/01/2019            747.50    200002878    08/09/2019   1,683.18   200003083    08/27/2019            1,380.08
10061074*   08/07/2019        151,089.60    200002879    08/12/2019   1,805.48   200003084    08/30/2019              324.90
10061075    08/06/2019          7,948.32    200002880    08/13/2019     229.02   200003086*   08/27/2019            1,853.62
10061081*   08/02/2019          2,289.27    200002881    08/29/2019   1,175.12   200003087    08/26/2019            2,077.75
10061082    08/06/2019            309.52    200002882    08/12/2019   1,615.23   200003088    08/26/2019            2,259.19
10061083    08/08/2019         13,024.00    200002883    08/09/2019   1,355.73   200003089    08/26/2019              563.38
10061084    08/06/2019            417.52    200002884    08/13/2019   1,462.85   200003091*   08/27/2019            1,097.16
10061085    08/30/2019             53.95    200002885    08/09/2019     864.28   200003092    08/26/2019            2,063.99
10061086    08/06/2019            147.33    200002886    08/12/2019   1,123.26   200003093    08/26/2019              887.84
10061088*   08/08/2019             75.00    200002887    08/09/2019   2,056.84   200003094    08/27/2019            1,426.90
10061089    08/08/2019          6,145.25    200002888    08/09/2019   1,398.75   200003095    08/26/2019              165.36
10061090    08/07/2019            364.94    200002889    08/13/2019   2,033.87   200003096    08/26/2019            3,091.79
10061091    08/09/2019             87.40    200002890    08/13/2019   1,507.70   200003097    08/26/2019            1,755.63
10061092    08/05/2019          1,032.85    200002891    08/09/2019   1,312.19   200003098    08/26/2019              583.47
10061093    08/05/2019            545.68    200002892    08/13/2019   1,458.01   200003099    08/26/2019            1,168.65
10061095*   08/06/2019         11,324.70    200002893    08/12/2019     319.65   200003100    08/26/2019            2,098.39
10061096    08/08/2019            100.00    200002894    08/12/2019   2,036.94   200003101    08/27/2019            1,508.10
10061097    08/06/2019          2,377.94    200002895    08/12/2019   2,080.30   200003102    08/26/2019            2,476.91
10061098    08/06/2019            349.24    200002896    08/09/2019   1,618.57   200003103    08/27/2019            1,529.20
10061099    08/06/2019          3,653.40    200002897    08/09/2019     701.18   200003104    08/26/2019            1,892.04
10061100    08/09/2019         98,066.40    200002898    08/12/2019   1,368.28   200003105    08/26/2019              857.90
10061101    08/12/2019         22,442.00    200002899    08/12/2019   2,017.84   200003106    08/26/2019            1,466.42
10061102    08/13/2019          1,046.01    200002900    08/12/2019   1,053.82   200003107    08/26/2019            1,762.68
10061103    08/09/2019          1,666.21    200002901    08/13/2019   1,301.84   200003108    08/26/2019            1,338.44
10061104    08/12/2019          7,465.70    200002902    08/14/2019   1,448.10   200003110*   08/28/2019            2,173.19
10061105    08/12/2019          3,654.80    200002903    08/09/2019   2,996.21   200003111    08/26/2019              956.12
10061106    08/12/2019             35.00    200002904    08/13/2019     753.80   200003112    08/27/2019            1,621.37
10061107    08/12/2019          8,704.56    200002905    08/13/2019     681.16   200003113    08/26/2019            1,002.14
10061108    08/15/2019            150.00    200002906    08/12/2019   1,114.83   200003114    08/26/2019            1,517.98
10061109    08/09/2019          1,651.71    200002907    08/09/2019   2,262.14   200003116*   08/26/2019            1,606.46
10061110    08/13/2019          1,047.95    200002908    08/27/2019   1,296.41   200003118*   08/26/2019            2,008.24
10061111    08/14/2019          1,645.25    200002909    08/15/2019   1,599.93   200003119    08/26/2019            2,325.11
10061112    08/13/2019         10,778.41    200002910    08/13/2019     916.30   200003120    08/26/2019            1,534.50
10061113    08/27/2019            100.00    200002911    08/09/2019   1,092.86   200003121    08/26/2019            1,193.22
10061114    08/12/2019            300.00    200002912    08/09/2019   1,872.09   200003122    08/26/2019            1,749.66
10061115    08/09/2019          1,464.00    200002914*   08/09/2019     776.46   200003123    08/26/2019            1,751.42
10061116    08/09/2019         13,497.12    200002916*   08/09/2019   1,481.16   200003124    08/26/2019            1,128.49
10061117    08/12/2019          5,646.96    200002917    08/12/2019     319.65   200003125    08/30/2019            1,691.22
10061118    08/12/2019         35,995.55    200002919*   08/13/2019   1,211.72   200003127*   08/27/2019            2,121.13
10061119    08/21/2019          7,968.88    200002921*   08/28/2019   1,678.43   200003128    08/27/2019            1,621.08
10061120    08/13/2019          2,680.00    200002922    08/09/2019     938.97   200003129    08/26/2019            1,135.94
10061121    08/21/2019            200.00    200002923    08/16/2019   1,304.52   200003130    08/26/2019            2,073.19
10061122    08/19/2019            213.15    200002924    08/09/2019     884.50   200003131    08/27/2019            1,819.40
10061123    08/21/2019             32.10    200002925    08/13/2019     211.14   200003133*   08/26/2019            1,523.83
10061124    08/20/2019          2,102.76    200002926    08/13/2019     111.19   200003134    08/26/2019            2,842.04
10061125    08/22/2019            100.00    200002927    08/09/2019     475.84   200003135    08/26/2019            2,199.47
10061126    08/20/2019          1,089.57    200002928    08/09/2019   1,311.12   200003136    08/26/2019            1,701.62
10061127    08/20/2019          7,607.44    200002930*   08/09/2019   2,040.57   200003137    08/26/2019            2,340.79
10061128    08/19/2019             56.70    200002931    08/12/2019   1,974.17   200003139*   08/28/2019            1,593.49
10061129    08/20/2019            332.55    200002932    08/26/2019     237.08   200003140    08/26/2019            1,807.36
10061130    08/21/2019          1,464.69    200002933    08/09/2019   1,143.14   200003141    08/27/2019            1,124.26
10061131    08/22/2019            478.25    200002934    08/12/2019     509.65   200003142    08/26/2019            2,119.04
10061132    08/19/2019            649.73    200002935    08/09/2019     140.52   200003143    08/26/2019            1,220.96
10061133    08/19/2019            254.75    200002936    08/09/2019     114.84   200003144    08/30/2019            1,745.78
10061134    08/19/2019          1,394.56    200002937    08/12/2019   1,040.14   200003145    08/27/2019            1,943.11
10061135    08/19/2019            146.14    200002938    08/30/2019     110.26   200003146    08/27/2019            1,361.98
10061136    08/21/2019            159.78    200002939    08/09/2019     330.77   200003147    08/26/2019            1,333.03
10061137    08/21/2019            113.30    200002940    08/13/2019     111.19   200003148    08/26/2019            1,792.10
10061138    08/26/2019          1,802.00    200002941    08/13/2019   1,875.43   200003149    08/26/2019            1,441.98
10061139    08/19/2019          5,518.63    200002942    08/12/2019   1,397.25   200003150    08/26/2019            1,085.01
10061140    08/21/2019            874.22    200002943    08/09/2019   1,218.92   200003151    08/26/2019              898.98
10061141    08/21/2019            323.67    200002944    08/16/2019     152.02   200003153*   08/26/2019            1,235.09
10061142    08/29/2019          1,368.04    200002945    08/13/2019     229.02   200003154    08/26/2019              525.28
10061143    08/22/2019            429.50    200002946    08/27/2019   1,571.67   200003155    08/26/2019              767.60
10061144    08/22/2019             32.90    200002947    08/12/2019   1,007.37   200003156    08/26/2019            1,407.99
10061145    08/19/2019          1,745.35    200002948    08/12/2019   1,524.18   200003157    08/26/2019            1,438.98
10061146    08/21/2019             24.55    200002949    08/12/2019   1,454.70   200003158    08/26/2019            1,094.15
10061147    08/19/2019            198.41    200002950    08/12/2019   2,842.05   200003159    08/27/2019              588.55
10061148    08/20/2019         18,342.67    200002951    08/09/2019   1,841.88   200003160    08/29/2019              462.99
10061149    08/19/2019          1,682.28    200002952    08/15/2019     140.52   200003161    08/27/2019            1,549.23
10061150    08/21/2019            537.08    200002953    08/09/2019   2,362.62   200003162    08/28/2019            1,594.47




                               Case 19-62584-pcm11Page:
                                                     Doc3 283          Filed 10/21/19
             DDA Cycled Statement Report
             Custom
             As of 08/30/2019
             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                        09/03/2019 01:10 PM ET
             Commercial Electronic Office®                                                      Treasury Information Reporting

10061151     08/20/2019          1,032.16    200002954    08/12/2019     309.39   200003163     08/26/2019           1,574.61
10061152     08/20/2019             91.72    200002955    08/12/2019   1,710.24   200003165*    08/26/2019           1,861.98
10061153     08/26/2019            420.66    200002956    08/09/2019     695.98   200003167*    08/27/2019           1,489.13
10061155*    08/21/2019            541.59    200002957    08/09/2019     140.51   200003168     08/30/2019           1,905.30
10061156     08/19/2019            861.00    200002958    08/27/2019     617.13   200003169     08/26/2019           3,104.29
10061157     08/26/2019            586.17    200002959    08/12/2019   1,907.70   200003170     08/26/2019           1,280.10
10061158     08/19/2019          2,194.27    200002960    08/12/2019   1,304.16   200003171     08/26/2019           1,399.47
10061159     08/21/2019          1,183.31    200002961    08/12/2019   1,364.91   200003172     08/26/2019           2,399.16
10061160     08/20/2019            101.85    200002962    08/13/2019   2,025.01   200003173     08/27/2019           1,348.28
10061161     08/19/2019          1,088.25    200002963    08/12/2019     385.53   200003174     08/26/2019           1,082.69
10061162     08/19/2019            106.36    200002964    08/09/2019   1,441.62   200003175     08/26/2019           1,609.72
10061163     08/26/2019            260.77    200002965    08/13/2019     105.62   200003176     08/26/2019           1,162.84
10061164     08/19/2019          3,322.69    200002966    08/14/2019   1,972.28   200003178*    08/27/2019             543.80
10061165     08/20/2019          2,687.19    200002967    08/12/2019   1,478.41   200003179     08/26/2019           1,636.36
10061166     08/19/2019          1,213.11    200002968    08/09/2019   1,292.09   200003180     08/26/2019           1,428.52
10061167     08/22/2019            765.98    200002969    08/26/2019     318.23   200003182*    08/26/2019           1,596.06
10061168     08/19/2019          4,772.35    200002970    08/12/2019   1,146.11   200003183     08/26/2019           2,523.88
10061169     08/20/2019          2,077.08    200002971    08/13/2019     905.13   200003184     08/26/2019             806.85
10061170     08/21/2019          3,955.00    200002972    08/12/2019     776.98   200003185     08/27/2019           1,096.96
10061171     08/20/2019          1,295.26    200002973    08/13/2019   1,156.04   200003186     08/26/2019           1,627.40
10061172     08/19/2019          1,265.77    200002974    08/13/2019     741.92   200003187     08/27/2019             799.46
10061173     08/20/2019            169.44    200002975    08/09/2019     411.36   200003188     08/26/2019           1,905.34
10061174     08/19/2019          2,135.00    200002976    08/16/2019   1,503.09   200003189     08/26/2019             366.95
10061175     08/19/2019             99.62    200002977    08/13/2019     111.19   200003190     08/28/2019           1,393.49
10061176     08/21/2019          8,315.11    200002978    08/13/2019   1,446.92   200003191     08/26/2019           1,869.18
20003029*    08/09/2019          1,938.05    200002979    08/09/2019   1,599.59   200003192     08/26/2019           1,150.86
200001002*   08/12/2019            353.92    200002980    08/09/2019     892.01   200003193     08/27/2019             431.67
200001137*   08/12/2019            441.12    200002981    08/09/2019     904.29   200003194     08/27/2019           1,852.01
200001205*   08/02/2019            410.84    200002982    08/09/2019   1,943.76   200003195     08/26/2019           1,784.60
200001329*   08/12/2019            483.39    200002984*   08/19/2019   1,506.12   200003196     08/26/2019           1,913.12
200001510*   08/30/2019            483.39    200002985    08/12/2019   1,795.47   200003197     08/27/2019           2,074.65
200002175*   08/02/2019            709.95    200002986    08/09/2019   2,890.24   200003198     08/26/2019             977.29
200002251*   08/09/2019            395.99    200002987    08/12/2019     951.09   200003199     08/26/2019             638.59
200002309*   08/13/2019            441.80    200002988    08/19/2019   1,996.66   200003201*    08/26/2019           1,701.41
200002327*   08/26/2019          1,205.80    200002989    08/13/2019   1,694.23   200003202     08/27/2019           1,799.35
200002361*   08/27/2019          1,007.41    200002990    08/09/2019     828.36   200003203     08/26/2019           2,509.75
200002379*   08/13/2019          1,845.32    200002991    08/12/2019     319.65   200003205*    08/26/2019           1,660.55
200002420*   08/02/2019          1,156.52    200002992    08/09/2019   1,104.11   200003206     08/27/2019           1,402.20
200002492*   08/19/2019          1,110.71    200002994*   08/09/2019   1,643.37   200003207     08/27/2019             647.92
200002507*   08/27/2019          1,574.05    200002995    08/09/2019     220.52   200003208     08/29/2019           1,713.45
200002581*   08/01/2019            887.43    200002996    08/16/2019   1,652.77   200003209     08/29/2019             847.37
200002592*   08/05/2019          2,226.28    200002997    08/09/2019   2,107.17   200003210     08/27/2019           1,467.51
200002601*   08/27/2019            839.76    200002998    08/12/2019   1,010.54   200003211     08/28/2019           1,138.01
200002610*   08/13/2019            155.76    200002999    08/09/2019   1,323.29   200003212     08/26/2019             967.50
200002612*   08/29/2019            153.70    200003000    08/09/2019     609.80   200003214*    08/26/2019           1,118.88
200002613    08/20/2019            167.98    200003001    08/13/2019     157.45   200003215     08/26/2019           1,491.41
200002623*   08/19/2019            770.79    200003002    08/12/2019   1,717.51   200003216     08/26/2019           1,899.28
200002624    08/19/2019            939.32    200003003    08/09/2019     634.76   200003217     08/28/2019           1,961.26
200002625    08/06/2019            606.64    200003004    08/13/2019   1,182.38   200003219*    08/27/2019           2,007.12
200002627*   08/05/2019            398.61    200003005    08/12/2019   1,370.33   200003221*    08/26/2019           2,366.71
200002632*   08/26/2019          1,766.86    200003006    08/12/2019   1,907.93   200003222     08/26/2019           1,665.04
200002635*   08/01/2019            154.93    200003007    08/12/2019     830.63   200003223     08/26/2019           1,409.81
200002639*   08/08/2019             55.13    200003008    08/13/2019     432.45   200003224     08/28/2019           1,901.28
200002641*   08/12/2019             66.16    200003009    08/20/2019     155.52   200003225     08/27/2019           1,673.06
200002653*   08/06/2019            630.02    200003010    08/09/2019   1,931.32   200003226     08/26/2019           2,077.36
200002663*   08/02/2019            884.76    200003011    08/15/2019   2,175.19   200003227     08/28/2019           1,870.56
200002665*   08/08/2019          1,015.17    200003012    08/09/2019   1,844.83   200003229*    08/30/2019             310.81
200002689*   08/09/2019            212.33    200003013    08/09/2019   1,953.73   200003230     08/26/2019           1,287.45
200002699*   08/02/2019            971.63    200003014    08/12/2019   2,037.27   200003231     08/26/2019           1,297.54
200002701*   08/28/2019          1,339.46    200003015    08/09/2019   2,298.44   200003232     08/27/2019             354.77
200002707*   08/05/2019            443.26    200003016    08/09/2019   1,765.16   200003262*    08/27/2019           1,594.47
200002714*   08/09/2019          1,108.11    200003017    08/09/2019   1,725.80   3200002904*   08/12/2019             753.80
200002724*   08/02/2019            868.87    200003018    08/12/2019   1,334.64   5100003884*   08/13/2019          44,940.71
200002727*   08/27/2019          1,052.47    200003019    08/19/2019     554.23   5100003885    08/13/2019          20,517.20
200002728    08/07/2019            529.61    200003020    08/21/2019   1,342.74   5100003886    08/20/2019           8,754.47
200002730*   08/02/2019            590.05    200003022*   08/13/2019   1,365.66   5100003887    08/14/2019          36,575.58
200002746*   08/06/2019            903.83    200003023    08/09/2019     563.94   5100003888    08/13/2019          52,944.41
200002751*   08/12/2019            450.61    200003024    08/12/2019   1,028.75   5100003889    08/14/2019           5,737.29
200002753*   08/02/2019            759.56    200003025    08/09/2019     521.16   5100003891*   08/13/2019          27,582.61
200002770*   08/08/2019             79.94    200003026    08/29/2019   1,349.97   5100003892    08/13/2019          50,768.71
200002774*   08/05/2019            280.50    200003027    08/09/2019     949.65   5100003893    08/16/2019         127,978.68
200002786*   08/05/2019          1,649.93    200003028    08/09/2019   1,387.40   5100003895*   08/14/2019          25,652.04
200002788*   08/13/2019          1,113.15    200003029    08/12/2019   1,938.05   5100003896    08/22/2019          56,277.14
200002789    08/02/2019             88.21    200003030    08/26/2019   1,777.62   5100003897    08/14/2019          29,855.10
200002790    08/06/2019            226.82    200003032*   08/12/2019   1,495.01   5100003898    08/14/2019          13,831.86




                                Case 19-62584-pcm11Page:
                                                      Doc4 283          Filed 10/21/19
             DDA Cycled Statement Report
             Custom
             As of 08/30/2019
             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                                   09/03/2019 01:10 PM ET
             Commercial Electronic Office®                                                                 Treasury Information Reporting

200002794*   08/12/2019            176.41    200003034*   08/09/2019             1,172.97   5100003899     08/20/2019           16,272.88
200002795    08/09/2019            154.64    200003035    08/29/2019               110.26   5100003900     08/20/2019           11,320.76
200002801*   08/14/2019          1,151.42    200003036    08/09/2019             1,318.66   5100003901     08/20/2019            2,763.94
200002804*   08/15/2019          1,987.05    200003037    08/28/2019             1,951.94
200002810*   08/12/2019             55.13    200003038    08/15/2019             1,443.26

* Gap in check sequence                                                     1,621,360.45    Total Checks Paid

                                                                            2,636,135.17    Total Debits

Daily Ledger Balance Summary
              Date                           Balance   Date                           Balance      Date                          Balance

              08/01/2019                         .00   08/13/2019                           .00    08/23/2019                         .00
              08/02/2019                         .00   08/14/2019                           .00    08/26/2019                         .00
              08/05/2019                         .00   08/15/2019                           .00    08/27/2019                         .00
              08/06/2019                         .00   08/16/2019                           .00    08/28/2019                         .00
              08/07/2019                         .00   08/19/2019                           .00    08/29/2019                         .00
              08/08/2019                         .00   08/20/2019                           .00    08/30/2019                         .00
              08/09/2019                         .00   08/21/2019                           .00
              08/12/2019                         .00   08/22/2019                           .00

                                                                                            .00    Average Daily Ledger Balance


                                                       ---- END OF REPORT ----




                                Case 19-62584-pcm11Page:
                                                      Doc5 283                    Filed 10/21/19
